    Case 2:13-cv-20000-RDP Document 897 Filed 12/07/16 Page 1 of 456             FILED
                                                                        2016 Dec-07 PM 04:04
                                                                        U.S. DISTRICT COURT
                                                                            N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


GALACTIC FUNK TOURING, INC.;
AMERICAN ELECTRIC MOTOR                 CLASS ACTION COMPLAINT
SERVICES, INC.; CB ROOFING, LLC;
PEARCE, BEVILL, LEESBURG, MOORE,        MDL No. 2406
P.C.; PETTUS PLUMBING & PIPING,
INC.; CONSUMER FINANCIAL                JURY TRIAL DEMANDED
EDUCATION FOUNDATION OF
AMERICA, INC.; FORT MCCLELLAN
CREDIT UNION; ROLLISON                  Master File No. 2:13-CV-20000-RDP
TRUCKING; CONRAD WATSON AIR
CONDITIONING, INC.; HILTON              This document relates to:
COOPER CONTRACTING, INC.;               Subscriber Track cases
BRADFORD BUILDING COMPANY, INC.;
LINDA MILLS; FRANK CURTIS; JUDY
SHERIDAN; JENNIFER RAY DAVIDSON;
SACCOCCIO & LOPEZ; MONIKA
BHUTA; MICHAEL E. STARK; G&S
TRAILER REPAIR INCORPORATED;
RENEE E. ALLIE; JOHN G. THOMPSON;
MATTHEW ALLAN BOYD; GASTON
CPA FIRM; JEFFREY S. GARNER; ERIK
BARSTOW; GC/AAA FENCES, INC.;
KEITH O. CERVEN; TERESA M.
CERVEN; SHGI CORP.; KATHRYN
SCHELLER; IRON GATE
TECHNOLOGY, INC.; NANCY THOMAS;
PIONEER FARM EQUIPMENT, INC.;
DEBORA FORSYTHE; TONY
FORSYTHE; HANNAH FORSYTHE;
BRETT WATTS; JOEL JAMESON; ROSS
HILL; ANGIE HILL; KEVIN
BRADBERRY; CHRISTY BRADBERRY;
TOM ASCHENBRENNER; JUANITA
ASCHENBRENNER; FREE STATE
GROWERS, INC.; TOM A. GOODMAN;
JASON GOODMAN; COMET CAPITAL,
LLC; ROCHELLE MCGILL; BRIAN
MCGILL; SADLER ELECTRIC; BETSY
JANE BELZER; CONSTANCE DUMMER;
CENTERPOINTE DENTAL; BARR,
STERNBERG, MOSS, LAWRENCE,
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SILVER & MUNSON, P.C.; CHELSEA L.
HORNER; MONTIS, INC.; CASA
BLANCA, LLC; DK LTD, d/b/a DK AUTO
SALES; JENNIFER D. CHILDRESS;
CLINT JOHNSTON; JANEEN GOODIN;
MARLA S. SHARP; and MARK
KRIEGER;

                    Plaintiffs,

      v.

BLUE CROSS BLUE SHIELD OF
ALABAMA; PREMERA BLUE CROSS,
also d/b/a PREMERA BLUE CROSS BLUE
SHIELD OF ALASKA; BLUE CROSS
BLUE SHIELD OF ARIZONA; USABLE
MUTUAL INSURANCE COMPANY d/b/a
ARKANSAS BLUE CROSS AND BLUE
SHIELD; ANTHEM, INC. f/k/a
WELLPOINT, INC. d/b/a ANTHEM BLUE
CROSS LIFE AND HEALTH INSURANCE
COMPANY, BLUE CROSS OF
CALIFORNIA, BLUE CROSS OF
SOUTHERN CALIFORNIA, BLUE CROSS
OF NORTHERN CALIFORNIA, and BLUE
CROSS BLUE SHIELD OFGEORGIA, and
also doing business through its subsidiaries
or divisions, including, ANTHEM HEALTH
PLANS, INC. d/b/a ANTHEM BLUE
CROSS BLUE SHIELD OF
CONNECTICUT, ROCKY MOUNTAIN
HOSPITAL & MEDICAL SERVICE INC.
d/b/a ANTHEM BLUE CROSS BLUE
SHIELD OF COLORADO and ANTHEM
BLUE CROSS BLUE SHIELD OF
NEVADA, ANTHEM INSURANCE
COMPANIES, INC. d/b/a ANTHEM BLUE
CROSS BLUE SHIELD OF INDIANA,
ANTHEM HEALTH PLANS OF
KENTUCKY, INC. d/b/a ANTHEM BLUE
CROSS BLUE SHIELD OF KENTUCKY,
ANTHEM HEALTH PLANS OF MAINE,
INC. d/b/a ANTHEM BLUE CROSS BLUE
SHIELD OF MAINE, ANTHEM BLUE
CROSS BLUE SHIELD OF MISSOURI,
RIGHTCHOICE MANAGED CARE, INC.,
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HEALTHY ALLIANCE LIFE INSURANCE
COMPANY, HMO MISSOURI INC.,
ANTHEM HEALTH PLANS OF NEW
HAMPSHIRE as
ANTHEM BLUE CROSS BLUE SHIELD
OF NEW HAMPSHIRE, EMPIRE
HEALTHCHOICE ASSURANCE, INC.
d/b/a EMPIRE BLUE CROSS BLUE
SHIELD, COMMUNITY INSURANCE
COMPANY d/b/a ANTHEM BLUE CROSS
BLUE SHIELD OF OHIO, ANTHEM
HEALTH PLANS OF VIRGINIA, INC.
d/b/a ANTHEM BLUE CROSS AND BLUE
SHIELD OF VIRGINIA, ANTHEM BLUE
CROSS BLUE SHIELD OF WISCONSIN,
and COMPCARE HEALTH SERVICES
INSURANCE CORPORATION;
CALIFORNIA PHYSICIANS’ SERVICE
d/b/a BLUE SHIELD OF CALIFORNIA;
HIGHMARK, INC. d/b/a HIGHMARK
BLUE SHIELD and HIGHMARK BLUE
CROSS BLUE SHIELD, and including
predecessor HOSPITAL SERVICE
ASSOCIATION OF NORTHEASTERN
PENNSYLVANIA f/d/b/a BLUE CROSS OF
NORTHEASTERN PENNSYLVANIA,
f/d/b/a BLUE CROSS OF
NORTHEASTERN PENNSYLVANIA;
HIGHMARK BLUE CROSS BLUE
SHIELD DELAWARE INC. d/b/a
HIGHMARK BLUE CROSS BLUE
SHIELD DELAWARE; HIGHMARK
WEST VIRGINIA INC. d/b/a HIGHMARK
BLUE CROSS BLUE SHIELD WEST
VIRGINIA; CAREFIRST, INC. and its
subsidiaries or affiliates GROUP
HOSPITALIZATION AND MEDICAL
SERVICES, INC., CAREFIRST OF
MARYLAND, INC., and CAREFIRST
BLUECHOICE, INC., which collectively
d/b/a CAREFIRST BLUECROSS
BLUESHIELD; BLUE CROSS AND BLUE
SHIELD OF FLORIDA, INC.; HAWAI’I
MEDICAL SERVICE ASSOCIATION d/b/a
BLUE CROSS AND BLUE SHIELD OF
HAWAI’I; BLUE CROSS OF IDAHO
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HEALTH SERVICE, INC. d/b/a BLUE
CROSS OF IDAHO; CAMBIA HEALTH
SOLUTIONS, INC. f/d/b/a REGENCE
BLUESHIELD OF IDAHO, REGENCE
BLUE CROSS BLUE SHIELD OF
OREGON, REGENCE BLUE CROSS
BLUE SHIELD OF UTAH, and REGENCE
BLUE SHIELD (WASHINGTON);
HEALTH CARE SERVICE
CORPORATION d/b/a BLUE CROSS AND
BLUE SHIELD OF ILLINOIS, BLUE
CROSS AND BLUE SHIELD OF
MONTANA, including its predecessor,
CARING FOR MONTANANS, INC., BLUE
CROSS AND BLUE SHIELD OF NEW
MEXICO, BLUE CROSS AND BLUE
SHIELD OF OKLAHOMA, and BLUE
CROSS AND BLUE SHIELD OF TEXAS;
WELLMARK, INC. d/b/a WELLMARK
BLUE CROSS AND BLUE SHIELD OF
IOWA; WELLMARK OF SOUTH
DAKOTA, INC. d/b/a BLUE CROSS AND
BLUE SHIELD OF SOUTH DAKOTA;
BLUE CROSS AND BLUE SHIELD OF
KANSAS, INC.; LOUISIANA HEALTH
SERVICE & INDEMNITY COMPANY
d/b/a BLUE CROSS AND BLUE SHIELD
OF LOUISIANA; BLUE CROSS AND
BLUE SHIELD OF MASSACHUSETTS,
INC.; BLUE CROSS BLUE SHIELD OF
MICHIGAN; BCBSM, INC. d/b/a BLUE
CROSS AND BLUE SHIELD OF
MINNESOTA; BLUE CROSS BLUE
SHIELD OF MISSISSIPPI; BLUE CROSS
AND BLUE SHIELD OF KANSAS CITY;
BLUE CROSS AND BLUE SHIELD OF
NEBRASKA; HORIZON HEALTHCARE
SERVICES, INC. d/b/a HORIZON BLUE
CROSS BLUE SHIELD OF NEW JERSEY;
HEALTHNOW NEW YORK, INC. d/b/a
BLUECROSS BLUESHIELD OF
WESTERN NEW YORK and
BLUESHIELD OF NORTHEASTERN
NEW YORK; EXCELLUS HEALTH PLAN,
INC. d/b/a EXCELLUS BLUECROSS
BLUESHIELD; BLUE CROSS AND BLUE
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SHIELD OF NORTH CAROLINA, INC.;
NORIDIAN MUTUAL INSURANCE
COMPANY d/b/a BLUE CROSS BLUE
SHIELD OF NORTH DAKOTA; CAPITAL
BLUECROSS; INDEPENDENCE
HOSPITAL INDEMNITY PLAN, INC. f/k/a
INDEPENDENCE BLUE CROSS; TRIPLE
S-SALUD, INC.; BLUE CROSS AND BLUE
SHIELD OF RHODE ISLAND; BLUE
CROSS AND BLUE SHIELD OF SOUTH
CAROLINA; BLUE CROSS BLUE SHIELD
OF TENNESSEE, INC.; BLUE CROSS
AND BLUE SHIELD OF VERMONT; AND
BLUE CROSS BLUE SHIELD OF
WYOMING; and the BLUE CROSS AND
BLUE SHIELD ASSOCIATION,

                Defendants.



               SUBSCRIBER TRACK SECOND AMENDED
              CONSOLIDATED CLASS ACTION COMPLAINT
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       Plaintiffs, Galactic Funk Touring, Inc.; American Electric Motor Services, Inc.; CB

Roofing, LLC; Pearce, Bevill, Leesburg, Moore, P.C.; Pettus Plumbing & Piping, Inc.; Consumer

Financial Education Foundation of America, Inc.; Fort McClellan Credit Union; Rollison

Trucking; Conrad Watson Air Conditioning, Inc.; Hilton Cooper Contracting, Inc.; Bradford

Building Company, Inc.; Linda Mills; Frank Curtis; Judy Sheridan; Jennifer Ray Davidson;

Saccoccio & Lopez; Monika Bhuta; Michael E. Stark; G&S Trailer Repair Incorporated; Chelsea

L. Horner; Montis, Inc.; Renee E. Allie; John G. Thompson; Betsy Jane Belzer; Constance

Dummer; Centerpointe Dental; Matthew Allan Boyd; Gaston CPA Firm; Rochelle and Brian

McGill; Sadler Electric; Jeffrey S. Garner; Casa Blanca, LLC; DK LTD, d/b/a DK Auto Sales;

Jennifer D. Childress; Clint Johnston; Janeen Goodin and Marla S. Sharp; Erik Barstow; GC/AAA

Fences, Inc.; Keith O. Cerven; Teresa M. Cerven; SHGI Corp.; Kathryn Scheller; Iron Gate

Technology, Inc.; Nancy Thomas; Pioneer Farm Equipment, Inc. (“Pioneer”); Debora Forsythe;

Tony Forsythe; Hannah Forsythe; Brett Watts; Joel Jameson; Ross Hill; Angie Hill; Kevin

Bradberry; Christy Bradberry; Tom Aschenbrenner; Juanita Aschenbrenner; Free State Growers,

Inc.; Tom A. Goodman; Jason Goodman; Comet Capital, LLC; Barr, Sternberg, Moss, Lawrence,

Silver & Munson, P .C.; and Mark Krieger, on behalf of themselves and all others similarly situated

(collectively referred to herein as “Plaintiffs”), for their Complaint against Defendants Blue Cross

Blue Shield of Alabama (“BCBS-AL”); Premera Blue Cross (“BC-WA”), which also does

business as Premera Blue Cross Blue Shield of Alaska (“BCBS-AK”); Blue Cross Blue Shield of

Arizona (“BCBS-AZ”); USAble Mutual Insurance Company d/b/a Arkansas Blue Cross and Blue

Shield (“BCBS-AR”); Anthem, Inc., f/k/a WellPoint, Inc. d/b/a Anthem Blue Cross Life and

Health Insurance Company, Blue Cross of California, Blue Cross of Southern California, Blue

Cross of Northern California (Blue Cross of California, Blue Cross of Southern California and



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Blue Cross of Northern California are referred to herein, together, as “BC-CA”), and Blue Cross

Blue Shield of Georgia (“BCBS-GA”), and also does business through its subsidiaries or divisions,

including, Anthem Health Plans, Inc. d/b/a Anthem Blue Cross Blue Shield of Connecticut

(“BCBS-CT”), Rocky Mountain Hospital & Medical Service Inc. d/b/a Anthem Blue Cross Blue

Shield of Colorado (“BCBS-CO”) and Anthem Blue Cross Blue Shield of Nevada (“BCBS-NV”),

Anthem Insurance Companies, Inc. d/b/a Anthem Blue Cross Blue Shield of Indiana (“BCBS-

IN”), Anthem Health Plans of Kentucky, Inc. d/b/a Anthem Blue Cross Blue Shield of Kentucky

(“BCBS-KY”), Anthem Health Plans of Maine, Inc. d/b/a Anthem Blue Cross Blue Shield of

Maine (“BCBS-ME”), Anthem Blue Cross Blue Shield of Missouri, RightCHOICE Managed

Care, Inc., Healthy Alliance Life Insurance Company; HMO Missouri Inc. (together, “BCBS-

MO”), Anthem Health Plans of New Hampshire d/b/a Anthem Blue Cross Blue Shield of New

Hampshire (“BCBS-NH”), Empire HealthChoice Assurance, Inc. d/b/a Empire Blue Cross Blue

Shield (“Empire BCBS”), Community Insurance Company d/b/a Anthem Blue Cross Blue Shield

of Ohio (“BCBS-OH”), Anthem Health Plans of Virginia, Inc. d/b/a Anthem Blue Cross and Blue

Shield of Virginia (“BCBS-VA”), Anthem Blue Cross Blue Shield of Wisconsin, and Compcare

Health Services Insurance Corporation (together, “BCBS-WI”); California Physicians’ Service

d/b/a Blue Shield of California (“BS-CA”); Highmark Inc. d/b/a Highmark Blue Shield and

Highmark Blue Cross Blue Shield and including predecessor Hospital Service Association of

Northeastern Pennsylvania f/d/b/a Blue Cross of Northeastern Pennsylvania (“BC-Northeastern

PA”) (together, “Highmark BCBS”); Highmark Blue Cross Blue Shield Delaware Inc. d/b/a

Highmark Blue Cross Blue Shield Delaware (“BCBS-DE”), Highmark West Virginia Inc. d/b/a

Highmark Blue Cross Blue Shield West Virginia (“BCBS-WV”);; CareFirst, Inc. and its

subsidiaries or affiliates Group Hospitalization and Medical Services, Inc., CareFirst of Maryland,



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Inc., and CareFirst BlueChoice, Inc., which collectively d/b/a CareFirst BlueCross BlueShield

(CareFirst, Inc., CareFirst of Maryland, Inc. and CareFirst BlueChoice, Inc. are referred to herein,

together, as “BCBS-MD”, and CareFirst, Inc., Group Hospitalization and Medical Services, Inc.

and CareFirst BlueChoice, Inc. are referred to herein, together, as “BCBS-DC”); Blue Cross and

Blue Shield of Florida, Inc. (“BCBS-FL”); Hawai’i Medical Service Association d/b/a Blue Cross

and Blue Shield of Hawai’i (“BCBS-HI”); Blue Cross of Idaho Health Service, Inc. d/b/a Blue

Cross of Idaho (“BC-ID”); Cambia Health Solutions, Inc., f/d/b/a Regence BlueShield of Idaho

(“BS-ID”), Regence Blue Cross Blue Shield of Oregon (“BCBS-OR”), Regence Blue Cross Blue

Shield of Utah (“BCBS-UT”), and Regence Blue Shield (in Washington) (“BS-WA”); Health Care

Service Corporation d/b/a Blue Cross and Blue Shield of Illinois (“BCBS-IL”), Blue Cross and

Blue Shield of Montana, (“BCBS-MT”, including its predecessor Caring for Montanans, Inc.),

Blue Cross and Blue Shield of New Mexico (“BCBS-NM”), Blue Cross and Blue Shield of

Oklahoma (“BCBS-OK”), and Blue Cross and Blue Shield of Texas (“BCBS-TX”); Wellmark,

Inc. d/b/a Wellmark Blue Cross and Blue Shield of Iowa (“BCBS-IA”); Wellmark of South

Dakota, Inc. d/b/a Blue Cross and Blue Shield of South Dakota (“BCBS-SD”); Blue Cross and

Blue Shield of Kansas, Inc. (“BCBS-KS”); Louisiana Health Service & Indemnity Company d/b/a

Blue Cross and Blue Shield of Louisiana (“BCBS-LA”); Blue Cross and Blue Shield of

Massachusetts, Inc. (“BCBS-MA”); Blue Cross Blue Shield of Michigan (“BCBS-MI”); BCBSM,

Inc., d/b/a Blue Cross and Blue Shield of Minnesota (“BCBS-MN”); Blue Cross Blue Shield of

Mississippi (“BCBS-MS”); Blue Cross and Blue Shield of Kansas City (“BCBS-KC”); Blue Cross

and Blue Shield of Nebraska (“BCBS-NE”); Horizon Healthcare Services, Inc., d/b/a Horizon Blue

Cross Blue Shield of New Jersey (“BCBS-NJ”); HealthNow New York, Inc., d/b/a BlueCross

BlueShield of Western New York (“BCBS-Western NY”) and BlueShield of Northeastern New



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York (“BS-Northeastern NY”); Excellus Health Plan, Inc., d/b/a Excellus BlueCross BlueShield

(“Excellus BCBS”); Blue Cross and Blue Shield of North Carolina, Inc. (“BCBS-NC”); Noridian

Mutual Insurance Company d/b/a Blue Cross Blue Shield of North Dakota (“BCBS-ND”); Capital

BlueCross (“Capital BC”); Independence Hospital Indemnity Plan, Inc., f/k/a Independence Blue

Cross (“Independence BC”); Triple S-Salud, Inc. (“BCBS-Puerto Rico”); Blue Cross and Blue

Shield of Rhode Island (“BCBS-RI”); Blue Cross and Blue Shield of South Carolina (“BCBS-

SC”); Blue Cross Blue Shield of Tennessee, Inc. (“BCBS-TN”); Blue Cross and Blue Shield of

Vermont (“BCBS-VT”); and Blue Cross Blue Shield of Wyoming (“BCBS-WY”) (collectively,

the “Individual Blue Plans”); and the Blue Cross and Blue Shield Association (“BCBSA”), allege

as follows:

                                     NATURE OF THE CASE

        1.      The Supreme Court has repeatedly stated: “Collusion is the supreme evil of

antitrust.” F.T.C. v. Actavis, Inc., 133 S. Ct. 2223, 2233 (2013). The Supreme Court has also

explained the types of collusion long condemned by the antitrust laws: “Certain agreements, such

as horizontal price fixing and market allocation, are thought so inherently anticompetitive that each

is illegal per se without inquiry into the harm it has actually caused.” Copperweld Corp. v.

Independence Tube Corp., 467 U.S. 752, 768 (1984). These prohibitions on per se illegal conduct

are at the core of antitrust law’s protection of our free enterprise system. As Robert Bork has

explained about “the doctrine of per se illegality . . . (e.g., price fixing and market division)”: “Its

contributions to consumer welfare over the decades have been enormous.” Robert H. Bork, The

Antitrust Paradox 263 (rev. ed. 1993).

        2.      This is a class action brought on behalf of subscribers of the Individual Blue Plans

to enjoin an ongoing conspiracy between and among the Individual Blue Plans and BCBSA to



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allocate markets in violation of the prohibitions of the Sherman Act. In addition, this action seeks

to recover damages for classes of subscribers in the form of both (a) supra-competitive premiums

that the Individual Blue Plans have charged and (b) the difference between what subscribers have

paid their Individual Blue Plan and the lower competitive premiums that non-competing Blue plans

would have charged, all as a result of this illegal conspiracy. This action also seeks these damages

as a result of anticompetitive conduct the Individual Blue Plans have taken in their illegal efforts

to establish and maintain monopoly power throughout the regions in which they operate. This

action also asserts related claims under the laws of the following states: Arkansas, California,

Florida, Hawaii, Illinois, Indiana, Kansas, Louisiana, Michigan, Minnesota, Mississippi, Missouri,

Montana, Nebraska, New Hampshire, North Carolina, North Dakota, Oklahoma, Pennsylvania,

Rhode Island, South Carolina, South Dakota, Tennessee, Texas, Vermont, and Virginia.

       3.      The Antitrust Division of the Department of Justice defines per se illegal market

division as follows: “Market division or allocation schemes are agreements in which competitors

divide markets among themselves. In such schemes, competing firms allocate specific customers

or types of customers, products, or territories among themselves. For example, one competitor

will be allowed to sell to, or bid on contracts let by, certain customers or types of customers. In

return, he or she will not sell to, or bid on contracts let by, customers allocated to the other

competitors. In other schemes, competitors agree to sell only to customers in certain geographic

areas and refuse to sell to, or quote intentionally high prices to, customers in geographic areas

allocated to conspirator companies.”

       4.      Defendants are engaging in and have engaged in per se illegal market division.

These market allocation agreements are reached and implemented in part through the Blue Cross

and Blue Shield license agreements between each of the Individual Blue Plans and BCBSA, an



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association owned and controlled by all of the Individual Blue Plans, as well as the BCBSA

Membership Standards and Guidelines. In part through the artifice of the Plan owned and

controlled BCBSA, an entity that the Individual Blue Plans created and wholly control, Defendants

have engaged in prohibited market allocation by entering into per se illegal agreements under the

federal antitrust laws that:

              a. Prohibit the Individual Blue Plans from competing against each other using the

                  Blue name by allocating territories among the individual Blues;

              b. Limit the Individual Blue Plans from competing against each other, even when

                  they are not using the Blue name, by mandating the percentage of their business

                  that they must do under the Blue name, both inside and outside each Plan’s

                  territory; and/or

              c. Restrict the right of any Individual Blue Plan to be sold to a company that is not

                  a member of BCBSA, thereby preventing new entrants into the individual Blues’

                  markets.

        5.      An Individual Blue Plan that violates one or more of these restrictions faces license

and membership termination from BCBSA, which would mean both the loss of the brand through

which it derives the majority of its revenue and the required payment of a large fee to BCBSA that

would help to fund the establishment of a competing health insurer.

        6.      These territorial limitations among actual or potential competitors (i.e. horizontal

parties) severely limit the ability of the Individual Blue Plans to compete outside of their

geographic areas, even under their non-Blue brands.

        7.      Many of the Individual Blue Plans have developed substantial non-Blue brands that

could compete with other of the Individual Blue Plans. But for the illegal agreements not to



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compete with one another, these entities could and would use their Blue brands and non-Blue

brands to compete with each other throughout their Service Areas, which would result in greater

competition and competitively priced premiums for subscribers.

         8.    The Individual Blue Plans enjoy remarkable market dominance in regions

throughout the United States. The Blue Plans agreed to entrench and perpetuate the dominant

market position that each of them has historically enjoyed in its specifically defined geographic

market (“Service Area”), insulating the Individual Blue Plans from competition in each of their

respective service areas.    Their dominant market shares are the direct result of the illegal

conspiracy to unlawfully divide and allocate the geographic markets for health insurance in the

United States. This series of agreements has enabled many Individual Blue Plans, including

Defendants in this case, to acquire and maintain grossly disproportionate market shares for health

insurance products in their respective regions, where these Plans enjoy market and monopoly

power.

         9.    The Individual Blue Plans’ anticompetitive conduct has also resulted in higher

premiums for their enrollees for over a decade. This anticompetitive behavior, and the lack of

competition the Individual Blue Plans face because of their market allocation scheme and

monopoly power and anticompetitive behavior, have prevented subscribers from being offered

competitive prices and have caused supra-competitive premiums charged to Plan customers.

         10.   These inflated premiums would not be possible if the market for health insurance

in these Individual Blue Plans’ Service Areas were truly competitive. Competition is not possible

so long as the Individual Blue Plans and BCBSA are permitted to enter into agreements that have

the actual and intended effect of restricting the ability of thirty-six of the nation’s largest health

insurance companies from competing with each other.



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                                 JURISDICTION AND VENUE

         11.   This Court, and the federal district courts in which the subscriber track cases were

originally filed, have federal question jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337(a)

because Plaintiffs bring their claims under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15

and 26, to recover treble damages and costs of suit, including reasonable attorneys’ fees, against

the Individual Blue Plans and BCBSA for the injuries sustained by Plaintiffs and the Classes by

reason of the violations, as hereinafter alleged, of §§ 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1

and 2.

         12.   This Court, and the federal district courts in which the subscriber track cases were

originally filed, also have pendent ancillary jurisdiction over the state claims asserted herein under

California Business and Professions Code § 17200 and the Cartwright Act, California Business

and Professions Code §§16720, et seq., and 16727; Florida Stat. §§ 542.18, 542.19, and 542.22;

H.R.S. §§ 480-2, 480-4, and 480-9; 740 ILCS 10/3 et seq.; Indiana Code § 24-1-2-1, et. seq.;

K.S.A. § 50-101 et. seq.; La.R.S. 51:122-23; Michigan Antitrust Reform Act §§ 445.772, 445.773;

Minn. Stat. § 325D.51-53; Mississippi Antitrust Act, Sec. 75-21-1; Missouri Antitrust Law §§

416.031.1, 416.031.2; MCA § 30-14-205; Neb. Rev. Stat. §§ 59-801, 802; New Hampshire Rev.

Stat. Ann. §§ 356:2, 356:3; North Carolina General Statute Sections 75-1, 75-1.1, and 58-63-10;

N.D. Cent. Code Ann. § 51-08.1-02 to 1-03; 79 Okla. Stat. Ann. § 203(A); Rhode Island General

Laws §§ 6-36-4, 6-36-5; South Dakota Codified Laws §§ 37-1-1-3.1 to 1-3.2; Tennessee Trade

Practices Act, Sec. 47-25-101; Texas Bus. & Com. Code Ann. §§ 15.05(a), 15.05(b), and 15.21;

Vt. Stat. Ann. tit. 9, § 2451 et seq.; and Va. Code Ann. § 59.1-9.5 and 9.6 pursuant to 28 U.S.C. §

1367(a).



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       13.     This Court, and the federal district courts in which these subscriber track cases were

originally filed also can assert personal jurisdiction over each defendant pursuant to Section 12 of

the Clayton Act and/or pursuant to the relevant states’ long-arm statutes under one or more of the

theories below:


             a. Each defendant has purposefully availed itself of the privilege of conducting

                  business activities within the relevant states and has the requisite minimum

                  contacts with those states because each defendant participated in a conspiracy

                  which injured subscribers in the relevant states and overt acts in furtherance of

                  the conspiracy were committed within the relevant states; and/or

             b. Each defendant has purposefully availed itself of the privilege of conducting

                  business activities within the relevant states and has the requisite minimum

                  contacts with those states because each defendant committed intentional acts that

                  were intended to cause and did cause injury within the relevant states; and/or

             c. Each defendant has purposefully availed itself of the privilege of conducting

                  business activities within the relevant states and has the requisite minimum

                  contacts with those states because each defendant committed intentional acts that

                  defendants knew were likely to cause injury within the relevant states; and/or

             d. Each defendant has purposefully availed itself of the privilege of conducting

                  business activities within the relevant states and has the requisite minimum

                  contacts with those states because each defendant is a party to an anticompetitive

                  agreement with a resident of the relevant state, which agreement is performed in

                  whole or in part within the relevant state; and/or




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             e. Each defendant has purposefully availed itself of the privilege of conducting

                 business activities within the relevant states and has the requisite minimum

                 contacts with those states because each defendant has committed a tort within the

                 relevant state, which has caused injury within the state; and/or

             f. Each defendant has purposefully availed itself of the privilege of conducting

                 business activities within the relevant states and has the requisite minimum

                 contacts with those states because each defendant either has members within the

                 relevant state or transacts business within the relevant state, either via the

                 BlueCard program or otherwise.

       14.     This action is also instituted to secure injunctive relief against BCBSA and the

Individual Blue Plans to prevent them from further violations of Sections 1 and 2 of the Sherman

Act as hereinafter alleged.

       15.     Venue is proper in this district and the districts in which these subscriber track cases

were originally filed, pursuant to Sections 4, 12, and 16 of the Clayton Act, 15 U.S.C. §§ 15, 22,

and 26, and 28 U.S.C. § 1391.

       16.     All Plaintiffs note that they do not waive their rights under Lexecon, Inc. v. Milberg

Weiss Bershad Hynes & Lerech, 523 U.S. 26 (1998).




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                                           PARTIES

Plaintiffs

       17.     Plaintiff American Electric Motor Services, Inc. (“American Electric Motor

Services”) is an Alabama corporation with its principal office located at 2012 1st Avenue North,

Irondale, AL 35210. Plaintiff American Electric Motor Services has purchased BCBS-AL health

insurance to cover its 4 employees during the relevant class period.

       18.     Plaintiff CB Roofing, LLC (“CB Roofing”) is an Alabama corporation with its

principal office located in Chelsea, AL. Plaintiff CB Roofing has purchased BCBS-AL health

insurance to cover its employees during the relevant class period.

       19.     Plaintiff Pettus Plumbing & Piping, Inc. (“Pettus”) is an Alabama corporation

with its principal office located in Colbert County, Alabama. Plaintiff Pettus has purchased BCBS-

AL health insurance during the relevant class period. During all but one year of the relevant class

period, Plaintiff has had more than 50, but fewer than 200, employees enrolled on its BCBS-AL

health insurance policy. Plaintiff Pettus today has approximately 185 total employees.

       20.     Plaintiff Pearce, Bevill, Leesburg, Moore, P.C. (“Pearce Bevill”) is an Alabama

corporation with its principal office located in Jefferson County, Alabama. Plaintiff Pearce Bevill

has purchased BCBS-AL small group health insurance during the relevant class period. During the

relevant class period, Plaintiff Pearce Bevill has had more than 50, but fewer than 200, employees

enrolled on its BCBS-AL small group health insurance policy.

       21.     Plaintiff Consumer Financial Education Foundation of America, Inc.

(“CFEFA”) is an Alabama corporation with its principal office located in Jefferson County,

Alabama. Plaintiff CFEFA has purchased BCBS-AL small group health insurance during the

relevant class period. During the relevant class period, Plaintiff CFEFA has had between 2 and 50

employees enrolled on its BCBS-AL small group health insurance policy.

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          22.   Plaintiff Fort McClellan Credit Union (“Fort McClellan CU”) is an Alabama

company with its principal office located in Anniston, Alabama. Plaintiff Fort McClellan Credit

Union has purchased BCBS-AL health insurance to cover its employees during the relevant class

period.

          23.   Plaintiff Rolison Trucking Co., LLC (“Rolison Trucking”) is an Alabama

company with its principal office located in Butler, Alabama. Plaintiff Rolison Trucking has

purchased BCBS-AL health insurance to cover its employees during the relevant class period.

          24.   Plaintiff Conrad Watson Air Conditioning, Inc. (“Conrad Watson Air”) is an

Alabama corporation with its principal office located in Monroeville, Alabama. Plaintiff Conrad

Watson Air has purchased BCBS-AL health insurance to cover its employees during the relevant

class period.

          25.   Plaintiff Hilton Cooper Contracting, Inc. (“Hilton Cooper”) is an Alabama

corporation with its principal office located in Clayton, Alabama. Plaintiff Hilton Cooper has

purchased BCBS-AL health insurance to cover its employees during the relevant class period.

          26.   Plaintiff Bradford Building Company, Inc. (“Bradford Building”) is an

Alabama corporation with its principal office located in Jefferson County, Alabama. Plaintiff

Bradford Building has purchased BCBS-AL health insurance to cover its employees during the

relevant class period.

          27.   Plaintiff Linda Mills is a resident citizen of Judsonia, White County, Arkansas.

She has been enrolled in an individual BCBS-AR health insurance policy since approximately

1997.

          28.   Plaintiff Frank Curtis is a resident citizen of Arkansas. He has purchased BCBS-

AR health insurance to cover himself and his family members during the relevant class period.



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       29.      Plaintiff Judy Sheridan is a resident citizen of Los Angeles, California. She has

purchased an individual health insurance policy from BC-CA during the relevant class period. The

policy contract or agreement between Plaintiff Sheridan and BC-CA contains an arbitration

provision. Plaintiff Sheridan does not believe that this arbitration provision can or would govern

the claims brought in this lawsuit. Nevertheless, for the purposes of this Complaint, Plaintiff

Sheridan expressly only brings suit against those Defendants that are not parties to the arbitration

provision in her policy contract or agreement, i.e., BCBSA and all the Individual Blue Plans except

for BC-CA.

       30.      Plaintiff Jennifer Ray Davidson is a resident citizen of Lynn Haven, Bay County,

Florida. She has been enrolled in an individual BCBS-FL health insurance policy during the

relevant class period.

       31.      Plaintiff Saccoccio & Lopez is a Hawaii business with its principal office located

at 66-037 Kamehameha Highway, Suite 3, Haleiwa, HI 96712. Plaintiff Saccoccio & Lopez has

purchased BCBS-HI health insurance to cover its 3 employees since around 2000.Plaintiff

Monika Bhuta is a resident citizen of Chicago, IL. She has been enrolled in an individual BCBS-

IL health insurance policy during the relevant class period.

       32.      Plaintiff Michael E. Stark is a resident citizen of Illinois. He has been enrolled in

an individual BCBS-IL health insurance policy since April 1, 2005.

       33.      Plaintiff G&S Trailer Repair Incorporated is an Illinois corporation with its

principal office located at 3359 S. Lawndale Avenue, Chicago, IL. Plaintiff G&S Trailer Repair

Incorporated has purchased BCBS-IL health insurance to cover its employees during the relevant

class period.




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          34.   Plaintiff Mark Krieger is an Indiana resident residing in Clinton, Indiana. During

the relevant class period, Mr. Krieger has purchased health insurance from the Defendant BCBS-

IN.

          35.   Plaintiffs Juanita and Tom Aschenbrenner are Kansas residents living in

Brewster, Kansas. Plaintiffs have purchased BCBS-KS health insurance during the relevant class

period.

          36.   Plaintiff Free State Growers, Inc. is a Kansas company with its principal office

in Linwood, Kansas. Plaintiff has purchased BCBS-KS health insurance during the relevant class

period.

          37.   Plaintiff Chelsea L. Horner is a Missouri resident living at 516 Gladstone Place,

Kansas City, Missouri. Plaintiff Horner has purchased BCBS-KC health insurance during the

relevant class period.

          38.   Plaintiff Montis, Inc. is a Kansas company with its principal office located at

15553 EBY, Overland Park, KS 66221. Plaintiff Montis, Inc. has purchased BCBS-KC health

insurance during the relevant class period.Plaintiff Renee E. Allie is a resident citizen of New

Orleans, Louisiana. She has been enrolled in an individual BCBS-LA health insurance policy since

October 15, 2008.

          39.   Plaintiff Galactic Funk Touring, Inc. is a Louisiana corporation with its principal

office located at 1020 Franklin Avenue, New Orleans, LA 70117. Plaintiff Galactic Funk Touring,

Inc. has purchased BCBS-LA health insurance to cover its employees since November 15, 2008.

          40.   Plaintiff John G. Thompson is a resident citizen of Clark Township, Mackinac

County, Michigan. He was enrolled in an individual BCBS-MI health insurance policy for 35

years, including during the relevant class period.



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       41.     Plaintiff Betsy Jane Belzer resides in Minneapolis, Minnesota. Plaintiff Belzer has

purchased BCBS-MN health insurance during the relevant class period.

       42.     Plaintiff Constance Dummer resides in Chaska, Minnesota. Plaintiff Dummer has

purchased BCBS-MN health insurance during the relevant class period.

       43.     Plaintiff Centerpointe Dental is a Minnesota company with its principal office

located in Burnsville, Minnesota. Plaintiff Centerpointe Dental has purchased BCBS-MN health

insurance during the relevant class period.

       44.     Plaintiff Matthew Allan Boyd is a resident citizen of Ridgeland, Madison County,

Mississippi. He has been enrolled in an individual BCBS-MS health insurance policy since 1999.

       45.     Plaintiff Gaston CPA Firm is a Mississippi corporation with its principal office

located in Coahoma County, MS. Plaintiff Gaston CPA Firm has purchased BCBS-MS health

insurance to cover its employees during the relevant class period.

       46.     Plaintiff Jeffrey S. Garner is a resident citizen of St. Charles County, Missouri.

He has been enrolled in BCBS-MO health plans almost continuously since 2001, including in an

individual BCBS-MO health insurance policy since 2011.

       47.     Plaintiff Tom A. Goodman is a Montana resident living in Cascade County,

Montana. Plaintiff Tom Goodman has purchased BCBS-MT health insurance both as part of a

group and subsequently as an individual to cover hospital and physician expenses during the

relevant class period.

       48.     Plaintiff Jason Goodman is a Montana resident living in Cascade County,

Montana. Plaintiff Jason Goodman has purchased BCBS-MT health insurance to cover hospital

and physician expenses during the relevant class period.




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          49.   Plaintiffs Rochelle and Brian McGill (“the McGills”) are residents of Douglas

County, Nebraska. The McGills purchased BCBS-NE health insurance during the relevant class

period.

          50.   Plaintiff Sadler Electric is a Nebraska company with its principal office located

at 5855 South 77th St. Omaha, Nebraska 68127. Plaintiff Sadler Electric has purchased BCBS-NE

health insurance to cover hospital and physician expenses during the relevant class period.

          51.   Plaintiff Erik Barstow is a resident citizen of Portsmouth, Rockingham County,

New Hampshire. He has been enrolled in an individual BCBS-NH health insurance policy since

January 2012.

          52.   Plaintiff GC/AAA Fences, Inc. is a New Hampshire corporation with its principal

office located at 292 Durham Road, Dover, NH 03820. Plaintiff GC/AAA Fences, Inc. has

purchased BCBS-NH health insurance to cover its employees since 2009.

          53.   Plaintiff Keith O. Cerven is a resident citizen of Mooresville, NC. He has been

enrolled in an individual BCBS-NC health insurance policy since 2007.

          54.   Plaintiff Teresa M. Cerven is a resident citizen of Mooresville, NC. She has

purchased BCBS-NC health insurance to cover herself and her children since 2007.

          55.   Plaintiff SHGI Corp. is a North Carolina corporation with its principal office

located at 122 Lyman Street, Building #1, Asheville, NC 28801. Plaintiff SHGI Corp. has

purchased BCBS-NC health insurance to cover its employees since January 1, 2006.

          56.   Plaintiff Joel Jameson is a North Dakota resident. Plaintiff Jameson has purchased

a BCBS-ND health insurance policy during the relevant class period.




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       57.     Plaintiff Casa Blanca, LLC (“Casa Blanca”) is an Oklahoma company with its

principal place of business in Norman, Oklahoma. Plaintiff Casa Blanca has purchased BCBS-OK

health insurance to cover its employees during the relevant class period.

       58.     Plaintiff DK Ltd, d/b/a DK Auto Sales (“DK Auto Sales”) is an Oklahoma

company with its principal place of business in Norman, Oklahoma. Plaintiff DK Auto Sales has

purchased BCBS-OK health insurance to cover its employees during the relevant class period.

       59.     Plaintiff Jennifer D. Childress (“Childress”) is a resident of Noble, Oklahoma.

Plaintiff Childress has purchased BCBS-OK health insurance during the relevant class period.

       60.     Plaintiff Clint Johnston (“Johnston”) is a resident of Edmond Oklahoma.

Plaintiff Johnston has purchased BCBS-OK health insurance during the relevant class period.

       61.     Plaintiff Janeen Goodin (“Goodin”) is a resident of Oklahoma City, Oklahoma.

Plaintiff Goodin has purchased BCBS-OK health insurance during the relevant class period.

       62.     Plaintiff Marla S. Sharp (“Sharp”) is a resident of Oklahoma City, Oklahoma.

Plaintiff Goodin has purchased BCBS-OK health insurance during the relevant class period.

       63.     Plaintiff Kathryn Scheller is a resident citizen of Valencia, Pennsylvania. She has

been enrolled in an individual Highmark BCBS health insurance policy since 1996.

       64.     Plaintiff Iron Gate Technology, Inc. is a Western Pennsylvania corporation with

its principal office located at The Cardello Building, 1501 Reedsdale Street, Suite 107, Pittsburgh,

PA 15233. Plaintiff Iron Gate Technology, Inc. has purchased Highmark BCBS health insurance

to cover its 3 employees since January 2012.

       65.     Plaintiff Nancy Thomas is a resident citizen of Cranston, Rhode Island. She has

been enrolled in an individual BCBS-RI health insurance policy since October 2011.




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       66.     Plaintiff Pioneer Farm Equipment, Inc. is a South Carolina corporation with its

principal office located at847 Big Buck Boulevard, Orangeburg, SC. Plaintiff Pioneer has

purchased BCBS-SC health insurance during the relevant class period.

       67.     Plaintiffs Ross and Angie Hill (“the Hills”) are South Dakota residents. The Hills

purchased BCBS-SD health insurance during the relevant class period.

       68.     Plaintiffs Kevin and Christy Bradberry (“the Bradberrvs”) are South Dakota

residents. The Bradberrys purchased BCBS-SD health insurance during the relevant class period.

       69.     Plaintiffs Debora Forsythe, Tony Forsythe and Hannah Forsythe (“the

Forsythes”) are Tennessee residents. The Forsythes purchased BCBS-TN health insurance during

the relevant class period.

       70.     Plaintiff Brett Watts is a resident citizen of Dallas County, Texas. He has been

enrolled in an individual BCBS-TX health insurance policy during the relevant class period.

       71.     Plaintiff Barr, Sternberg, Moss, Lawrence, Silver & Munson, P.C. (“Barr

Sternberg”) is a Vermont company doing business in Bennington, VT. Plaintiff Barr Sternberg

has purchased BCBS-VT health insurance during the relevant class period.

       72.     Plaintiff Comet Capital LLC (“Comet Capital”) is a Virginia company with its

principal place of business in Troy, Virginia. Plaintiff Comet Capital has purchased BCBS-VA

health insurance during the relevant class period.

       73.     All Plaintiffs other than Plaintiff Judy Sheridan are unaware of any arbitration

provision in their contracts or agreements with the Individual Blue Plans.


Defendants

       74.     Defendant BCBSA is a corporation organized under the state of Illinois and

headquartered in Chicago, Illinois. It is owned and controlled by thirty-six (36) health insurance


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plans that operate under the Blue Cross and Blue Shield trademarks and trade names. BCBSA

was created by these plans and operates as a licensor for these plans. Health insurance plans

operating under the Blue Cross and Blue Shield trademarks and trade names provide health

insurance coverage for approximately 100 million – or one in three – Americans. A BCBS licensee

is the largest health insurer, as measured by number of subscribers, in forty-four (44) states.

       75.     The principal headquarters for BCBSA is located at 225 North Michigan Avenue,

Chicago, IL 60601.

       76.     BCBSA has contacts with all 50 States, the District of Columbia, and Puerto Rico

by virtue of its agreements and contacts with the Individual Blue Plans. In particular, BCBSA has

entered into a series of license agreements with the Individual Blue Plans that control the

geographic areas in which the Individual Blue Plans can operate. These agreements are a subject

of this Complaint.

       77.     Defendant BCBS-AL is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in the state of Alabama. Like many other Blue Cross

and Blue Shield plans nationwide, BCBS-AL is the largest health insurer, as measured by number

of subscribers, within its service area, which is defined as the state of Alabama.

       78.     The principal headquarters for BCBS-AL is located at 450 Riverchase Parkway

East, Birmingham, AL 35244. BCBS-AL does business in each county in the state of Alabama.

       79.     BCBS-AL is by far the largest health insurance company operating in Alabama and

currently exercises market power in the commercial health insurance market throughout Alabama.

As of 2008, at least 93 percent of the Alabama residents who subscribe to full-service commercial

health insurance (whether through group plans or through individual policies) are subscribers of

BCBS-AL. As of 2011, BCBS-AL maintained 86 percent market share in the individual market,



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and 96 percent market share in the small group market. Two recent studies concluded that Alabama

has the least competitive health insurance market in the country. Alabama’s Department of

Insurance Commissioner has recognized that “the state’s health insurance market has been in a

non-competitive posture for many years.”

       80.     As the dominant player in Alabama, BCBS-AL has led the way in causing

premiums to be increased each year. From 2006 to 2010, BCBS-AL small group policy premiums

rose 28 percent from 2006 to 2010 per member per month. In 2010, BCBS-AL raised some

premiums by as much as 17 percent and others by as much as 21 percent. The National Association

of Insurance Commissioners reports that BCBS-AL’s premiums increased almost 42 percent over

the past several years. As a result of these and other inflated premiums, between 2001 and 2009,

BCBS-AL increased its surplus from $433.7 million to $649 million. In 2011, BCBS-AL reported

net income of $256.92 million, 58 percent higher than the previous year, resulting in a profit of

almost $94 million for FY 2011. From 2000 to 2009, the average employer-sponsored health

insurance premium for families in Alabama increased by approximately 88.7 percent, whereas

median earnings rose only 22.4 percent during that same period.

       81.     Defendant BCBS-AK is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and tradenames in Alaska. Like many other Blue Cross and Blue

Shield plans nationwide, BCBS-AK is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Alaska.

       82.     The principal headquarters for BCBS-AK is located at 2550 Denali Street, Suite

1404, Anchorage, AK 99503. BCBS-AK does business in each county in Alaska.

       83.     BCBS-AK currently exercises market power in the commercial health insurance

market throughout Alaska. As of 2010, approximately 60 percent of the Alaska residents who



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subscribe to full-service commercial health insurance (whether through group plans or through

individual policies) are subscribers of BCBS-AK – vastly more than are subscribers of the next

largest commercial insurer operating in Alaska, Aetna, which carries approximately 30 percent of

such subscribers. As of 2011, BCBS-AK held at least a 58 percent share of the individual full-

service commercial health insurance market and at least a 72 percent share of the small group full-

service commercial health insurance market.

       84.     As the dominant insurer in Alaska, BCBS-AK has led the way in causing supra-

competitive prices. From 2000 to 2007, median insurance premiums in Alaska increased nearly

74 percent while median income increased only 13 percent. Thus, health insurance premiums

increased nearly six times faster than income in Alaska during that period. In 2011 alone, BCBS-

AK reported reserves of more than $1 billion.

       85.     Defendant BCBS-AR is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Arkansas. Like many other Blue Cross and Blue

Shield plans nationwide, BCBS-AR is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Arkansas.

       86.     The principal headquarters for BCBS-AR is located at 601 S. Gaines Street, Little

Rock, Arkansas, 72201. BCBS-AR does business in each county in Arkansas.

       87.     BCBS-AR currently exercises market power in the commercial health insurance

market throughout Arkansas. As of 2010, at least 78 percent of the Arkansas residents who

subscribe to full-service individual commercial health insurance and at least 55 percent of the

Arkansas residents who subscribe to small group policies are subscribers of BCBS-AR – vastly

more than are subscribers of the next largest commercial insurer operating in Arkansas, which

carries only 7 percent of individual subscribers and 19 percent of small group subscribers.



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       88.     As the dominant insurer in Arkansas, BCBS-AR has led the way in causing

premiums to be increased each year. As a result, from 2007 to 2011, BCBS-AR’s net income

increased by 64 percent, while its membership remained relatively flat, growing by only 5 percent;

as of 2011, it increased its surplus to a stunning $581.7 million.

       89.     Defendant BCBS-AZ is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Arizona. Like many other Blue Cross and Blue

Shield plans nationwide, BCBS-AZ is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Arizona.

       90.     The principal headquarters for BCBS-AZ is located at 2444 West Las Palmaritas

Drive, Phoenix, AZ 85021. BCBS-AZ does business in each county in Arizona.

       91.     BCBS-AZ currently exercises market power in the commercial health insurance

market throughout Arizona. As of 2011, at least 49 percent of the Arizona residents who subscribe

to full-service individual commercial health insurance and at least 26 percent of the Arizona

residents who subscribe to small group policies are subscribers of BCBS-AZ.

       92.     As the dominant insurer in Arizona, BCBS-AZ has led the way in causing supra-

competitive prices. As a result, by 2010, BCBS-AZ held surpluses in excess of $570 million.

       93.     Defendant BC-CA is the health insurance plan operating under the Blue Cross

trademark and tradename in California. Like many other Blue Cross and Blue Shield plans

nationwide, BC-CA is the largest health insurer, as measured by number of subscribers, within its

service area, which is defined as the state of California.

       94.     The principal headquarters for BC-CA is located at One Wellpoint Way, Thousand

Oaks, CA 91362. BC-CA does business in each county in California.




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        95.        Defendant BS-CA is the health insurance plan operating under the Blue Shield

trademark and tradename in California. Like many other Blue Cross and Blue Shield plans

nationwide, BS-CA is one of the largest health insurers, as measured by number of subscribers,

within its service area, which is defined as the state of California.

        96.        The principal headquarters for BS-CA is located at 50 Beale Street, San Francisco,

CA 94105-1808. BS-CA does business in each county in California.

        97.        BC-CA, together with BS-CA, currently exercises market power in the relevant

commercial health insurance markets throughout California. As of 2010, at least 29 percent of the

California residents who subscribe to full-service commercial health insurance are BC-CA

subscribers alone; as of 2011, at least 37 percent of the California residents who subscribe to

individual full-service commercial health insurance and at least 15 percent of the California

residents who subscribe to small group full-service commercial health insurance are BC-CA

subscribers alone.

        98.        As the dominant insurers in California, BC-CA and BS-CA have led the way in

causing supra-competitive prices. As one result, by 2010, BS-CA alone held surpluses in excess

of $2.2 billion.

        99.        Defendant BCBS-CO is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Colorado. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-CO is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Colorado.

        100.       The principal headquarters for BCBS-CO is located at 120 Monument Circle,

Indianapolis, IN 46204. BCBS-CO does business in each county in Colorado.




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       101.    BCBS-CO currently exercises market power in the commercial health insurance

market throughout Colorado. As of 2010, at least 22 percent of the Colorado residents who

subscribe to full-service commercial health insurance are subscribers of BCBS-CO.

       102.    As the dominant insurer in Colorado, BCBS-CO has led the way in causing supra-

competitive prices.

       103.    Defendant BCBS-CT is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Connecticut. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-CT is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Connecticut.

       104.    The principal headquarters for BCBS-CT is located at 370 Bassett Road, North

Haven, CT 06473. BCBS-CT does business in each county in Connecticut.

       105.    BCBS-CT currently exercises market power in the commercial health insurance

market throughout Connecticut. As of 2011, at least 48 percent of the Connecticut residents who

subscribe to full-service individual commercial health insurance and at least 31 percent of the

Connecticut residents who subscribe to small group policies are subscribers of BCBS-CT.

       106.    As the dominant insurer in Connecticut, BCBS-CT has led the way in causing

supra-competitive prices.

       107.    Defendant BCBS-DE is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Delaware. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-DE is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Delaware.

       108.    The principal headquarters for BCBS-DE is located at 800 Delaware Avenue,

Wilmington, DE 19801. BCBS-DE does business in each county in Delaware.



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        109.    BCBS-DE currently exercises market power in the commercial health insurance

market throughout Delaware. As of 2011, at least 51 percent of the Delaware residents who

subscribe to full-service individual commercial health insurance and at least 61 percent of the

Delaware residents who subscribe to small group policies are subscribers of BCBS-DE.

        110.    As the dominant insurer in Delaware, BCBS-DE has led the way in causing supra-

competitive prices. As a result, by mid-2011, it had built a surplus of over $180 million, an

increase of 48 percent since the end of 2008.

        111.    Defendant BCBS-FL is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Florida. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-FL is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Florida.

        112.    The principal headquarters for BCBS-FL is located at 4800 Deerwood Campus

Parkway, Jacksonville, FL 32246. BCBS-FL does business in each county in Florida.

        113.    BCBS-FL currently exercises market power in the commercial health insurance

market throughout Florida. As of 2010, at least 31 percent of the Florida residents who subscribe

to full-service commercial health insurance (whether through group plans or through individual

policies), and as much as 83 percent of those residents in certain regions of the state, are subscribers

of BCBS-FL. As of 2011, at least 48 percent of the Florida residents who subscribe to individual

full-service commercial health insurance and at least 28 percent of the Florida residents who

subscribe to small group full-service commercial health insurance are BCBS-FL subscribers.

        114.    As the dominant insurer in Florida, BCBS-FL has led the way in causing supra-

competitive prices.




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       115.    Defendant BCBS-GA is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Georgia. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-GA is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Georgia.

       116.    The principal headquarters for BCBS-GA is located at 3350 Peachtree Road NE,

Atlanta, GA 30326. BCBS-GA does business in each county in Georgia.

       117.    BCBS-GA currently exercises market power in the commercial health insurance

market throughout Arizona. As of 2011, at least 48 percent of the Georgia residents who subscribe

to full-service individual commercial health insurance and at least 41 percent of the Georgia

residents who subscribe to small group policies are subscribers of BCBS-GA.

       118.    As the dominant insurer in Georgia, BCBS-GA has led the way in causing supra-

competitive prices.

       119.    Defendant BCBS-HI is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Hawaii. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-HI is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Hawaii.

       120.    The principal headquarters for BCBS-HI is located at 818 Keeaumoku Street,

Honolulu, HI 96814. BCBS-HI does business in each county in Hawaii.

       121.    BCBS-HI currently exercises market power in the commercial health insurance

market throughout Hawaii. As of 2010, at least 69 percent of the Hawaii residents who subscribe

to full-service commercial health insurance (whether through group plans or through individual

policies) are subscribers of BCBS-HI – vastly more than are subscribers of the next largest

commercial insurer operating in Hawaii, Kaiser Permanente, which carries only 20 percent of such



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subscribers. A 2012 study by the American Medical Association found that Hawaii had the

second-least competitive commercial health-insurance market in the country.

       122.    As the dominant insurer in Hawaii, BCBS-HI has led the way in causing supra-

competitive prices. In 2008, for example, BCBS-HI raised its premiums for its Preferred Provider

and HPH Plus plans 9.9% and 11.5%, respectively; from 2003 to 2011 individual and family

insurance premiums in Hawaii increased, on average, 61% and 74%, respectively, while median

household income in Hawaii has failed to keep pace with those increases, rising only 16% for

individuals and falling 1% for families during the same period. As a result of these and other

inflated premiums, BCBS-Hawaii has increased its profits to the point where it holds reserves in

the amount of approximately $400 million.

       123.    Defendant BC-ID is the health insurance plan operating under the Blue Cross

trademark and trade name in Idaho. Like other Blue Cross and Blue Shield plans nationwide, BC-

ID is the largest health insurer, as measured by number of subscribers, within its service area,

which is defined as the state of Idaho.

       124.    The principal headquarters for BC-ID is located at 3000 East Pine Avenue,

Meridian, ID 83642. BC-ID does business in each county in Idaho.

       125.    BC-ID, together with BS-ID, currently exercises market power in the commercial

health insurance market throughout Idaho. As of 2010, at least 47 percent of the Idaho residents

who subscribe to full-service commercial health insurance, including (as of 2011), 44 percent of

those who subscribe to individual products and at least 48 percent of those who subscribe to small

group products, are subscribers of BC-ID.

       126.    Defendant BS-ID is the health insurance plan operating under the Blue Shield

trademark and trade name in Idaho. Like other Blue Cross and Blue Shield plans nationwide, BS-



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ID is one of the largest health insurers, as measured by number of subscribers, within its service

area, which is defined as the state of Idaho.

        127.   The principal headquarters for BS-ID is located at 1602 21st Ave, Lewiston, ID

83501. BS-ID does business in each county in Idaho.

        128.   As the dominant insurers in Idaho, BC-ID and BS-ID have led the way in causing

supra-competitive prices. As a result of these inflated premiums, as of 2010, BC-ID had more than

$415.5 million in capital and surplus.

        129.   Defendant BCBS-IA is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Iowa. Like other Blue Cross and Blue Shield plans

nationwide, BCBS-IA is the largest health insurer, as measured by number of subscribers, within

its service area, which is defined as the state of Iowa.

        130.   The principal headquarters for BCBS-IA is located at 1331 Grand Avenue, Des

Moines, IA 50306. BCBS-IA does business in each county in Iowa.

        131.   BCBS-IA currently exercises market power in the commercial health insurance

market throughout Iowa. As of 2011, at least 83 percent of the Iowa residents who subscribe to

full-service individual commercial health insurance and at least 61 percent of the Iowa residents

who subscribe to small group policies are subscribers of BCBS-IA.

        132.   As the dominant insurer in Iowa, BCBS-IA has led the way in causing supra-

competitive prices. Each year from 2002 to 2012, Iowans’ premiums have increased an average

rate of 10 percent annually, leaving BCBS-IA’s parent company, Wellmark, with a surplus of over

$1 billion.

        133.   Defendant BCBS-IL is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Illinois. Like other Blue Cross and Blue Shield



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plans nationwide, BCBS-IL is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Illinois.

        134.    The principal headquarters for BCBS-IL is located at 300 E. Randolph Street,

Chicago, IL 60601. BCBS-IL does business in each county in Illinois.

        135.    BCBS-IL currently exercises market power in the commercial health insurance

market throughout Illinois. As of 2010, at least 55 percent of the Illinois residents who subscribe

to full-service commercial health insurance for small groups and at least 65 percent of the Illinois

residents who subscribe to full-service commercial health insurance for individuals are subscribers

of BCBS-IL – vastly more than are subscribers of the next largest commercial insurer operating in

Illinois, United Healthcare, which carries only 12 percent of Illinois residents who subscribe to

full-service commercial health insurance.

        136.    As the dominant insurer in Illinois, BCBS-IL has led the way in causing supra-

competitive prices. BCBS-IL raised premiums 10.2 percent in 2007, 18 percent in 2008, and 8.4

percent in 2009, for some customers. As a result of these and other inflated premiums, HCSC,

which owns BCBS-IL, grew its surplus from $6.1 billion in 2007 to $6.7 billion in 2009, up from

$4.3 billion just four years earlier in 2005. The company’s surplus is five times the minimum

required for solvency protection.

        137.    Defendant BCBS-IN is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Indiana. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-IN is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Indiana.

        138.    The principal headquarters for BCBS-IN is located at 120 Monument Circle,

Indianapolis, IN 46204. BCBS-IN does business in each county in Indiana.



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       139.    BCBS-IN currently exercises market power in the commercial health insurance

market throughout Indiana. As of 2012, at least 56 percent of the Indiana residents who subscribe

to full-service commercial health insurance (whether through group plans or through individual

policies) are subscribers of BCBS-IN – vastly more than are subscribers of the next largest

commercial insurer operating in Indiana, United Healthcare, which carries only 14 percent of such

subscribers. As of 2013, at least 59 percent of the Indiana residents who subscribe to full-service

commercial health insurance for individuals and 56 percent of small group insureds are subscribers

of BCBS-IN. Its parent company, Anthem, is the largest publicly traded commercial health

benefits company in terms of membership in the United States.

       140.    As the dominant insurer in Indiana, BCBS-IN has led the way in causing supra-

competitive prices. As a result of these and other inflated premiums, BCBS-IN’s parent company,

Anthem, has a surplus in excess of $300 million.

       141.    Defendant BCBS-KS is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Kansas. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-KS is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Kansas.

       142.    The principal headquarters for BCBS-KS is located at 1133 SW Topeka Boulevard,

Topeka, KS 66629. BCBS-KS does business in each county in Kansas.

       143.    BCBS-KS currently exercises market power in the commercial health insurance

market throughout Kansas. As of 2011, at least 47 percent of the Kansas residents who subscribe

to full-service individual commercial health insurance and as of 2013, at least 64 percent of the

Kansas residents who subscribe to small group policies are subscribers of BCBS-KS.




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       144.    As the dominant insurer in Kansas, BCBS-KS has led the way in causing supra-

competitive prices.

       145.    Defendant BCBS-KY is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Kentucky. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-KY is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Kentucky.

       146.    The principal headquarters for BCBS-KY is located at 13550 Triton Park Blvd.,

Louisville, KY 40223. BCBS-KY does business in each county in Kentucky.

       147.    BCBS-KY currently exercises market power in the commercial health insurance

market throughout Kentucky.       BCBS-KY commands at least 85 percent of the market for

individual health insurance plans, with nearly 127,000 customers. The next largest carrier in

Kentucky, Humana, has less than 12 percent of the market, demonstrating the complete lack of

meaningful competition within this market. A 2007 study published by the American Medical

Association shows BCBS-KY’s statewide market share for PPO plans was 66 percent. However,

in Owensboro it was at least 73 percent and in Bowling Green the market share was at least 79

percent. A 2012 report published by the University of Kentucky indicates that BCBS-KY has at

least 53 percent market share in HMO enrollment in Kentucky. These figures represent a steep

increase from earlier years. For example, data submitted to the U.S. Securities and Exchange

Commission shows BCBS-KY’s overall market share in Kentucky in 1993 was just 38 percent.

       148.    As the dominant insurer in Kentucky, BCBS-KY (another Anthem Blue) has led

the way in causing supra-competitive prices. As a result of its inflated premiums, BCBS-KY

collects $326 million in premiums annually. The state’s next largest insurer, Humana, collects just

$27 million, or less than 10 percent as much as BCBS-KY.



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       149.    Defendant BCBS-LA is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Louisiana. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-LA is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Louisiana.

       150.    The principal headquarters for BCBS-LA is located at 5525 Reitz Avenue, Baton

Rouge, LA 70809. BCBS-LA does business in each parish in Louisiana.

       151.    BCBS-LA currently exercises market power in the commercial health insurance

market throughout Louisiana. As of 2010, at least 73 percent of the Louisiana residents who

subscribe to full-service commercial health insurance in the individual market and at least 80

percent of the Louisiana residents who subscribe to full-service commercial health insurance in

the small group market are subscribers of BCBS-LA – vastly more than are subscribers of the next

largest commercial insurer operating in Louisiana, United Healthcare.

       152.    As the dominant insurer in Louisiana, BCBS-LA has led the way in causing supra-

competitive prices. In fact, from 2000 to 2007, Louisiana health insurance premiums increased by

75.3 percent, 3.3 times faster than Louisiana wages, which only increased by 22.9 percent.

Additionally, a 2009 forecast predicted that an average Louisiana worker would spend nearly 60

percent of her or his income on health insurance by 2016, one of the highest predicted nationwide

ratios. As a result of its inflated premiums, BCBS-LA has amassed a massive surplus; between

2004 and 2008, its surplus rose from $352.7 million to $621.1 million. As of the end of 2010,

BCBS-LA’s surplus exceeded $706.6 million.

       153.    Defendant BCBS-ME is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Maine. Like other Blue Cross and Blue Shield




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plans nationwide, BCBS-ME is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Maine.

       154.    The principal headquarters for BCBS-ME is located at 2 Gannett Drive, South

Portland, ME 04016. BCBS-ME does business in each county in Maine.

       155.    BCBS-ME currently exercises market power in the commercial health insurance

market throughout Maine. As of 2011, at least 45 percent of the Maine residents who subscribe to

full-service individual commercial health insurance and at least 50 percent of the Maine residents

who subscribe to small group policies are subscribers of BCBS-ME.

       156.    As the dominant insurer in Maine, BCBS-ME has led the way in causing supra-

competitive prices.

       157.    Defendant BCBS-MD is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Maryland. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-MD is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Maryland.

       158.    The principal headquarters for BCBS-MD is located at 10455 and 10453 Mill Run

Circle, Owings Mill, MD 21117. BCBS-MD does business in each county in Maryland.

       159.    BCBS-MD currently exercises market power in the commercial health insurance

market throughout Maryland. As of 2011, at least 70 percent of the Maryland residents who

subscribe to full-service individual commercial health insurance and at least 72 percent of the

Maryland residents who subscribe to small group policies are subscribers of BCBS-MD.

       160.    As the dominant insurer in Maryland, BCBS-MD has led the way in causing supra-

competitive prices. As a result, BCBS-MD’s parent company, CareFirst, accumulated nearly $1

billion in surplus by the end of 2011.



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       161.    Defendant BCBS-MA is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Massachusetts. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-MA is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Massachusetts.

       162.    The principal headquarters for BCBS-MA is located at 401 Park Drive, Boston,

MA 02215. BCBS-MA does business in each county in Massachusetts.

       163.    BCBS-MA currently exercises market power in the commercial health insurance

market throughout Massachusetts. As of 2011, at least 63 percent of the Massachusetts residents

who subscribe to full-service individual commercial health insurance and at least 40 percent of the

Massachusetts residents who subscribe to small group policies are subscribers of BCBS-MA.

       164.    As the dominant insurer in Massachusetts, BCBS-MA has led the way in causing

supra-competitive prices. As a result, by mid-2010, BCBS-MA had amassed a surplus of $1.4

billion. In 2011, BCBS-MA paid one of its departing executives a severance of over $11 million.

       165.    Defendant BCBS-MI is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Michigan. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-MI is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Michigan.

       166.    The principal headquarters for BCBS-MI is located at 600 E. Lafayette Blvd.,

Detroit, MI 48226. BCBS-MI does business in each county in Michigan.

       167.    BCBS-MI currently exercises market power in the commercial health insurance

market throughout Michigan. As of 2010, at least 69 percent of the Michigan residents who

subscribe to full-service commercial health insurance (whether through group plans or through

individual policies) are subscribers of BCBS-MI – vastly more than are subscribers of the next



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largest commercial insurer operating in Michigan, Priority Health, which carries only 9 percent of

such subscribers.    The American Medical Association ranks Michigan as the third least

competitive state for commercial coverage, as of 2010.

         168.   As the dominant insurer in Michigan, BCBS-MI has led the way in causing supra-

competitive prices. Premiums in the small group market grew by 9% and 13% in 2010 and 2011.

BCBS-MI raised rates on individuals 22% in 2009 alone. As a result of these and other inflated

premiums, BCBS-MI earned profits of $222 million and $40 million in 2010 and 2011,

respectively, and currently maintains a reserve of approximately $3 billion. This “non-profit” pays

its CEO compensation of $3.8 million annually. Additionally, facing increasing political pressure

to reform its practices, BCBS-MI has used its “profits” to increase its political influence. In the

1990 election cycle, BCBS-MI spent about $155,000 through its political action committee on

campaign contributions. That number now has soared to $1.2 million in the 2011-2012 campaign

cycle.

         169.   Defendant BCBS-MN is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Minnesota. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-MN is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Minnesota.

         170.   The principal headquarters for BCBS-MN is located at 3535 Blue Cross Road, St.

Paul, MN 55164. BCBS-MN does business in each county in Minnesota.

         171.   BCBS-MN currently exercises market power in the commercial health insurance

market throughout Minnesota. As of 2013, at least 57 percent of the Minnesota residents who

subscribe to full-service individual commercial health insurance and at least 38 percent of the

Minnesota residents who subscribe to small group policies are subscribers of BCBS-MN.



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       172.    As the dominant insurer in Minnesota, BCBS-MN has led the way in causing supra-

competitive prices. As a result, by 2011, BCBS-MN had accumulated more than $250 million in

surplus.   In 2010, BCBS-MN paid its then-current CEO, Peter Geraghty, $1.5 million in

compensation, the highest salary for any Minnesota non-profit leader.

       173.    Defendant BCBS-MS is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Mississippi. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-MS is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Mississippi.

       174.    The principal headquarters for BCBS-MS is located at 3545 Lakeland Drive,

Flowood, MS 39232. BCBS-MS does business in each county in Mississippi.

       175.    BCBS-MS currently exercises market power in the commercial health insurance

market throughout Mississippi. As of 2011, at least 57 percent of the Mississippi residents who

subscribe to full-service commercial health insurance through individual policies and at least 73

percent of the Mississippi residents who subscribe to full-service commercial health insurance

through small group plans are subscribers of BCBS-MS – vastly more than are subscribers of the

next largest commercial insurer operating in Mississippi, United Healthcare.

       176.    As the dominant insurer in Mississippi, BCBS-MS has led the way in causing

supra-competitive prices. As a result of these and other inflated premiums, BCBS-MS now has a

surplus of approximately $561 million.

       177.    Defendant BCBS-MO is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Missouri, except for 32 counties in greater Kansas

City and NW Missouri. Like other Blue Cross and Blue Shield plans nationwide, BCBS-MO is




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the largest health insurer, as measured by number of subscribers, within its service area, which is

defined as the state of Missouri, except the 32 counties in greater Kansas City and NW Missouri.

       178.    The principal headquarters for BCBS-MO is located at 1831 Chestnut Street, St.

Louis, MO 63103. BCBS-MO does business in all but 32 counties in the state of Missouri.

       179.    Defendant BCBS-KC is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in the 32 counties of greater Kansas City and NW

Missouri, plus Johnson and Wyandotte counties in Kansas. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-Kansas City is one of the largest health insurers, as measured by number

of subscribers, within its service area, which is defined as the 32 counties of greater Kansas City

and NW Missouri, plus Johnson and Wyandotte counties in Kansas.

       180.    The principal headquarters for BCBS-Kansas City is located at 2301 Main Street,

One Pershing Square, Kansas City, MO 64108. BCBS-Kansas City does business in each county

in the 32 counties of greater Kansas City and NW Missouri, plus Johnson and Wyandotte counties

in Kansas.

       181.    BCBS-MO, with BCBS-KC, currently exercises market power in the commercial

health insurance market throughout Missouri (with the exception of certain counties which are not

part of its service area). As of 2010, at least 26 percent of the Missouri residents who subscribe to

full-service commercial health insurance (whether through group plans or through individual

policies) are subscribers of BCBS-MO, including at least 32 percent of those with individual

insurance products and at least 48 percent of those with small group insurance products. In parts

of its service area in Missouri, BCBS-KC has as much as 62 percent market share, or more.

       182.    As the dominant insurers in Missouri, BCBS-MO and BCBS-KC have led the way

in causing supra-competitive prices. In fact, health insurance premiums for Missouri working



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families increased 76 percent from 2000 to 2007. For family health coverage in Missouri from

2000 to 2007, the average employer’s portion of annual premiums rose 72 percent, while the

average worker’s share grew by 91 percent.

       183.      Defendant BCBS-MT is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Montana. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-MT is one of the largest health insurers, as measured by number of

subscribers, within its service area, which is defined as the state of Montana. Defendant Health

Care Service Corporation acquired Blue Cross and Blue Shield of Montana in 2012. Following the

asset sale, the original Montana entity, which is now known as Caring for Montanans, Inc., no

longer operated as a health insurer. However, Health Care Service Corporation has assumed

liability for claims involving Blue Cross and Blue Shield of Montana in this MDL.

       184.      The principal headquarters for BCBS-MT is located at 560 N. Park Avenue,

Helena, MT 59604-4309. BCBS-MT does business in each county in Montana.

       185.      BCBS-MT currently exercises market power in the commercial health insurance

market throughout Montana. As of 2011, at least 56 percent of the Montana residents who

subscribe to full-service individual commercial health insurance and at least 72 percent of the

Montana residents who subscribe to small group policies are subscribers of BCBS-MT. The

American Medical Association has identified Montana as one of 10 states experiencing the largest

drop in competition levels for commercial health insurance between 2010 and 2013.

       186.      As the dominant insurer in Montana, BCBS-MT has led the way in causing supra-

competitive prices. In 2010, for example, BCBS-MT raised some insurance premiums by as much

as 40 percent.




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       187.    Defendant BCBS-NE is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Nebraska. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-NE is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Nebraska.

       188.    The principal headquarters for BCBS-NE is located at 1919 Aksarban Drive,

Omaha, NE 68180. BCBS-NE does business in each county in Nebraska.

       189.    BCBS-NE currently exercises market power in the commercial health insurance

market throughout Nebraska. As of 2011, at least 65 percent of the Nebraska residents who

subscribe to full-service individual commercial health insurance and at least 42 percent of the

Nebraska residents who subscribe to small group policies are subscribers of BCBS-NE.

       190.    As the dominant insurer in Nebraska, BCBS-NE has led the way in causing supra-

competitive prices. In 2012, BCBS-NE raised premiums an average of 10 percent, some by as

much as 17 percent.

       191.    Defendant BCBS-NV is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Nevada. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-NV is one of the largest health insurers, as measured by number of

subscribers, within its service area, which is defined as the state of Nevada.

       192.    The principal headquarters for BCBS-NV is located at 9133 West Russell Rd.

Suite 200, Las Vegas, NV 89148. BCBS-NV does business in each county in Nevada.

       193.    BCBS-NV currently exercises market power in the commercial health insurance

market throughout Nevada. As of 2010, BCBS-NV had as much as 31 percent market share of

full-service commercial health insurance in regions of its service area.




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       194.    As one of the dominant insurers in Nevada, BCBS-NV has led the way in causing

supra-competitive prices.

       195.    Defendant BCBS-NH is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in New Hampshire. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-NH is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of New Hampshire.

       196.    The principal headquarters for BCBS-NH is located at 3000 Goffs Falls Rd,

Manchester, NH 03103. BCBS-NH does business in each county in New Hampshire.

       197.    BCBS-NH currently exercises market power in the commercial health insurance

market throughout New Hampshire. As of 2010 and 2011, at least 51 percent of the New

Hampshire residents who subscribe to full-service commercial health insurance—including at least

76 percent of those who subscribe to individual plans and at least 67 percent of those who subscribe

to small group plans—are subscribers of BCBS-NH – vastly more than are subscribers of the next

largest commercial insurer operating in New Hampshire, Harvard Pilgrim, which carries only 20

percent of such subscribers.

       198.    As the dominant insurer in New Hampshire, BCBS-NH has led the way in causing

supra-competitive prices. For example, from 2009 to 2010 the cost of insurance coverage for small

groups and individuals rose 15% and 39%, respectively. As a result of these and other inflated

premiums, between 2006 and 2011, BCBS-NH reported annual income between $26 million and

$112 million and a cumulative profit of approximately $360 million.

       199.    Defendant BCBS-NJ is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in New Jersey. Like other Blue Cross and Blue Shield




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plans nationwide, BCBS-NJ is one of the largest health insurers, as measured by number of

subscribers, within its service area, which is defined as the state of New Jersey.

       200.    The principal headquarters for BCBS-NJ is located at Three Penn Plaza East,

Newark, NJ 07105. BCBS-NJ does business in each county in New Jersey.

       201.    BCBS-NJ currently exercises market power in the commercial health insurance

market throughout New Jersey. As of 2011, at least 63 percent of the New Jersey residents who

subscribe to full-service individual commercial health insurance and at least 59 percent of the New

Jersey residents who subscribe to small group policies are subscribers of BCBS-NJ.

       202.    As the dominant insurer in New Jersey, BCBS-NJ has led the way in causing supra-

competitive prices. In 2010, CEO and President William Marino received $8.7 million in

compensation, three other executives made more than $2 million in total compensation, and six

others made more than $1 million.

       203.    Defendant BCBS-NM is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in New Mexico. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-NM is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of New Mexico.

       204.    The principal headquarters for BCBS-NM is located at 5701 Balloon Fiesta

Parkway Northeast, Albuquerque, NM 87113. BCBS-NM does business in each county in New

Mexico.

       205.    BCBS-NM currently exercises market power in the commercial health insurance

market throughout New Mexico. As of 2011, at least 52 percent of the New Mexico residents who

subscribe to full-service individual commercial health insurance and at least 31 percent of the New

Mexico residents who subscribe to small group policies are subscribers of BCBS-NM.



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       206.    As the dominant insurer in New Mexico, BCBS-NM has led the way in causing

supra-competitive prices. As a result, BCBS-NM’s parent company, Health Care Service Corp.,

was able to amass an estimated $6.1 billion in surplus by 2007. For at least three years following,

some BCBS-NM subscribers faced annual rate hikes of up to 20 percent.

       207.    Defendant Empire BCBS is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in Eastern and Southeastern New York. Like

other Blue Cross and Blue Shield plans nationwide, Empire BCBS is the largest health insurer, as

measured by number of subscribers, within its service area, which is defined as the 28 counties of

Eastern and Southeastern New York state.

       208.    The principal headquarters for Empire BCBS is located at One Liberty Plaza, New

York, NY 10006. Empire BCBS does business in each county in New York.

       209.    Defendant BCBS-Western New York is the health insurance plan operating under

the Blue Cross and Blue Shield trademarks and trade names in Western New York. Like other

Blue Cross and Blue Shield plans nationwide, BCBS-Western New York is one of the largest

health insurers, as measured by number of subscribers, within its service area, which is defined as

Western New York state.

       210.    The principal headquarters for BCBS-Western New York is located at 257 West

Genesee Street, Buffalo, NY 14202. BCBS-Western New York does business in a number of

counties in Western New York.

       211.    Defendant BS-Northeastern New York is the health insurance plan operating

under the Blue Shield trademark and trade name in Northeastern New York. Like other Blue Cross

and Blue Shield plans nationwide, BS-Northeastern New York is one of the largest health insurers,




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as measured by number of subscribers, within its service area, which is defined as 13 counties in

Northeastern New York.

        212.   The principal headquarters for BS-Northeastern New York is located at 257 West

Genesee Street, Buffalo, NY 14202. BS-Northeastern New York does business in 13 counties in

Northeastern New York.

        213.   Defendant Excellus BCBS is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in central New York. Like other Blue Cross

and Blue Shield plans nationwide, Excellus BCBS is one of the largest health insurers, as measured

by number of subscribers, within its service area, which is defined as 31 counties in central New

York.

        214.   The principal headquarters for Excellus BCBS is located at 165 Court Street,

Rochester, NY 14647. Excellus BCBS does business in each county in the 31 counties of central

New York.

        215.   Empire BCBS, BCBS-Western New York, BS-Northeastern New York, and

Excellus BCBS currently exercise market power in the commercial health insurance market

throughout their respective service areas of New York. As of 2010, at least 67 percent of the New

York residents who subscribe to full-service commercial health insurance are subscribers of these

New York Individual Blue Plans.

        216.   As the dominant insurers in New Mexico, Empire BCBS, BCBS-Western New

York, BS-Northeastern New York, and Excellus BCBS have led the way in causing supra-

competitive prices.

        217.   Defendant BCBS-NC is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in North Carolina. Like other Blue Cross and Blue



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Shield plans nationwide, BCBS-NC is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of North Carolina.

        218.   The principal headquarters for BCBS-NC is located at 5901 Chapel Hill Road,

Durham, NC 27707. BCBS-NC does business in each county in North Carolina.

        219.   BCBS-NC currently exercises market power in the commercial health insurance

market throughout North Carolina. According to the North Carolina Department of Insurance

(“NCDOI”), over 73 percent of the North Carolina residents who subscribe to full-service

commercial health insurance (whether through group plans or through individual policies) are

subscribers of BCBS-NC – vastly more than the next largest full-service commercial insurer,

Coventry Health Care, which carries only 7 percent of all subscribers. BCBS-NC currently has a

greater than 50 percent share of full-service commercial health insurance enrollees in all fifteen of

the major metropolitan health insurance markets in the State, and a greater than 75 percent share

in ten of those fifteen markets. As of 2011, BCBS-NC had at least an 83 percent share of the

individual market and at least a 63 percent share of the small group market.

        220.   As the dominant insurer in North Carolina, BCBS-NC has led the way in causing

supra-competitive prices. As a result of these inflated premiums, BCBS-NC now has a surplus of

over $1.4 billion and has paid salaries and bonuses to its executives in the millions of dollars each

year.

        221.   Defendant BCBS-ND is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in North Dakota. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-ND is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of North Dakota.




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       222.    The principal headquarters for BCBS-ND is located at 4510 13th Avenue South,

Fargo, ND 58121. BCBS-ND does business in each county in North Dakota.

       223.    BCBS-ND currently exercises market power in the commercial health insurance

market throughout North Dakota. As of 2013, at least 80 percent of the North Dakota residents

who subscribe to full-service individual commercial health insurance and at least 85 percent of the

North Dakota residents who subscribe to small group policies are subscribers of BCBS-ND.

       224.    As the dominant insurer in North Dakota, BCBS-ND has led the way in causing

supra-competitive prices. In 2011, BCBS-ND raised premiums for some subscribers by as much

as 17 percent; in 2009, an audit revealed that the insurer had spent nearly $35,000 for a farewell

party for an unnamed executive the year before.

       225.    Defendant BCBS-OH is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Ohio. Like other Blue Cross and Blue Shield plans

nationwide, BCBS-OH is the largest health insurer, as measured by number of subscribers, within

its service area, which is defined as the state of Ohio.

       226.    The principal headquarters for BCBS-OH is located at 120 Monument Circle,

Indianapolis, IN 46203. BCBS-OH does business in each county in Ohio.

       227.    BCBS-OH currently exercises market power in the commercial health insurance

market throughout Ohio. As of 2011, at least 36 percent of the Ohio residents who subscribe to

full-service individual commercial health insurance and at least 41 percent of the Ohio residents

who subscribe to small group policies are subscribers of BCBS-OH.

       228.    As the dominant insurer in Ohio, BCBS-OH has led the way in causing supra-

competitive prices. In 2013, the insurer raised rates for small group subscribers by an average of

12 percent.



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       229.    Defendant BCBS-OK is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Oklahoma. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-OK is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Oklahoma.

       230.    The principal headquarters for BCBS-OK is located at 1400 South Boston, Tulsa,

OK 74119. BCBS-OK does business in each county in Oklahoma.

       231.    BCBS-OK currently exercises market power in the commercial health insurance

market throughout Oklahoma. As of 2012, at least 67 percent of the Oklahoma residents who

subscribe to full-service commercial health insurance (whether through group plans or through

individual policies) are subscribers of BCBS-OK – vastly more than are subscribers of the next

largest commercial insurer operating in Oklahoma, Aetna, which carries only 19 percent of such

subscribers. As of 2013, BCBS-OK maintained at least 64 percent market share in the individual

market, and at least 60 percent market share in the small group market. The 2012 Oklahoma

Insurance Department Annual Report placed BCBS-OK’s individual plan market share at 70

percent and group plan market share at 56 percent.

       232.    As the dominant insurer in Oklahoma, BCBS-OK has led the way in causing supra-

competitive prices. From 2005 (when Health Care Service Corp. purchased BCBS-OK) to 2011,

BCBS-OK nearly doubled its premium revenue, from $956 million to $1.8 billion. Health Care

Service Corp. now has a surplus of over $620 million.

       233.    Defendant BCBS-OR is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Oregon. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-OR is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Oregon.



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       234.    The principal headquarters for BCBS-OR is located at 100 SW Market Street,

Portland, OR 97207. BCBS-OR does business in each county in Oregon.

       235.    BCBS-OR currently exercises market power in the commercial health insurance

market throughout Oregon. As of 2011, at least 35 percent of the Oregon residents who subscribe

to full-service individual commercial health insurance and at least 21 percent of the Oregon

residents who subscribe to small group policies are subscribers of BCBS-OR.

       236.    As the dominant insurer in Oregon, BCBS-OR has led the way in causing supra-

competitive prices. From 2009 to 2010, while building a surplus of $565 million (3.6 times the

regulatory minimum), BCBS-OR raised rates on some individual plans by an average of 25

percent.

       237.    Defendant Highmark BCBS is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in Western Pennsylvania and the Blue Shield

trademarks and trade names throughout the entire state of Pennsylvania. Like other Blue Cross

and Blue Shield plans nationwide, Highmark BCBS is the largest health insurer, as measured by

number of subscribers, within its Blue Cross and Blue Shield service area, which is defined as the

29 counties of Western Pennsylvania: Allegheny, Armstrong, Beaver, Bedford, Blair, Butler,

Cambria, Cameron, Centre (Western portion), Clarion, Clearfield, Crawford, Elk, Erie, Fayette,

Forest, Green, Huntingdon, Indiana, Jefferson, Lawrence, McKean, Mercer, Potter, Somerset,

Venango, Warren, Washington, and Westmoreland Counties. (As described below, Highmark

BCBS has entered into illegal and anticompetitive agreements with at least two of the other

Individual Blue Plans in Pennsylvania, which prevent Highmark BCBS from competing under its

Blue Shield trademark in Northeastern and Southeastern Pennsylvania.)




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       238.     The principal headquarters for Highmark BCBS is located at 120 Fifth Avenue

Place, Pittsburgh, PA 15222.      Highmark BCBS does business in each county in Western

Pennsylvania.

       239.     Defendant BC-Northeastern PA is the health insurance plan operating under the

Blue Cross trademark and trade name in Northeastern Pennsylvania. During the pendency of this

litigation, BC-Northeastern PA has been acquired by Highmark, Inc. Like other Blue Cross and

Blue Shield plans nationwide, BC-Northeastern PA is one of the largest health insurers, as

measured by number of subscribers, within its service area, which is defined as the 13 counties

that make up Northeastern Pennsylvania: Bradford, Carbon, Clinton, Lackawanna, Luzerne,

Lycoming, Monroe, Pike, Sullivan, Susquehanna, Tioga, Wayne, and Wyoming Counties.

       240.     The principal headquarters for BC-Northeastern PA is located at 19 North Main

Street, Wilkes-Barre, PA. 18711.       BC-Northeastern PA does business in each county in

Northeastern Pennsylvania.

       241.     Defendant Capital BC is the health insurance plan operating under the Blue Cross

trademark and trade name in central Pennsylvania. Like other Blue Cross and Blue Shield plans

nationwide, Capital BC is one of the largest health insurers, as measured by number of subscribers,

within its service area, which is defined as the 21 counties that make up central Pennsylvania:

Adams, Berks, Centre (Eastern portion), Columbia, Cumberland, Dauphin, Franklin, Fulton,

Juaniata, Lancaster, Lebanon, Lehigh, Mifflin, Montour, Northampton, Northumberland, Perry,

Schuylkill, Snyder, Union, and York Counties.

       242.     The principal headquarters for Capital BC is located at 2500 Elmerton Avenue,

Harrisburg, PA 17177. Capital BC does business in 21 counties in central Pennsylvania.




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       243.     Defendant Independence BC is the health insurance plan operating under the Blue

Cross trademark and trade name in Southeastern Pennsylvania. Like other Blue Cross and Blue

Shield plans nationwide, Independence BC is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the 5 counties that make up Southeastern

Pennsylvania: Bucks, Chester, Delaware, Montgomery, and Philadelphia Counties.

       244.     The principal headquarters for Independence BC is located at 1901 Market Street,

Philadelphia, PA 19103.      Independence BC does business in each county in Southeastern

Pennsylvania.

       245.     Highmark BCBS, BC-Northeastern PA, Capital BC, and Independence BC

currently exercise market power in the commercial health insurance market in their respective

services areas of Pennsylvania, including Highmark BCBS throughout Western Pennsylvania.

Since 2000, between 60% and 80% of the Western Pennsylvania residents who subscribe to full-

service commercial health insurance (whether through group plans or through individual policies)

are subscribers of Highmark. Highmark Executive Vice President John Paul has stated publicly

that Highmark is “an insurer that clearly dominates the commercial market” and “it’s pretty

obvious [Highmark] control[s] finance of health care in western Pennsylvania.” As of 2006, at

least 60 percent of the Northeastern Pennsylvania residents who subscribe to full-service

commercial health insurance (whether through group plans or through individual policies) are

subscribers of BC-Northeastern PA, at least and at least 62 percent of the Southeastern

Pennsylvania residents who subscribe to full-service commercial health insurance (whether

through group plans or through individual policies) are subscribers of Independence BC.

       246.     As the dominant insurers in Pennsylvania, Highmark BCBS, BC-Northeastern PA,

Capital BC, and Independence BC have led the way in causing supra-competitive prices. From



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2002-2006, health insurance premiums for single individuals in the Pittsburgh area rose

approximately 55% and health insurance premiums for Pittsburgh families rose approximately

51%. In 2008, Highmark raised its rates for its CompleteCare program by 15%. In 2012,

Highmark filed for premium rate increases of 9.8% for its small group plans. As a result of these

and other inflated premiums, net income increased from less than $50 million in 2001 to

approximately $444.7 million in 2011. By the end of 2005, Highmark’s surplus (i.e., assets in

excess of legally required reserves to pay claims) exceeded $2.8 billion; by 2011, it exceeded $4.1

billion. In 2012, Highmark paid its CEOs more than $6 million and paid its Board of Directors

$1.9 million.

       247.     Defendant BCBS-Puerto Rico is the health insurance plan operating under the

Blue Cross and Blue Shield trademarks and trade names in Puerto Rico. Like other Blue Cross

and Blue Shield plans nationwide, BCBC-Puerto Rico is one of the largest health insurers, as

measured by number of subscribers, within its service area, which is defined as the territory of

Puerto Rico.

       248.     The principal headquarters for BCBS-Puerto Rico is located at 1441 F.D. Roosevelt

Avenue, San Juan, Puerto Rico 00920. BCBS-Puerto Rico does business throughout Puerto Rico.

       249.     BCBS-Puerto Rico currently exercises market power in the commercial health

insurance market throughout Puerto Rico. As a dominant insurer in Puerto Rico, BCBS-Puerto

Rico has led the way in causing supra-competitive prices.

       250.     Defendant BCBS-RI is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Rhode Island. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-RI is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Rhode Island.



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       251.    The principal headquarters for BCBS-RI is located at 500 Exchange Street,

Providence, RI 02903. BCBS-RI does business in each county in Rhode Island.

       252.    BCBS-RI currently exercises market power in the commercial health insurance

market throughout Rhode Island. As of 2012, at least 71 percent of the Rhode Island residents

who subscribe to full-service commercial health insurance (whether through group plans or

through individual policies) are subscribers of BCBS-RI – vastly more than are subscribers of the

next largest commercial insurer operating in Rhode Island, United Healthcare, which carries only

15 percent of such subscribers. As of 2011, BCBS-RI maintained a stunning 95 percent market

share in the individual market, and at least 74 percent market share in the small group market.

       253.    As the dominant insurer in Rhode Island, BCBS-RI has led the way in causing

supra-competitive prices. From 2003 to 2011, individual and family insurance premiums rose 59

percent and 61 percent, respectively. From 2000 to 2009, the average employer-sponsored health

insurance premiums for families in Rhode Island increased by approximately 105.8 percent,

whereas median earnings rose only 22.4 percent during that same period. In 2011, BCBS-RI raised

premiums by about 10%. As a result of these and other inflated premiums, by 2011, BCBS-RI

had amassed an approximately $320 million surplus.

       254.    Defendant BCBS-SC is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in South Carolina. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-SC is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of South Carolina.

       255.    The principal headquarters for BCBS-SC is located at 2501 Faraway Drive,

Columbia, SC 29212. BCBS-SC does business in each county in South Carolina.




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       256.    BCBS-SC currently exercises market power in the commercial health insurance

market throughout South Carolina. As of 2010, at least 60 percent of the South Carolina residents

who subscribe to full-service commercial health insurance (whether through group plans or

through individual policies) are subscribers of BCBS-SC – vastly more than are subscribers of the

next largest commercial insurer operating in South Carolina, Cigna, which carries only 15 percent

of such subscribers. As of 2011, BCBS-SC maintained 55 percent market share in the individual

market, and 70 percent market share in the small group market.

       257.    As the dominant insurer in South Carolina, BCBS-SC has led the way in causing

supra-competitive prices. As a result of these inflated premiums, BCBS-SC now has a surplus of

reserves over $1.7 billion.

       258.    Defendant BCBS-SD is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in South Dakota. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-SD is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of South Dakota.

       259.    The principal headquarters for BCBS-SD is located at 1601 W. Madison, Sioux

Falls, SD 57104. BCBS-SD does business in each county in South Dakota.

       260.    BCBS-SD currently exercises market power in the commercial health insurance

market throughout South Dakota. As of 2011, at least 74 percent of the South Dakota residents

who subscribe to full-service individual commercial health insurance and at least 62 percent of the

South Dakota residents who subscribe to small group policies are subscribers of BCBS-SD.

       261.    As the dominant insurer in South Dakota, BCBS-SD has led the way in causing

supra-competitive prices. As a result, as of 2012, its parent company, Wellmark, held a surplus of

over $1 billion.



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        262.    Defendant BCBS-TN is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Tennessee. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-TN is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Tennessee.

        263.    The principal headquarters for BCBS-TN is located at 1 Cameron Hill Circle,

Chattanooga, TN 37402. BCBS-TN does business in each county in Tennessee.

        264.    BCBS-TN currently exercises market power in the commercial health insurance

market throughout Tennessee. As of 2010, at least 46 percent of the Tennessee residents who

subscribe to full-service commercial health insurance (whether through group plans or through

individual policies) are subscribers of BCBS-TN – vastly more than are subscribers of the next

largest commercial insurer operating in Tennessee, Cigna, which carries only 24 percent of such

subscribers. As of 2013, BCBS-TN maintained at least 42 percent market share in the individual

market and at least 67 percent market share in the small group market.

        265.    As the dominant insurer in Tennessee, BCBS-TN has led the way in causing supra-

competitive prices. As a result of these inflated premiums, BCBS-TN now has a surplus of almost

$1.6 billion.

        266.    Defendant BCBS-TX is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Texas. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-TX is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Texas.

        267.    The principal headquarters for BCBS-TX is located at 1001 E. Lookout Drive,

Richardson, TX 75082. BCBS-TX does business in each county in Texas.




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       268.    BCBS-TX currently exercises market power in the commercial health insurance

market throughout Texas. As of 2010, at least 35 percent of the Texas residents who subscribe to

full-service commercial health insurance (whether through group plans or through individual

policies) are subscribers of BCBS-TX – vastly more than are subscribers of the next largest

commercial insurer operating in Texas, Aetna, which carries only 22 percent of such subscribers.

As of 2011, BCBS-TX maintained 57 percent market share in the individual market and 46 percent

market share in the small group market.

       269.    As the dominant insurer in Texas, BCBS-TX has led the way in causing supra-

competitive prices. As a result of these inflated premiums, BCBS-TX’s parent company, Health

Care Service Corp., now has a surplus of more than $620 million.

       270.    Defendant BCBS-UT is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Utah. Like other Blue Cross and Blue Shield plans

nationwide, BCBS-UT is one of the largest health insurers, as measured by number of subscribers,

within its service area, which is defined as the state of Utah.

       271.    The principal headquarters for BCBS-UT is located at 2890 East Cottonwood

Parkway, Salt Lake City, UT 84121. BCBS-UT does business in each county in Utah.

       272.    BCBS-UT currently exercises market power in the commercial health insurance

market throughout Utah. As of 2011, at least 17 percent of the Utah residents who subscribe to

full-service individual commercial health insurance and at least 23 percent of the Utah residents

who subscribe to small group policies are subscribers of BCBS-UT.

       273.    As one of the dominant insurers in Utah, BCBS-UT has led the way in causing

supra-competitive prices.




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       274.    Defendant BCBS-VT is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Vermont. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-VT is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Vermont.

       275.    The principal headquarters for BCBS-VT is located at 445 Industrial Lane, Berlin,

VT 05602. BCBS-VT does business in each county in Vermont.

       276.    BCBS-VT currently exercises market power in the commercial health insurance

market throughout Vermont. As of 2013, at least 89 percent of the Vermont residents who

subscribe to full-service individual commercial health insurance and at least 74 percent of the

Vermont residents who subscribe to small group policies are subscribers of BCBS-VT.

       277.    As the dominant insurer in Vermont, BCBS-VT has led the way in causing supra-

competitive prices.     In 2010, Vermont’s Banking, Insurance, Securities, and Health Care

Administration Department found that BCBS-VT had overpaid its former President and CEO

William Milnes Jr. by roughly $3 million, having paid him $7.2 million in 2008 upon his

retirement, in violation of state law.

       278.    Defendant BCBS-VA is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in most of Virginia, with the exception of a small

portion of Northern Virginia in the Washington, DC suburbs. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-VA is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Virginia, excepting a small

portion of Northern Virginia in the Washington, DC suburbs.

       279.    The principal headquarters for BCBS-VA is located at 2235 Staples Mill Road,

Suite 401, Richmond, VA 23230. BCBS-VA does business in each county in Virginia.



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       280.    BCBS-VA currently exercises market power in the commercial health insurance

market throughout Virginia. As of 2013, at least 74 percent of the Virginia residents who subscribe

to full-service individual commercial health insurance and at least 45 percent (50 percent as of

2011) of the Virginia residents who subscribe to small group policies are subscribers of BCBS-

VA.

       281.    As the dominant insurer in Virginia, BCBS-VA has led the way in causing supra-

competitive prices. In 2009, BCBS-VA’s parent company, Anthem, raised its CEO Angela Braly’s

total compensation by 51 percent, to $13 million.

       282.    Defendant BC-WA is the health insurance plan operating under the Blue Cross

trademarks and trade names in Washington. Like other Blue Cross and Blue Shield plans

nationwide, BC-WA is one of the largest health insurers, as measured by number of subscribers,

within its service area, which is defined as the state of Washington.

       283.    The principal headquarters for BC-WA is located at 7001 220th Street SW,

Mountlake Terrace, WA 98043-4000. BC-WA does business in each county in Washington.

       284.    Defendant BS-WA is the health insurance plan operating under the Blue Shield

trademarks and trade names in Washington. Like other Blue Cross and Blue Shield plans

nationwide, BS-WA is one of the largest health insurers, as measured by number of subscribers,

within its service area, which is defined as the state of Washington.

       285.    The principal headquarters for BS-WA is located at 1800 Ninth Avenue, Seattle,

WA 98111. BS-WA does business in each county in Washington.

       286.    BC-WA and BS-WA currently exercise market power in the commercial health

insurance market throughout Washington. As of 2011, at least 36 percent of the Washington

residents who subscribe to full-service individual commercial health insurance are subscribers of



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BC-WA, while at least 37 percent of those residents are subscribers of BS-WA (for a total of 73

percent). At least 32 percent of the Washington residents who subscribe to small group policies

are subscribers of BC-WA, while at least 33 percent of those residents are subscribers of BS-WA

(for a total of 65 percent).

        287.    As the dominant insurers in Washington, BC-WA and BS-WA have led the way in

causing supra-competitive prices. In 2012, BC-WA’s CEO threatened to increase premium rates

for individual plans by as much as 50 to 70 percent.

        288.    Defendant BCBS-DC is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Washington, DC and its suburbs. Like other Blue

Cross and Blue Shield plans nationwide, BCBS-DC is the largest health insurer, as measured by

number of subscribers, within its service area, which is defined as Washington, DC and a small

portion of Northern Virginia in the Washington, DC suburbs.

        289.    The principal headquarters for BCBS-DC is located at 10455 Mill Run Circle,

Owings Mill, MD 21117. BCBS-DC does business throughout Washington, DC.

        290.    BCBS-DC currently exercises market power in the commercial health insurance

market throughout the Washington, DC region. As of 2011, at least 69 percent of the Washington,

DC region residents who subscribe to full-service individual commercial health insurance and at

least 76 percent of the Washington, DC region residents who subscribe to small group policies are

subscribers of BCBS-DC.

        291.    As the dominant insurer in the Washington, DC region, BCBS-DC has led the way

in causing supra-competitive prices. In 2010, BCBS-DC raised rated by as much as 35 percent,

so high that the insurance regulator for the District of Columbia rescinded the rate.




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       292.    Defendant BCBS-WV is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in West Virginia. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-WV is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of West Virginia.

       293.    The principal headquarters for BCBS-WV is located at 700 Market Square,

Parkersburg, West Virginia 26101. BCBS-WV does business in each county in West Virginia.

       294.    BCBS-WV currently exercises market power in the commercial health insurance

market throughout West Virginia. As of 2011, at least 44 percent of the West Virginia residents

who subscribe to full-service individual commercial health insurance and at least 57 percent of the

West Virginia residents who subscribe to small group policies are subscribers of BCBS-WV.

       295.    As the dominant insurer in West Virginia, BCBS-WV has led the way in causing

supra-competitive prices. In 2012, BCBS-WV’s parent company, Highmark, paid eight current or

former executives more than $1 million in compensation.

       296.    Defendant BCBS-WI is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Wisconsin. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-WI is one of the largest health insurers, as measured by number of

subscribers, within its service area, which is defined as the state of Wisconsin.

       297.    The principal headquarters for BCBS-WI is located at 120 Monument Circle,

Indianapolis, IN 46204. BCBS-WI does business in each county in Wisconsin.

       298.    BCBS-WI currently exercises market power in the commercial health insurance

market throughout Wisconsin. As of 2011, at least 19 percent of the Wisconsin residents who

subscribe to full-service individual commercial health insurance and at least 12 percent of the

Wisconsin residents who subscribe to small group policies are subscribers of BCBS-WI.



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       299.    As one of the dominant insurers in Wisconsin, BCBS-WI has led the way in causing

supra-competitive prices.

       300.    Defendant BCBS-WY is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Wyoming. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-WY is one of the largest health insurers, as measured by number of

subscribers, within its service area, which is defined as the state of Wyoming.

       301.    The principal headquarters for BCBS-WY is located at P.O. Box 2266, Cheyenne,

WY 82003. BCBS-WY does business in each county in Wyoming.

       302.    BCBS-WY currently exercises market power in the commercial health insurance

market throughout Wyoming. As of 2011, at least 38 percent of the Wyoming residents who

subscribe to full-service individual commercial health insurance and at least 61 percent of the

Wyoming residents who subscribe to small group policies are subscribers of BCBS-WY.

       303.    As the dominant insurer in Wyoming, BCBS-WY has led the way in causing supra-

competitive prices.




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                                    TRADE AND COMMERCE

        304.    The Individual Blue Plans, which own and control BCBSA, are engaged in

interstate commerce and in activities substantially affecting interstate commerce, and the conduct

alleged herein substantially affects interstate commerce. BCBSA enters into agreements with

health insurance companies throughout the country that specify the geographic areas in which

those companies can compete. The Individual Blue Plans provide commercial health insurance

that covers residents of their respective regions (which together include all 50 states) when they

travel across state lines, purchase health care in interstate commerce when these residents require

health care out of state, and receive payments from employers outside of their regions on behalf

of their regions’ residents.


                                CLASS ACTION ALLEGATIONS

        305.    Plaintiffs collectively bring this action on behalf of themselves individually and on

behalf of a single class seeking nationwide injunctive relief, and on behalf of multiple state-specific

classes seeking damages and state-specific injunctive relief in each of the Plaintiffs’ home states.

        Nationwide Injunctive Relief Class

        306.    Plaintiffs bring this action seeking injunctive relief on behalf of a nationwide class

of Subscribers, pursuant to the provisions of Rule 23(a) and Rule 23(b)(1) and (b)(2) of the Federal

Rules of Civil Procedure, with such class (the “Nationwide Class”) defined as:

                All persons or entities in the United States of America who are currently
                insured by any health insurance plan that is currently a party to a license
                agreement with BCBSA that restricts the ability of that health insurance
                plan to do business in any geographically defined area.

        State Classes for Damages

        307.    In the alternative to certification of a nationwide injunctive relief class, all Plaintiffs

bring this action seeking injunctive relief on behalf of state classes of Subscribers, pursuant to the

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provisions of Rule 23(a) and Rule 23(b)(1) and (b)(2) of the Federal Rules of Civil Procedure, with

such classes defined as:

       All persons or entities in the United States of America who are currently insured by
       any health insurance plan that is currently a party to a license agreement with
       BCBSA that restricts the ability of that health insurance plan to do business in
       [Plaintiff’s transferor state].

       308.    Plaintiffs American Electric Motor Services, CB Roofing, Pettus, Pearce Bevill,

CFEFA, Fort McClellan CU, Rolison Trucking, Conrad Watson Air, Hilton Cooper and Bradford

Building bring this action seeking damages on behalf of themselves individually and on behalf of

a class pursuant to the provisions of Rule 23(a) and Rule 23(b)(1) and (b)(3) of the Federal Rules

of Civil Procedure, with such class (the “Alabama Class”) defined as:

               All persons or entities who, during the period from April 17, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-AL for individual or small group full-service commercial health
               insurance.

       309.    Plaintiffs Linda Mills and Frank Curtis behalf of themselves individually and on

behalf of a class pursuant to the provisions of Rule 23(a) and Rule 23(b)(1) and (b)(3) of the

Federal Rules of Civil Procedure, with such class (the “Arkansas Class”) defined as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-AR for individual or small group full-service commercial health
               insurance.

       310.    Fourth, Plaintiff Judy Sheridan brings this action seeking damages on behalf of

herself individually and on behalf of a class pursuant to the provisions of Rule 23(a) and Rule

23(b)(1) and (b)(3) of the Federal Rules of Civil Procedure, with such class (the “California Class”)

defined as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to BC-



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               CA or BS-CA for individual or small group full-service commercial health
               insurance.

       311.    Fifth, Plaintiff Jennifer Ray Davidson brings this action seeking damages on behalf

of herself individually and on behalf of a class pursuant to the provisions of Rule 23(a) and Rule

23(b)(1) and (b)(3) of the Federal Rules of Civil Procedure, with such class (the “Florida Class”)

defined as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-FL for individual or small group full-service commercial health
               insurance.


       312.    Plaintiff Saccoccio & Lopez brings this action seeking damages on behalf of itself

individually and on behalf of a class pursuant to the provisions of Rule 23(a) and Rule 23(b)(1)

and (b)(3) of the Federal Rules of Civil Procedure, with such class (the “Hawaii Class”) defined

as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-HI for individual or small group full-service commercial health
               insurance.

       313.    Plaintiffs Monika Bhuta, Michael E. Stark, and G&S Trailer Repair Incorporated

bring this action seeking damages on behalf of themselves individually and on behalf of a class

pursuant to the provisions of Rule 23(a) and Rule 23(b)(1) and (b)(3) of the Federal Rules of Civil

Procedure, with such class (the “Illinois Class”) defined as:

               All persons or entities who, during the period from August 21, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-IL for individual or small group full-service commercial health
               insurance.




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       314.    Plaintiff Mark Krieger brings this action seeking damages on behalf of himself and

on behalf of a class pursuant to the provisions of Rule 23(a) and Rule 23(b)(3) of the Federal Rules

of Civil Procedure, with such class (the “Indiana Class”) defined as:

               All persons or entities who, during the period from April 17, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-IN for individual or small group full-service commercial health
               insurance.

       315.    Plaintiffs Tom and Juanita Aschenbrenner and Free State Growers, Inc. bring this

action seeking damages on behalf of themselves and on behalf of a class pursuant to the provisions

of Rule 23(a) and Rule 23(b)(3) of the Federal Rules of Civil Procedure, with such class (the

“Kansas Class”) defined as:

               All persons or entities who, during the period from April 17, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-KS for individual or small group full-service commercial health
               insurance.

       316.    Plaintiffs Chelsea L. Horner and Montis, Inc. bring this action seeking damages on

behalf of themselves individually and on behalf of a class pursuant to the provisions of Rule 23(a)

and Rule 23(b)(1) and (b)(3) of the Federal Rules of Civil Procedure, with such class (the “Kansas

City Class”) defined as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-KC for individual or small group full-service commercial health
               insurance.

       317.    Plaintiffs Renee E. Allie and Galactic Funk Touring, Inc. bring this action seeking

damages on behalf of themselves individually and on behalf of a class pursuant to the provisions

of Rule 23(a) and Rule 23(b)(1) and (b)(3) of the Federal Rules of Civil Procedure, with such class

(the “Louisiana Class”) defined as:




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               All persons or entities who, during the period from June 6, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-LA for individual or small group full-service commercial health
               insurance.

       318.    Plaintiff John G. Thompson brings this action seeking damages on behalf of himself

individually and on behalf of a class pursuant to the provisions of Rule 23(a) and Rule 23(b)(1)

and (b)(3) of the Federal Rules of Civil Procedure, with such class (the “Michigan Class”) defined

as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-MI for individual or small group full-service commercial health
               insurance.

       319.    Plaintiffs Betsy Jane Belzer, Constance Dummer and Centerpointe Dental bring

this action seeking damages on behalf of themselves individually and on behalf of a class pursuant

to the provisions of Rule 23(a) and Rule 23(b)(1) and (b)(3) of the Federal Rules of Civil

Procedure, with such class (the “Minnesota Class”) defined as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-MN for individual or small group full-service commercial health
               insurance.

       320.    Plaintiffs Matthew Allan Boyd and Gaston CPA Firm bring this action seeking

damages on behalf of themselves individually and on behalf of a class pursuant to the provisions

of Rule 23(a) and Rule 23(b)(1) and (b)(3) of the Federal Rules of Civil Procedure, with such class

(the “Mississippi Class”) defined as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-MS for individual or small group full-service commercial health
               insurance.




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       321.    Plaintiff Jeffrey S. Garner brings this action seeking damages on behalf of himself

individually and on behalf of a class pursuant to the provisions of Rule 23(a) and Rule 23(b)(1)

and (b)(3) of the Federal Rules of Civil Procedure, with such class (the “Missouri Class”) defined

as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-MO or BCBS-KC for individual or small group full-service
               commercial health insurance.

       322.    Plaintiffs Tom A. Goodman and Jason Goodman bring this action seeking damages

on behalf of themselves and on behalf of a class pursuant to the provisions of Rule 23(a) and Rule

23(b)(3) of the Federal Rules of Civil Procedure, with such class (the “Montana Class”) defined

as:

               All persons or entities who, during the period from April 17, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-MT for individual or small group full-service commercial health
               insurance.


       323.    Plaintiffs Rochelle and Brian McGill and Sadler Electric bring this action seeking

damages on behalf of themselves individually and on behalf of a class pursuant to the provisions

of Rule 23(a) and Rule 23(b)(1) and (b)(3) of the Federal Rules of Civil Procedure, with such class

(the “Nebraska Class”) defined as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-NE for individual or small group full-service commercial health
               insurance.

       324.    Plaintiffs Erik Barstow and GC/AAA Fences, Inc. bring this action seeking

damages on behalf of themselves individually and on behalf of a class pursuant to the provisions




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of Rule 23(a) and Rule 23(b)(1) and (b)(3) of the Federal Rules of Civil Procedure, with such class

(the “New Hampshire Class”) defined as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-NH for individual or small group full-service commercial health
               insurance.

       325.    Plaintiffs Keith O. Cerven, Teresa M. Cerven, and SHGI Corp. bring this action

seeking damages on behalf of themselves individually and on behalf of a class pursuant to the

provisions of Rule 23(a) and Rule 23(b)(1) and (b)(3) of the Federal Rules of Civil Procedure, with

such class (the “North Carolina Class”) defined as:

               All persons or entities who, during the period from February 7, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-NC for individual or small group full-service commercial health
               insurance.

       326.    Plaintiff Joel Jameson brings this action seeking damages on behalf of himself and

on behalf of a class pursuant to the provisions of Rule 23(a) and Rule 23(b)(3) of the Federal Rules

of Civil Procedure, with such class (the “North Dakota Class”) defined as:

               All persons or entities who, during the period from April 17, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-ND for individual or small group full-service commercial health
               insurance.

       327.    Plaintiffs Casa Blanca, LLC; DK Auto Sales; Jennifer D. Childress; Clint Johnston;

Janeen Goodin and Marla S. Sharp bring this action seeking damages on behalf of themselves

individually and on behalf of a class pursuant to the provisions of Rule 23(a) and Rule 23(b)(1)

and (b)(3) of the Federal Rules of Civil Procedure, with such class (the “Oklahoma Class”) defined

as:

               All persons or entities who, during the period from February 7, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to



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               BCBS-OK for individual or small group full-service commercial health
               insurance.

       328.    Plaintiffs Kathryn Scheller and Iron Gate Technology, Inc. bring this action seeking

damages on behalf of themselves individually and on behalf of a class pursuant to the provisions

of Rule 23(a) and Rule 23(b)(1) and (b)(3) of the Federal Rules of Civil Procedure, with such class

(the “Western Pennsylvania Class”) defined as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               Highmark BCBS for individual or small group full-service commercial
               health insurance.

       329.    Plaintiff Nancy Thomas brings this action seeking damages on behalf of herself

individually and on behalf of a class pursuant to the provisions of Rule 23(a) and Rule 23(b)(1)

and (b)(3) of the Federal Rules of Civil Procedure, with such class (the “Rhode Island Class”)

defined as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-RI for individual or small group full-service commercial health
               insurance.

       330.    Plaintiff Pioneer Farm Equipment, Inc. (“Pioneer”), brings this action seeking

damages on behalf of itself individually and on behalf of a class pursuant to the provisions of Rule

23(a) and Rule 23(b)(1) and (b)(3) of the Federal Rules of Civil Procedure, with such class (the

“South Carolina Class”) defined as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-SC for individual or small group full-service commercial health
               insurance.




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       331.    Plaintiffs Ross and Angie Hill and Kevin and Christy Bradberry bring this action

seeking damages on behalf of themselves and on behalf of a class pursuant to the provisions of

Rule 23(a) and Rule 23(b)(3) of the Federal Rules of Civil Procedure, with such class (the “South

Dakota Class”) defined as:

               All persons or entities who, during the period from April 17, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-SD for individual or small group full-service commercial health
               insurance.

       332.    Plaintiffs Debora, Tony and Hannah Forsythe bring this action seeking damages on

behalf of themselves individually and on behalf of a class pursuant to the provisions of Rule 23(a)

and Rule 23(b)(1) and (b)(3) of the Federal Rules of Civil Procedure, with such class (the

“Tennessee Class”) defined as:

               All persons or entities who, during the period from May 9, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-TN for individual or small group full-service commercial health
               insurance.

       333.    Plaintiff Brett Watts brings this action seeking damages on behalf of himself

individually and on behalf of a class pursuant to the provisions of Rule 23(a) and Rule 23(b)(1)

and (b)(3) of the Federal Rules of Civil Procedure, with such class (the “Texas Class”) defined as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-TX for individual or small group full-service commercial health
               insurance.

       334.    Plaintiff Barr, Sternberg, Moss, Lawrence, Silver & Munson, P .C. brings this

action seeking damages on behalf of itself individually and on behalf of a class pursuant to the

provisions of Rule 23(a) and Rule 23(b)(1) and (b)(3) of the Federal Rules of Civil Procedure, with

such class (the “Vermont Class”) defined as:




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               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-VT for individual or small group full-service commercial health
               insurance.

       335.    Plaintiff Comet Capital, LLC brings this action seeking damages on behalf of itself

individually and on behalf of a class pursuant to the provisions of Rule 23(a) and Rule 23(b)(1)

and (b)(3) of the Federal Rules of Civil Procedure, with such class (the “Virginia Class”) defined

as:

               All persons or entities who, during the period from October 1, 2008 to the
               present (the “Class Period”), have paid health insurance premiums to
               BCBS-VA for individual or small group full-service commercial health
               insurance.

       336.    The Classes are so numerous and geographically dispersed that joinder of all

members is impracticable. While Plaintiffs do not know the number and identity of all members

of the Classes, Plaintiffs believe that there are millions of Class members, the exact number and

identities of which can be obtained from BCBSA and the Individual Blue Plans.

       337.    There are questions of law or fact common to the Classes, including but not limited

to:

               a. Whether the restrictions set forth in the BCBSA license agreements are per se

                  violations of Section 1 of the Sherman Act, or are otherwise prohibited under

                  Section 1 of the Sherman Act;

               b. Whether, and the extent to which, premiums charged by the Individual Blue

                  Plans to Class members have been artificially inflated as a result of the illegal

                  restrictions in the BCBSA license agreements; and




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               c. Whether the use of Most Favored Nation (“MFN”) provisions in certain

                   Individual Blue Plans’ provider agreements is anti-competitive, by raising

                   barriers of entry and by increasing the costs of care and insurance; and

               d. Whether, and the extent to which, premiums charged by the Individual Blue

                   Plans have been artificially inflated as a result of the anticompetitive practices

                   adopted by them.

       338.    The questions of law or fact common to the members of the Classes predominate

over any questions affecting only individual members, including legal and factual issues relating

to liability and damages.

       339.    All Plaintiffs are members of the Nationwide Class; their claims are typical of the

claims of the members of that Class; and Plaintiffs will fairly and adequately protect the interests

of the members of that Class.

       340.    Each set of Plaintiffs seeking to represent their respective damages Class are

members of that Class, their claims are typical of the members of that Class, and Plaintiffs will

fairly and adequately protect the interests of the members of that Class.

       341.    Plaintiffs and their respective classes are direct purchasers of individual or small

group full-service commercial health insurance from the Individual Blue Plan that dominates their

state or region, and their interests are coincident with and not antagonistic to other members of

that Class. In addition, Plaintiffs have retained and are represented by counsel who are competent

and experienced in the prosecution of antitrust and class action litigation.

       342.    The prosecution of separate actions by individual members of the Classes would

create a risk of inconsistent and varying adjudications, establishing incompatible standards of

conduct for BCBSA and the Individual Blue Plans.



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       343.    BCBSA and the Individual Blue Plans have acted on grounds generally applicable

to the Nationwide Class, thereby making appropriate final injunctive relief with respect to the

Nationwide Class as a whole.

       344.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. The Classes are readily definable and are ones for which the

Individual Blue Plans have records. Prosecution as a class action will eliminate the possibility of

repetitious litigation. Treatment of this case as a class action will permit a large number of

similarly situated persons to adjudicate their common claims in a single forum simultaneously,

efficiently, and without the duplication of effort and expense that numerous individual actions

would engender. Class treatment will also permit the adjudication of relatively small claims by

many class members who otherwise could not afford to litigate an antitrust claim such as is asserted

in this Complaint. This class action does not present any difficulties of management that would

preclude its maintenance as a class action.




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                                    FACTUAL BACKGROUND

               History of the Blue Cross and Blue Shield Plans and of BCBSA

       345.    The history of the Blue Cross and Blue Shield plans demonstrates that the plans

arose independently, that they jointly conceived of the Blue Cross and Blue Shield marks in a

coordinated effort to create a national brand that each would operate within its local area, and that

they quickly developed into local monopolies in the growing market for health care coverage.

While originally structured as non-profit organizations, since the 1980s, these local Blue plans

have increasingly operated as for-profit entities: either by formally converting to for-profit status,

or by generating substantial surpluses that have been used to fund multi-million dollar salaries and

bonuses for their administrators.

       346.    BCBSA was created by the local Blue plans and is entirely controlled by those

plans. Moreover, the history of BCBSA demonstrates that the origin of the geographic restrictions

in its trademark licenses was an effort to avoid competition between the various Blue plans, and

to ensure that each Blue plan would retain a dominant position within its local service area.


Development of the Blue Cross Plans

       347.    In 1934, an administrator named E.A. von Steenwyck helped develop a prepaid

hospital plan in St. Paul, Minnesota. In his effort to help sell the plan, he commissioned a poster

that showed a nurse wearing a uniform containing a blue Geneva cross, and used the symbol and

the name “Blue Cross” to identify the plan. This is believed to be the first use of the Blue Cross

symbol and name as a brand symbol for a health care plan. Within the year, other prepaid hospital

plans began independently using the Blue Cross symbol.

       348.    In 1937, Blue Cross plan executives met in Chicago. At that meeting, American

Hospital Association (“AHA”) officials announced that prepaid hospital plans meeting certain


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standards of approval would receive institutional membership in the AHA.           In 1938, the

Committee on Hospital Service adopted a set of principles to guide its “approval” of prepaid

hospital plans. One such principle was that the plans would not compete with each other. When

the approval program went into effect, there were already 38 independently formed prepaid

hospital plans with a total of 1,365,000 members.

       349.    In 1939, the Blue Cross mark was adopted as the official emblem of those prepaid

hospital plans that received the approval of the AHA.

       350.    In 1941, the Committee on Hospital Service, which had changed its name to the

Hospital Service Plan Committee, introduced a new standard: that approval would be denied to

any plan operating in another plan’s service area. Despite this, the independently formed prepaid

hospital plans, now operating under the Blue Cross name, engaged in fierce competition with each

other and often entered each other’s territories. The authors of The Blues: A History of the Blue

Cross and Blue Shield System, which BCBSA sponsored and its officers reviewed prior to

publication, describe the heated competition at that time:

       The most bitter fights were between intrastate rivals . . . . Bickering over
       nonexistent boundaries was perpetual between Pittsburgh and Philadelphia, for
       example. . . . John Morgan, who directed a Plan in Youngstown, Ohio, for nearly
       twenty-five years before going on to lead the Blue Cross Plan in Cincinnati,
       recalled: “In Ohio, New York, and West Virginia, we were knee deep in Plans.” At
       one time or another, there were Plans in Akron, Canton, Columbus, Cleveland,
       Cincinnati, Lima, Portsmouth, Toledo, and Youngstown . . . . By then there were
       also eight Plans in New York and four in West Virginia. . . . Various reciprocity
       agreements between the Plans were proposed, but they generally broke down
       because the Commission did not have the power to enforce them.


       351.    For many years, Cross-on-Cross competition continued, as described in Odin

Anderson’s Blue Cross Since 1929: Accountability and the Public Trust, which was funded by the

Blue Cross Association, one predecessor to BCBSA. Anderson points to Illinois and North



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Carolina, where “[t]he rivalry [between a Chapel Hill plan and a Durham plan] was fierce,” as

particular examples, and explains that though “Blue Cross plans were not supposed to overlap

service territories,” such competition was “tolerated by the national Blue Cross agency for lack of

power to insist on change.”

       352.    By 1975, the Blue Cross plans had a total enrollment of 84 million subscribers.


Development of the Blue Shield Plans

       353.    The development of what became the Blue Shield plans followed, and largely

imitated, the development of the Blue Cross plans. Blue Shield plans were designed to provide a

mechanism for covering the cost of physician care, just as the Blue Cross plans had provided a

mechanism for covering the cost of hospital care. Similarly, the Blue Cross hospital plans were

developed in conjunction with the AHA (which represents hospitals), while the Blue Shield

medical society plans were developed in conjunction with the American Medical Association

(“AMA”) (which represents physicians).

       354.    Like the Blue Cross symbol, the Blue Shield symbol was developed by a local

medical society plan, and then proliferated as other plans adopted it.

       355.    In 1946, the AMA formed the Associated Medical Care Plans (“AMCP”), a

national body intended to coordinate and “approve” the independent Blue Shield plans. When the

AMCP proposed that the Blue Shield symbol be used to signify that a Blue Shield plan was

“approved,” the AMA responded, “It is inconceivable to us that any group of state medical society

Plans should band together to exclude other state medical society programs by patenting a term,

name, symbol, or product.” In 1960, the AMCP changed its name to the National Association of

Blue Shield Plans, which in 1976 changed its name to the Blue Shield Association.

       356.    By 1975, the Blue Shield plans had a total enrollment of 73 million.


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Creation of the Blue Cross and Blue Shield Association

       357.    Historically, the Blue Cross plans and the Blue Shield plans were fierce

competitors. During the early decades of their existence, there were no restrictions on the ability

of a Blue Cross plan to compete with or offer coverage in an area already covered by a Blue Shield

plan. Cross-on-Cross and Shield-on-Shield competition also flourished.

       358.    By the late 1940s, the Blue plans faced growing competition not just from each

other, but also from commercial insurance companies that had recognized the success of the Blue

plans and were now entering the market. Between 1940 and 1946, the number of hospitalization

policies held by commercial insurance companies rose from 3.7 million to 14.3 million policies.

While the Blues remained dominant in most markets, this growth of competition was a threat.

       359.    From 1947 to 1948, the Blue Cross Commission and the AMCP attempted to

develop a national agency for all Blue plans, to be called the Blue Cross and Blue Shield Health

Service, Inc., but the proposal failed. One reason given for its failure was the AMA’s fear that a

restraint of trade action might result from such cooperation.

       360.    During the 1950s, while competing with commercial insurers for the opportunity

to provide insurance to federal government employees, the Plans were at war with one another.

As the former marketing chief of the National Association of Blue Shield Plans admitted, “Blue

Cross was separate; Blue Shield was separate. Two boards; two sets of managements. Rivalries,

animosities, some days . . . pure, unadulterated hatred of each other.”

       361.    To address the increasing competition, the Blues sought to ensure “national

cooperation” among the different Blue entities. The Plans accordingly agreed to centralize the

ownership of their trademarks and trade names. In prior litigation, BCBSA has stated that the

local plans transferred their rights in the Blue Cross and Blue Shield names and marks to the



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precursors of BCBSA because the local plans, which were otherwise actual or potential

competitors, “recognized the necessity of national cooperation.”

       362.    In 1954, the Blue Cross plans transferred their rights in each of their respective Blue

Cross trade names and trademarks to the AHA. In 1972, the AHA assigned its rights in these

marks to the Blue Cross Association.

       363.    Likewise, in 1952, the Blue Shield plans agreed to transfer their ownership rights

in their respective Blue Shield trade names and trademarks to the National Association of Blue

Shield Plans, which in 1976 was renamed the Blue Shield Association.

       364.    During the 1970s, local Blue Cross and Blue Shield plans all over the U.S. began

merging. By 1975, the executive committees of the Blue Cross Association and the National

Association of Blue Shield Plans were meeting four times a year. In 1978, the Blue Cross

Association and the National Association of Blue Shield Plans (now called the Blue Shield

Association) consolidated their staffs, although they retained separate boards of directors.

       365.    In 1982, the Blue Cross Association and the Blue Shield Association merged to

form BCBSA. At that time, BCBSA became the sole owner of the various Blue Cross and Blue

Shield trademarks and trade names that had previously been owned by the local plans.

       366.    In November 1982, after heated debate, BCBSA’s member plans agreed to two

propositions: (1) by the end of 1984, all existing Blue Cross plans and Blue Shield plans would

consolidate at a local level to form Blue Cross and Blue Shield plans; and (2) by the end of 1985,

all Blue plans within a state would further consolidate, ensuring that each state would have only

one Blue plan. As a result of these goals, the number of member plans declined sharply from 110

in 1984, to 75 in 1989, to 38 and now 36.




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         367.   Even consolidation did not end competition between Blue plans. In the early 1980s,

for example, Blue Cross of Northeastern New York and Blue Shield of Northeastern New York

competed head-to-head.

         368.   During the 1980s and afterwards, the plans began to operate less like charitable

entities and more like for-profit corporations, accumulating substantial surpluses. In 1986,

Congress revoked the Blues’ tax-exempt status, freeing them to form for-profit subsidiaries.

         369.   In 1992, BCBSA ceased requiring Blue Cross and Blue Shield licensees to be not-

for-profit entities. As a result, many member plans converted to for-profit status. One such plan,

now called Anthem, has grown to become, by some measures, the largest health insurance

company in the country. While nominally still characterized as not-for-profit, a number of the

Individual Blue Plans generate substantial earnings and surpluses, and pay their senior

administrators and officials substantial salaries and bonuses – often in the multi-million dollar

range.

         370.   From 1981 to 1986, the Blue plans lost market share at a rate of approximately one

percent per year. At the same time, the amount of competition among Blue plans, and from non-

Blue subsidiaries of Blue plans, increased substantially. As a result of this increased competition,

in April of 1987, the member plans of BCBSA held an “Assembly of Plans” -- a series of meetings

held for the purpose of determining how they would and would not compete against each other.

During these meetings, these independent health insurers and competitors agreed to maintain

exclusive service areas when operating under the Blue brand, thereby eliminating “Blue on Blue”

competition.    However, the Assembly of Plans did not restrain competition by non-Blue

subsidiaries of Blue plans – an increasing “problem” that had caused complaints from many Blue

plans.



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       371.    After the 1986 revocation of the Blues’ tax-exempt status and throughout the 1990s,

the number of non-Blue subsidiaries of Blue plans increased. As quoted in The Blues: A History

of the Blue Cross and Blue Shield System, former BCBSA counsel Marv Reiter explained in 1991,

“Where you had a limited number of subsidiaries before, clearly they mushroomed like missiles. .

. . We went from 50 or 60 nationally to where there’s now 400 and some.” These subsidiaries

continued to compete with Blue plans. As a result, the member plans of BCBSA discussed ways

to rein in such non-Blue branded competition.

       372.    At some later date, the Blue Cross and Blue Shield plans together agreed to restrict

the territories in which they would operate under any brand, Blue or non-Blue, as well as the ability

of non-members of BCBSA to control or acquire the member plans. These illegal restraints are

discussed below.


              Allegations Demonstrating Control of BCBSA By Member Plans

       373.    BCBSA calls itself “a national federation of 38 independent, community-based and

locally operated Blue Cross and Blue Shield companies” and “the trade association for the Blue

Cross Blue Shield companies.”

       374.    The Plans are the members of, and govern, BCBSA. BCBSA is entirely controlled

by its member plans, all of whom are independent health insurance companies that license the Blue

Cross and/or Blue Shield trademarks and trade names, and that, but for any agreements to the

contrary, could and would compete with one another. On its website, BCBSA admits that in its

“unique structure,” “the Blue Cross and Blue Shield companies are [its] customers, [its] Member

Licensees and [its] governing Board.”

       375.    As at least one federal court has recognized, BCBSA “is owned and controlled by

the member plans” to such an extent that “by majority vote, the plans could dissolve the


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Association and return ownership of the Blue Cross and Blue Shield names and marks to the

individual plans.” Central Benefits Mut. Ins. Co. v. Blue Cross and Blue Shield Ass’n, 711 F.

Supp. 1423, 1424-25 (S.D. Ohio 1989).

       376.    The Blue Cross and Blue Shield licensees control the Board of Directors of

BCBSA. In a pleading it filed during litigation in the Northern District of Illinois, BCBSA

admitted that its Board of Directors consists of “the chief executive officer from each of its

Member Plans and BCBSA’s own chief executive officer.” The current chairman of the Board of

Directors, Alphonso O’Neil-White, is also the current President and CEO of BlueCross BlueShield

of Western New York. The CEO of each of the Individual Blue Plans serves on the Board of

Directors of BCBSA. The Board of Directors of BCBSA meets at least quarterly.


                     License Agreements and Restraints on Competition

       377.    The independent Blue Cross and Blue Shield licensees also control BCBSA’s Plan

Performance and Financial Standards Committee (the “PPFSC”). The PPFSC is a standing

committee of the BCBSA Board of Directors that is composed of nine member Plan CEOs and

three independent members.

       378.    The independent Blue Cross and Blue Shield licensees control the entry of new

members into BCBSA. In a brief it filed during litigation in the Sixth Circuit Court of Appeals,

BCBSA admitted that “[t]o be eligible for licensure, [an] applicant . . . must receive a majority

vote of [BCBSA’s] Board” and that BCBSA “seeks to ensure that a license to use the Blue Marks

will not fall into the hands of a stranger the Association has not approved.”

       379.    The independent Blue Cross and Blue Shield licensees control the rules and

regulations that all members of BCBSA must obey. According to the brief BCBSA filed during

litigation in the Sixth Circuit Court of Appeals, these rules and regulations include the Blue Cross


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License Agreement and the Blue Shield License Agreement (collectively, the “License

Agreements”), the Membership Standards Applicable to Regular Members (the “Membership

Standards”), and the Guidelines to Administer Membership Standards (the “Guidelines”).

       380.    The License Agreements state that they “may be amended only by the affirmative

vote of three-fourths of the Plans and three-fourths of the total then current weighted vote of all

the Plans.” Under the terms of the License Agreements, a plan “agrees . . . to comply with the

Membership Standards.” In its Sixth Circuit brief, BCBSA described the provisions of the License

Agreements as something the member plans “deliberately chose,” “agreed to,” and “revised.” The

License Agreements explicitly state that the member plans most recently met to adopt

amendments, if any, to the licenses on June 21, 2012.

       381.    The Guidelines state that the Membership Standards and the Guidelines “were

developed by the [PPFSC] and adopted by the Member Plans in November 1994 and initially

became effective as of December 31, 1994;” that the Membership Standards “remain in effect until

otherwise amended by the Member Plans;” that revisions to the Membership Standards “may only

be made if approved by a three-fourths or greater affirmative Plan and Plan weighted vote;” that

“new or revised guidelines shall not become effective . . . unless and until the Board of Directors

approves them;” and that the “PPFSC routinely reviews” the Membership Standards and

Guidelines “to ensure that . . . all requirements (standards and guidelines) are appropriate, adequate

and enforceable.”

       382.    The independent Blue Cross and Blue Shield licensees police the compliance of all

members of BCBSA with the rules and regulations of BCBSA. The Guidelines state that the

PPFSC “is responsible for making the initial determination about a Plan’s compliance with the

license agreements and membership standards. Based on that determination, PPFSC makes a



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recommendation to the BCBSA Board of Directors, which may accept, reject, or modify the

recommendation.”     In addition, the Guidelines state that “BCBSA shall send a triennial

membership compliance letter to each [member] Plan’s CEO,” which includes, among other

things, “a copy of the Membership Standards and Guidelines, a report of the Plan’s licensure and

membership status by Standard, and PPFSC comments or concerns, if any, about the Plan’s

compliance with the License Agreements and Membership Standards.” In response, “[t]he Plan

CEO or Corporate Secretary must certify to the PPFSC that the triennial membership compliance

letter has been distributed to all Plan Board Members.”

       383.   The independent Blue Cross and Blue Shield licensees control and administer the

disciplinary process for members of BCBSA that do not abide by BCBSA’s rules and regulations.

The Guidelines describe three responses to a member plan’s failure to comply—“Immediate

Termination,” “Mediation and Arbitration,” and “Sanctions”—each of which is administered by

the PPFSC and could result in the termination of a member plan’s license.

       384.   The independent Blue Cross and Blue Shield licensees likewise control the

termination of existing members from BCBSA. The Guidelines state that based on the PPFSC’s

“initial determination about a Plan’s compliance with the license agreements and membership

standards. . . . PPFSC makes a recommendation to the BCBSA Board of Directors, which may

accept, reject, or modify the recommendation.” However, according to the Guidelines, “a Plan’s

licenses and membership [in BCBSA] may only be terminated on a three-fourths or greater

affirmative Plan and Plan weighted vote.” In its Sixth Circuit brief, BCBSA admitted that the

procedure for terminating a license agreement between BCBSA and a member plan includes a

“double three-quarters vote” of the member plans of the BCBSA: “In a double three-quarters vote,




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each plan votes twice – first with each Plan’s vote counting equally, and then with the votes

weighted primarily according to the number of subscribers.”


                                     Horizontal Agreements

       385.    The independent Blue Cross and Blue Shield licensees are potential competitors

that use their control of BCBSA to coordinate their activities. As a result, the rules and regulations

imposed “by” the BCBSA on the member plans are in truth imposed by the member plans on

themselves.

       386.    Each BCBSA licensee is an independent legal organization. In a pleading BCBSA

filed during litigation in the Southern District of Florida, BCBSA admitted that “[t]he formation

of BCBSA did not change each plan’s fundamental independence.” The License Agreements state

that “[n]othing herein contained shall be construed to constitute the parties hereto as partners or

joint venturers, or either as the agent of the other.” As BCBS-AL’s group health insurance policy

contract explains, “Blue Cross and Blue Shield of Alabama is an independent corporation

operating under a license from the Blue Cross and Blue Shield Association, an association of

independent Blue Cross and Blue Shield plans. The Blue Cross and Blue Shield Association

permits us to use the Blue Cross and Blue Shield service marks in the state of Alabama. Blue

Cross and Blue Shield is not acting as an agent of the Blue Cross and Blue Shield Association.”

       387.    The independent Blue Cross and Blue Shield licensees include many of the largest

health insurance companies in the United States. By some measures, Anthem is the largest health

insurance company in the nation. Similarly, fifteen of the twenty-five largest health insurance

companies in the country are BCBSA licensees. On its website, BCBSA states that its members

together provide “coverage for nearly 100 million people – one-third of all Americans” and that,

nationwide, “more than 96% of hospitals and 91% of professional providers contract with Blue


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Cross and Blue Shield companies – more than any other insurers.” Absent the restrictions that the

independent Blue Cross and Blue Shield licensees have chosen to impose on themselves, discussed

below, these companies would compete against each other in the market for commercial health

insurance.

       388.    In its Sixth Circuit brief, BCBSA admitted that the Member Plans formed the

precursor to BCBSA when they “recognized the necessity of national coordination.” The authors

of The Blues: A History of the Blue Cross and Blue Shield System describe the desperation of the

Blue Cross and Blue Shield licensees before they agreed to impose restrictions on themselves:

       The subsidiaries kept running into each other—and each other’s parent Blue
       Plans—in the marketplace. Inter-Plan competition had been a fact of life from the
       earliest days, but a new set of conditions faced the Plans in the 1980s, now in a
       mature and saturated market. New forms of competition were springing up at every
       turn, and market share was slipping year by year. Survival was at stake. The
       stronger business pressure became, the stronger the temptation was to breach the
       service area boundaries for which the Plans were licensed . . . .

       389.    On its website, BCBSA admits that “[w]hen the individual Blue companies’

priorities, business objectives and corporate culture conflict, it is our job to help them develop a

united vision and strategy” and that BCBSA “[e]stablishes a common direction and cooperation

between [BCBSA] and the 39 [now 36] Blue companies.” As BCBSA’s general counsel, Roger

G. Wilson, explained to the Insurance Commissioner of Pennsylvania, “BCBSA’s 39 [now 36]

independent licensed companies compete as a cooperative federation against non-Blue insurance

companies.” One BCBSA member plan admitted in its February 17, 2011 Form 10-K that “[e]ach

of the [36] BCBS companies . . . works cooperatively in a number of ways that create significant

market advantages . . . .”

       390.    As the foregoing demonstrates, BCBSA is a vehicle used by independent health

insurance companies to enter into agreements that restrain competition. Because BCBSA is owned



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and controlled by its member plans, any agreement between BCBSA and one of its member plans

constitutes a horizontal agreement between and among the member plans themselves.


                         The Horizontal Agreements Not To Compete

       391.    The rules and regulations of BCBSA, including, but not limited to, the License

Agreements, the Membership Standards, and the Guidelines, constitute horizontal agreements

between competitors, the independent Blue Cross and Blue Shield licensees, to divide the

geographic market for health insurance. As such, they are a per se violation of Section 1 of the

Sherman Act.

       392.    Defendants have divided U.S. health care markets for insurance among themselves

by dividing the nation into exclusive service areas allocated to individual Blues. Through the

License Agreements, Guidelines, and Membership Standards, which the independent Blue Cross

and Blue Shield licensees created, control, and enforce, each independent Blue Cross and Blue

Shield licensee agrees that neither it nor its subsidiaries will compete under the licensed Blue Cross

and Blue Shield trademarks and trade names outside of a designated “Service Area.” The License

Agreement defines each licensee’s Service Area as “the geographical area(s) served by the Plan

on June 10, 1972, and/or as to which the Plan has been granted a subsequent license.”

       393.    Further, Defendants have allocated U.S. health care markets for insurance among

themselves by agreeing to limit their competition against one another when not using the Blue

names. The Guidelines and Membership Standards, which the independent Blue Cross and Blue

Shield licensees created, control, and enforce, and with which each licensee must agree to comply

as part of the License Agreements, establish two key restrictions on non-Blue competition. First,

each independent Blue Cross and Blue Shield licensee agrees that at least 80 percent of the annual

revenue that it or its subsidiaries generate from within its designated Service Area (excluding


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Medicare and Medicaid) shall be derived from services offered under the licensed Blue Cross and

Blue Shield trademarks and trade names. This provision directly limits the ability of each Blue

plan to generate revenue from non-Blue branded business. This provision also thereby limits the

ability of each plan to develop non-Blue brands that could and would compete with Blue plans. It

further discourages and disincentivizes each plan from developing any non-Blue branded

businesses.

       394.    Second, each independent Blue Cross and Blue Shield licensee further agrees that

at least two-thirds of the annual revenue generated by it or its subsidiaries from either inside or

outside of its designated Service Area (excluding Medicare and Medicaid) shall be attributable to

services offered under the Blue Cross and Blue Shield trademarks and trade names.                The

Guidelines provide that national enrollment can be substituted for annual revenue, making the

alternative restriction that a plan will derive no less than 66-2/3 percent of its national enrollment

from its Blue-brand business. This provision directly limits the ability of each Blue plan to

generate revenue from non-Blue branded business, and thereby limits the ability of each plan to

develop non-Blue brands that could and would compete with Blue plans. It further discourages

and disincentivizes each plan from developing any non-Blue branded businesses.

       395.    The one-third cap on non-Blue revenue provides a licensee with minimal, if any,

incentive to compete outside its Service Area. To do so, the licensee would have to buy, rent, or

build a provider network under a non-Blue brand, while ensuring that revenue derived from that

brand did not exceed the one-third cap. Should the licensee offer services and products under the

non-Blue brand within its Service Area (which is likely, since that is its base of operations), that

would further reduce the amount of non-Blue revenue it is permitted to earn from outside its

designated area. Thus, the potential upside of making an investment in developing business



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outside of a designated area is severely limited, which obviously creates a disincentive from ever

making that investment.

       396.    In sum, each independent Blue Cross and Blue Shield licensee has agreed with its

potential competitors that each will exercise the exclusive right to use the Blue brand within a

designated geographic area, derive none of its revenue from services offered under the Blue brand

outside of that area, and derive at most one-third of its revenue from outside of its exclusive area,

using services offered under a non-Blue brand. The latter amount will be further reduced if the

licensee derives any of its revenue within its designated geographic area from services offered

under a non-Blue brand.

       397.    The foregoing restrictions on the ability of Blue plans to generate revenue outside

of their service areas constitute agreements between competitors to divide and allocate geographic

markets, and therefore are per se violations of Section 1 of the Sherman Act.

       398.    More than one Blue Cross and Blue Shield licensee has publicly admitted the

existence of these territorial market divisions. For example, the former Blue Cross licensee in

Ohio alleged that BCBSA member plans agreed to include these restrictions in the Guidelines in

1996 in an effort to block the sale of one member plan to a non-member that might present

increased competition to another member plan.

       399.    The largest Blue licensee, WellPoint, now doing business as Anthem, Inc., is a

publicly-traded company, and therefore is required by the SEC rules to describe the restrictions on

its ability to do business. Thus, in its Form 10-K filed February 22, 2013, WellPoint stated that it

had “no right to market products and services using the Blue Cross and Blue Shield names and

marks outside of the states in which we are licensed to sell Blue Cross and Blue Shield products.”

WellPoint has further stated that the “license agreements with the BCBSA contain certain



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requirements and restrictions regarding our operations and our use of the Blue Cross and Blue

Shield names and marks, including . . . a requirement that at least 80% . . . of a licensee’s annual

combined local net revenue, as defined by the BCBSA, attributable to health benefit plans within

its service area must be sold, marketed, administered or underwritten under the Blue Cross and

Blue Shield names and marks” and “a requirement that at least 66 2/3% of a licensee’s annual

combined national net revenue, as defined by the BCBSA, attributable to health benefit plans must

be sold, marketed, administered or underwritten under the Blue Cross and Blue Shield names and

marks.”

       400.    Likewise, in its Form 10-K filed March 14, 2013, Triple-S Salud, the Blue licensee

for Puerto Rico, explained that “[p]ursuant to our license agreements with BCBSA, at least 80%

of the revenue that we earn from health care plans and related services in [its Service Area] and at

least 66.7% of the revenue that we earn from (or at least 66.7% of the enrollment for) health care

plans and related services both in [and outside its Service Area], must be sold, marketed,

administered, or underwritten through use of the Blue Cross Blue Shield” name and mark. Further,

the Triple-S licensee stated that the territorial restrictions “may limit the extent to which we will

be able to expand our health care operations, whether through acquisitions of existing managed

care providers or otherwise, in areas where a holder of an exclusive right to the Blue Cross Blue

Shield Names and Marks is already present.”

       401.    Despite these public admissions, both BCBSA and its member plans have

attempted to keep the territorial restrictions as secret as possible. When asked by the Insurance

Commissioner of Pennsylvania to “[p]lease describe any formal or informal limitations that

BSBSA [sic] places on competition among holders of the [Blue] mark as to their use of subsidiaries

that do not use the mark,” BCBSA’s general counsel responded that “BCBSA licensed companies



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may compete anywhere with non-Blue branded business . . . . The rules on what the plans do in

this regard are contained in the license. However, the license terms themselves are proprietary to

BCBSA, and . . . we would prefer not to share such trade secrets with BCBSA’s competitors.”

        402.    The member plans of BCBSA have agreed to impose harsh penalties on those that

violate the territorial restrictions. According to the Guidelines, a licensee that violates one of the

territorial restrictions could face “[l]icense and membership termination.” If a member plan’s

license and membership are terminated, it loses the use of the Blue brands, which BCBSA admits

on its website are “the most recognized in the health care industry.” In addition, in the event of

termination, a plan must pay a fee to BCBSA. According to WellPoint’s February 22, 2013 Form

10-K filing, that “Re-establishment Fee,” which was $98.33 per enrollee through December 31,

2012, “would allow the BCBSA to ‘re-establish’ a Blue Cross and/or Blue Shield license in the

vacated service area.”

        403.    In sum, a terminated licensee would (1) lose the brand through which it derived the

majority of its revenue; and (2) fund the establishment of a competing health insurer that would

replace it as the Blue licensee in its local area. These penalties essentially threaten to put out of

existence any Blue member plan that breaches the territorial restrictions.

        404.    It is unsurprising, then, that most member plans do not operate outside of their

Service Areas. Thus, while there are numerous Blue plans, and non-Blue businesses owned by

such plans, that could and would compete effectively in each other’s Service Areas but for the

territorial restrictions, almost none compete outside their Service Areas under non-Blue names and

brands, despite their ability to do so.

        405.    Even in the relatively rare instance in which Blue plans conduct operations outside

of their Service Areas, they have been required to keep those operations tightly under control by



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preventing growth – exactly the opposite of how they would normally operate. The relationship

between WellPoint and its non-Blue subsidiary, UniCare, is an illustrative example. WellPoint

reported in its Form 10-K for the year ending December 31, 1999 that approximately 70 percent

of its total medical membership was sold by its Blue-licensed subsidiary, Blue Cross of California.

In its Form 10-K for the year ending December 31, 2000, this percentage decreased to

approximately 67 percent. In its Form 10-K for the year ending December 31, 2001, after

WellPoint had acquired the BCBSA member plans operating in Georgia and part of Missouri, it

reported that approximately 78 percent of its total medical membership was in its Blue-licensed

subsidiaries.

       406.     By the time WellPoint filed its 10-K for the year ending December 31, 2005, it had

acquired the Blue licensees in fourteen states. For the first time, it admitted the existence of the

territorial restrictions in the BCBSA licenses and stated that it was in compliance with them. As

a result of these restrictions, from 1999 to 2002, while other Texas health insurers experienced

average revenue growth of 17 percent, UniCare experienced growth of only 1.4 percent in Texas.

During those same years, UniCare experienced virtually no growth in the state of Washington,

while overall health insurance revenue in the state grew by 17 percent. Similarly, in New Jersey

from 2000 to 2002, the number of out-of-Service-Area enrollees of WellChoice (which became a

part of WellPoint and is known as Empire BlueCross BlueShield) did not increase, despite an

overall 25 percent growth rate for health insurers in the state during the same period. In

Mississippi, between 2001 and 2002, premium revenue earned by most health insurance

companies increased by more than 10 percent, but revenue for the non-Blue business of out-of-

state Blue plans was either flat (in the case of UniCare) or negative (in the case of the former

Anthem, which is now part of WellPoint).



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       407.    In another example, as of 2010, one Pennsylvania Blue plan, Independence Blue

Cross, had 2.4 million Blue-brand commercial health insurance enrollees in its service area of

Southeastern Pennsylvania, and had close to 1 million non-Blue brand Medicare and Medicaid

enrollees (to which the territorial restrictions do not apply) in Indiana, Kentucky, Pennsylvania,

and South Carolina, but its non-Blue brand commercial health insurance subsidiary, AmeriHealth,

which operates in New Jersey and Delaware, had an enrollment of only approximately 130,000,

or 4 percent of Independence Blue Cross’s total commercial health insurance enrollment.

       408.    The territorial restrictions agreed to by all BCBSA members operate to restrain

competition by preventing member plans from competing with each other and with non-Blue

plans. These prohibitions on competition apply no matter how favorable the efficiencies and

economies of scale that might result from expansion of a Blue into a new area, and no matter how

much premiums and other costs might be reduced if competition were permitted.




                         The Anticompetitive Acquisition Restrictions

       409.    In addition to the per se illegal territorial restrictions summarized above, the rules

and regulations of BCBSA, which the independent Blue Cross and Blue Shield licensees created,

control, and agree to obey, also include provisions that restrict the ability of non-members of

BCBSA to acquire or obtain control over any member plan.

       410.    First, the rules and regulations prohibit acquisition of a Plan by a non-Blue entity

without the approval of BCBSA. The Guidelines state that “[n]either a [Member] Plan nor any

Larger Controlled Affiliate shall cause or permit an entity other than a [Member] Plan or a

Licensed Controlled Affiliate thereof to obtain control of the [Member] Plan or Larger Controlled

Affiliate or to acquire a substantial portion of its assets related to licensable services.” Should a


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non-member wish to obtain such control or assets, it “is invited to apply to become a licensee.”

However, as alleged above, the member plans control the entry of new members into BCBSA.

Should a non-member attempt to join BCBSA to obtain control of, or to acquire a substantial

portion of, the assets of a member plan, the other member plans accordingly may block its

membership by majority vote.

       411.    Second, the License Agreements contain a number of acquisition restrictions

applicable to for-profit Blue Cross and Blue Shield licensees (i.e., to those licensees who would

otherwise be capable of having their shares acquired). These include four situations in which a

member plan’s license will terminate automatically: (1) if any institutional investor become

beneficially entitled to 10 percent or more of the voting power of the member plan; (2) if any non-

institutional investor become beneficially entitled to 5 percent or more of the voting power of the

member plan; (3) if any person become beneficially entitled to 20 percent or more of the member

plan’s then-outstanding common stock or equity securities; or (4) if the member plan conveys,

assigns, transfers, or sells substantially all of its assets to any person, or consolidates or merges

with or into any person, other than a merger in which the member plan is the surviving entity and

in which, immediately after the merger, no institutional investor is beneficially entitled to 10

percent or more of the voting power, no non-institutional investor is beneficially entitled to 5

percent or more of the voting power, and no person is beneficially entitled to 20 percent of more

of the then-outstanding common stock or equity securities. These restrictions apply unless

modified or waived in particular circumstances upon the affirmative vote both of a majority of the

disinterested member plans and also of a majority weighted vote of the disinterested member plans.

These restraints effectively preclude the sale of a BCBSA member to a non-member entity, absent

special approval.



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       412.    These acquisition restraints reduce competition in violation of the Sherman Act

because they substantially reduce the ability of non-member insurance companies to expand their

business and compete against the Individual Blue Plans. To expand into a new geographic area, a

non-member insurance company faces the choice of whether to build its own network in that area,

or to acquire a network by buying some or all of an existing plan doing business in that area.

Through the acquisition restrictions, the Blue plans have conspired to force competitors to build

their own networks, and have effectively prohibited those competitors from ever choosing what

may often be the more efficient solution of acquiring new networks by purchasing some or all of

an existing Blue plan. By preventing non-Blue entities from acquiring Blue entities and their

networks, the acquisition restrictions in the BCBSA licenses effectively force competitors to adopt

less efficient methods of expanding their networks, thereby reducing and in some instances

eliminating competition.

       413.    Since the 1996 adoption of the acquisition restrictions, the only acquisitions of Blue

Cross or Blue Shield licensees have been acquisitions by other member plans. During the period

from 1996 to the present, there has been a wave of consolidation among the Blue plans: in 1996,

there were 62 Blue licensees; at present, there are only 36.

       414.    By agreeing to restrict the pool of potential purchasers of a Blue licensee to other

Blue licensees, the member plans of BCBSA raise the costs their rivals must incur to expand their

networks and areas of practice, reduce efficiency, and protect themselves and each other from

competition. The net effect is less competition and higher premium costs for consumers.


               The BCBSA Licensing Agreements Have Reduced Competition
                         In Regions Across The United States

       415.    The Individual Blue Plans, as licensees, members, and parts of the governing body

of BCBSA, have conspired with each other (the member plans of BCBSA) to create, approve,

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abide by, and enforce the rules and regulations of BCBSA, including the per se illegal territorial

restrictions in the License Agreements and Guidelines.

       416.    But for the per se illegal territorial restrictions, many of the Individual Blue Plans

would otherwise be significant competitors of each other in their respective Service Areas. As

alleged above, fifteen of the twenty-five largest health insurance companies in the country are Blue

plans: if all of these plans, together with all other BCBSA members, were able to compete with

each other, the result would be lower costs and thus lower premiums paid by their enrollees.

       417.    For example, WellPoint/Anthem is the largest health insurer in the country by total

medical enrollment, with approximately 36 million enrollees. It is the Blue Cross and Blue Shield

licensee for Georgia, Kentucky, and portions of Virginia, as well as for California (Blue Cross

only), Colorado, Connecticut, Indiana, Maine, Missouri (excluding 30 counties in the Kansas City

area), Nevada, New Hampshire, New York (as Blue Cross Blue Shield in 10 New York City

metropolitan and surrounding counties, and as Blue Cross or Blue Cross Blue Shield in selected

upstate counties only), Ohio, and Wisconsin, and also serves customers throughout the country

through its non-Blue brand subsidiary, UniCare.         But for the illegal territorial restrictions

summarized above, Anthem would be likely to offer its health insurance services and products in

many more regions across the United States in competition with the Individual Blue Plans in those

regions. Such competition would result in lower health care costs and premiums paid by the other

Individual Blue Plans’ enrollees.

       418.    Similarly, with more than 13 million members, Health Care Service Corporation

(“HCSC”), which operates BCBS-IL, BCBS-NM, BCBS-OK, BCBS-MT and BCBS-TX, is the

largest mutual health insurance company in the country and the fourth largest overall. But for the

illegal territorial restrictions summarized above, HCSC would be likely to offer its health insurance



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services and products in many more regions across the United States in competition with the

Individual Blue Plans in those regions. Such competition would result in lower health care costs

and premiums paid by the other Individual Blue Plans’ enrollees.

       419.    BCBS-MI is the ninth largest health insurer in the country by total medical

enrollment, with approximately 4.5 million enrollees in its Service Area of Michigan. But for the

illegal territorial restrictions summarized above, BCBS-MI would be likely to offer its health

insurance services and products in more regions across the United States in competition with the

Individual Blue Plans in those regions. Such competition would result in lower health care costs

and premiums paid by the other Individual Blue Plans’ enrollees.

       420.    Highmark, Inc. is the tenth largest health insurer in the country by total medical

enrollment, with approximately 4.1 million enrollees. Its affiliated Blue plans include Highmark

BCBS, BCBS-WV, and BCBS-DE. But for the illegal territorial restrictions summarized above,

Highmark would be likely to offer its health insurance services and products in more regions across

the United States in competition with the Individual Blue Plans in those regions. Such competition

would result in lower health care costs and premiums paid by the other Individual Blue Plans’

enrollees.

       421.    BCBS-AL is the thirteenth largest health insurer in the country by total medical

enrollment, by some measures, with approximately 3.5 million enrollees. But for the illegal

territorial restrictions summarized above, BCBS-AL would be likely to offer its health insurance

services and products in more regions across the United States in competition with the Individual

Blue Plans in those regions. Such competition would result in lower health care costs and

premiums paid by the other Individual Blue Plans’ enrollees.




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       422.    CareFirst, Inc., which operates the Blue Plans Maryland, Washington, DC, and

parts of Virginia, is the fourteenth largest health insurer in the U.S. and the largest health care

insurer in the Mid-Atlantic region, with approximately 3.33 million subscribers. But for the illegal

territorial restrictions summarized above, CareFirst would be likely to offer its health insurance

services and products in more regions across the United States in competition with the Individual

Blue Plans in those regions. Such competition would result in lower health care costs and

premiums paid by the other Individual Blue Plans’ enrollees.

       423.    BCBS-MA is the seventeenth largest health insurer in the country by total medical

enrollment, with approximately 3 million enrollees in its service area of Massachusetts. But for

the illegal territorial restrictions summarized above, BCBS-MA would be likely to offer its health

insurance services and products in more regions across the United States in competition with the

Individual Blue Plans in those regions. Such competition would result in lower health care costs

and premiums paid by the other Individual Blue Plans’ enrollees.

       424.    BCBS-FL is the eighteenth largest health insurer in the country by total medical

enrollment, with approximately 2.9 million enrollees in its service area of Florida. But for the

illegal territorial restrictions summarized above, BCBS-FL would be likely to offer its health

insurance services and products in more regions across the United States in competition with the

Individual Blue Plans in those regions. Such competition would result in lower health care costs

and premiums paid by the other Individual Blue Plans’ enrollees.


                   Supra-Competitive Premiums Charged by BCBS Plans

       425.    From February 7, 2008 to the present, the Individual Blue Plans’ illegal

anticompetitive conduct has restrained competition, prevented entry by Individual Blue Plans and

their non-Blue affiliates into other markets, increased health care costs, inflated premiums, and


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deprived individuals and small groups of the opportunity to purchase health insurance in the

relevant markets from one or more additional Individual Blue Plans and/or their non-Blue

affiliates, at a lower premium rate and/or at a price set by a market free from the non-price restraints

imposed by Defendants’ anti-competitive agreements.

        426.      Plaintiffs were damaged by paying supra-competitive premiums, which are to be

calculated by estimating the premiums that would have been actually charged to consumers but

for the Individual Blue Plans’ antitrust violations, not the base rates or rate “schedules” filed with

a state agency.


        427.      Plaintiffs have also suffered damages as a result of not being offered lower health

insurance premium rates by competitors or potential competitors that have not entered the relevant

market.


                              The Widespread Use By BCBSA Licensees Of
                              Anticompetitive Most Favored Nation Clauses

        428.      Over the past two decades (if not longer), numerous Blue plans have adopted what

are described in the industry as “Most Favored Nation” (“MFN”) clauses in their reimbursement

agreements.

        429.      MFNs (also known as “most favored customer,” “most favored pricing,” “most

favored discount,” or “parity” clauses) require a service provider to charge a Blue entity’s

competitors either more than, or no less than, what the provider charges the Blue entity for the

same services. MFNs that require the amount the provider charges the Blue entity’s competitor to

be higher than the amount the provider charges the Blue entity are often known as “MFN-plus”

clauses, and typically require the amount to be higher by a specified percentage.




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       430.    Use of MFNs by the Blues unreasonably reduces competition for a number of

reasons. First, MFNs establish that the dominant market provider will be charged the lowest prices.

The Blues have the ability to pass through costs, thus making them indifferent to the actual price

charged in markets in which they are dominant, as long as they are not competitively

disadvantaged. The MFNs thus reduce competition by eliminating an incentive for the Plans to

reduce overhead prices.

       431.    Second, MFNs limit competition by preventing other health insurers in the region

from achieving lower costs with providers and thereby becoming significant competitors to the

MFN user. Because of the Blues’ market power in their respective Service Areas, the MFN user

can pass its own higher costs onto consumers through higher premiums without fearing that its

competitors will be able to reduce premiums and draw consumers from it.

       432.    MFNs also effectively establish a price floor below which providers will not sell

services to the MFN user’s competitors. MFNs enable the MFN user to raise that price floor. The

price floors deter competition among health insurers in the relevant region. By reducing the ability

of the MFN user’s competitors to compete against the MFN user, MFNs ensure that the Plans can

substantially raise premiums while maintaining, or even increasing, its market share.

       433.    Moreover, if the MFN user is certain that no insurer will pay less to a provider than

it will, it will be willing to pay more to that provider than it would otherwise. The more the MFN

user agrees to pay that provider, the more its competitors must pay that provider. And by raising

the price floor, the MFN user keeps other insurers’ costs artificially high, forcing those insurers to

offset the higher costs by raising premiums.

       434.    Third, MFNs raise barriers to entry in the market for commercial health insurance.

If a provider can reduce the price it charges an insurer with little to no market share only by



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reducing the price it charges a market-dominant MFN user, the provider has a strong incentive not

to lower prices. Without the ability to compete on price, a new competitor will be unable to price

below the market-dominant MFN user, and thus will be unable to survive.

       435.    A number of the independent Blue Cross and Blue Shield licensees, including

BCBS-MI, BCBS-NC, Highmark BCBS, and BCBS-SC, have used and/or continue to use MFNs

to exploit the monopoly power they hold in their respective Service Areas. These independent

Blue Cross and Blue Shield licensees, including BCBS-MI, BCBS-NC, Highmark BCBS, and

BCBS-SC, have coordinated their use of MFNs with other Blue entities.

       436.    Use of MFNs and related techniques is widespread and pervasive among Blue

plans. The member plans of BCBSA have discussed the legality and usefulness of MFNs at

BCBSA gatherings, such as the BCBSA 41st Annual Lawyers Conference, held May 3, 2007 in

Miami, Florida. There, a presenter informed representatives of the member plans that “DOJ and

FTC have focused on potential anticompetitive character of MFN clauses, particularly on

exclusionary impact” and that “[w]here [an] MFN has overall exclusionary effect on competition

and entrenches market power, it could be actionable.”

       437.    On October 18, 2010, the U.S. Department of Justice and the Attorney General of

Michigan filed a joint complaint in the United States District Court for the Eastern District of

Michigan, accusing BCBS-MI of engaging in a widespread anticompetitive use of MFNs. In the

complaint, the Department of Justice alleges that BCBS-MI “currently has agreements containing

MFNs or similar clauses with at least 70 of Michigan’s 131 general acute care hospitals” and that

these MFNs were sought and obtained “in exchange for increases in prices [the insurer] pays for

the hospitals’ services,” “likely raising prices for health insurance in Michigan.” On March 25,

2011, the Wall Street Journal reported that the U.S. Department of Justice expanded its probe into



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the use of MFNs by the member plans operating in the North Carolina, the District of Columbia,

Kansas, Missouri, Ohio, South Carolina, and West Virginia. The Department of Justice voluntarily

dismissed its suit against BCBS-MI after the state of Michigan passed legislation prohibiting

BCBS-MI from continuing to exploit its market power through MFN use.

       438.    There is direct evidence that, like BCBS-MI and its fellow member plans of

BCBSA, BCBS-NC uses MFNs in its contracts with providers. On July 13, 2006, BCBS-NC

admitted that “BCBSNC’s favorable pricing [MFN] clause has been in use for years.” BCBS-

NC’s use of MFNs has raised the costs of its competitors, has protected it from competition (and

thereby protected its ever-growing market share), and has contributed to the artificial inflation of

its health insurance premiums in North Carolina.

       439.    From 2006 to 2009, BCBS-NC used at least four form provider agreements that

included MFNs. These form provider agreements (May 15, 2006, December 19, 2007, May 21,

2008, and May 8, 2009) all included an MFN stating that:

       Provider acknowledges and warrants that, as of [date], Provider [has notified
       BCBSNC of] [does not have [and will not enter into]] any contract, agreement, or
       other arrangement under which it provides services, treatments, or supplies at a rate
       of payment and/or through any payment mechanism, which results [or will result
       in] lower [or equal] aggregate payments to the Provider by any such similar payor
       than BCBSNC’s payments would produce under this Agreement.

       440.    There is direct evidence that, like its fellow member plans of BCBSA, Highmark

BCBS uses MFNs in its contracts with providers. Highmark BCBS’s use of MFNs has raised the

costs of its competitors, has protected it from competition (and thereby protected its ever-growing

market share), and has contributed to the artificial inflation of its health insurance premiums in

Western Pennsylvania.

       441.    Multiple Highmark BCBS provider contracts, publicly available on PID’s website,

evidence Highmark BCBS’s recent and current use of MFNs. Highmark BCBS’s MFNs in


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provider contracts come in at least two forms. In one type of provider contract, Highmark BCBS

defines “Usual Charges” as “the amount that the Provider bills other payors and/or patients for the

same services” and then states that “Highmark agrees to pay the Provider for Provider Services

provided to eligible Members and determined to be Covered Services the lesser of: (A) the

payment due in accordance with Highmark’s payment rates as currently in effect at the time the

Provider Services are rendered; or (b) one hundred percent (100%) of the Provider’s Usual

Charges” (emphasis added). This type of MFN appeared in a Highmark BCBS freestanding renal

dialysis ancillary provider agreement filed June 3, 2008; a Highmark BCBS ground ambulance

transport ancillary provider agreement filed June 3, 2008; a Highmark BCBS durable medical

equipment and/or respiratory therapy equipment ancillary provider agreement filed June 3, 2008;

a Highmark BCBS oncology ancillary provider agreement filed February 13, 2009; a Highmark

BCBS home infusion therapy ancillary provider agreement filed August 25, 2009; a Highmark

BCBS laboratory services ancillary provider agreement filed January 12, 2011; and potentially

others.

          442.   In the second type of MFN, Highmark BCBS states that it will pay the contracting

provider a rate established by agreement “or one hundred percent (100%) of the [contracting

provider’s] total covered charges for such services, whichever is less” (emphasis added). This

type of MFN appeared in a Highmark BCBS acute care facility agreement filed September 2, 2008;

a Highmark BCBS freestanding ambulatory surgery facility agreement filed September 10, 2008;

a Highmark BCBS managed care products hospital facility agreement filed September 15, 2008;

a Highmark BCBS traditional products only hospital facility agreement filed September 15, 2008;

a Highmark BCBS home health agency provider agreement filed September 26, 2008; a Highmark

BCBS long term acute care facility agreement filed October 9, 2008; a Highmark BCBS home



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health agency provider agreement filed October 24, 2008; a Highmark BCBS managed care

products hospital facility agreement filed March 28, 2008; a Highmark BCBS traditional products

only hospital facility agreement filed March 28, 2008; a Highmark BCBS traditional products only

hospital facility agreement filed May 29, 2009; a Highmark BCBS managed care products hospital

facility agreement filed June 5, 2009; a Highmark BCBS traditional products only hospital facility

agreement filed June 5, 2009; a Highmark BCBS acute care facility agreement filed June 16, 2009;

and potentially others.

       443.    There is direct evidence that, like its fellow member plans of BCBSA, BCBS-SC

uses MFNs in its contracts with providers. In a recent Post and Courier article, a BCBS-SC

spokesman admitted that BCBS-SC used MFNs, claiming that they are intended “to ensure that

our customers get the best possible pricing for their health care services” and “reflect our intention

to obtain the best value for our customers as we possibly can.” Instead, BCBS-SC’s use of MFNs

has raised the costs of its competitors, protected it from competition (and thereby protected its

ever-growing market share), and contributed to the artificial inflation of its health insurance

premiums in South Carolina.

       444.    In 2006, the South Carolina Legislature repealed a decades-old insurance code,

stripping the State’s authority to regulate provider contracts between insurers and health care

providers. This deletion allows BCBS-SC to negotiate and execute provider contracts that include

MFNs, with no review or approval required from the South Carolina Department of Insurance.


                  Individual Blue Plans’ Market Power In Relevant Markets
Relevant Product Market:

       445.    The relevant product market is the sale of full-service commercial health insurance

products to individuals and small groups (up to 199 people).


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       446.    To properly define a health insurance product market, it is useful to consider the

range of health insurance products for sale and the degree to which these products substitute for

one another, i.e., whether, in a competitive market, an increase in the price of one product would

increase demand for the second product. The characteristics of different products are important

factors in determining their substitutability.         For a health insurance product, important

characteristics include:

       447.    Commercial versus government health insurance:            Unlike commercial health

insurance products, government health insurance programs such as Medicare and Medicaid and

privately operated government health insurance programs such as Medicare Advantage are

available only to individuals who are disabled, elderly, or indigent. Therefore, commercial health

insurance and government health insurance programs are not substitutes.

       448.    Full-service versus single-service health insurance: Full-service health insurance

provides coverage for a wide range of medical and surgical services provided by hospitals,

physicians, and other health care providers. In contrast, single-service health insurance provides

narrow coverage restricted to a specific type of health care, e.g., dental care. Single-service health

insurance is sold as a compliment to full-service health insurance when the latter excludes from

coverage a specific type of health care, e.g., dental care. Thus, full-service health insurance and

single-service health insurance are not substitutes.

       449.    Full-service commercial health insurance includes HMO products and PPO

products, among others. Traditionally, HMO health insurance plans pay benefits only when

enrollees use in-network providers; PPO health insurance plans pay a higher percentage of costs

when enrollees use in-network providers and a lower percentage of costs when enrollees use out-

of-network providers.      Both types of full-service commercial health insurers compete for



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consumers based on the price of the premiums they charge, the quality and breadth of their health

care provider networks, the benefits they do or do not provide (including enrollees’ out-of-pocket

costs such as deductibles, co-payment, and coinsurance), customer service, and reputation, among

other factors. Economic research suggests that HMO and PPO health insurance products are

substitutes.

        450.    Fully-insured health insurance versus ASO products: When a consumer purchases

a fully-insured health insurance product, the entity from which the consumer purchases that

product provides a number of services: it pays its enrollees’ medical costs, bears the risk that its

enrollees’ health care claims will exceed its anticipated losses, controls benefit structure and

coverage decisions, and provides “administrative services” to its enrollees, e.g., processes medical

bills and negotiates discounted prices with providers. In contrast, when a consumer purchases an

administrative services only (“ASO”) product, sometimes known as “no risk,” the entity from

which the consumer purchases that product provides administrative services only. Therefore,

fully-insured health insurance products and ASO products are only substitutes for those consumers

able to self-insure, i.e., able to pay their own medical costs and bear the risk that claims will exceed

their anticipated losses.

        451.    Individual, small group, and large group consumers:             Consumers of health

insurance products include both individuals and groups, such as employers who select a plan to

offer to their employees and typically pay a portion of their employees’ premiums. Group

consumers are broken down into two categories, small group and large group, based on the number

of persons in the group. The Kaiser Family Foundation, which publishes an influential yearly

survey of employer health benefits offered across the United States, defines small groups as those

with up to 199 employees and large firms as those with 200 or more employees.



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       452.    For the purposes of market division, it is appropriate to consider the individual and

small group health insurance product market as distinct from the large group health insurance

product market. In the former, consumers are largely unable to self-insure and competition is

therefore restricted to plans that offer fully-insured health insurance products; in the latter,

consumers are able to self-insure and the bulk of competition occurs between firms offering ASO

products. Across the United States, 84 percent of small group consumers do not self-insure, while

83 percent of large group consumers do self-insure. Even apart from the prevalence of ASO

products in each market, individual, small group, and large group product markets are distinct

because health insurers can set different prices for these different consumers. Thus, pricing in the

large group market would not impact competition in the small group market, and vice versa.


Relevant Geographic Markets:

       453.    In defining a geographic market, it is important to focus on an essential part of a

full-service commercial health insurer’s product: its provider network. An insurer’s provider

network is composed of the health care providers with which it contracts. Enrollees in both HMO

and PPO full-service commercial health insurance products pay less for an “in-network” provider’s

health care services than they would for the same services from an “out of network” provider. As

a result, health insurance consumers pay special attention to an insurer’s provider network when

choosing a health insurance product, preferring insurers with networks that include local providers.

This suggests that health insurers compete in distinct geographic markets.

       454.    There are a number of different ways to analyze the geographic markets for the sale

of full-service commercial health insurance to individual and small group consumers of a particular

Individual Blue Plan. The potentially relevant geographic markets could be defined alternatively

as (a) that Blue Plan’s service area; and (b) each of the regions, known as “Metropolitan Statistical


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Areas,” “Micropolitan Statistical Areas,” and counties, into which the U.S. Office of Management

and Budget divides the counties that make up that service area.


Alabama

       455.    However the geographic market is defined, BCBS-AL has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Alabama.

       456.    BCBS-AL does business throughout the state of Alabama, is licensed to use the

Blue Cross and Blue Shield trademarks and trade names throughout the state of Alabama, and has

agreed with the other member plans of BCBSA that only BCBS-AL will do business in Alabama

under the Blue brand. Therefore, the state of Alabama can be analyzed as a relevant geographic

market within which to assess the effects of BCBS-AL’s anticompetitive conduct. As of 2008,

BCBS-AL held at least a 93 percent share of the relevant product market in Alabama. As of 2013,

BCBS-AL held at least a 91 percent market share in the relevant individual market and at least a

97 percent market share in the relevant small group market.

       457.    The U.S. Office of Management and Budget divides the 67 counties of Alabama

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data.           It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of Alabama’s 12 Metropolitan Statistical Areas,

13 Micropolitan Statistical Areas, and 24 counties that are not part of Statistical Areas is a relevant

geographic market within which to assess the effects of BCBS-AL’s anticompetitive conduct. As

of 2010, BCBS-AL held at least the following shares of the relevant product market in these


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Metropolitan Statistical Areas: the Anniston-Oxford Metropolitan Statistical Area: 84 percent; the

Auburn-Opelika Metropolitan Statistical Area: 88 percent; the Birmingham-Hoover Metropolitan

Statistical Area: 82 percent; the Decatur Metropolitan Statistical Area: 91 percent; the Dothan

Metropolitan Statistical Area: 89 percent; the Florence-Muscle Shoals Metropolitan Statistical

Area: 90 percent; the Gadsden Metropolitan Statistical Area: 91 percent; the Huntsville

Metropolitan Statistical Area: 84 percent; the Mobile Metropolitan Statistical Area: 81 percent;

the Montgomery Metropolitan Statistical Area: 85 percent; and the Tuscaloosa Metropolitan

Statistical Area: 89 percent.

       458.    BCBS-AL’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-AL’s market power has significantly raised costs, resulting in

higher premiums for BCBS-AL enrollees.

                           Supra-Competitive Premiums Charged By BCBS-AL

       459.    From March 1, 2007 to the present, BCBS-AL’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-five other members of BCBSA,

has increased health care costs in Alabama, leading to inflated and/or supra-competitive premiums

for individuals and small groups purchasing BCBS-AL’s full-service commercial health insurance

in the relevant geographic markets, and further, depriving Alabama subscribers of the opportunity

to purchase health insurance from one or more of the other Individual Blue Plans and/or their non-

Blue affiliates, at a lower premium rate and/or at a price set by a market free from the non-price

restraints imposed by Defendants’ anti-competitive agreements. BCBS-AL’s market power and

its use of anticompetitive practices in Alabama have reduced the amount of competition in the

market and ensured that BCBS-AL’s few competitors face higher costs than BCBS-AL does.




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Without competition, and with the ability to increase premiums without losing customers, BCBS-

AL faces little pressure to keep prices low.

       460.    Over the past decade, BCBS-AL generally raised individual and small group

premiums by amounts greater than the national average. In 2010, for example, BCBS-AL raised

individual premiums more than 17 percent in some instances.

       461.    Plaintiffs were damaged, both by paying supra-competitive premiums, which are

to be calculated by estimating the premiums that would have been actually charged to consumers

but for the Individual Blue Plans’ antitrust violations, not the base rates or rate “schedules” filed

with a state agency, and by being denied access to lower and/or competitively-priced health

insurance products that could and would have been offered in Alabama by other Individual Blue

Plans, or their non-Blue affiliates, but for Defendants’ unreasonable geographic market

allocations.

       462.    These rising premiums have enabled BCBS-AL to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. From 2001 to 2009, BCBS-AL grew its surplus by 68 percent, from $433.7

million to $649 million. In 2011, BCBS-AL reported net income of $256.92 million, up 58 percent

from 2010.


Arkansas

       463.    However the geographic market is defined, BCBS-AR has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Arkansas.

       464.    BCBS-AR does business throughout the state of Arkansas, is licensed to use the

Blue Cross and Blue Shield trademarks and trade names throughout the state of Arkansas, and has


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agreed with the other member plans of BCBSA that only BCBS-AR will do business in Arkansas

under the Blue brand. Therefore, the state of Arkansas can be analyzed as a relevant geographic

market within which to assess the effects of BCBS-AR’s anticompetitive conduct. As of 2013,

BCBS-AR held at least a 78 percent share of the relevant individual product market and at least a

65 percent share of the relevant small group product market in Arkansas.

       465.    The U.S. Office of Management and Budget divides the 75 counties of Arkansas

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data.           It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of Arkansas’s 8 Metropolitan Statistical Areas,

13 Micropolitan Statistical Areas, and 36 counties that are not part of Statistical Areas is a relevant

geographic market within which to assess the effects of BCBS-AR’s anticompetitive conduct. As

of 2012, BCBS-AR has the following market shares in the following Metropolitan Statistical

Areas: Fayetteville-Springdale-Rogers (at least 24 percent), Fort Smith (at least 19 percent), Hot

Springs (at least 33 percent), Jonesboro (at least 51 percent), Little Rock-North Little Rock-

Conway (at least 35 percent), and Pine Bluff (at least 50 percent).

       466.    BCBS-AR’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-AR’s market power has significantly raised costs, resulting in

higher premiums for BCBS-AR enrollees.

                           Supra-Competitive Premiums Charged By BCBS-AR

       467.    From October 1, 2008 to the present, BCBS-AR’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-five other members of BCBSA,



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has increased health care costs in Arkansas, leading to inflated and/or supra-competitive premiums

for individuals and small groups purchasing BCBS-AR’s full-service commercial health insurance

in the relevant geographic markets, and further, depriving Arkansas subscribers of the opportunity

to purchase health insurance from one or more of the other Individual Blue Plans and/or their non-

Blue affiliates, at a lower premium rate and/or at a price set by a market free from the non-price

restraints imposed by Defendants’ anti-competitive agreements. BCBS-AR’s market power and

its use of anticompetitive practices in Arkansas have reduced the amount of competition in the

market and ensured that BCBS-AR’s few competitors face higher costs than BCBS-AR does.

Without competition, and with the ability to increase premiums without losing customers, BCBS-

AR faces little pressure to keep prices low.

       468.    Over the past decade, BCBS-AR generally raised individual and small group

premiums by amounts greater than the national average.

       469.    These rising premiums have enabled BCBS-AR to lavishly compensate its

executives and grow its surplus in excessive amounts—close to $600 million as of 2011—unusual

practices for a self-described non-profit organization.


California

       470.    However the geographic market is defined, BC-CA has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of California.

BS-CA also has a dominant market position and exercises market power in those markets

throughout the state of California.

       471.    BC-CA does business throughout the state of California, is licensed to use the Blue

Cross trademark and trade name throughout the state of California, and has agreed with the other


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member plans of BCBSA that only BC-CA will do business in California under the Blue Cross

brand. BS-CA does business throughout the state of California, is licensed to use the Blue Shield

trademark and trade name throughout the state of California, and has agreed with the other member

plans of BCBSA that only BS-CA will do business in California under the Blue Shield brand.

Therefore, the state of California can be analyzed as a relevant geographic market within which to

assess the effects of BC-CA’s and BS-CA’s anticompetitive conduct. As of 2010, BC-CA held at

least a 29 percent share of the relevant product market in California; as of 2011, BC-CA held at

least 37 percent of the relevant individual product market and at least 15 percent of the relevant

small group product market. As of 2011, BS-CA held at least a 20 percent share of the relevant

individual product market and at least 18 percent of the relevant small group product market.

       472.    The U.S. Office of Management and Budget divides the 58 counties of California

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data.         It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of California’s 26 Metropolitan Statistical

Areas, 8 Micropolitan Statistical Areas, and 13 counties that are not part of Statistical Areas is a

relevant geographic market within which to assess the effects of BC-CA’s and BS-CA’s

anticompetitive conduct. As of 2012, BC-CA has the following market shares in the following

Metropolitan Statistical Areas: Bakersfield (at least 42 percent), Chico (at least 55 percent), El

Centro (at least 29 percent), Fresno (at least 45 percent), Hanford-Corcoran (at least 64 percent),

Los Angeles-Long Beach-Anaheim (at least 32 percent), Madera (at least 53 percent), Merced (at

least 54 percent), Modesto (at least 30 percent), Napa (at least 40 percent), Oxnard-Thousand



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Oaks-Ventura (at least 42 percent), Redding (at least 60 percent), Riverside-San Bernadino-

Ontario (at least 24 percent), the Sacramento-Roseville-Arden-Arcade (at least 17 percent), Salinas

(at least 64 percent), San Diego-Carlsbad (at least 21 percent), San Francisco-Oakland-Hayward

(at least 21 percent), San Jose-Sunnyvale-Santa Clara (at least 22 percent), San Luis Obispo-Paso

Robles-Arroyo Grande (at least 62 percent), Santa Cruz-Watsonville (at least 49 percent), Santa

Maria-Santa Barbara (at least 51 percent), Santa Rosa (at least 20 percent), Stockton-Lodi (at least

25 percent), Vallejo-Fairfield (at least 19 percent), Visalia-Porterville (at least 58 percent), and

Yuba City (at least 71 percent). BS-CA has the following market shares in the following

Metropolitan Statistical Areas: Chico (at least 33 percent), El Centro (at least 52 percent), Fresno

(at least 22 percent), Hanford-Corcoran (at least 25 percent), Madera (at least 20 percent), Merced

(at least 26 percent), Redding (at least 28 percent), Salinas (at least 21 percent), San Luis Obispo-

Paso Robles-Arroyo Grande (at least 26 percent), Santa Cruz-Watsonville (at least 20 percent),

Santa Maria-Santa Barbara (at least 21 percent), Visalia-Porterville (at least 23 percent), and Yuba

City (at least 10 percent).

       473.    BC-CA’s and BS-CA’s powerful market share is far from the only evidence of their

market power. As alleged below, BC-CA’s and BS-CA’s market power has significantly raised

costs, resulting in higher premiums for BC-CA and BS-CA enrollees.

                      Supra-Competitive Premiums Charged By BC-CA and BS-CA

       474.    From October 1, 2008 to the present, BC-CA’s and BS-CA’s illegal anticompetitive

conduct, including their territorial market division agreements with the thirty-six other members

of BCBSA, has increased health care costs in California, leading to inflated and/or supra-

competitive premiums for individuals and small groups purchasing BC-CA’s and BS-CA’s full-

service commercial health insurance in the relevant geographic markets, and further, depriving



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California subscribers of the opportunity to purchase health insurance from one or more of the

other Individual Blue Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a

price set by a market free from the non-price restraints imposed by Defendants’ anti-competitive

agreements. BC-CA’s and BS-CA’s market power and their use of anticompetitive practices in

California have reduced the amount of competition in the market and ensured that BC-CA and BS-

CA’s few competitors face higher costs than BC-CA and BS-CA do. Without competition, and

with the ability to increase premiums without losing customers, BC-CA and BS-CA face little

pressure to keep prices low.

       475.    Over the past decade, BC-CA and BS-CA each generally raised individual and

small group premiums by amounts greater than the national average.

       476.    These rising premiums have enabled BC-CA and BS-CA to lavishly compensate

their executives and grow their surpluses in excessive amounts.


Florida

       477.    However the geographic market is defined, BCBS-FL has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Florida.

       478.    BCBS-FL does business throughout the state of Florida, is licensed to use the Blue

Cross and Blue Shield trademarks and trade names throughout the state of Florida, and has agreed

with the other member plans of BCBSA that only BCBS-FL will do business in Florida under the

Blue brand. Therefore, the state of Florida can be analyzed as a relevant geographic market within

which to assess the effects of BCBS-FL’s anticompetitive conduct. As of 2010 and 2011, BCBS-

FL held at least a 31 percent share of the relevant product market in Florida, including at least a

48 percent share of individual products.


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       479.    The U.S. Office of Management and Budget divides the 67 counties of Florida into

Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published standards

applied to U.S. Census Bureau data. It states that “[t]he general concept of a metropolitan or

micropolitan statistical area is that of a core area containing a substantial population nucleus,

together with adjacent communities having a high degree of economic and social integration with

that core.”   Therefore, each of Florida’s 22 Metropolitan Statistical Areas, 7 Micropolitan

Statistical Areas, and 16 counties that are not part of Statistical Areas is a relevant geographic

market within which to assess the effects of BCBS-FL’s anticompetitive conduct. As of 2012,

BCBS-FL has the following share of the relevant product market in the following Metropolitan

Statistical Areas: Cape Coral-Fort Myers (at least 32 percent), Crestview-Fort Walton Beach-

Destin (at least 55 percent), Deltona-Daytona Beach-Ormond Beach (at least 47 percent),

Gainesville (at least 63 percent), Jacksonville (at least 29 percent), Lakeland-Winter Haven (at

least 21 percent), Naples-Immokalee-Marco Island (at least 40 percent), Ocala (at least 54 percent),

Panama City (at least 65 percent), Pensacola-Ferry Pass-Brent (at least 48 percent), Port St. Lucie

(at least 44 percent), Punta Gorda (at least 32 percent), Sebastian-Vero Beach (at least 58 percent),

and Tallahassee (at least 87 percent).

       480.    BCBS-FL’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-FL’s market power has significantly raised costs, resulting in

higher premiums for BCBS-FL enrollees.

                           Supra-Competitive Premiums Charged By BCBS-FL

       481.    From October 1, 2008 to the present, BCBS-FL’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-five other members of BCBSA,

has increased health care costs in Florida, leading to inflated and/or supra-competitive premiums



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for individuals and/or small groups purchasing BCBS-FL’s full-service commercial health

insurance in the relevant geographic markets, and further, depriving Florida subscribers of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements. BCBS-FL’s market

power and its use of anticompetitive practices in Florida have reduced the amount of competition

in the market and ensured that BCBS-FL’s few competitors face higher costs than BCBS-FL does.

Without competition, and with the ability to increase premiums without losing customers, BCBS-

FL faces little pressure to keep prices low.

       482.    Over the past decade, BCBS-FL generally raised individual and small group

premiums by amounts greater than the national average.

       483.    These rising premiums have enabled BCBS-FL to lavishly compensate its

executives and grow its surplus in excessive amounts.


Hawaii

       484.    However the geographic market is defined, BCBS-HI has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Hawaii.

       485.    BCBS-HI does business throughout the state of Hawaii, is licensed to use the Blue

Cross and Blue Shield trademarks and trade names throughout the state of Hawaii, and has agreed

with the other member plans of BCBSA that only BCBS-HI will do business in Hawaii under the

Blue brand. Therefore, the state of Hawaii can be analyzed as a relevant geographic market within

which to assess the effects of BCBS-HI’s anticompetitive conduct. As of 2011, BCBS-HI held at

least a 69 percent share of the relevant product market in Hawaii, including at least a 52 percent


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share in the relevant individual market and at least a 50 percent share in the relevant small group

market.

       486.    The U.S. Office of Management and Budget divides the five counties of Hawaii

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data.         It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of Hawaii’s 2 Metropolitan Statistical Areas

and 2 Micropolitan Statistical Areas is a relevant geographic market within which to assess the

effects of BCBS-HI’s anticompetitive conduct. BCBS-HI had at least a 71 percent market share

of the Urban Honolulu Metropolitan Statistical Area as of 2010.

       487.    BCBS-HI’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-HI’s market power has significantly raised costs, resulting in

higher premiums for BCBS-HI enrollees.

                          Supra-Competitive Premiums Charged By BCBS-HI

       488.    From October 1, 2008 to the present, BCBS-HI’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-five other members of BCBSA,

has increased health care costs in Hawaii, leading to inflated and/or supra-competitive premiums

for individuals and small groups purchasing BCBS-HI’s full-service commercial health insurance

in the relevant geographic markets, and further, depriving Hawaii subscribers of the opportunity

to purchase health insurance from one or more of the other Individual Blue Plans and/or their non-

Blue affiliates, at a lower premium rate and/or at a price set by a market free from the non-price

restraints imposed by Defendants’ anti-competitive agreements. BCBS-HI’s market power and its



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use of anticompetitive practices in Hawaii have reduced the amount of competition in the market

and ensured that BCBS-HI’s few competitors face higher costs than BCBS-HI does. Without

competition, and with the ability to increase premiums without losing customers, BCBS-HI faces

little pressure to keep prices low.

           489.   Over the past decade, BCBS-HI generally raised individual and small group

premiums by amounts greater than the national average. In 2008, for example, BCBS-Hawaii

raised its premiums for its Preferred Provider and HPH Plus plans 9.9 percent and 11.5 percent,

respectively.

           490.   These rising premiums have enabled BCBS-HI to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. As a result of these and other inflated premiums, BCBS-Hawaii has increased

its profits to the point where it holds reserves in the amount of approximately $400 million.


Illinois

           491.   However the geographic market is defined, BCBS-IL has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Illinois.

           492.   BCBS-IL does business throughout the state of Illinois, is licensed to use the Blue

Cross and Blue Shield trademarks and trade names throughout the state of Illinois, and has agreed

with the other member plans of BCBSA that only BCBS-IL will do business in Illinois under the

Blue brand. Therefore, the state of Illinois can be analyzed as a relevant geographic market within

which to assess the effects of BCBS-IL’s anticompetitive conduct. As of 2011, BCBS-IL held at

least a 57 percent share of the relevant small group insurance product market in Illinois, and at

least a 66 percent share of the relevant individual insurance product market in Illinois.


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       493.    The U.S. Office of Management and Budget divides the 102 counties of Illinois

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data.           It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of Illinois’s 12 Metropolitan Statistical Areas,

23 Micropolitan Statistical Areas, and 37 counties that are not part of Statistical Areas is a relevant

geographic market within which to assess the effects of BCBS-IL’s anticompetitive conduct. As

of 2010, BCBS-IL held at least the following shares of the relevant product market in these

Metropolitan Statistical Areas: 55 percent in the Bloomington-Normal Metropolitan Statistical

Area; 47 percent in the Champagne-Urbana Metropolitan Statistical Area; 63 percent in the

Chicago-Naperville-Joliet Metropolitan Statistical Area; 57 percent in the Decatur Metropolitan

Statistical Area; 48 percent in the Kankakee-Bradley Metropolitan Statistical Area; 46 percent in

the Lake County-Kenosha County IL-WI Metropolitan Statistical Area; 58 percent in the Rockford

Metropolitan Statistical Area; and 36 percent in the Springfield Metropolitan Statistical Area.

       494.    BCBS-IL’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-IL’s market power has significantly raised costs, resulting in

higher premiums for BCBS-IL enrollees.

                            Supra-Competitive Premiums Charged By BCBS-IL

       495.    From August 21, 2008 to the present, BCBS-IL’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-five other members of BCBSA,

has increased health care costs in Illinois, leading to inflated and/or supra-competitive premiums

for individuals and small groups purchasing BCBS-IL’s full-service commercial health insurance



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in the relevant geographic markets, and further, depriving Illinois subscribers of the opportunity

to purchase health insurance from one or more of the other Individual Blue Plans and/or their non-

Blue affiliates, at a lower premium rate and/or at a price set by a market free from the non-price

restraints imposed by Defendants’ anti-competitive agreements. BCBS-IL’s market power and its

use of anticompetitive practices in Illinois have reduced the amount of competition in the market

and ensured that BCBS-IL’s few competitors face higher costs than BCBS-IL does. Without

competition, and with the ability to increase premiums without losing customers, BCBS-IL faces

little pressure to keep prices low.

       496.    Over the past decade, BCBS-IL generally raised individual and small group

premiums by amounts greater than the national average. For example, on August 29, 2012, BCBS-

IL hiked premiums up 8.60 percent for some policies.

       497.    These rising premiums have enabled BCBS-IL to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. In 2012, BCBS-IL’s parent company, HCSC, had over $20 billion in revenues

and a net income of over $1 billion, which lead to an overall surplus of $9.6 billion. In comparison,

HCSC collected $1.7 billion in HMO revenues and earned $1.4 billion surplus in 2002.


Indiana

       498.    However the geographic market is defined, BCBS-IN has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Indiana.

       499.    BCBS-IN does business throughout the state of Indiana, is licensed to use the Blue

Cross and Blue Shield trademarks and trade names throughout the state of Indiana, and has agreed

with the other member plans of BCBSA that only BCBS-IN will do business in Indiana under the


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Blue brand. Therefore, the state of Indiana can be analyzed as a relevant geographic market within

which to assess the effects of BCBS-IN’s anticompetitive conduct.

       500.    In 2010, BCBS-IN held at least a sixty-five (65) percent share of the individual

health insurance market in the State of Indiana. For the same year, the individual health insurance

market in Indiana had HHI number of 4482. In 2011, BCBS-IN held at least a fifty-three (53)

percent share of the individual health insurance market in the State of Indiana. For the same year,

the individual health insurance market in Indiana had HHI number of 3179. In 2012, BCBS-IN

held at least a sixty-two percent (62) share of the individual health insurance market in the State

of Indiana. For the same year, the individual health insurance market in Indiana had HHI number

of 4178. In 2013, BCBS-IN held at least a fifty-nine (59) percent share of the individual health

insurance market in the State of Indiana. For the same year, the individual health insurance market

in Indiana had HHI number of 3888. At no point during the four year period that the Kaiser Family

Foundation calculated both market share and concentration was BCBS-IN’s market share of the

individual health insurance market below fifty (50) percent and concentration below the level that

reflects a highly concentrated and uncompetitive market.

       501.    In 2010, BCBS-IN held at least a sixty-five (65) percent share of the individual

health insurance market in the State of Indiana. For the same year, the individual health insurance

market in Indiana had HHI number of 4482. In 2011, BCBS-IN held at least a fifty-three (53)

percent share of the individual health insurance market in the State of Indiana. For the same year,

the individual health insurance market in Indiana had HHI number of 3179. In 2012, BCBS-IN

held at least a sixty-two percent (62) share of the individual health insurance market in the State

of Indiana. For the same year, the individual health insurance market in Indiana had HHI number

of 4178. In 2013, BCBS-IN held at least a fifty-nine (59) percent share of the individual health



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insurance market in the State of Indiana. For the same year, the individual health insurance market

in Indiana had HHI number of 3888. At no point during the four year period that the Kaiser Family

Foundation calculated both market share and concentration was BCBS-IN’s market share of the

individual health insurance market below fifty (50) percent and concentration below the level that

reflects a highly concentrated and uncompetitive market.

       502.    In 2010, BCBS-IN held at least a fifty-four (54) percent share of the small group

health insurance market in the State of Indiana. For the same year, the small group health insurance

market in Indiana had HHI number of 3313. In 2011, BCBS-IN held at least a fifty-nine (59)

percent share of the small group health insurance market in the State of Indiana. For the same

year, the small group health insurance market in Indiana had HHI number of 3730. In 2012, BCBS-

IN held at least a fifty-eight percent (58) share of the small group health insurance market in the

State of Indiana. For the same year, the small group health insurance market in Indiana had HHI

number of 3645. In 2013, BCBS-IN held at least a fifty-six (56) percent share of the small group

health insurance market in the State of Indiana. For the same year, the small group health insurance

market in Indiana had HHI number of 3568. At no point during the four year period that the Kaiser

Family Foundation calculated both market share and concentration was BCBS-IN’s market share

of the individual or small group health insurance markets below fifty (50) percent and market

concentration below a level that reflects a highly concentrated and uncompetitive market.

       503.    The U.S. Office of Management and Budget divides the 92 counties of Indiana into

Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published standards

applied to U.S. Census Bureau data. It states that “[t]he general concept of a metropolitan or

micropolitan statistical area is that of a core area containing a substantial population nucleus,

together with adjacent communities having a high degree of economic and social integration with



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that core.” Therefore, each of Indiana’s 14 Metropolitan Statistical Areas, 23 Micropolitan

Statistical Areas, and 30 counties that are not part of Statistical Areas is a relevant geographic

market within which to assess the effects of BCBS-IN’s anticompetitive conduct.

       504.    As of 2012, BCBS-IN held at least the following shares of the relevant product

market in these Metropolitan Statistical Areas: the Anderson Metropolitan Statistical Area: 69

percent; the Bloomington Metropolitan Statistical Area: 62 percent; the Columbus Metropolitan

Statistical Area: 53 percent; the Elkhart-Goshen Metropolitan Statistical Area: 65 percent; the

Evansville Metropolitan Statistical Area: 50 percent; the Fort Wayne Metropolitan Statistical Area:

58 percent; the Indianapolis Metropolitan Statistical Area: 54 percent; the Kokomo Metropolitan

Statistical Area: 57 percent; the Michigan City-La Porte Metropolitan Statistical Area: 62 percent;

the Muncie Metropolitan Statistical Area: 63 percent; the Terre Haute Metropolitan Statistical

Area: 72 percent.

       505.    BCBS-IN’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-IN’s market power has significantly raised costs, resulting in

higher premiums for BCBS-IN enrollees, and costing subscribers the opportunity for lower,

competitively-priced premiums.

                          Supra-Competitive Premiums Charged By BCBS-IN

       506.    From March 1, 2007 to the present, BCBS-IN’s illegal anticompetitive conduct,

including its territorial market division agreements with the other members of the BCBSA, has

increased health care costs Indiana, leading to inflated and/or supra-competitive premiums for

individuals and small groups purchasing BCBS-IN’s full-service commercial health insurance in

the relevant geographic markets, and further, depriving subscribers of the opportunity to purchase

health insurance from one or more of the other Individual Blue Plans and/or their non-Blue



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affiliates, at a lower premium rate and/or at a price set by a market free from the non-price restraints

imposed by Defendants’ anti-competitive agreements. BCBS-IN’s market power and its use of

anticompetitive practices in Indiana have reduced the amount of competition in the market and

ensured that BCBS-IN’s few competitors face higher costs than BCBS-IN does. Without

competition, and with the ability to increase premiums without losing customers, BCBS-IN faces

little pressure to keep prices low.

        507.    Over the past decade, BCBS-IN generally raised individual and small group

premiums by amounts greater than the national average.

        508.    Plaintiff and the Class were damaged, both by paying supra-competitive premiums,

which are to be calculated by estimating the premiums that would have been actually charged to

consumers but for the Individual Blue Plans’ antitrust violations, not the base rates or rate

“schedules” filed with a state agency, and by being denied access to lower and/or competitively-

priced health insurance products that could and would have been offered in Indiana by other

Individual Blue Plans, or their non-Blue affiliates, but for Defendants’ unreasonable geographic

market allocations.

        509.    These rising premiums have enabled BCBS-IN to lavishly compensate its

executives and grow its surplus in excessive amount. BCBS-IN’s parent company, Anthem,

reported profits of $856.2 million for the first quarter of 2015, up from $701 million for the first

quarter of 2014.


Kansas

        510.    However the geographic market is defined, BCBS-KS has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Kansas.


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       511.    BCBS-KS does business throughout the state of Kansas, is licensed to use the Blue

Cross and Blue Shield trademarks and trade names throughout the state of Kansas, and has agreed

with the other member plans of BCBSA that only BCBS-KS will do business in Kansas under the

Blue brand. Therefore, the state of Kansas can be analyzed as a relevant geographic market within

which to assess the effects of BCBS-KS’s anticompetitive conduct.

       512.    In 2010, BCBS-KS held approximately 46 percent of the individual health

insurance market. In the same year, the individual health insurance market in the state of Kansas

was highly concentrated with a HHI level of 2698. In 2011, BCBS-KS held approximately 43

percent of the individual health insurance market. In the same year, the individual health insurance

market in the state of Kansas was moderately concentrated with a HHI level of 2468.        In 2012,

BCBS-KS held approximately 42 percent of the individual health insurance market. In the same

year, the individual health insurance market in the state of Kansas was highly concentrated with a

HHI level of 2502. In 2013, BCBS-KS held approximately 39 percent of the individual health

insurance market. In the same year, the individual health insurance market in the state of Kansas

was moderately concentrated with a HHI level of 2479.

       513.    In 2010, BCBS-KS held approximately 62 percent of the small group health

insurance market. In the same year, the small group health insurance market in the state of Kansas

was highly concentrated with a HHI level of 4107. In 2011, BCBS-KS held approximately 60

percent of the small group health insurance market. In the same year, the small group health

insurance market in the state of Kansas was highly concentrated with a HHI level of 4018.        In

2012, BCBS-KS held approximately 60 percent of the small group health insurance market. In

the same year, the individual health insurance market in the state of Kansas was highly

concentrated with a HHI level of 4010. In 2013, BCBS-KS held approximately 64 percent of the



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small group health insurance market. In the same year, the small group health insurance market

in the state of Kansas was highly concentrated with a HHI level of 4501.

       514.    The U.S. Office of Management and Budget divides the 105 counties of Kansas

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data. It states that “[t]he general concept of a metropolitan

or micropolitan statistical area is that of a core area containing a substantial population nucleus,

together with adjacent communities having a high degree of economic and social integration with

that core.” Therefore, each of Kansas’s 5 Metropolitan Statistical Areas, 16 Micropolitan

Statistical Areas, and 68 counties that are not part of Statistical Areas is a relevant geographic

market within which to assess the effects of BCBS-KS’s anticompetitive conduct. There are two

counties in Kansas that BCBS-KS does not service because those counties are included in the

service area of another BCBSA member.

       515.    The American Medical Association conducted a review and analysis of the

competitiveness of health insurance markets. In that study, researchers examined 2012 data

captured from commercial enrollment in fully and self-insured plans, as well as consumer-driven

health plans, from 388 metropolitan areas, 50 states, and the District of Columbia. As of 2012, the

AMA found that BCBS-KS held at least the following shares of the relevant product market in

these Metropolitan Statistical Areas: the Lawrence Metropolitan Statistical Area: 50 percent; the

Topeka Metropolitan Statistical Area: 64 percent; and the Wichita Metropolitan Statistical Area:

44 percent. See AMA, Competition in Health Insurance: A Comprehensive Study of U.S. Markets,

available at https://www.advisory.com/daily-briefing/2014/10/14/10-states-with-the-strongest-

insurance-monopolies (last visited Oct. 19, 2015).




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        516.    BCBS-KS’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-KS’s market power has significantly raised costs, resulting in

higher premiums for BCBS-KS enrollees, and costing Kansas subscribers the opportunity for

lower, competitively-priced premiums.

                           Supra-Competitive Premiums Charged By BCBS-KS

        517.    From March 1, 2007 to the present, BCBS-KS’s illegal anticompetitive conduct,

including its territorial market division agreements with the other members of the BCBSA, has

increased health care costs in Kansas, leading to inflated and/or supra-competitive premiums for

individuals and small groups purchasing BCBS-KS’s full-service commercial health insurance in

the relevant geographic markets, and further, depriving subscribers of the opportunity to purchase

health insurance from one or more of the other Individual Blue Plans and/or their non-Blue

affiliates, at a lower premium rate and/or at a price set by a market free from the non-price restraints

imposed by Defendants’ anti-competitive agreements. BCBS-KS’s market power and its use of

anticompetitive practices in Kansas have reduced the amount of competition in the market and

ensured that BCBS-KS’s few competitors face higher costs than BCBS-KS does. Without

competition, and with the ability to increase premiums without losing customers, BCBS-KS faces

little pressure to keep prices low.

        518.    Over the past decade, BCBS-KS generally raised individual and small group

premiums by amounts greater than the national average. For example, in 2010, BCBS-KS raised

individual premiums by an average of 12 percent, in 2009 by an average of 14.7 percent and in

2008, by an average of 15.1 percent.

        519.    Plaintiffs were damaged, both by paying supra-competitive premiums, which are

to be calculated by estimating the premiums that would have been actually charged to consumers



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but for the Individual Blue Plans’ antitrust violations, not the base rates or rate “schedules” filed

with a state agency, and by being denied access to lower and/or competitively-priced health

insurance products that could and would have been offered in Kansas by other Individual Blue

Plans, or their non-Blue affiliates, but for Defendants’ unreasonable geographic market

allocations.

       520.     The practice of raising premiums by the non-profit Blue Plans in non-competitive

markets have led to excessive reserves and lavish executive compensation. While recent data on

insurance company executive compensation is not available in the State of Kansas, BCBS-KS has

a long history of dramatically increasing executive compensation while curtailing reimbursements

for claims. For example, in 2004, the CEO of BCBS-KS, Michael Mattox, was paid $671,082 in

total compensation, approximately 27 percent more than he was compensated in 2003 and more

than 100% more than he was compensated in 2002. Correspondingly, with regard to reserves, in

2010, BCBS-KS had accumulated more than $657 million in reserves, exceeding the regulatory

reserve requirements for the state BCBS plans by over 960 percent. BCBS-KS has grown its policy

holder reserves to over one-billion dollars as of 2014. Such a large reserve is far in excess of what

regulators typically require from an insurance company.

Kansas City

       521.     However the geographic market is defined, BCBS-KC has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the greater Kansas City

service area.

       522.     BCBS-KC does business throughout northwestern Missouri and eastern Kansas, is

licensed to use the Blue Cross and Blue Shield trademarks and trade names throughout the states



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of Missouri and Kansas and has agreed with the other member plans of BCBSA that only BCBS-

KC will do business in the greater Kansas City area of Missouri and Kansas under the Blue brand.

Therefore, the greater Kansas City area, can be analyzed as a relevant geographic market within

which to assess the effects of BCBS-KC’s anticompetitive conduct.

       523.    The U.S. Office of Management and Budget divides the 114 counties of Missouri

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data. It states that “[t]he general concept of a metropolitan

or micropolitan statistical area is that of a core area containing a substantial population nucleus,

together with adjacent communities having a high degree of economic and social integration with

that core.” Therefore, the Metropolitan Statistical Area of Kansas City and the area’s 32 counties

is a relevant geographic market within which to assess the effects of BCBS-KC’s anticompetitive

conduct.

       524.    As of 2012, BCBS-KC held at least a 36% share of the relevant product market in

the Kansas City Metropolitan Statistical Area.

       525.    BCBS-KC’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-KC’s market power has significantly raised costs, resulting in

higher premiums for BCBS-KC enrollees, and costing subscribers in the greater Kansas City area

market the opportunity for lower, competitively-priced premiums.

                          Supra-Competitive Premiums Charged By BCBS-KC

       526.    From March 1, 2007 to the present, BCBS-KC’s illegal anticompetitive conduct,

including its territorial market division agreements with the other members of the BCBSA, has

increased health care costs in the greater Kansas City area market, leading to inflated and/or supra-

competitive premiums for individuals and small groups purchasing BCBS-KC’s full-service



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commercial health insurance in the relevant geographic markets, and further, depriving

subscribers of the opportunity to purchase health insurance from one or more of the other

Individual Blue Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a price set

by a market free from the non-price restraints imposed by Defendants’ anti-competitive

agreements. BCBS-KC’s market power and its use of anticompetitive practices in the greater

Kansas City area market have reduced the amount of competition in the market and ensured that

BCBS-KC’s few competitors face higher costs than BCBS-KC does. Without competition, and

with the ability to increase premiums without losing customers, BCBS-KC faces little pressure to

keep prices low.

       527.    Over the past decade, BCBS-KC generally raised individual and small group

premiums by amounts greater than the national average. For example, in 2010, BCBS-KC raised

individual premiums by an average of 11.5 percent, in 2009 by an average of 11.7 percent and in

2008, by an average of 10.8 percent.

       528.    Plaintiffs were damaged, both by paying supra-competitive premiums, which are

to be calculated by estimating the premiums that would have been actually charged to consumers

but for the Individual Blue Plans’ antitrust violations, not the base rates or rate “schedules” filed

with a state agency, and by being denied access to lower and/or competitively-priced health

insurance products that could and would have been offered in the greater Kansas City area market

by other Individual Blue Plans, or their non-Blue affiliates, but for Defendants’ unreasonable

geographic market allocations.

       529.    The practice or raising premiums by the non-profit Blues Plans in non-competitive

markets have led to excessive reserves and lavish executive compensation. BCBS-KC has a long

history of dramatically increasing executive compensation while curtailing reimbursements for



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claims. For example, in 2014, despite retiring in August 2014, the CEO of BCBS-KC, David

Gentile, was paid $5,384,494 in total compensation, approximately 203 percent more than he was

compensated in 2013. Likewise, in 2014 Mr. Gentile’s replacement, Danette Wilson, was paid

$1,150,240, approximately 49 percent more than she was paid in 2013 as BCBS-KC’s group

executive and chief marketing officer. Correspondingly, with regard to reserves, in 2010 BCBS-

KC had accumulated more than $681 million in reserves. This reserve surplus exceeds the

regulatory reserve requirements for Missouri state BCBS plans by over 975 percent.


Louisiana

       530.    However the geographic market is defined, BCBS-LA has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Louisiana.

       531.    BCBS-LA does business throughout the state of Louisiana, is licensed to use the

Blue Cross and Blue Shield trademarks and trade names throughout the state of Louisiana, and has

agreed with the other member plans of BCBSA that only BCBS-LA will do business in Louisiana

under the Blue brand. Therefore, the state of Louisiana can be analyzed as a relevant geographic

market within which to assess the effects of BCBS-LA’s anticompetitive conduct. As of 2011,

BCBS-LA held at least a 72 percent share of the relevant individual product market and at least an

81 percent share of the relevant small group product market in Louisiana.

       532.    The U.S. Office of Management and Budget divides the 64 parishes of the state of

Louisiana into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to

published standards applied to U.S. Census Bureau data. It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and


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social integration with that core.” Therefore, each of Louisiana’s 8 Metropolitan Statistical Areas,

17 Micropolitan Statistical Areas, and 17 parishes that are not part of Statistical Areas is a relevant

geographic market within which to assess the effects of BCBS-LA’s anticompetitive conduct.

       533.    BCBS-LA’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-LA’s market power has significantly raised costs, resulting in

higher premiums for BCBS-LA enrollees.

                           Supra-Competitive Premiums Charged By BCBS-LA

       534.    From June 5, 2008 to the present, BCBS-LA’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-five other members of BCBSA,

has increased health care costs in Louisiana, leading to inflated and/or supra-competitive premiums

for individuals and small groups purchasing BCBS-LA’s full-service commercial health insurance

in the relevant geographic markets, and further, depriving Louisiana subscribers of the opportunity

to purchase health insurance from one or more of the other Individual Blue Plans and/or their non-

Blue affiliates, at a lower premium rate and/or at a price set by a market free from the non-price

restraints imposed by Defendants’ anti-competitive agreements. BCBS-LA’s market power and

its use of anticompetitive practices in Louisiana have reduced the amount of competition in the

market and ensured that BCBS-LA’s few competitors face higher costs than BCBS-LA does.

Without competition, and with the ability to increase premiums without losing customers, BCBS-

LA faces little pressure to keep prices low.

       535.    Over the past decade, BCBS-LA generally raised individual and small group

premiums by amounts greater than the national average. From 2000 to 2007, Louisiana health

insurance premiums increased by 75.3 percent, 3.3 times faster than Louisiana wages, which only

increased by 22.9 percent. Additionally, a 2009 forecast predicted that an average Louisiana



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worker would spend nearly 60 percent of her or his income on health insurance by 2016, one of

the highest predicted nationwide ratios.

       536.     These rising premiums have enabled BCBS-LA to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. As a result of its inflated premiums, BCBS-LA has amassed a massive surplus;

between 2004 and 2008, its surplus rose from $352.7 million to $621.1 million. As of the end of

2010, BCBS-LA’s surplus exceeded $706.6 million.

       537.     BCBS-LA’s market and monopoly power provide it with immense leverage over

health care providers, whose failure to contract with BCBS-LA could result in the loss of a

substantial amount of customers. BCBS-LA exercises this leverage by demanding that providers

grant it below-market reimbursement rates. For instance, in 2008 contract negotiations reached a

breaking point between BCBS-LA and one of Louisiana’s largest providers, the Franciscan

Missionaries of Our Lady (“FMOL”), which then provided care to 512,000 people. Announcing

the failed contract negotiations, FMOL stated “we have asked Blue Cross for an increase in rates

to cover the services the Lake provides. The rates continue to take into consideration the volume

of Blue Cross business and offer them the best pricing though closing the gap between them and

their competitors.” Similarly, in 2010, while in the process of addressing mounting operating

losses, New Orleans area East Jefferson General Hospital (“EJGH”) sought to negotiate new and

increased rates with BCBS-LA. When the negotiation reached a breaking point, EJGH issued the

following statement: “We wouldn’t even need to ask for an increase if Blue Cross had paid East

Jefferson fairly all these years.” Both FMOL and EJGH eventually quickly re-joined the BCBS-

LA’s network.




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Michigan

       538.    However the geographic market is defined, BCBS-MI has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Michigan.

       539.    BCBS-MI does business throughout the state of Michigan, is licensed to use the

Blue Cross and Blue Shield trademarks and trade names throughout the state of Michigan, and has

agreed with the other member plans of BCBSA that only BCBS-MI will do business in Michigan

under the Blue brand. Therefore, the state of Michigan can be analyzed as a relevant geographic

market within which to assess the effects of BCBS-MI’s anticompetitive conduct. As of 2010,

BCBS-MI held at least a 69 percent share of the full-service commercial health insurance product

market in Michigan, at least a 59 percent market share of the relevant individual product market

in Michigan and at least a 63 percent market share of the relevant small group product market.

       540.    The U.S. Office of Management and Budget divides the 83 counties of Michigan

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data.           It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of Michigan’s 15 Metropolitan Statistical Areas,

18 Micropolitan Statistical Areas, and 34 counties that are not part of Statistical Areas is a relevant

geographic market within which to assess the effects of BCBS-MI’s anticompetitive conduct. As

of 2010, BCBS-MI held at least the following market shares of the relevant product market in the

following Michigan Metropolitan Statistical Areas: Ann Arbor (at least 73 percent); Battle Creek

(at least 78 percent); Bay City (at least 77 percent); Detroit-Livonia-Dearborn (at least 56 percent);



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Flint (at least 71 percent); Grand Rapids-Wyoming (at least 44 percent); Holland-Grand Haven (at

least 36 percent); Jackson (at least 72 percent); Kalamazoo-Portage (at least 68 percent); Lansing-

East Lansing (at least 63 percent); Monroe (at least 69 percent); Muskegon-Norton Shores (at least

58 percent); Niles-Benton Harbor (at least 81 percent); Saginaw-Saginaw Township North (at least

75 percent); and Warren-Farmington Hills-Troy (at least 71 percent).

       541.    BCBS-MI’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-MI’s market power has significantly raised costs, resulting in

higher premiums for BCBS-MI enrollees.

                          Supra-Competitive Premiums Charged By BCBS-MI

       542.    From October 1, 2008 to the present, BCBS-MI’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-five other members of BCBSA,

has increased health care costs in Michigan, leading to inflated and/or supra-competitive premiums

for individuals and small groups purchasing BCBS-MI’s full-service commercial health insurance

in the relevant geographic markets, and further, depriving Michigan subscribers of the opportunity

to purchase health insurance from one or more of the other Individual Blue Plans and/or their non-

Blue affiliates, at a lower premium rate and/or at a price set by a market free from the non-price

restraints imposed by Defendants’ anti-competitive agreements. BCBS-MI’s market power and

its use of anticompetitive practices (including MFNs) in Michigan have reduced the amount of

competition in the market and ensured that BCBS-MI’s few competitors face higher costs than

BCBS-MI does. Without competition, and with the ability to increase premiums without losing

customers, BCBS-MI faces little pressure to keep prices low.




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       543.   Over the past decade, BCBS-MI generally raised individual and small group

premiums by amounts greater than the national average. In 2009, for example, BCBS-MI raised

individual premiums 22 percent in some instances.

       544.   These rising premiums have enabled BCBS-MI to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. BCBS-MI’s reserve amounts to approximately $3 billion and BCBS-MI pays

its CEO $3.8 million annually. From 2011-2012, BCBS-MI’s political action committee spent

$1.2 million in campaign contributions.

Minnesota

       545.    However the geographic market is defined, BCBS-MN has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Minnesota.

       546.   BCBS-MN does business throughout the state of Minnesota, is licensed to use the

Blue Cross and Blue Shield trademarks and trade names throughout the state of Minnesota, and

has agreed with the other member plans of BCBSA that only BCBS-MN will do business in

Minnesota under the Blue brand. Therefore, the state of Minnesota can be analyzed as a relevant

geographic market within which to assess the effects of BCBS-MN’s anticompetitive conduct.

BCBS-MN has dominated the health insurance market in Minnesota for years. In the small group

market, its market share increased from 36 percent in 1997 to 47 percent in 2002. In 2010, BCBS-

MN held a 43% market share in the small group market, based on health insurance premiums.

BCBS-MN accounted for 63% of the individual market in 2010. In 2011, it maintained a 63%

share of the individual market. And in 2013, BCBS-MN held at least a 57% market share in the

relevant individual market and at least a 38% market share in the relevant small group market.



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       547.    The U.S. Office of Management and Budget divides the 87 counties of Minnesota

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data. It states that “[t]he general concept of a metropolitan

or micropolitan statistical area is that of a core area containing a substantial population nucleus,

together with adjacent communities having a high degree of economic and social integration with

that core.” Therefore, each of Minnesota’s eight Metropolitan Statistical Areas, 15 Micropolitan

Statistical Areas, and 41 counties that are not part of Statistical Areas is a relevant geographic

market within which to assess the effects of BCBS-MN’s anticompetitive conduct. As of 2012,

held at least the following shares of the relevant product market in these Metropolitan Statistical

Areas: the Duluth Metropolitan Statistical Area: 44 percent; the Minneapolis-St. Paul-

Bloomington Metropolitan Statistical Area: 36 percent; the Rochester Metropolitan Statistical

Area: 55 percent; and the St. Cloud Metropolitan Statistical Area: 47 percent.

       548.    BCBS-MN’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-MN’s market power has significantly raised costs, resulting in

higher premiums for BCBS-MN enrollees, and costing Minnesota subscribers the opportunity for

lower, competitively-priced premiums.

                      Supra-Competitive Premiums Charged By BCBS-MN

       549.    From March 1, 2007 to the present, BCBS-MN’s illegal anticompetitive conduct,

including its territorial market division agreements with the other members of the BCBSA, has

increased health care costs in Minnesota, leading to inflated and/or supra-competitive premiums

for individuals and small groups purchasing BCBS-MN’s full-service commercial health insurance

in the relevant geographic markets, and further, depriving subscribers of the opportunity to

purchase health insurance from one or more of the other Individual Blue Plans and/or their non-



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Blue affiliates, at a lower premium rate and/or at a price set by a market free from the non-price

restraints imposed by Defendants’ anti-competitive agreements. BCBS-MN’s market power and

its use of anticompetitive practices in Minnesota have reduced the amount of competition in the

market and ensured that BCBS-MN’s few competitors face higher costs than BCBS-MN does.

Without competition, and with the ability to increase premiums without losing customers, BCBS-

MN faces little pressure to keep prices low.

          550.   Over the past decade, BCBS-MN generally raised individual and small group

premiums by amounts greater than the national average.

          551.   Plaintiffs were damaged, both by paying supra-competitive premiums, which are

to be calculated by estimating the premiums that would have been actually charged to consumers

but for the Individual Blue Plans’ antitrust violations, not the base rates or rate “schedules” filed

with a state agency, and by being denied access to lower and/or competitively-priced health

insurance products that could and would have been offered in Minnesota by other Individual Blue

Plans, or their non-Blue affiliates, but for Defendants’ unreasonable geographic market

allocations.

          552.   These rising premiums have enabled BCBS-MN to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. In 2011, BCBS-MN had accumulated more than $250 million in reserves. By

2013, BCBS-MN held $448.9 million dollars in reserves, or 1,162% of the regulatory minimum

level.




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Mississippi

       553.    However the geographic market is defined, BCBS-MS has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Mississippi.

       554.    BCBS-MS does business throughout the state of Mississippi, is licensed to use the

Blue Cross and Blue Shield trademarks and trade names throughout the state of Mississippi, and

has agreed with the other member plans of BCBSA that only BCBS-MS will do business in

Mississippi under the Blue brand. Therefore, the state of Mississippi can be analyzed as a relevant

geographic market within which to assess the effects of BCBS-MS’s anticompetitive conduct. As

of 2011, BCBS-MS held at least a 57 percent share of the relevant individual product market and

at least a 73 percent share of the relevant small group product market in Mississippi.

       555.    The U.S. Office of Management and Budget divides the 82 counties of Mississippi

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data.           It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of Mississippi’s 4 Metropolitan Statistical

Areas, 18 Micropolitan Statistical Areas, and 39 counties that are not part of Statistical Areas is a

relevant geographic market within which to assess the effects of BCBS-MS’s anticompetitive

conduct. As of 2010, BCBS-MS held at least the following market shares of the relevant product

market in the following Mississippi Metropolitan Statistical Areas: the Gulfport-Biloxi-

Pascagoula (at least 50 percent); Hattiesburg (at least 44 percent); and Jackson (at least 49 percent).




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       556.    BCBS-MS’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-MS’s market power has significantly raised costs, resulting in

higher premiums for BCBS-MS enrollees.

                          Supra-Competitive Premiums Charged By BCBS-MS

       557.    From October 1, 2008 to the present, BCBS-MS’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-five other members of BCBSA,

has increased health care costs in Mississippi, leading to inflated and/or supra-competitive

premiums for individuals and small groups purchasing BCBS-MS’s full-service commercial health

insurance in the relevant geographic markets, and further, depriving Mississippi subscribers of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.           BCBS-MS’s

market power and its use of anticompetitive practices in Mississippi have reduced the amount of

competition in the market and ensured that BCBS-MS’s few competitors face higher costs than

BCBS-MS does. Without competition, and with the ability to increase premiums without losing

customers, BCBS-MS faces little pressure to keep prices low.

       558.    Over the past decade, BCBS-MS generally raised individual and small group

premiums by amounts greater than the national average. These rising premiums have enabled

BCBS-MS to lavishly compensate its executives and grow its surplus in excessive amounts,

unusual practices for a self-described non-profit organization.


Missouri

       559.    However the geographic market is defined, BCBS-MO and BCBS-KC have

dominant market positions, and exercise market power, in the sale of full-service commercial


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health insurance to individuals and small groups in relevant geographic markets in each of their

service areas in the state of Missouri.

       560.    BCBS-MO does business throughout the state of Missouri, with the exception of

the 32 counties of greater Kansas City and Northwest Missouri; is licensed to use the Blue Cross

and Blue Shield trademarks and trade names throughout that Missouri service area; and has agreed

with the other member plans of BCBSA that only BCBS-MO will do business that Missouri service

area under the Blue brand. Therefore, BCBS-MO’s Missouri service area can be analyzed as a

relevant geographic market within which to assess the effects of BCBS-MO’s anticompetitive

conduct. As of 2011, BCBS-MO held at least a 32 percent share of individual products and at least

a 48 percent share of small group products in the entire state, making it likely that BCBS-MO’s

market share in its Missouri service area is even higher.

       561.    BCBS-KS does business in the 32 counties of greater Kansas City and Northwest

Missouri (in addition to 2 counties in Kansas), is licensed to use the Blue Cross and Blue Shield

trademarks and trade names throughout that Missouri service area; and has agreed with the other

member plans of BCBSA that only BCBS-KC will do business that Missouri service area under

the Blue brand. Therefore, BCBS-KC’s Missouri service area can be analyzed as a relevant

geographic market within which to assess the effects of BCBS-KC’s anticompetitive conduct. As

of 2010, BCBS-KC held between a 32 and 62 percent share of the relevant product market in

regions in its service area of Missouri.

       562.    The U.S. Office of Management and Budget divides the 114 counties of Missouri

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data.         It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial



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population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of Missouri’s 9 Metropolitan Statistical Areas,

19 Micropolitan Statistical Areas, and 58 counties that are not part of Statistical Areas is a relevant

geographic market within which to assess the effects of BCBS-MO’s and BCBS-KC’s

anticompetitive conduct. As of 2012, BCBS-MO holds at least the following shares of the relevant

product market in each of the following Metropolitan Statistical Areas: Jefferson City (at least 30

percent), Joplin (at least 30 percent), St. Joseph (at least 17 percent), St. Louis (at least 31 percent).

BCBS-KC holds at least the following shares of the relevant product market in each of the

following Metropolitan Statistical Areas: Kansas City (36 percent), St. Joseph (50 percent).

        563.    BCBS-MO’s and BCBS-KC’s powerful market shares are far from the only

evidence of their market power. As alleged below, BCBS-MO’s and BCBS-KC’s market power

has significantly raised costs, resulting in higher premiums for BCBS-MO and BCBS-KC

enrollees.

                   Supra-Competitive Premiums Charged By BCBS-MO and BCBS-KC

        564.    From October 1, 2008 to the present, BCBS-MO’s and BCBS-KC’s illegal

anticompetitive conduct, including their territorial market division agreements with the thirty-six

other members of BCBSA, have increased health care costs in Missouri, leading to inflated and/or

supra-competitive premiums for individuals and small groups purchasing BCBS-MO’s and BCBS-

KC’s full-service commercial health insurance in the relevant geographic markets, and further,

depriving Missouri and Kansas City subscribers of the opportunity to purchase health insurance

from one or more of the other Individual Blue Plans and/or their non-Blue affiliates, at a lower

premium rate and/or at a price set by a market free from the non-price restraints imposed by

Defendants’ anti-competitive agreements. BCBS-MO’s and BCBS-KC’s market power and their



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use of anticompetitive practices in Missouri have reduced the amount of competition in the market

and ensured that BCBS-MO and BCBS-KC’s few competitors face higher costs than BCBS-MO

and BCBS-KC do. Without competition, and with the ability to increase premiums without losing

customers, BCBS-MO and BCBS-KC face little pressure to keep prices low.

       565.    Over the past decade, BCBS-MO and BCBS-KC generally raised individual and

small group premiums by amounts greater than the national average.

       566.    These rising premiums have enabled BCBS-MO and BCBS-KC to lavishly

compensate their executives and grow their surpluses in excessive amounts.


Montana

       567.    However the geographic market is defined, BCBS-MT, a division of HCSC, has

the dominant market position, and exercises market power, in the sale of full-service commercial

health insurance to individuals and small groups in relevant geographic markets throughout the

state of Montana.

       568.    BCBS-MT does business throughout the state of Montana, is licensed to use the

Blue Cross and Blue Shield trademarks and trade names throughout the state of Montana, and has

agreed with the other member plans of BCBSA that only BCBS-MT will do business in Montana

under the Blue brand. Therefore, the state of Montana can be analyzed as a relevant geographic

market within which to assess the effects of BCBS-MT’s anticompetitive conduct.

       569.    In 2010, BCBS-MT held approximately 51 percent of the individual health

insurance market in Montana. In the same year, the individual health insurance market in the state

of Montana was highly concentrated with a HHI level of 3463. In 2011, BCBS-MT held

approximately 56 percent of the individual health insurance market in Montana. In the same year,

the individual health insurance market in the state of Montana was highly concentrated with a HHI


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level of 3852. In 2012, BCBS-MT held approximately 62 percent of the individual health

insurance market in Montana. In the same year, the individual health insurance market in the state

of Montana was highly concentrated with a HHI level of 4476.

       570.    In 2010, BCBS-MT held approximately 71 percent of the small group health

insurance market in Montana. In the same year, the small group health insurance market in the

state of Montana was highly concentrated with a HHI level of 5271. In 2011, BCBS-MT held

approximately 72 percent of the small group health insurance market in Montana. In the same

year, the small group health insurance market in the state of Montana was highly concentrated

with a HHI level of 5311. In 2012, BCBS-MT held approximately 69 percent of the small group

health insurance market in Montana. In the same year, the small group health insurance market in

the state of Montana was highly concentrated with a HHI level of 4980.

       571.    The U.S. Office of Management and Budget divides the 56 counties of Montana

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data. It states that “[t]he general concept of a metropolitan

or micropolitan statistical area is that of a core area containing a substantial population nucleus,

together with adjacent communities having a high degree of economic and social integration with

that core.” Therefore, each of Montana’s three (3) Metropolitan Statistical Areas, four (4)

Micropolitan Statistical Areas, and 46 counties that are not part of Statistical Areas is a relevant

geographic market within which to assess the effects of BCBS-MT’s anticompetitive conduct.

       572.    As of 2012, BCBS-MT held at least the following shares of the relevant product

market in these Metropolitan Statistical Areas: the Billings Metropolitan Statistical Area: 31

percent; the Great Falls Metropolitan Statistical Area: 47 percent; and the Missoula Metropolitan

Statistical Area: 29 percent.



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        573.    BCBS-MT’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-MT’s market power has significantly raised costs, resulting in

higher premiums for BCBS-MT’s enrollees, and costing Montana subscribers the opportunity for

lower, competitively-priced premiums.

                           Supra-Competitive Premiums Charged By BCBS-MT

        574.    From March 1, 2007 to the present, BCBS-MT’s illegal anticompetitive conduct,

including its territorial market division agreements with the other members of the BCBSA, has

increased health care costs in Montana, leading to inflated and/or supra-competitive premiums for

individuals and small groups purchasing BCBS-MT’s full-service commercial health insurance in

the relevant geographic markets, and further, depriving subscribers of the opportunity to purchase

health insurance from one or more of the other Individual Blue Plans and/or their non-Blue

affiliates, at a lower premium rate and/or at a price set by a market free from the non-price restraints

imposed by Defendants’ anti-competitive agreements. BCBS-MT’s market power and its use of

anticompetitive practices in Montana have reduced the amount of competition in the market and

ensured that BCBS-MT’s few competitors face higher costs than BCBS-MT does. Without

competition, and with the ability to increase premiums without losing customers, BCBS-MT faces

little pressure to keep prices low.

        575.    Over the past decade, BCBS-MT generally raised individual and small group

premiums by amounts greater than the national average.

        576.    Plaintiffs were damaged, both by paying supra-competitive premiums, which are

to be calculated by estimating the premiums that would have been actually charged to consumers

but for the Individual Blue Plans’ antitrust violations, not the base rates or rate “schedules” filed

with a state agency, and by being denied access to lower and/or competitively-priced health



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insurance products that could and would have been offered in Montana by other Individual Blue

Plans, or their non-Blue affiliates, but for Defendants’ unreasonable geographic market

allocations.

       577.    The practice of raising premiums by the non-profit Blues plans in non-competitive

markets have led to excessive reserves and lavish executive compensation. For example, HCSC

(doing business as BCBS-MT) paid its CEO $8 million in compensation in 2011, $16 million in

2012 and $11.2 million in 2013. Similarly, as premiums have increased in Montana, so has

compensation paid to the executives of Blue Cross and Blue Shield of Montana. For example,

Mike Frank, the President of the Montana Division of HCSC and formerly President of Blue Cross

and Blue Shield of Montana, was paid $870,000 in total compensation for 2013, about $235,000

more than he was paid in 2012. For the calendar year 2014, HCSC reported an accumulated

unassigned surplus of approximately $ 9.5 billion. This surplus far exceeds the regulatory reserve

requirements for the state BCBS plans owned by HCSC.

Nebraska

       578.    However the geographic market is defined, BCBS-NE has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Nebraska.

       579.    BCBS-NE does business throughout the state of Nebraska, is licensed to use the

Blue Cross and Blue Shield trademarks and trade names throughout the state of Nebraska and has

agreed with the other member plans of BCBSA that only BCBS-NE will do business in Nebraska

under the Blue brand. Therefore, the state of Nebraska can be analyzed as a relevant geographic

market within which to assess the effects of BCBS-NE’s anticompetitive conduct.




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       580.    In 2010, BCBS-NE held approximately 64 percent of the individual health

insurance market in Nebraska. In the same year, the individual health insurance market in the

State of Nebraska was highly concentrated with a Herfindahl-Hirschman Index (“HHI”) number,

a measure of the size of firms in relation to their industry and an indicator of the amount of

competition among them, of 4,463. In 2011, BCBS-NE held approximately 67 percent of the

individual health insurance market in Nebraska. In the same year, the individual health insurance

market in the State of Nebraska was highly concentrated with a HHI level of 4,798. In 2012,

BCBS-NE held approximately 70 percent of the individual insurance market in Nebraska. In the

same year, the individual health insurance market in the State of Nebraska was highly concentrated

with a HHI level of 5,255

       581.    In 2010, BCBS-NE held approximately 46 percent of the small group health

insurance market in Nebraska. In the same year, the small group health insurance market in the

State of Nebraska was highly concentrated with a HHI level of 2,991. In 2011, BCBS-NE held

approximately 45 percent of the small group health insurance market in Nebraska. In the same

year, the small group health insurance market in the State of Nebraska was highly concentrated

with a HHI level of 3,335. In 2012, BCBS-NE held approximately 58 percent of the small group

health insurance market in Nebraska. In the same year, the small group health insurance market

in the State of Nebraska was highly concentrated with a HHI level of 4,114 .

       582.    The U.S. Office of Management and Budget divides the 93 counties of Nebraska

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data. It states that “[t]he general concept of a metropolitan

or micropolitan statistical area is that of a core area containing a substantial population nucleus,

together with adjacent communities having a high degree of economic and social integration with



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that core.” Therefore, each of Nebraska’s four Metropolitan Statistical Areas, nine Micropolitan

Statistical Areas, three Combined Statistical Areas and 77 counties that are not part of Statistical

Areas is a relevant geographic market within which to assess the effects of BCBS-NE’s

anticompetitive conduct.

        583.    As of 2012, BCBS-NE held at least the following shares of the relevant product

market in these Metropolitan Statistical Areas: the Lincoln Metropolitan Statistical Area: 63

percent; and the Omaha-Council Bluffs Combined Statistical Area: 38 percent.

        584.    BCBS-NE’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-NE’s market power has significantly raised costs, resulting in

higher premiums for BCBS-NE enrollees, and costing Nebraska subscribers the opportunity for

lower, competitively-priced premiums.

                           Supra-Competitive Premiums Charged By BCBS-NE

        585.    From March 1, 2007 to the present, BCBS-NE’s illegal anticompetitive conduct,

including its territorial market division agreements with the other members of the BCBSA, has

increased health care costs in Nebraska, leading to inflated and/or supra-competitive premiums for

individuals and small groups purchasing BCBS-NE’s full-service commercial health insurance in

the relevant geographic markets, and further, depriving subscribers of the opportunity to purchase

health insurance from one or more of the other Individual Blue Plans and/or their non-Blue

affiliates, at a lower premium rate and/or at a price set by a market free from the non-price restraints

imposed by Defendants’ anti-competitive agreements. BCBS-NE’s market power and its use of

anticompetitive practices in Nebraska have reduced the amount of competition in the market and

ensured that BCBS-NE’s few competitors face higher costs than BCBS-NE does. Without




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competition, and with the ability to increase premiums without losing customers, BCBS-NE faces

little pressure to keep prices low.

       586.    Over the past decade, BCBS-NE generally raised individual and small group

premiums by amounts greater than the national average. For example, in 2015, BCBS-NE raised

individual premiums by an average of 19.55%, one of the largest premium increases nationwide

in 2015.

       587.    Plaintiffs were damaged, both by paying supra-competitive premiums, which are

to be calculated by estimating the premiums that would have been actually charged to consumers

but for the Individual Blue Plans’ antitrust violations, not the base rates or rate “schedules” filed

with a state agency, and by being denied access to lower and/or competitively-priced health

insurance products that could and would have been offered in Nebraska by other Individual Blue

Plans, or their non-Blue affiliates, but for Defendants’ unreasonable geographic market

allocations.

       588.    The practice of raising premiums by the non-profit Blues plans in non-competitive

markets have led to excessive reserves and lavish executive compensation. For example, in 2014

the CEO of BCBS-NE, Steven S. Martin, was paid $2,532,586 in total compensation,

approximately 16 percent more than he was compensated in 2013. Correspondingly, in 2013,

BCBS-NE had accumulated more than $439 million in reserves. This reserve surplus far exceeds

the regulatory reserve requirements for the state BCBS plans.




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New Hampshire

       589.    However the geographic market is defined, BCBS-NH has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of New

Hampshire.

       590.    BCBS-NH does business throughout the state of New Hampshire, is licensed to use

the Blue Cross and Blue Shield trademarks and trade names throughout the state of New

Hampshire, and has agreed with the other member plans of BCBSA that only BCBS-NH will do

business in New Hampshire under the Blue brand. Therefore, the state of New Hampshire can be

analyzed as a relevant geographic market within which to assess the effects of BCBS-NH’s

anticompetitive conduct. As of 2010, BCBS New Hampshire held at least a 51 percent share of

the relevant product market, including (as of 2011), a 76 percent share of the relevant individual

product market and a 67 percent share of the relevant small group market.

       591.    The U.S. Office of Management and Budget divides the 10 counties of New

Hampshire into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to

published standards applied to U.S. Census Bureau data. It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of New Hampshire’s 2 Metropolitan Statistical

Areas, 5 Micropolitan Statistical Areas, and 1 county that is not part of a Statistical Area is a

relevant geographic market within which to assess the effects of BCBS-NH’s anticompetitive

conduct. BCBS-NH has the following shares of the relevant product market in the following




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Metropolitan Statistical Areas: Manchester (at least 45 percent); Nashua NH-MA (at least 42

percent); Portsmouth NH-ME (at least 51 percent); Rochester-Dover (at least 57 percent).

       592.   BCBS-NH’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-NH’s market power has significantly raised costs, resulting in

higher premiums for BCBS-NH enrollees.

                         Supra-Competitive Premiums Charged By BCBS-NH

       593.   From October 1, 2008 to the present, BCBS-NH’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-five other members of BCBSA,

has increased health care costs in New Hampshire, leading to inflated and/or supra-competitive

premiums for individuals and small groups purchasing BCBS-NH’s full-service commercial health

insurance in the relevant geographic markets, and further, depriving New Hampshire subscribers

of the opportunity to purchase health insurance from one or more of the other Individual Blue

Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market

free from the non-price restraints imposed by Defendants’ anti-competitive agreements. BCBS-

NH’s market power and its use of anticompetitive practices in New Hampshire have reduced the

amount of competition in the market and ensured that BCBS-NH’s few competitors face higher

costs than BCBS-NH does. Without competition, and with the ability to increase premiums

without losing customers, BCBS-NH faces little pressure to keep prices low.

       594.   Over the past decade, BCBS-NH generally raised individual and small group

premiums by amounts greater than the national average. For example, from 2009 to 2010 the cost

of insurance coverage for small groups and individuals rose 15% and 39%, respectively.

       595.   These rising premiums have enabled BCBS-NH to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-



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profit organization. Between 2006 and 2011, BCBS-NH reported annual income between $26

million and $112 million and a cumulative profit of approximately $360 million.


North Carolina

       596.   However the geographic market is defined, BCBS-NC has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of North

Carolina.

       597.   There are a number of different ways to analyze the geographic markets for the sale

of full-service commercial health insurance to individual and small group consumers in North

Carolina. The potentially relevant geographic markets could be defined alternatively as (a) the

entire state of North Carolina; (b) the six regions, known as “Offices,” into which BCBS-NC

divides North Carolina; and (c) the seventy regions, known as “Metropolitan Statistical Areas,”

“Micropolitan Statistical Areas,” and counties, into which the U.S. Office of Management and

Budget divides North Carolina. However the geographic market is defined, the result is the same:

BCBS-NC has the dominant market position, and exercises market power.

       598.   BCBS-NC does business throughout the state of North Carolina, is licensed to use

the Blue Cross and Blue Shield trademarks and trade names throughout the state of North Carolina,

and has agreed with the other member plans of BCBSA that only BCBS-NC will do business in

North Carolina under the Blue brand. Therefore, the state of North Carolina can be analyzed as a

relevant geographic market within which to assess the effects of BCBS-NC’s anticompetitive

conduct. As of December 31, 2009, BCBS-NC had a 73.81 percent share of the relevant product

market in North Carolina, including a stunning 95.9 percent of the individual full-service

commercial health insurance market as measured by premiums earned.


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        599.    In analyzing its own business, BCBS-NC divides the state of North Carolina into

six Offices, which compose three Regions: the Western Region, containing the Hickory Office and

the Charlotte Office; the Triad Region, containing the Greensboro Office; and the Eastern Region,

containing the Raleigh Office, the Wilmington Office, and the Greenville Office. BCBS-NC

explains that these “field offices are located across the state and are assigned territories; each . . .

supports its provider community by specific geographic region.” Therefore, each BCBS-NC

Office and Region can be analyzed as a relevant geographic market within which to assess the

effects of BCBS-NC’s anticompetitive conduct.            Based on data from the North Carolina

Department of Insurance, as of December 31, 2009, BCBS-NC had 66.07 percent of the relevant

product market in the Western Region: a 65.32 percent share in the Hickory Office area and a

66.55 percent share in the Charlotte Office area; 71.50 percent of the relevant product market in

the Triad Region: a 71.50 percent share in the Greensboro Office area; and 80.48 percent of the

relevant product market in the Eastern Region: an 80.33 percent share in the Raleigh Office area,

an 80.73 percent share in the Wilmington Office area, and an 84.18 percent share in the Greenville

Office area.

        600.    The U.S. Office of Management and Budget divides the counties of the state of

North Carolina into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to

published standards applied to U.S. Census Bureau data. It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of North Carolina’s 15 Metropolitan Statistical

Areas, 26 Micropolitan Statistical Areas, and 29 counties that are not part of Statistical Areas is a




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relevant geographic market within which to assess the effects of BCBS-NC’s anticompetitive

conduct. As of December 31, 2009, BCBS-NC had:

             a.     81.03 percent of the relevant product market in the Asheville Metropolitan

                    Statistical Area;

             b.     65.69 percent of the relevant product market in the Burlington Metropolitan

                    Statistical Area;

             c.     65.47 percent of the relevant product market in the North Carolina portion

                    of the Charlotte-Gastonia-Rock Hill Metropolitan Statistical Area;

             d.     81.32 percent of the relevant product market in the Durham-Chapel Hill

                    Metropolitan Statistical Area;

             e.     57.39 percent of the relevant product market in the Fayetteville

                    Metropolitan Statistical Area;

             f.     87.57 percent of the relevant product market in the Goldsboro Metropolitan

                    Statistical Area;

             g.     70.21 percent of the relevant product market in the Greensboro-High Point

                    Metropolitan Statistical Area;

             h.     73.66 percent of the relevant product market in the Greenville Metropolitan

                    Statistical Area;

             i.     76.61 percent of the relevant product market in the Hickory-Lenoir-

                    Morganton Metropolitan Statistical Area;

             j.     86.83 percent of the relevant product market in the Jacksonville

                    Metropolitan Statistical Area;




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      k.    80.36 percent of the relevant product market in the Raleigh-Cary

            Metropolitan Statistical Area;

      l.    86.20 percent of the relevant product market in the Rocky Mount

            Metropolitan Statistical Area;

      m.    85.75 percent of the relevant product market in the North Carolina portion

            of the Virginia Beach-Norfolk-Newport News Metropolitan Statistical

            Area;

      n.    87.05 percent of the relevant product market in the Wilmington

            Metropolitan Statistical Area;

      o.    75.14 percent of the relevant product market in the Winston-Salem

            Metropolitan Statistical Area;

      p.    74.13 percent of the relevant product market in the Albemarle Micropolitan

            Statistical Area;

      q.    80.68 percent of the relevant product market in the Boone Micropolitan

            Statistical Area;

      r.    81.55 percent of the relevant product market in the Brevard Micropolitan

            Statistical Area;

      s.    77.70 percent of the relevant product market in the Dunn Micropolitan

            Statistical Area;

      t.    78.08 percent of the relevant product market in the Elizabeth City

            Micropolitan Statistical Area;

      u.    78.12 percent of the relevant product market in the Forest City Micropolitan

            Statistical Area;



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      v.    66.26 percent of the relevant product market in the Henderson Micropolitan

            Statistical Area;

      w.    91.44 percent of the relevant product market in the Kill Devil Hills

            Micropolitan Statistical Area;

      x.    88.56 percent of the relevant product market in the Kinston Micropolitan

            Statistical Area;

      y.    42.62 percent of the relevant product market in the Laurinburg Micropolitan

            Statistical Area;

      z.    68.49 percent of the relevant product market in the Lincolnton Micropolitan

            Statistical Area;

      aa.   62.73 percent of the relevant product market in the Lumberton Micropolitan

            Statistical Area;

      bb.   93.63 percent of the relevant product market in the Moorehead City

            Micropolitan Statistical Area;

      cc.   81.96 percent of the relevant product market in the Mount Airy

            Micropolitan Statistical Area;

      dd.   88.85 percent of the relevant product market in the New Bern Micropolitan

            Statistical Area;

      ee.   81.33 percent of the relevant product market in the North Wilkesboro

            Micropolitan Statistical Area;

      ff.    82.72 percent of the relevant product market in the Roanoke Rapids

            Micropolitan Statistical Area;




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      gg.   56.31 percent of the relevant product market in the Rockingham

            Micropolitan Statistical Area;

      hh.   72.63 percent of the relevant product market in the Salisbury Micropolitan

            Statistical Area;

      ii.   81.06 percent of the relevant product market in the Sanford Micropolitan

            Statistical Area;

      jj.   67.99 percent of the relevant product market in the Shelby Micropolitan

            Statistical Area;

      kk.   63.19 percent of the relevant product market in the Southern Pines-

            Pinehurst Micropolitan Statistical Area;

      ll.   73.71 percent of the relevant product market in the Statesville-Mooresville

            Micropolitan Statistical Area;

      mm.   71.33 percent of the relevant product market in the Thomasville-Lexington

            Micropolitan Statistical Area;

      nn.   88.13 percent of the relevant product market in the Washington

            Micropolitan Statistical Area;

      oo.   85.33 percent of the relevant product market in the Wilson Micropolitan

            Statistical Area;

      pp.    79.93 percent of the relevant product market in Alleghany County;

      qq.   85.57 percent of the relevant product market in Ashe County;

      rr.   86.34 percent of the relevant product market in Avery County;

      ss.   75.56 percent of the relevant product market in Bertie County;

      tt.   79.71 percent of the relevant product market in Bladen County;



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      uu.    69.59 percent of the relevant product market in Caswell County;

      vv.    76.13 percent of the relevant product market in Cherokee County;

      ww.    86.34 percent of the relevant product market in Chowan County;

      xx.    83.86 percent of the relevant product market in Clay County;

      yy.    82.97 percent of the relevant product market in Columbus County;

      zz.    84.83 percent of the relevant product market in Duplin County;

      aaa.   81.42 percent of the relevant product market in Gates County;

      bbb.   58.67 percent of the relevant product market in Graham County;

      ccc.   81.40 percent of the relevant product market in Granville County;

      ddd.   71.11 percent of the relevant product market in Hertford County;

      eee.   63.09 percent of the relevant product market in Hyde County;

      fff.   67.81 percent of the relevant product market in Jackson County;

      ggg.   89.40 percent of the relevant product market in Macon County;

      hhh.   87.96 percent of the relevant product market in Martin County;

      iii.   65.05 percent of the relevant product market in McDowell County;

      jjj.   89.50 percent of the relevant product market in Mitchell County;

      kkk.   74.72 percent of the relevant product market in Montgomery County;

      lll.   75.73 percent of the relevant product market in Polk County;

      mmm. 78.66 percent of the relevant product market in Sampson County;

      nnn.   80.99 percent of the relevant product market in Swain County;

      ooo.   68.53 percent of the relevant product market in Tyrrell County;

      ppp.   82.80 percent of the relevant product market in Warren County;

      qqq.   76.19 percent of the relevant product market in Washington County; and



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               rrr.    88.20 percent of the relevant product market in Yancey County.

       601.    BCBS-NC’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-NC’s market power has significantly raised costs, resulting in

higher premiums for BCBS-NC enrollees.

       602.    Moreover, BCBS-NC’s statewide share of the relevant product market has

increased each year despite its substantial premium increases. BCBS-NC’s share of the full-

service commercial health insurance market in North Carolina rose 48.1 percent from December

31, 2000 to December 31, 2009, including growth of more than 5 percent during the Class Period.

BCBS-NC’s ability to retain and increase enrollment while charging artificially inflated and/or

supra-competitive prices is evidence of its market power.

                          Supra-Competitive Premiums Charged By BCBS-NC

       603.    From February 2, 2008 to the present, BCBS-NC’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-five other members of BCBSA,

has increased health care costs in North Carolina, leading to inflated and/or supra-competitive

premiums for individuals and small groups purchasing BCBS-NC’s full-service commercial health

insurance in the relevant geographic markets, and further, depriving North Carolina subscribers of

the opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.            BCBS-NC’s

market power and its use of MFNs and other anticompetitive practices in North Carolina have

reduced the amount of competition in the market and ensured that BCBS-NC’s few competitors

face higher costs than BCBS-NC does. Without competition, and with the ability to increase

premiums without losing customers, BCBS-NC faces little pressure to keep prices low. As BCBS-



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NC President and CEO Brad Wilson admitted, “[w]hile many insurers lost customers, Blue Cross

and Blue Shield of North Carolina is holding its own.”

       604.    These rising premiums have enabled BCBS-NC to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. In 2010, at least three BCBS-NC executives took home $1 million or more in

salary, bonuses, and other compensation—President and CEO Brad Wilson (approximately $1.9

million), Executive Vice President Maureen O’Connor (approximately $1.3 million), and Senior

Vice President John Roos (approximately $1 million). In 2009, six BCBS-NC executives received

$1 million or more and BCBS-NC grew its surplus to $1.4 billion, while spending substantial funds

on a widely criticized “robo-call” marketing campaign against federal health care reform that

resulted in a $95,000 fine for violating North Carolina law. From 2002 to 2004, salaries paid to

BCBS-NC’s top executives rose 70 percent. During that period, former CEO Robert Greczyn’s

compensation increased from $1.12 million in 2002 to $2.15 million in 2004.


North Dakota

       605.    However the geographic market is defined, BCBS-ND has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of North Dakota.

       606.    BCBS-ND does business throughout the state of North Dakota, is licensed to use

the Blue Cross and Blue Shield trademarks and trade names throughout the state of North Dakota,

and has agreed with the other member plans of BCBSA that only BCBS-ND will do business in

North Dakota under the Blue brand. Therefore, the state of North Dakota can be analyzed as a

relevant geographic market within which to assess the effects of BCBS-ND’s anticompetitive

conduct. BCBS-ND describes itself as the “largest provider of health care coverage in North


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Dakota, serving more than half of the state’s population.” In 2013, BCBS-ND held at least an

80% market share in the relevant individual market and at least an 85% market share in the relevant

small group market.

       607.    The U.S. Office of Management and Budget divides the 53 counties of North

Dakota into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to

published standards applied to U.S. Census Bureau data. It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of North Dakota’s three Metropolitan Statistical

Areas, five Metropolitan Statistical Areas, and 40 counties that are not part of Statistical Areas is

a relevant geographic market within which to assess the effects of BCBS-ND’s anticompetitive

conduct. The Kaiser Family Foundation (“KFF”) conducts annual reviews of the healthcare

market. In its study of 2013 data, “Market Share and Enrollment of Largest Three Insurers-

Individual Market,” it found that BCBS-ND had an 80% share of the individual market. See

KFF.org, State Health Facts, available at http://kff.org/other/state-indicator/market-share-and-

enrollment-of-largest-three-insurers-individual-market/ (last visited Oct. 20, 2015). In its 2013

study “Market Share and Enrollment of Largest Three Insurers- Small Group Market,” KFF found

that BCBS-ND had an 85% market share of the small group market. See KFF.org, State Health

Facts, available at http://kff.org/other/state-indicator/market-share-and-enrollment-of-largest-

three-insurers-small-group-market/ (last visited Oct. 20, 2015).          The American Medical

Association conducted a review and analysis of the competitiveness of health insurance markets.

In that study, researchers examined 2012 data captured from commercial enrollment in fully and

self-insured plans, as well as consumer-driven health plans, from 388 metropolitan areas, 50 states,



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and the District of Columbia. The AMA concluded that North Dakota was one of the 10 least-

competitive health care markets, and found that as of 2012, BCBS of North Dakota had a 55%

market share. See AMA, Competition in Health Insurance: A Comprehensive Study of U.S.

Markets, available at https://www.advisory.com/daily-briefing/2014/10/14/10-states-with-the-

strongest-insurance-monopolies (last visited Oct. 19, 2015).

       608.    BCBS-ND’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-ND’s market power has significantly raised costs, resulting in

higher premiums for BCBS-ND enrollees, and costing North Dakota subscribers the opportunity

for lower, competitively-priced premiums.

                          Supra-Competitive Premiums Charged By BCBS-ND

       609.    From March 1, 2007 to the present, BCBS-ND’s illegal anticompetitive conduct,

including its territorial market division agreements with the other members of the BCBSA, has

increased health care costs in North Dakota, leading to inflated and/or supra-competitive premiums

for individuals and small groups purchasing BCBS-ND’s full-service commercial health insurance

in the relevant geographic markets, and further, depriving subscribers of the opportunity to

purchase health insurance from one or more of the other Individual Blue Plans and/or their non-

Blue affiliates, at a lower premium rate and/or at a price set by a market free from the non-price

restraints imposed by Defendants’ anti-competitive agreements. BCBS-ND’s market power and

its use of anticompetitive practices in North Dakota have reduced the amount of competition in

the market and ensured that BCBS-ND’s few competitors face higher costs than BCBS-ND does.

Without competition, and with the ability to increase premiums without losing customers, BCBS-

ND faces little pressure to keep prices low.




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       610.    Over the past decade, BCBS-ND generally raised individual and small group

premiums by amounts greater than the national average. In 2010, for example, BCBS-ND raised

individual rates by 12.2%, and in 2011, by another 14.0%.

       611.    Plaintiff was damaged, both by paying supra-competitive premiums, which are to

be calculated by estimating the premiums that would have been actually charged to consumers but

for the Individual Blue Plans’ antitrust violations, not the base rates or rate “schedules” filed with

a state agency, and by being denied access to lower and/or competitively-priced health insurance

products that could and would have been offered in North Dakota by other Individual Blue Plans,

or their non-Blue affiliates, but for Defendants’ unreasonable geographic market allocations.

       612.    These rising premiums have enabled BCBS-ND to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. From 2001 to 2012, BCBS-ND’s surplus increased from $137.3 million to

$271.9 million – an increase of 98%.

Oklahoma


       613.    However the geographic market is defined, BCBS-OK has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Oklahoma.

       614.    BCBS-OK does business throughout the state of Oklahoma, and as discussed supra,

has licensed the sale of all Blue plans in the state to Health Care Service Corporation. Therefore,

the state of Oklahoma can be analyzed as a relevant geographic market within which to assess the

effects of BCBS-OK’s anticompetitive conduct. As of 2013, BCBS-OK held at least a 61 percent

share of the relevant product market. As of 2013, BCBS-OK held at least a 64 percent market share




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in the relevant individual market and at least a 60 percent market share in the relevant small group

market.

       615.    The U.S. Office of Management and Budget divides the 77 counties of Oklahoma

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data.           It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of Oklahoma’s 4 Metropolitan Statistical Areas,

18 Micropolitan Statistical Areas, and 51 counties that are not part of Statistical Areas is a relevant

geographic market within which to assess the effects of BCBS-OK’s anticompetitive conduct. As

of 2012, BCBS-OK held at least the following shares of the relevant product market in these

Metropolitan Statistical Areas: the Lawton Metropolitan Statistical Area: 60 percent; the

Oklahoma City Metropolitan Statistical Area: 51 percent; and the Tulsa Metropolitan Statistical

Area: 31 percent.

       616.    BCBS-OK’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-OK’s market power has significantly raised costs, resulting in

higher premiums for BCBS-OK enrollees, and costing Oklahoma subscribers the opportunity for

lower, competitively-priced premiums.

                       Supra-Competitive Premiums Charged By BCBS-OK

       617.    From March 1, 2007 to the present, BCBS-OK’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-seven other members of

BCBSA, has increased health care costs in Oklahoma, leading to inflated and/or supra-competitive

premiums for individuals and small groups purchasing BCBS-OK’s full-service commercial health



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insurance in the relevant geographic markets, and further, depriving Oklahoma subscribers of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.           BCBS-OK’s

market power and its use of anticompetitive practices in Oklahoma have reduced the amount of

competition in the market and ensured that BCBS-OK’s few competitors face higher costs than

BCBS-OK does. Without competition, and with the ability to increase premiums without losing

customers, BCBS-OK faces little pressure to keep prices low.

       618.    Over the past decade, BCBS-OK generally raised individual and small group

premiums by amounts greater than the national average. In 2015, for example, BCBS-OK raised

individual premiums by an average of 12 percent.

       619.    Plaintiffs were damaged, both by paying supra-competitive premiums, which are

to be calculated by estimating the premiums that would have been actually charged to consumers

but for the Individual Blue Plans’ antitrust violations, not the base rates or rate “schedules” filed

with a state agency, and by being denied access to lower and/or competitively-priced health

insurance products that could and would have been offered in Oklahoma by other Individual Blue

Plans, or their non-Blue affiliates, but for Defendants’ unreasonable geographic market

allocations.

       620.    These rising premiums have enabled BCBS-OK to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. For example, as of 2009, BCBS-OK’s licensee HCSC had a surplus of five

times the required regulatory minimum, and from 2005 to 2009, HCSC grew its surplus by more

than 55 percent from $4.3 billion to $6.7 billion.



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Western Pennsylvania

       621.     However the geographic market is defined, Highmark BCBS has the dominant

market position, and exercises market power, in the sale of full-service commercial health

insurance to individuals and small groups in relevant geographic markets throughout Western

Pennsylvania.

       622.     Highmark BCBS does business throughout Western Pennsylvania, is licensed to

use the Blue Cross and Blue Shield trademarks and trade names throughout Western Pennsylvania

(and is licensed to use the Blue Shield trademark and trade name throughout the entire state of

Pennsylvania), and has agreed with the other member plans of BCBSA that only Highmark BCBS

will do business in Western Pennsylvania under the Blue brand. Therefore, Western Pennsylvania

can be analyzed as a relevant geographic market within which to assess the effects of Highmark

BCBS’s anticompetitive conduct. During the period from 2005 to 2011, Highmark BCBS’s share

of the relevant product market in Western Pennsylvania increased from 60% to 65%.

       623.     The U.S. Office of Management and Budget divides the 29 counties of Western

Pennsylvania into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to

published standards applied to U.S. Census Bureau data. It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of Western Pennsylvania’s 5 Metropolitan

Statistical Areas, 10 Micropolitan Statistical Areas, and 8 counties that are not part of Statistical

Areas is a relevant geographic market within which to assess the effects of Highmark BCBS’s

anticompetitive conduct.




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        624.    Highmark BCBS has also entered into illegal anticompetitive agreements with at

least two other Individual Blue Plans operating in Pennsylvania, as described below.

         Highmark BCBS’s Illegal Anticompetitive Agreement with BC-Northeastern PA

        625.    On April 29, 2005, Highmark BCBS and BC-Northeastern PA, the Blue Cross

licensee for the thirteen counties of Northeastern Pennsylvania, entered into an agreement not to

compete, pursuant to Highmark BCBS’s acquisition of a 40 percent share in BC-Northeastern PA’s

subsidiaries First Priority Life Insurance Company and First Priority Health (d/b/a/ HMO of

Northeastern Pennsylvania). The agreement is set forth in two Shareholders Agreements dated

April 29, 2005. In the agreement, Highmark BCBS promises that as long as it is a shareholder of

the relevant subsidiary, plus an additional two years, it will not “market, sell or service, . . . or have

ownership interest in any Person, other than [First Priority Life Insurance Company] or First

Priority Health, that directly or indirectly markets, sells or services, any Branded Health Insurance

Products [full-service commercial health insurance products offered and/or sold using the Blue

Cross and/or Blue Shield names and marks] in [Blue Cross of Northeastern Pennsylvania’s thirteen

county] Service Area.” While there are limited exceptions, they only apply “provided that . . . the

Core Health Insurance Products [full-service commercial health insurance products] in question

are not offered, sold or serviced in the Service Area as Branded Health Insurance Products.” In

sum, Highmark BCBS has agreed to restrict its use of the Blue Shield name and mark, which it is

licensed to use in the entire state of Pennsylvania, so as not to compete against BC-Northeastern

PA. Highmark BCBS remains a shareholder of the subsidiaries. Therefore, the two competitors’

agreement not to compete currently restricts competition throughout the state of Pennsylvania,

including in the Western Pennsylvania market.

           Highmark BCBS’s Illegal Anticompetitive Agreement with Independence BC



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       626.    Highmark BCBS was formed from the 1996 merger of two Pennsylvania BCBSA

member plans: Blue Cross of Western Pennsylvania, which held the Blue Cross license for the

twenty-nine counties of Western Pennsylvania, and Pennsylvania Blue Shield, which held the Blue

Shield license for the entire state of Pennsylvania.

       627.    Prior to this merger, Pennsylvania Blue Shield and Independence BC, the Blue

Cross licensee for the five counties of Southeastern Pennsylvania, had competed in Southeastern

Pennsylvania through subsidiaries: Keystone Health Plan East, an HMO plan that Pennsylvania

Blue Shield established in 1986 after Independence rejected its offer to form a joint venture HMO

plan in Southeastern Pennsylvania; and Delaware Valley HMO and Vista Health Plan (also an

HMO), which Independence BC acquired in response to Keystone Health Plan East’s entry into

the market. In 1991, Independence BC and Pennsylvania Blue Shield agreed to combine these

HMOs into a single, jointly-owned venture under the Keystone Health Plan East name, and

Pennsylvania Blue Shield acquired a 50 percent interest in an Independence PPO, Personal Choice.

When Blue Cross of Pennsylvania and Pennsylvania Blue Shield merged to form Highmark BCBS,

Pennsylvania Blue Shield sold its interests in Keystone Health Plan East and Personal Choice to

Independence BC. As part of the purchase agreement, Pennsylvania Blue Shield (now Highmark

BCBS) and Independence BC entered into a decade-long agreement not to compete. Specifically,

Pennsylvania Blue Shield agreed not to enter Southeastern Pennsylvania, despite being licensed to

compete under the Blue Shield name and mark throughout Pennsylvania.

       628.    On information and belief, this agreement remains in place, though it putatively

expired in 2007. Instead of entering the Southeastern Pennsylvania market at that time, Highmark

BCBS announced that it and Independence BC intended to merge. After an exhaustive review by

the Pennsylvania Insurance Department (“PID”), Highmark BCBS and Independence BC



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withdrew their merger application.      In commenting on this withdrawal, then-Pennsylvania

Insurance Commissioner Joel Ario stated that he was “prepared to disapprove this transaction

because it would have lessened competition . . . to the detriment of the insurance buying public.”

Currently, despite its past history of successful competition in Southeastern Pennsylvania, despite

holding the Blue Shield license for the entire state of Pennsylvania, despite entering Central

Pennsylvania and the Lehigh Valley as Highmark Blue Shield and thriving, despite entering West

Virginia through an affiliation with Mountain State Blue Cross Blue Shield (now Highmark Blue

Cross Blue Shield of West Virginia), despite entering Delaware through an affiliation with Blue

Cross and Blue Shield of Delaware (now Highmark Blue Cross Blue Shield of Delaware), and

despite the supposed “expiration” of the non-compete agreement with Independence BC,

Highmark BCBS has still not attempted to enter Southeastern Pennsylvania.             This illegal,

anticompetitive agreement not to compete has reduced competition throughout the state of

Pennsylvania, including in the Western Pennsylvania market.

       629.    Highmark BCBS’s powerful market share and illegal anticompetitive agreements

are far from the only evidence of its market power. As alleged below, Highmark BCBS’s market

power has significantly raised costs, resulting in higher premiums for Highmark BCBS enrollees.

                   Supra-Competitive Premiums Charged By Highmark BCBS

       630.    From October 1, 2008 to the present, Highmark BCBS’s illegal anticompetitive

conduct, including its territorial market division agreements with the 35 other members of BCBSA,

has increased health care costs in Western Pennsylvania, leading to inflated and/or supra-

competitive premiums for individuals and small groups purchasing Highmark BCBS’s full-service

commercial health insurance in the relevant geographic markets, and further, depriving Western

Pennsylvania subscribers of the opportunity to purchase health insurance from one or more of the



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other Individual Blue Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a

price set by a market free from the non-price restraints imposed by Defendants’ anti-competitive

agreements. Highmark BCBS’s market power and its use of MFNs and other anticompetitive

practices in Western Pennsylvania have reduced the amount of competition in the market and

ensured that Highmark BCBS’s few competitors face higher costs than Highmark BCBS does.

Without competition, and with the ability to increase premiums without losing customers,

Highmark BCBS faces little pressure to keep prices low.

       631.   Over the past decade, Highmark BCBS generally raised individual and small group

premiums by amounts greater than the national average. From 2000 to 2009 in Western

Pennsylvania, the average annual employer-based health insurance premium in Pennsylvania rose

95.2 percent for families and 93.9 percent for individuals, while median earnings increased only

17.5 percent. From 2002-2006, health insurance premiums for single individuals in the Pittsburgh

area rose approximately 55% and health insurance premiums for Pittsburgh families rose

approximately 51%. In 2008, Highmark BCBS raised its rates for its CompleteCare program by

15%. In 2010, Pennsylvania Insurance Commissioner Joe Ario testified that Highmark shifted all

of its small group customers from its wholly-owned non-profit Blue-brand subsidiaries, the

premiums of which the PID regulates, to its wholly-owned for profit subsidiary, Highmark Health

Insurance Company (also a BCBSA licensee), the premiums of which PID has no power to

regulate, and then raised small group premiums up to 79 percent, triggering what Ario said was

the largest number of complaints ever received by PID against a carrier involving renewal quotes.

In 2012, Highmark BCBS filed for premium rate increases of 9.8% for its “small-group” accounts.

       632.   PlaintiffS were damaged, both by paying supra-competitive premiums, which are

to be calculated by estimating the premiums that would have been actually charged to consumers



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but for the Individual Blue Plans’ antitrust violations, not the base rates or rate “schedules” filed

with a state agency, and by being denied access to lower and/or competitively-priced health

insurance products that could and would have been offered in Western Pennsylvania by other

Individual Blue Plans, or their non-Blue affiliates, but for Defendants’ unreasonable geographic

market allocations.

       633.    These rising premiums have enabled Highmark BCBS to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. Highmark BCBS’s reserves swelled to $4.7 billion on profits of nearly half a

billion in 2011. In 2012, Highmark BCBS paid its CEOs more than $6 million and paid its Board

of Directors $1.9 million.


Rhode Island

       634.    However the geographic market is defined, BCBS-RI has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Rhode Island.

       635.    BCBS-RI does business throughout the state of Rhode Island, is licensed to use the

Blue Cross and Blue Shield trademarks and trade names throughout the state of Rhode Island, and

has agreed with the other member plans of BCBSA that only BCBS-RI will do business in Rhode

Island under the Blue brand. Therefore, the state of Rhode Island can be analyzed as a relevant

geographic market within which to assess the effects of BCBS-RI’s anticompetitive conduct. As

of 2010, BCBS-RI held at least a 63 percent share of the relevant product market in Rhode Island,

including at least 95 percent of the individual market and at least 74 percent in the small group

market.




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       636.    The U.S. Office of Management and Budget divides the 5 counties of Rhode Island

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data.          It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, Rhode Island’s 1 Metropolitan Statistical Area, 0

Micropolitan Statistical Areas, and 4 counties that are not part of Statistical Areas are a relevant

geographic market within which to assess the effects of BCBS-RI’s anticompetitive conduct.

       637.    BCBS-RI’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-RI’s market power has significantly raised costs, resulting in

higher premiums for BCBS-RI enrollees.

                       Supra-Competitive Premiums Charged By BCBS-RI

       638.    From October 1, 2008 to the present, BCBS-RI’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-five other members of BCBSA,

has increased health care costs in Rhode Island, leading to inflated and/or supra-competitive

premiums for individuals and small groups purchasing BCBS-RI’s full-service commercial health

insurance in the relevant geographic markets, and further, depriving Rhode Island subscribers of

the opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements. BCBS-RI’s market

power and its use of anticompetitive practices in Rhode Island have reduced the amount of

competition in the market and ensured that BCBS-RI’s few competitors face higher costs than




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BCBS-RI does. Without competition, and with the ability to increase premiums without losing

customers, BCBS-RI faces little pressure to keep prices low.

       639.     Over the past decade, BCBS-RI generally raised individual and small group

premiums by amounts greater than the national average. For example, in 2011, BCBS-RI

increased premiums by approximately 10% and, just recently, announced its intention to increase

premiums by 15% for small groups and 18% for individual insurance purchasers.

       640.     These rising premiums have enabled BCBS-RI to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. As a result of these and other inflated premiums, by 2011, BCBS-RI had

amassed an approximately $320 million surplus.


South Carolina

       641.     However the geographic market is defined, BCBS-SC has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of South

Carolina.

       642.     BCBS-SC does business throughout the state of South Carolina, is licensed to use

the Blue Cross and Blue Shield trademarks and trade names throughout the state of South Carolina,

and has agreed with the other member plans of BCBSA that only BCBS-SC will do business in

South Carolina under the Blue brand. Therefore, the state of South Carolina can be analyzed as a

relevant geographic market within which to assess the effects of BCBS-SC’s anticompetitive

conduct. As of 2010, BCBS-SC held at least a 60 percent share of the relevant product market in

South Carolina, including a 55 percent share in the individual market and a 70 percent in the small

group market.


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       643.    The U.S. Office of Management and Budget divides the 46 counties of South

Carolina into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to

published standards applied to U.S. Census Bureau data. It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of South Carolina’s 10 Metropolitan Statistical

Areas, 7 Micropolitan Statistical Areas, and 14 counties that are not part of Statistical Areas is a

relevant geographic market within which to assess the effects of BCBS-SC’s anticompetitive

conduct. BCBS-SC has the following shares of the relevant product market in the following

Metropolitan Statistical Areas: Anderson (at least 61 percent); Charleston-North Charleston (at

least 62 percent); Columbia (at least 61 percent), Florence (at least 63 percent), and Greenville (at

least 53 percent).

       644.    BCBS-SC’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-SC’s market power has significantly raised costs, resulting in

higher premiums for BCBS-SC enrollees.

                           Supra-Competitive Premiums Charged By BCBS-SC

       645.    From October 1, 2008 to the present, BCBS-SC’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-five other members of BCBSA,

has increased health care costs in South Carolina, leading to inflated and/or supra-competitive

premiums for individuals and small groups purchasing BCBS-SC’s full-service commercial health

insurance in the relevant geographic markets, and further, depriving South Carolina subscribers of

the opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from



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the non-price restraints imposed by Defendants’ anti-competitive agreements. BCBS-SC’s market

power and its use of anticompetitive practices (including MFNs) in South Carolina have reduced

the amount of competition in the market and ensured that BCBS-SC’s few competitors face higher

costs than BCBS-SC does. Without competition, and with the ability to increase premiums without

losing customers, BCBS-SC faces little pressure to keep prices low.

       646.    Over the past decade, BCBS-SC generally raised individual and small group

premiums by amounts greater than the national average.

       647.    These rising premiums have enabled BCBS-SC to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. In 2010, at least three BCBS-SC executives took home $1 million or more in

salary, bonuses, and other compensation—then President and CEO M. Edward Sellers

(approximately $2.26 million), Senior Vice President Stephen Wiggins (approximately $1.0

million), and Chief Financial Officer Robert Leichtle (approximately $1.3 million). Furthermore,

each of the nine members of the BCBS-SC board of directors doubled their reported pay since

2009, according to compensation reports filed with the SCDOI. Some members increased their

pay by as much as 163 percent in one year. All of the members of the board earned between

$100,000 and $160,000 in 2010 for their limited board duties.


South Dakota

       648.    However the geographic market is defined, BCBS-SD has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of South Dakota.

       649.    BCBS-SD does business throughout the state of South Dakota, is licensed to use

the Blue Cross and Blue Shield trademarks and trade names throughout the state of South Dakota,


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and has agreed with the other member plans of BCBSA that only BCBS-SD will do business in

South Dakota under the Blue brand. Therefore, the state of South Dakota can be analyzed as a

relevant geographic market within which to assess the effects of BCBS-SD’s anticompetitive

conduct. BCBS-SD held at least a 74% market share in the relevant individual market and at least

a 58% market share in the relevant small group market in 2013, an 83% market share in the relevant

individual market and 52% market in the relevant small group market in 2011.

       650.    The U.S. Office of Management and Budget divides the 66 counties of South

Dakota into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to

published standards applied to U.S. Census Bureau data. It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of South Dakota’s three Metropolitan Statistical

Areas, nine Micropolitan Statistical Areas, and 45 counties that are not part of Statistical Areas is

a relevant geographic market within which to assess the effects of BCBS-SD’s anticompetitive

conduct. As of 2013, BCBS-SD was the largest insurer in the individual market in South Dakota

with a market share of 74%. The second largest insurer held only 9% of the market and the third

largest had an 8% share of the healthcare market. In the small group market for the same time

frame, BCBS-SD had 58% market share, while the second largest insurer captured 22%, and the

third largest insurer held 12% market share.

       651.    BCBS-SD’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-SD’s market power has significantly raised costs, resulting in

higher premiums for BCBS-SD enrollees, and costing South Dakota subscribers the opportunity

for lower, competitively-priced premiums.



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                           Supra-Competitive Premiums Charged By BCBS-SD

       652.    From March 1, 2007 to the present, BCBS-SD’s illegal anticompetitive conduct,

including its territorial market division agreements with the other members of the BCBSA, has

increased health care costs in South Dakota, leading to inflated and/or supra-competitive premiums

for individuals and small groups purchasing BCBS-SD’s full-service commercial health insurance

in the relevant geographic markets, and further, depriving subscribers of the opportunity to

purchase health insurance from one or more of the other Individual Blue Plans and/or their non-

Blue affiliates, at a lower premium rate and/or at a price set by a market free from the non-price

restraints imposed by Defendants’ anti-competitive agreements. BCBS-SD’s market power and its

use of anticompetitive practices in South Dakota have reduced the amount of competition in the

market and ensured that BCBS-SD’s few competitors face higher costs than BCBS-SD does.

Without competition, and with the ability to increase premiums without losing customers, BCBS-

SD faces little pressure to keep prices low.

       653.    Over the past decade, BCBS-SD generally raised individual and small group

premiums by amounts greater than the national average. In 2009, for example, BCBS-SD raised

individual premiums by 14.5%, in 2011 by 8.3%, and in 2012 by another 8.7%. Likewise, it raised

its group premiums by 7.7% in 2011, and by 5.7% in 2012.

       654.    Plaintiffs were damaged, both by paying supra-competitive premiums, which are

to be calculated by estimating the premiums that would have been actually charged to consumers

but for the Individual Blue Plans’ antitrust violations, not the base rates or rate “schedules” filed

with a state agency, and by being denied access to lower and/or competitively-priced health

insurance products that could and would have been offered in South Dakota by other Individual




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Blue Plans, or their non-Blue affiliates, but for Defendants’ unreasonable geographic market

allocations.

           655.   These rising premiums have enabled BCBS-SD to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. For example, for the year ending 2008, BCBS-SD had a surplus of

$124,663,164. By 2012, Wellmark, the parent company of BCBS-SD, held a surplus of over $1

billion.


Tennessee

           656.   However the geographic market is defined, BCBS-TN has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Tennessee.

           657.   BCBS-TN does business throughout the state of Tennessee, is licensed to use the

Blue Cross and Blue Shield trademarks and trade names throughout the state of Tennessee, and

has agreed with the other member plans of BCBSA that only BCBS-TN will do business in

Tennessee under the Blue brand. Therefore, the state of Tennessee can be analyzed as a relevant

geographic market within which to assess the effects of BCBS-TN’s anticompetitive conduct. As

of 2010, BCBS-TN held at least a 46 percent share of the relevant product market in Tennessee,

including (by 2011), including at least 70 percent of the small group market. The next largest

insurer, Cigna, held only a 23 percent share of the relevant product market in Tennessee.

           658.   In analyzing its own business, BCBS-TN divides the state of Tennessee into three

Offices, which compose three Regions: the West Tennessee Regional Office, containing counties

in Western Tennessee; the Central Tennessee Regional Office, containing counties in central

Tennessee, and the East Tennessee Regional Office, containing counties in Eastern Tennessee.


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Therefore, each BCBS-TN Regional Office region can be analyzed as a relevant geographic

market within which to assess the effects of BCBS-TN’s anticompetitive conduct.

       659.    The U.S. Office of Management and Budget divides the 95 counties of Tennessee

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data.          It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, each of Tennessee’s 10 Metropolitan Statistical

Areas, 15 Micropolitan Statistical Areas, and 34 counties that are not part of Statistical Areas is a

relevant geographic market within which to assess the effects of BCBS-TN’s anticompetitive

conduct. As of 2012, BCBS-TN has the following shares of the relevant product market in the

following Metropolitan Statistical Areas: Chattanooga TN-GA (at least 42 percent), Clarksville

TN-KY (at least 32 percent), Cleveland (at least 48 percent), Jackson (at least 51 percent), Johnson

City (at least 54 percent), Kingsport-Bristol-Bristol TN-VA (at least 34 percent), Knoxville (at

least 41 percent), Memphis TN-MS-AR (at least 21 percent), Morristown (at least 50 percent), and

Nashville-Davidson-Murfreesboro-Franklin (at least 48 percent).

       660.    BCBS-TN’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-TN’s market power has significantly raised costs, resulting in

higher premiums for BCBS-TN enrollees.

                           Supra-Competitive Premiums Charged By BCBS-TN

       661.    From October 1, 2008 to the present, BCBS-TN’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-five other members of BCBSA,

has increased health care costs in Tennessee, leading to inflated and/or supra-competitive



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premiums for individuals and small groups purchasing BCBS-TN’s full-service commercial health

insurance in the relevant geographic markets, and further, depriving Tennessee subscribers of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements. BCBS-TN’s market

power and its use of anticompetitive practices in Tennessee have reduced the amount of

competition in the market and ensured that BCBS-TN’s few competitors face higher costs than

BCBS-TN does. Without competition, and with the ability to increase premiums without losing

customers, BCBS-TN faces little pressure to keep prices low.

        662.   Over the past decade, BCBS-TN generally raised individual and small group

premiums by amounts greater than the national average.

        663.   These rising premiums have enabled BCBS-TN to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. From 2006 to 2011, BCBS-TN doubled the salary its pays its directors and

chief executive officer, raising part-time Chairman Lamar Partridge’s salary to $100,000 and

increasing CEO Vicky Gregg’s compensation package to more than $4.4 million. Most BCBS-

TN directors received from $75,000 to $90,000 each to attend quarterly board meetings and other

committee and company sessions in 2010.


Texas

        664.   However the geographic market is defined, BCBS-TX has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Texas.




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       665.    BCBS-TX does business throughout the state of Texas, is licensed to use the Blue

Cross and Blue Shield trademarks and trade names throughout the state of Texas, and has agreed

with the other member plans of BCBSA that only BCBS-TX will do business in Texas under the

Blue brand. Therefore, the state of Texas can be analyzed as a relevant geographic market within

which to assess the effects of BCBS-TX’s anticompetitive conduct. As of 2011, BCBS-TX held

at least 57 percent of the relevant individual market and at least 46 percent of the relevant small

group market in Texas.

       666.    The U.S. Office of Management and Budget divides the 254 counties of Texas into

Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published standards

applied to U.S. Census Bureau data. It states that “[t]he general concept of a metropolitan or

micropolitan statistical area is that of a core area containing a substantial population nucleus,

together with adjacent communities having a high degree of economic and social integration with

that core.”   Therefore, each of Texas’s 25 Metropolitan Statistical Areas, 43 Micropolitan

Statistical Areas, and 126 counties that are not part of Statistical Areas is a relevant geographic

market within which to assess the effects of BCBS-TX’s anticompetitive conduct. BCBS-TX has

the following shares of the relevant product market in the following Metropolitan Statistical Areas:

Abilene (at least 54 percent), Amarillo (at least 32 percent), Austin-Round Rock (at least 42

percent), Beaumont-Port Arthur (at least 49 percent), Brownsville-Harlington (at least 53 percent),

College Station-Bryan (at least 56 percent), Corpus Christi (at least 45 percent), Dallas-Fort

Worth-Arlington (at least 29 percent), El Paso (at least 27 percent), Killeen-Temple (at least 25

percent), Laredo (at least 68 percent), Longview (at least 54 percent), Lubbock (at least 57

percent), McAllen-Edinburg-Mission (at least 57 percent), Midland (at least 60 percent), Odessa

(at least 65 percent), San Angelo (at least 72 percent), San Antonio-New Braunfels (at least 33



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percent), Sherman-Denison (at least 46 percent), Texarkana TX-AR (at least 43 percent), Tyler (at

least 62 percent), Victoria (at least 53 percent), Waco (at least 40 percent), and Wichita Falls (at

least 74 percent). BCBS-TX is able to provide the information needed to calculate the remaining

geographical markets.

       667.    BCBS-TX’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-TX’s market power has significantly raised costs, resulting in

higher premiums for BCBS-TX enrollees.

                           Supra-Competitive Premiums Charged By BCBS-TX

       668.    From October 1, 2008 to the present, BCBS-TX’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-five other members of BCBSA,

has increased health care costs in Texas, leading to inflated and/or supra-competitive premiums

for individuals and small groups purchasing BCBS-TX’s full-service commercial health insurance

in the relevant geographic markets, and further, depriving Texas subscribers of the opportunity to

purchase health insurance from one or more of the other Individual Blue Plans and/or their non-

Blue affiliates, at a lower premium rate and/or at a price set by a market free from the non-price

restraints imposed by Defendants’ anti-competitive agreements. BCBS-TX’s market power and

its use of anticompetitive practices in Texas have reduced the amount of competition in the market

and ensured that BCBS-TX’s few competitors face higher costs than BCBS-TX does. Without

competition, and with the ability to increase premiums without losing customers, BCBS-TX faces

little pressure to keep prices low.

       669.    Over the past decade, BCBS-TX generally raised individual and small group

premiums by amounts greater than the national average, including by as much as 25 percent on

some policyholders.



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       670.   These rising premiums have enabled BCBS-TX to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. As a result of these premiums, BCBS-TX’s parent company, Health Care

Service Corp., has a surplus of more than $620 million.

Vermont


       671.   However the geographic market is defined, BCBS-VT has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Vermont.

       672.   BCBS-VT does business throughout the state of Vermont, is licensed to use the

Blue Cross and Blue Shield trademarks and trade names throughout the state of Vermont, and has

agreed with the other member plans of BCBSA that only BCBS-VT will do business in Vermont

under the Blue brand. Therefore, the state of Vermont can be analyzed as a relevant geographic

market within which to assess the effects of BCBS-VT’s anticompetitive conduct. As of 2013,

BCBS-VT held at least an 81 percent share of the relevant product market. As of 2013, BCBS-

VT held at least an 89 percent market share in the relevant individual market and at least a 74

percent market share in the relevant small group market.

       673.   The U.S. Office of Management and Budget divides the 14 counties of Vermont

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data.       It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, Vermont’s 1 Metropolitan Statistical Area, 5




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Micropolitan Statistical Areas, and 8 counties that are not part of Statistical Areas is a relevant

geographic market within which to assess the effects of BCBS-VT’s anticompetitive conduct.

       674.    BCBS-VT’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-VT’s market power has significantly raised costs, resulting in

higher premiums for BCBS-VT enrollees and costing Vermont subscribers the opportunity for

lower, competitively-priced premiums.

       Supra-Competitive Premiums Charged By BCBS-VT

       675.    From March 1, 2007 to the present, BCBS-VT’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-seven other members of

BCBSA, has increased health care costs in Vermont, leading to inflated and/or supra-competitive

premiums for individuals and small groups purchasing BCBS-VT’s full-service commercial health

insurance in the relevant geographic markets, and further, depriving Vermont subscribers of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements. BCBS-VT’s market

power and its use of anticompetitive practices in Virginia have reduced the amount of competition

in the market and ensured that BCBS-VT’s few competitors face higher costs than BCBS-VT does.

Without competition, and with the ability to increase premiums without losing customers, BCBS-

VT faces little pressure to keep prices low.

       676.    Over the past decade, BCBS-VT generally raised individual and small group

premiums by amounts greater than the national average. For example, between 1999 and 2009,

BCBS-VT raised premiums for employer-sponsored family plans by 114 percent.




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       677.    Plaintiff was damaged, both by paying supra-competitive premiums, which are to

be calculated by estimating the premiums that would have been actually charged to consumers but

for the Individual Blue Plans’ antitrust violations, not the base rates or rate “schedules” filed with

a state agency, and by being denied access to lower and/or competitively-priced health insurance

products that could and would have been offered in Vermont by other Individual Blue Plans, or

their non-Blue affiliates, but for Defendants’ unreasonable geographic market allocations.

       678.    These rising premiums have enabled BCBS-VT to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. For example, from 2011 to 2012, BCBS-VT’s surplus increased more than 10

percent from $113,914,063 to $125,950,111, and its premiums exceeded claims by $31,157,555

for the same period.

Virginia


       679.    However the geographic market is defined, BCBS-VA has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of Virginia.

       680.     BCBS-VA does business throughout the state of Virginia, and as discussed supra,

has licensed the sale of Blue plans through much of Virginia to Anthem. Therefore, the state of

Virginia can be analyzed as a relevant geographic market within which to assess the effects of

BCBS-VA’s anticompetitive conduct. As of 2013, BCBS-VA held at least a 59 percent share of

the relevant product market. As of 2013, BCBS-VA held at least a 74 percent market share in the

relevant individual market and at least a 45 percent market share in the relevant small group

market.




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       681.    The U.S. Office of Management and Budget divides the 95 counties of Virginia

into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data. It states that “[t]he general concept of a metropolitan

or micropolitan statistical area is that of a core area containing a substantial population nucleus,

together with adjacent communities having a high degree of economic and social integration with

that core.” Therefore, each of Virginia’s 11 Metropolitan Statistical Areas, 4 Micropolitan

Statistical Areas, and 75 counties that are not part of Statistical Areas is a relevant geographic

market within which to assess the effects of BCBS-VA’s anticompetitive conduct. As of 2012,

BCBS-VA held at least the following shares of the relevant product market in these Metropolitan

Statistical Areas: the Blacksburg Metropolitan Statistical Area: 72 percent; the Charlottesville

Metropolitan Statistical Area: 40 percent; the Danville Metropolitan Statistical Area: 86 percent;

the Harrisonburg Metropolitan Statistical Area: 73 percent; the Lynchburg Metropolitan Statistical

Area: 64 percent; the Richmond Metropolitan Statistical Area: 52 percent; the Roanoke

Metropolitan Statistical Area: 64 percent; the Virginia-Beach-Norfolk Metropolitan Statistical

Area: 50 percent; and the Winchester Metropolitan Statistical Area: 58 percent.

       682.    BCBS-VA’s powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-VA’s market power has significantly raised costs, resulting in

higher premiums for BCBS-VA enrollees and costing Virginia subscribers the opportunity for

lower, competitively-priced premiums.

                       Supra-Competitive Premiums Charged By BCBS-VA

       683.    From March 1, 2007 to the present, BCBS-VA’s illegal anticompetitive conduct,

including its territorial market division agreements with the thirty-seven other members of

BCBSA, has increased health care costs in Virginia, leading to inflated and/or supra-competitive



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premiums for individuals and small groups purchasing BCBS-VA’s full-service commercial health

insurance in the relevant geographic markets, and further, depriving Virginia subscribers of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.            BCBS-VA’s

market power and its use of anticompetitive practices in Virginia have reduced the amount of

competition in the market and ensured that BCBS-VA’s few competitors face higher costs than

BCBS-VA does. Without competition, and with the ability to increase premiums without losing

customers, BCBS-VA faces little pressure to keep prices low.

       684.    Over the past decade, BCBS-VA generally raised individual and small group

premiums by amounts greater than the national average. In 2010, for example, BCBS-VA’s

licensee Anthem raised individual premiums more than 12 percent in some instances.

       685.    Plaintiff was damaged, both by paying supra-competitive premiums, which are to

be calculated by estimating the premiums that would have been actually charged to consumers but

for the Individual Blue Plans’ antitrust violations, not the base rates or rate “schedules” filed with

a state agency, and by being denied access to lower and/or competitively-priced health insurance

products that could and would have been offered in Virginia by other Individual Blue Plans, or

their non-Blue affiliates, but for Defendants’ unreasonable geographic market allocations.

       686.    These rising premiums have enabled BCBS-VA to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. For example, in the first six months of 2009, Wellpoint/Anthem’s Virginia

profits rose 12.5 percent to $191.4 million from 2008.




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                  State Insurance Laws Do Not Protect Subscribers from the
                                  Market Allocation Scheme

       687.    At least some, and perhaps all, of the Defendant Individual Blue Plans charge their

subscribers actual health insurance premiums rates that are not filed with or approved by state

insurance authorities.

       688.    At least some, and perhaps all, of the Defendant Individual Blue Plans charge their

subscribers more than the health insurance premium rates that are filed with or approved by state

insurance authorities, to the extent any are.

       689.    The Individual Blue Plans that charge their subscribers actual health insurance

premium rates that are never filed include, but are likely not limited to:

               a. BCBS-AL: BCBS-AL’s actual charged premium rates vary from the base rates

                   it files with the state based on certain characteristics of the subscriber and other

                   reasons.

               b. BCBS-IL: BCBS-IL’s actual charged premium rates vary from the base rates it

                   files with the state based on certain characteristics of the subscriber and other

                   reasons.

               c. BCBS-IN: BCBS-IN

               d. BCBS-KS: BCBS-KS

               e. BCBS-LA: BCBS-LA does not file any actual premium rates it charges its

                   subscribers, even sample or “base” premium rates.

               f. BCBS-MI: BCBS-MI’s actual charged premium rates vary from the base rates

                   it files with the state, for certain policies.

               g. BCBS-MO: BCBS-MO does not file any actual premium rates it charges its

                   subscribers, even sample or “base” premium rates.


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               h. BCBS-MT: BCBS-MT

               i. BCBS-NC: BCBS-NC’s actual charged premium rates vary by as much as 25

                   percent from the base rates it files with the state.

               j. BCBS-ND: BCBS-ND’s

               k. Highmark BCBS: Highmark BCBS does not file any actual premium rates it

                   charges its subscribers, even sample or “base” premium rates, for certain

                   policies, and for other policies, permits insurers to deviate from the rates they

                   do file by as much as 10 percent annually, so long as the rates charged are not

                   15 percent higher than the “base rate.”

               l. BCBS-RI: BCBS-RI’s actual charged premium rates vary from the base rates it

                   files with the state based on certain characteristics of the subscriber, for certain

                   policies.

               m. BCBS-SC: BCBS-SC does not file any actual premium rates it charges its

                   subscribers, even sample or “base” premium rates, for certain policies.

               n. BCBS-SD: BCBS-SD

               o. BCBS-TN: BCBS-TN does not file any actual premium rates it charges its

                   subscribers, even sample or “base” premium rates, for certain policies.

               p. BCBS-TX: BCBS-TX does not file any actual premium rates it charges its

                   subscribers, even sample or “base” premium rates.

       690.    Defendants that have conspired to allocate markets and thereby not enter a market

of another Blue Plan do not file rates in the markets that they have not entered. Those Defendants

are also not subject to state insurance regulatory authorities for the markets they have not entered.

       691.    Further, BCBSA is not regulated by state insurance regulatory authorities.



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       692.    The state insurance authorities in any of the Defendant Individual Blue Plans’ states

do not regulate the division of markets and allocation of customers that is the subject of this

Complaint.

       693.    No state insurance authority in any of the Defendant Individual Blue Plans’ states

clearly articulates and affirmatively expresses as state policy the challenged restraints on trade that

are the subject of this Complaint, i.e., division of markets and allocation of customers. Nor does

any state insurance authority in any of the Individual Blue Plans’ states actively supervise the

challenged restraints on trade that are the subject of this Complaint.

       694.    Prior to the Affordable Care Act, no Defendant Individual Blue Plan, including

BCBS-AL, filed its insurance rate(s) with a federal regulatory agency. Even since the Affordable

Care Act has been implemented, no federal regulatory agency has had the authority to prevent the

Defendant Individual Blue Plans from increasing premiums.

       695.    No Defendant Individual Blue Plan disclosed the challenged restraints on trade that

are the subject of this Complaint to any insurance authority.

       696.    The conspiracy alleged in this Complaint hindered the development of the health

care markets defined herein, because the Defendant Individual Blue Plans acted to inhibit lower

cost competitors from entering such markets.

       697.    The Defendant Individual Blue Plans breached their duties of good faith and fair

dealing with subscribers.




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                                  VIOLATIONS ALLEGED

                                    NATIONWIDE CLASS

                (All Plaintiffs and the Nationwide Class Against All Defendants)


                                          Count One
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)

       698.    The License Agreements, Membership Standards, and Guidelines agreed to by the

Individual Blue Plans and BCBSA represent horizontal agreements entered into between the

Individual Blue Plans, all of whom are competitors or potential competitors in the market for

commercial health insurance.

       699.    Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA and the Individual Blue Plans represents a contract, combination and/or

conspiracy within the meaning of Section 1 of the Sherman Act.

       700.    Through the License Agreements, Membership Standards, and Guidelines, BCBSA

and the Individual Blue Plans have agreed to divide and allocate the geographic markets for the

sale of commercial health insurance into a series of exclusive areas for each of the thirty-six

BCBSA members. By so doing, the BCBSA members (the Individual Blue Plans) have conspired

to restrain trade in violation of Section 1 of the Sherman Act. These market allocation agreements

are per se illegal under Section 1 of the Sherman Act.

       701.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Nationwide Class have suffered injury.




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       702.    Plaintiffs and the Nationwide Class seek an injunction prohibiting the Individual

Blue Plans and BCBSA from entering into, or from honoring or enforcing, any agreements that

restrict the territories or geographic areas in which any BCBSA member may compete.

                                           Count Two

              (Conspiracy to Monopolize in Violation of Sherman Act, Section 2)


       703.    Each of the Service Areas in which the Individual Blue Plans compete constitutes

a market or markets in which competition may be harmed.

       704.    The License Agreements, Membership Standards, and Guidelines agreed to by the

Individual Blue Plans and BCBSA represent horizontal agreements entered into between the

Individual Blue Plans, all of whom are competitors or potential competitors in the market for

commercial health insurance.

       705.    Each of the Individual Blue Plans and BCBSA possessed the specific intent to

monopolize when conceiving of and implementing the policies challenged in this Complaint.

       706.    The License Agreements, Membership Standards, and Guidelines agreed to by each

of the Individual Blue Plans and BCBSA, as well as meetings between the Individual Blue Plans

and attempts by the Individual Blue Plans to enforce the policies challenged in this Complaint,

represent overt acts in furtherance of the Individual Blue Plans’ conspiracy to monopolize.

       707.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Nationwide Class have suffered injury.

       708.    Plaintiffs and the Nationwide Class seek injunctive relief from BCBSA and the

Individual Blue Plans for their violations of Section 2 of the Sherman Act.




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                                           ALABAMA

 (Plaintiffs American Electric Motor Services, CB Roofing, Pettus, Pearce Bevill, CFEFA, Fort
McClellan CU, Rolison Trucking, Conrad Watson Air, Hilton Cooper, Bradford Building and the
  Alabama Class Against BCBS-AL, the other Individual Blue Plan Defendants and BCBSA)

                                         Count Three
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       709.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       710.    The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-AL and BCBSA represent horizontal agreements entered into between BCBS-AL and the

35 other Individual Blue Plans, all of whom are competitors or potential competitors in the market

for commercial health insurance.

       711.    Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-AL and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       712.    Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-AL and the other Individual Blue Plans Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six Individual Blue Plans. By so doing, the Individual Blue

Plans (including BCBS-AL) and the BCBSA have conspired to restrain trade in violation of

Section 1 of the Sherman Act. These market allocation agreements are per se illegal under Section

1 of the Sherman Act.

       713.    The market allocation agreements entered into between BCBS-AL and the other

Individual Blue Plans (executed through the BCBSA License Agreements and related Membership

Standards and Guidelines) are anticompetitive.

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       714.    BCBS-AL has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       715.    Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-

                   AL throughout Alabama;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Alabama;

               c. Allowing BCBS-AL to maintain and enlarge its market power throughout

                   Alabama;

               d. Allowing BCBS-AL to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving the Plaintiffs and Alabama class members and other consumers of

                   health insurance of the benefits of free and open competition.

       716.    The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       717.    The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in Alabama

and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the



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Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-AL’s service

area and have been precluded by such agreement and restraints from doing so.

       718.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Alabama Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-AL than they would have paid with increased

competition and but for the Sherman Act violations, and further, of being deprived of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.

       719.    Plaintiffs and the Alabama Class seek money damages from BCBS-AL, the other

Individual Blue Plan Defendants and BCBSA for their violations of Section 1 of the Sherman Act.

                                         Count Four
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-AL)

       720.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       721.    BCBS-AL has monopoly power in the individual and small group full-service

commercial health insurance market in Alabama. This monopoly power is evidenced by, among

other things, BCBS-AL’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.




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       722.       BCBS-AL has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       723.       BCBS-AL’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       724.       As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Alabama Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-AL than they would have paid but for the Sherman

Act violations.

       725.       Plaintiffs and the Alabama Class seek money damages from BCBS-AL for its

violations of Section 2 of the Sherman Act.

                                            Count Five
                    (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Sherman Act, Section 2)
                                   (Asserted Against BCBS-AL)

       726.       Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       727.       BCBS-AL has acted with the specific intent to monopolize the relevant markets.

       728.       There was and is a dangerous possibility that BCBS-AL will succeed in its attempt

to monopolize the relevant markets because BCBS-AL controls a large percentage of those

markets already, and further success by BCBS-AL in excluding competitors from those markets

will confer a monopoly on BCBS-AL in violation of Section 2 of the Sherman Act.




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       729.    BCBS-AL’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Alabama Class. Premiums

charged by BCBS-AL have been higher than they would have been in a competitive market.

       730.    Plaintiffs and the Alabama Class have been damaged as the result of BCBS-AL’s

attempted monopolization of the relevant markets.

                                          ARKANSAS

(Plaintiffs Linda Mills and Frank Curtis and the Arkansas Class Against Defendants BCBS-AR,
                    the other Individual Blue Plan Defendants and BCBSA)

                                           Count Six
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       731.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       732.    The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-AR, and BCBSA represent horizontal agreements entered into between BCBS-AR and the

35 other Individual Blue Plan Defendants, all of whom are competitors or potential competitors in

the market for commercial health insurance.

       733.    Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-AR, and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       734.    Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-AR, and the Individual Blue Plan Defendants have agreed to divide and allocate

the geographic markets for the sale of commercial health insurance into a series of exclusive areas

for each of the thirty-six Individual Blue Plans. By so doing, the Individual Blue Plans (including

BCBS-AR) and the BCBSA have conspired to restrain trade in violation of Section 1 of the



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Sherman Act. These market allocation agreements are per se illegal under Section 1 of the

Sherman Act.

       735.    The market allocation agreements entered into between BCBS-AR and the thirty-

five other Individual Blue Plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       736.    BCBS-AR has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       737.    Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-

                   AR throughout Arkansas;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Arkansas;

               c. Allowing BCBS-AR to maintain and enlarge its market power throughout

                   Arkansas;

               d. Allowing BCBS-AR to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       738.    The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.




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       739.    The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in Arkansas

and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-AR’s service

area and have been precluded by such agreement and restraints from doing so.

       740.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Arkansas Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-AR than they would have paid with increased

competition and but for the Sherman Act violations, and further, of being deprived of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.

       741.    Plaintiffs and the Arkansas Class seek money damages from BCBS-AR, the other

Individual Blue Plan Defendants and BCBSA for their violations of Section 1 of the Sherman Act.

                                         Count Seven
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-AR)

       742.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.


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       743.       BCBS-AR has monopoly power in the individual and small group full-service

commercial health insurance market in Arkansas. This monopoly power is evidenced by, among

other things, BCBS-AR’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       744.       BCBS-AR has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       745.       BCBS-AR’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       746.       As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Arkansas Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-AR than they would have paid but for the Sherman

Act violations.

       747.       Plaintiffs and the Arkansas Class seek money damages from BCBS-AR for its

violations of Section 2 of the Sherman Act.

                                           Count Eight
                    (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Sherman Act, Section 2)
                                   (Asserted Against BCBS-AR)

       748.       Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       749.       BCBS-AR has acted with the specific intent to monopolize the relevant markets.




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       750.    There was and is a dangerous possibility that BCBS-AR will succeed in its attempt

to monopolize the relevant markets because BCBS-AR controls a large percentage of those

markets already, and further success by BCBS-AR in excluding competitors from those markets

will confer a monopoly on BCBS-AR in violation of Section 2 of the Sherman Act.

       751.    BCBS-AR’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Arkansas Class. Premiums

charged by BCBS-AR have been higher than they would have been in a competitive market.

       752.    Plaintiffs and the Arkansas Class have been damaged as the result of BCBS-AR’s

attempted monopolization of the relevant markets.

                                           Count Nine
                                      (Unjust Enrichment)
                                  (Asserted Against BCBS-AR)

       753.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       754.    BCBS-AR has benefitted from its unlawful acts through Plaintiffs’ and the

Arkansas Class’s overpayments for health insurance premiums to BCBS-AR. BCBS-AR has

unjustly enriched itself at the expense of the Plaintiffs and the Arkansas Class.

       755.    It would be inequitable for BCBS-AR to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiffs and the Arkansas Class and retained

by BCBS-AR.

       756.    By reason of its unlawful conduct, BCBS-AR must make restitution to Plaintiffs

and the Arkansas Class.




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                                        CALIFORNIA

  (Plaintiff Judy Sheridan and the California Class Against Defendants BS-CA, the Individual
                     Blue Plan Defendants other than BC-CA, and BCBSA)

                                          Count Ten
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                    (Asserted Against All Defendants Other Than BC-CA)

       757.    Plaintiff repeats and realleges the allegations in all Paragraphs above.

       758.    The License Agreements, Membership Standards, and Guidelines agreed to by BC-

CA and BCBSA, and BS-CA and BCBSA, represent horizontal agreements entered into between

BC-CA, BS-CA, and the 36 other Individual Blue Plan Defendants, all of whom are competitors

or potential competitors in the market for commercial health insurance.

       759.    Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, and the Individual Blue Plan Defendants, including BC-CA and BS-CA,

represents a contract, combination and/or conspiracy within the meaning of Section 1 of the

Sherman Act.

       760.    Through the License Agreements, Membership Standards, and Guidelines, BCBSA

and the Individual Blue Plan Defendants, including BC-CA and BS-CA, have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the Individual Blue Plans

(including BC-CA and BS-CA) and the BCBSA have conspired to restrain trade in violation of

Section 1 of the Sherman Act. These market allocation agreements are per se illegal under Section

1 of the Sherman Act.

       761.    The market allocation agreements entered into between BC-CA and the thirty-five

Individual Blue Plans and, correspondingly, the agreements entered into between BS-CA and the



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thirty-five other Individual Blue Plan Defendants (executed through the BCBSA License

Agreements and related Membership Standards and Guidelines), are anticompetitive.

          762.   BC-CA and BS-CA have market power in the sale of full-service commercial health

insurance to individuals and small groups in each relevant geographic and product market alleged

herein.

          763.   Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

                 a. Reducing the number of health insurance companies competing with BC-CA

                    and BS-CA throughout California;

                 b. Unreasonably limiting the entry of competitor health insurance companies into

                    California;

                 c. Allowing BC-CA and BS-CA to maintain and enlarge their market power

                    throughout California;

                 d. Allowing BC-CA and BS-CA to supra-competitively raise the premiums

                    charged to consumers by artificially inflated, unreasonable, and/or supra-

                    competitive amounts;

                 e. Depriving consumers of health insurance of the benefits of free and open

                    competition.

          764.   The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

          765.   The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in



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California and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market

free from the non-price restraints imposed by the alleged anti-competitive agreements. As a result

of the Defendants’ market allocation agreement and related restraints, the other 34 Individual Blue

Plans have not marketed individual and/or commercial health insurance products in BC-CA and

BS-CA’s respective service areas and have been precluded by such agreement and restraints from

doing so.

       766.     As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiff and other members of the

California Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BC-CA and BS-CA than they would have paid with increased

competition and but for the Sherman Act violations, and further, of being deprived of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.

       767.     Plaintiff and the California Class seek money damages from BS-CA, the Individual

Blue Plan Defendants other than BC-CA, and BCBSA for their violations of Section 1 of the

Sherman Act.

                                           Count Eleven
            (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
               for Private Health Insurance in Violation of Sherman Act, Section 2)
                                     (Asserted Against BS-CA)

       768.     Plaintiff repeats and realleges the allegations in all Paragraphs above.




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       769.    BC-CA and BS-CA have monopoly power in the individual and small group full-

service commercial health insurance market in California. This monopoly power is evidenced by,

among other things, BC-CA’s and BS-CA’s high market shares of the commercial health insurance

market, including their increasing market share even as they have raised premiums.

       770.    BC-CA and BS-CA have abused and continue to abuse their monopoly power to

maintain and enhance their market dominance by unreasonably restraining trade, thus artificially

inflating the premiums they charge to consumers.

       771.    BC-CA’s and BS-CA’s conduct constitutes unlawful monopolization and unlawful

anti-competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and

such violation and the effects thereof are continuing and will continue unless injunctive relief is

granted.

       772.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiff and other members of the

California Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BC-CA and BS-CA than they would have paid but for the

Sherman Act violations.

       773.    Plaintiff and the California Class seek money damages from BS-CA for its

violations of Section 2 of the Sherman Act.

                                         Count Twelve
                   (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)
                                   (Asserted Against BS-CA)

       774.    Plaintiff repeats and realleges the allegations in all Paragraphs above.




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       775.   BC-CA and BS-CA have acted with the specific intent to monopolize the relevant

markets.

       776.   There was and is a dangerous possibility that BC-CA and BS-CA will succeed in

their attempts to monopolize the relevant markets because BC-CA and BS-CA each control a large

percentage of those markets already, and further success by BC-CA and BS-CA in excluding

competitors from those markets will confer monopolies on BC-CA and BS-CA in violation of

Section 2 of the Sherman Act.

       777.   BC-CA’s and BS-CA’s attempted monopolizations of the relevant markets has

harmed competition in those markets and have caused injury to Plaintiff and the California Class.

Premiums charged by BC-CA and BS-CA have been higher than they would have been in a

competitive market.

       778.   Plaintiff and the California Class have been damaged as the result of BC-CA’s and

BS-CA’s attempted monopolizations of the relevant markets.

                                      Count Thirteen
(Contract, Combination, or Conspiracy in Restraint of Trade in Violation of the Cartwright Act,
                California Business and Professions Code §§ 16720, et seq.)
                   (Asserted Against All Defendants Other Than BC-CA)

       779.   Plaintiff repeats and realleges the allegations in all Paragraphs above.

       780.   The License Agreements, Membership Standards, and Guidelines agreed to by BC-

CA and BCBSA, and by BS-CA and BCBSA, represent horizontal agreements entered into

between BC-CA, BS-CA, and the 36 other Individual Blue Plans, all of whom are competitors or

potential competitors in the market for commercial health insurance.

       781.   Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA and the Individual Blue Plans, including BC-CA and BS-CA, represents a

contract, combination and/or conspiracy within the meaning of the Cartwright Act.


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          782.   Through the License Agreements, Membership Standards, and Guidelines, BCBSA

and the Individual Blue Plans, including BS-CA and BC-CA, have agreed to divide and allocate

the geographic markets for the sale of commercial health insurance into a series of exclusive areas

for each of the thirty-six BCBSA members. By so doing, the Individual Blue Plans (including BC-

CA and BS-CA) have conspired to restrain trade in violation of the Cartwright Act. These market

allocation agreements are per se illegal under the Cartwright Act.

          783.   The market allocation agreements entered into between BC-CA, BS-CA, and the

thirty-six other BCBSA member plans (executed through the BCBSA License Agreements and

related Membership Standards and Guidelines) are anticompetitive.

          784.   BC-CA and BS-CA have market power in the sale of full-service commercial health

insurance to individuals and small groups in each relevant geographic and product market alleged

herein.

          785.   Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

                 a. Reducing the number of health insurance companies competing with BC-CA

                    and BS-CA throughout California;

                 b. Unreasonably limiting the entry of competitor health insurance companies into

                    California;

                 c. Allowing BC-CA and BS-CA to maintain and enlarge their market power

                    throughout California;

                 d. Allowing BC-CA and BS-CA to supra-competitively raise the premiums

                    charged to consumers by artificially inflated, unreasonable, and/or supra-

                    competitive amounts;



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               e. Depriving consumers of health insurance of the benefits of free and open

                  competition.

       786.    The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       787.    The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of the Cartwright Act. The

conspiracy to allocate markets and restrain trade adversely affects consumers in California and

around the nation by depriving such consumers, among other things, of the opportunity to purchase

insurance from a lower cost competitor and/or at a price set by a market free from the non-price

restraints imposed by the alleged anti-competitive agreements. As a result of the Defendants’

market allocation agreement and related restraints, the other 34 Individual Blue Plans have not

marketed individual and/or commercial health insurance products in BC-CA and BS-CA’s

respective service areas and have been precluded by such agreement and restraints from doing so.

       788.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of the Cartwright Act described in this Complaint, Plaintiff and other members of the California

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BC-CA and BS-CA than they would have paid with increased competition

and but for the Cartwright Act violations, and further, of being deprived of the opportunity to

purchase health insurance from one or more of the other Individual Blue Plans and/or their non-

Blue affiliates, at a lower premium rate and/or at a price set by a market free from the non-price

restraints imposed by Defendants’ anti-competitive agreements.




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       789.    Plaintiff and the California Class seek money damages from BS-CA, the Individual

Blue Plan Defendants other than BC-CA, and BCBSA for their violations of the Cartwright Act.

                                        Count Fourteen
 (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market for Private Health
Insurance in Violation of the Cartwright Act, California Business and Professions Code § 16727)
                                   (Asserted Against BS-CA)

       790.    Plaintiff repeats and realleges the allegations in all Paragraphs above.

       791.    BC-CA and BS-CA have monopoly power in the individual and small group full-

service commercial health insurance market in California. This monopoly power is evidenced by,

among other things, BC-CA’s and BS-CA’s high market shares of the commercial health insurance

market, including their increasing market shares even as they have raised premiums.

       792.    BC-CA and BS-CA have abused and continue to abuse their monopoly power to

maintain and enhance their market dominance by unreasonably restraining trade, thus artificially

inflating the premiums they charge to consumers.

       793.    BC-CA’s and BS-CA’s conduct constitutes unlawful monopolization and unlawful

anti-competitive conduct in the relevant markets in violation of § 16727 of the Cartwright Act, and

such violation and the effects thereof are continuing and will continue unless injunctive relief is

granted.

       794.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of §16727 of the Cartwright Act described in this Complaint, Plaintiff and other members of the

California Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BC-CA and BS-CA than they would have paid but for the

Cartwright Act violations.




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       795.     Under California Business and Professions Code § 16750(a), Plaintiff and the

California Class seek money damages and attorneys’ fees from BS-CA.

                                       Count Fifteen
   (Willful Attempted Monopolization in the Relevant Market for Private Health Insurance in
     Violation of the Cartwright Act, California Business and Professions Code § 16727)
                                 (Asserted Against BS-CA)

       796.     Plaintiff repeats and realleges the allegations in all Paragraphs above.

       797.     BC-CA and BS-CA have acted with the specific intent to monopolize the relevant

markets.

       798.     There was and is a dangerous possibility that BC-CA and BS-CA will succeed in

their attempts to monopolize the relevant markets because BC-CA and BS-CA control a large

percentage of those markets already. Further success by BC-CA and BS-CA in excluding

competitors from those markets is an attempt to monopolize, or an attempt to combine or conspire

to monopolize, and will confer a monopoly on BC-CA and BS-CA in violation of § 16727 of the

Cartwright Act.

       799.     BC-CA’s and BS-CA’s attempted monopolization of the relevant markets has

harmed competition in those markets and has caused injury to Plaintiff and the California Class.

Premiums charged by BC-CA and BS-CA have been higher than they would have been in a

competitive market.

       800.     Plaintiff and the California Class have been damaged as the result of BC-CA’s and

BS-CA’s attempted monopolization of the relevant markets and seek treble damages from BS-CA.

                                           Count Sixteen
              (Violation of California Business and Professions Code § 17200, et seq.)
                                     (Asserted Against BS-CA)

       801.     Plaintiff repeats and realleges the allegations in all Paragraphs above.




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       802.    Through the License Agreements, Membership Standards, and Guidelines, BCBSA

and BC-CA, and BCBSA and BS-CA, have agreed to divide and allocate the geographic markets

for the sale of commercial health insurance into a series of exclusive areas for each of the thirty-

six BCBSA members. By so doing, the Individual Blue Plans (including BC-CA and BS-CA)

have engaged in unfair competition, including unlawful and unfair business practices and conduct.

       803.    The License Agreements, Membership Standards, and Guidelines entered into

between BC-CA, BS-CA, and the thirty-six other Individual Blue Plans are anticompetitive and

in violation of the Sherman Act Sections 1 and 2 and the Cartwright Act, California Business and

Professions Code § 16720 et seq.

       804.    As a result of BC-CA’s and BS-CA’s conduct challenged in this Complaint, the

California Class has suffered substantial injury that the Class could not reasonably have avoided

and that is not outweighed by any countervailing benefits to consumers or to competition.

       805.    BC-CA’s and BS-CA’s conduct challenged in this Complaint offends established

laws, including the Sherman and Cartwright Acts, and is immoral, unethical, oppressive,

unscrupulous, and substantially injurious to consumers.

       806.    Plaintiff and the California Class seek an injunction prohibiting BS-CA from

entering into, or from honoring or enforcing, any agreements that restrict the territories or

geographic areas in which any BCBSA member may compete.

                                        Count Seventeen
                                      (Unjust Enrichment)
                                    (Asserted Against BS-CA)

       807.    Plaintiff repeats and realleges the allegations in all Paragraphs above.

       808.    BC-CA and BS-CA have benefitted from their unlawful acts through the

overpayments for health insurance premiums of Plaintiff and the California Class.



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       809.    It would be inequitable for BC-CA and BS-CA to retain the benefit of these

overpayments that were conferred by Plaintiff and the California Class and retained by BC-CA

and BS-CA.

       810.    By reason of its unlawful conduct, BS-CA must make restitution to Plaintiff and

the California Class.

       811.    Further, any action that might have been taken by Plaintiffs and the California Class

to pursue administrative remedies would have been futile. In equity, BC-CA and BS-CA cannot

retain the economic benefits derived from their improper conduct and BS-CA should be ordered

to pay restitution and prejudgment interest to Plaintiff and the California Class.

                                            FLORIDA

(Plaintiff Jennifer Ray Davidson and the Florida Class Against Defendants BCBS-FL, the other
                         Individual Blue Plan Defendants and BCBSA)

                                         Count Eighteen
                   (Contract, Combination, or Conspiracy in Restraint of Trade
                             in Violation of Sherman Act, Section 1)
                                (Asserted Against All Defendants)

       812.    Plaintiff repeats and realleges the allegations in all Paragraphs above.

       813.    The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-FL and BCBSA represent horizontal agreements entered into between BCBS-FL and the

35 other Individual Blue Plan Defendants, all of whom are competitors or potential competitors in

the market for commercial health insurance.

       814.    Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-FL and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of Section 1 of the Sherman Act.




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       815.    Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-FL and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the Individual Blue Plans

(including BCBS-FL) have conspired to restrain trade in violation of Section 1 of the Sherman

Act. These market allocation agreements are per se illegal under Section 1 of the Sherman Act.

       816.    The market allocation agreements entered into between BCBS-FL and the thirty-

five other Individual Blue Plan Defendants (executed through the BCBSA License Agreements

and related Membership Standards and Guidelines) are anticompetitive.

       817.    BCBS-FL has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       818.    Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-FL

                   throughout Florida;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Florida;

               c. Allowing BCBS-FL to maintain and enlarge its market power throughout

                   Florida;

               d. Allowing BCBS-FL to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;




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               e. Depriving consumers of health insurance of the benefits of free and open

                  competition.

       819.    The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       820.    The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in Florida

and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-FL’s service

area and have been precluded by such agreement and restraints from doing so.

       821.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Florida Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher

health insurance premiums to BCBS-FL than they would have paid with increased competition

and but for the Sherman Act violations, and further, of being deprived of the opportunity to

purchase health insurance from one or more of the other Individual Blue Plans and/or their non-

Blue affiliates, at a lower premium rate and/or at a price set by a market free from the non-price

restraints imposed by Defendants’ anti-competitive agreements.




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       822.    Plaintiff and the Florida Class seek money damages from BCBS-FL, BCBSA and

the other Individual Blue Plan Defendants for their violations of Section 1 of the Sherman Act.

                                       Count Nineteen
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-FL)

       823.    Plaintiff repeats and realleges the allegations in all Paragraphs above.

       824.    BCBS-FL has monopoly power in the individual and small group full-service

commercial health insurance market in Florida. This monopoly power is evidenced by, among

other things, BCBS-FL’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       825.    BCBS-FL has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       826.    BCBS-FL’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       827.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Florida Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher

health insurance premiums to BCBS-FL than they would have paid but for the Sherman Act

violations.

       828.    Plaintiffs and the Florida Class seek money damages from BCBS-FL for its

violations of Section 2 of the Sherman Act.


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                                         Count Twenty
                   (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-FL)

       829.   Plaintiff repeats and realleges the allegations in all Paragraphs above.

       830.   BCBS-FL has acted with the specific intent to monopolize the relevant markets.

       831.   There was and is a dangerous possibility that BCBS-FL will succeed in its attempt

to monopolize the relevant markets because BCBS-FL controls a large percentage of those markets

already, and further success by BCBS-FL in excluding competitors from those markets will confer

a monopoly on BCBS-FL in violation of Section 2 of the Sherman Act.

       832.   BCBS-FL’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Florida Class. Premiums

charged by BCBS-FL have been higher than they would have been in a competitive market.

       833.   Plaintiff and the Florida Class have been damaged as the result of BCBS-FL’s

attempted monopolization of the relevant markets.

                                     Count Twenty-One
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                              in Violation of Fla. Stat. § 542.18)

       834.   Plaintiff repeats and realleges the allegations in all Paragraphs above.

       835.   The License Agreements, Membership Standards, and/or Guidelines agreed to by

BCBS-FL and BCBSA represent horizontal agreements entered into between BCBS-FL and the

35 other Individual Blue Plan Defendants, all of whom are competitors or potential competitors in

the market for commercial health insurance.

       836.   Each of the License Agreements, Membership Standards, and/or Guidelines

entered into between BCBSA, BCBS-FL and the other Individual Blue Plan Defendants represents

a contract, combination and/or conspiracy within the meaning of Fla. Stat. § 542.18.


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       837.    Through the License Agreements, Membership Standards, and/or Guidelines,

BCBSA, BCBS-FL and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the Individual Blue Plans

(including BCBS-FL) have conspired to restrain trade in violation of Fla. Stat. § 542.18. These

market allocation agreements are per se illegal under Fla. Stat. § 542.18.

       838.    The market allocation agreements entered into between BCBS-FL and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       839.    BCBS-FL has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       840.    Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-FL

                   throughout Florida;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Florida;

               c. Allowing BCBS-FL to maintain and enlarge its market power throughout

                   Florida;

               d. Allowing BCBS-FL to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;




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               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       841.    The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       842.    The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Fla. Stat. § 542.18. The

conspiracy to allocate markets and restrain trade adversely affects consumers in Florida and around

the nation by depriving such consumers, among other things, of the opportunity to purchase

insurance from a lower cost competitor and/or at a price set by a market free from the non-price

restraints imposed by the alleged anti-competitive agreements. As a result of the Defendants’

market allocation agreement and related restraints, the other 35 Individual Blue Plans have not

marketed individual and/or commercial health insurance products in BCBS-FL’s service area and

have been precluded by such agreement and restraints from doing so.

       843.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Fla. Stat. § 542.18 described in this Complaint, Plaintiff and other members of the Florida Class

have suffered injury and damages in an amount to be proven at trial. These damages consist of

having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-FL than they would have paid with increased competition and but

for the violations of Fla. Stat. § 542.18, and further, of being deprived of the opportunity, but for

the violations of Fla. Stat. § 542.18, to purchase health insurance from one or more of the other

Individual Blue Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a price set

by a market free from the non-price restraints imposed by Defendants’ anti-competitive

agreements.



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          844.   Under Fla. Stat. § 542.22, Plaintiff and the Florida Class seek money damages from

BCBS-FL, BCBSA and the other Individual Blue Plan Defendants for their violations of Fla. Stat.

§ 542.18.

                                         Count Twenty-Two
            (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
                   for Private Health Insurance in Violation of Fla. Stat. § 542.19)
                                    (Asserted Against BCBS-FL)

          845.   Plaintiff repeats and realleges the allegations in all Paragraphs above.

          846.   BCBS-FL has monopoly power in the individual and small group full-service

commercial health insurance market in Florida. This monopoly power is evidenced by, among

other things, BCBS-FL’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

          847.   BCBS-FL has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       848.      BCBS-FL’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Fla. Stat. § 542.19, and such violation

and the effects thereof are continuing and will continue unless injunctive relief is granted.

       849.      As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Fla. Stat. § 542.19 described in this Complaint, Plaintiff and other members of the Florida Class

have suffered injury and damages in an amount to be proven at trial. These damages consist of

having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-FL than they would have paid but for the violations of Fla. Stat. §

542.19.




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       850.    Under Fla. Stat. § 542.22, Plaintiff and the Florida Class seek money damages from

BCBS-FL for its violations of Fla. Stat. § 542.19.

                                      Count Twenty-Three
                   (Willful Attempted Monopolization in the Relevant Market
                 for Private Health Insurance in Violation of Fla. Stat. § 542.19)
                                  (Asserted Against BCBS-FL)

       851.    Plaintiff repeats and realleges the allegations in all Paragraphs above.

       852.    BCBS-FL has acted with the specific intent to monopolize the relevant markets.

       853.    There was and is a dangerous possibility that BCBS-FL will succeed in its attempt

to monopolize the relevant markets because BCBS-FL controls a large percentage of those markets

already, and further success by BCBS-FL in excluding competitors from those markets will confer

a monopoly on BCBS-FL in violation of Fla. Stat. § 542.19.

       854.    BCBS-FL’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Florida Class. Premiums

charged by BCBS-FL have been higher than they would have been in a competitive market.

Plaintiff and the Florida Class have been damaged as the result of BCBS-FL’s attempted

monopolization of the relevant markets.

                                            HAWAII

  (Plaintiff Saccoccio & Lopez and the Hawaii Class Against Defendants BCBS-HI, the other
                         Individual Blue Plan Defendants and BCBSA)

                                      Count Twenty-Four
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       855.    Plaintiff repeats and realleges the allegations in all Paragraphs above.

       856.    The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-HI and BCBSA represent horizontal agreements entered into between BCBS-HI and the


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thirty-five other member plans of BCBSA, all of whom are competitors or potential competitors

in the market for commercial health insurance.

       857.    Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-HI, and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       858.    Through the License Agreements, Membership Standards, and/or Guidelines,

BCBSA, and BCBS-HI and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-HI) have conspired to restrain trade in violation of Section 1 of the Sherman Act.

These market allocation agreements are per se illegal under Section 1 of the Sherman Act.

       859.    The market allocation agreements entered into between BCBS-HI and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       860.    BCBS-HI has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       861.    Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

           a. Reducing the number of health insurance companies competing with BCBS-HI

               throughout Hawaii;

           b. Unreasonably limiting the entry of competitor health insurance companies into

               Hawaii;

           c. Allowing BCBS-HI to maintain and enlarge its market power throughout Hawaii;



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           d. Allowing BCBS-HI to supra-competitively raise the premiums charged to

               consumers by artificially inflated, unreasonable, and/or supra-competitive

               amounts;

           e. Depriving consumers of health insurance of the benefits of free and open

               competition.

       862.    The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       863.    The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in Hawaii

and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-HI’s service

area and have been precluded by such agreement and restraints from doing so.

       864.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Hawaii Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher

health insurance premiums to BCBS-HI than they would have paid with increased competition and

but for the Sherman Act violations, and further, of being deprived of the opportunity to purchase

health insurance from one or more of the other Individual Blue Plans and/or their non-Blue



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affiliates, at a lower premium rate and/or at a price set by a market free from the non-price restraints

imposed by Defendants’ anti-competitive agreements.

        865.    Plaintiff and the Hawaii Class seek money damages from BCBS-HI, the other

Individual Blue Plan Defendants and BCBSA for their violations of Section 1 of the Sherman Act.

                                     Count Twenty-Five
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-HI)

        866.    Plaintiff repeats and realleges the allegations in all Paragraphs above.

        867.    BCBS-HI has monopoly power in the individual and small group full-service

commercial health insurance market in Hawaii. This monopoly power is evidenced by, among

other things, BCBS-HI’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

        868.    BCBS-HI has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

        869.    BCBS-HI’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

        870.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Hawaii Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher

health insurance premiums to BCBS-HI than they would have paid but for the Sherman Act

violations.


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       871.   Plaintiff and the Hawaii Class seek money damages from BCBS-HI for its

violations of Section 2 of the Sherman Act.

                                       Count Twenty-Six
                   (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-HI)

       872.   Plaintiff repeats and realleges the allegations in all Paragraphs above.

       873.   BCBS-HI has acted with the specific intent to monopolize the relevant markets.

       874.   There was and is a dangerous possibility that BCBS-HI will succeed in its attempt

to monopolize the relevant markets because BCBS-HI controls a large percentage of those markets

already, and further success by BCBS-HI in excluding competitors from those markets will confer

a monopoly on BCBS-HI in violation of Section 2 of the Sherman Act.

       875.   BCBS-HI’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Hawaii Class. Premiums

charged by BCBS-HI have been higher than they would have been in a competitive market.

       876.   Plaintiff and the Hawaii Class have been damaged as the result of BCBS-HI’s

attempted monopolization of the relevant markets.

                                     Count Twenty-Seven
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                          in Violation of H.R.S. §§ 480-4 and 480-2)
                              (Asserted Against All Defendants)

       877.   Plaintiff repeats and realleges the allegations in all Paragraphs above.

       878.   The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-HI and BCBSA represent horizontal agreements entered into between BCBS-HI and the

thirty-five other member plans of BCBSA, all of whom are competitors or potential competitors

in the market for commercial health insurance.



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       879.    Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-HI and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of H.R.S. § 480-4 and an unfair

method of competition within the meaning of H.R.S. § 480-2.

       880.    Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, the other Individual Blue Plan Defendants and BCBS-HI have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-HI) have conspired to restrain trade in violation of H.R.S. § 480-4, and employed

an unfair method of competition in violation of H.R.S. § 480-2.           These market allocation

agreements are per se illegal under H.R.S. §§ 480-2 and 480-4.

       881.    The market allocation agreements entered into between BCBS-HI and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       882.    BCBS-HI has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       883.    Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

           a. Reducing the number of health insurance companies competing with BCBS-HI

               throughout Hawaii;

           b. Unreasonably limiting the entry of competitor health insurance companies into

               Hawaii;

           c. Allowing BCBS-HI to maintain and enlarge its market power throughout Hawaii;



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           d. Allowing BCBS-HI to supra-competitively raise the premiums charged to

              consumers by artificially inflated, unreasonable, and/or supra-competitive

              amounts;

           e. Depriving consumers of health insurance of the benefits of free and open

              competition.

       884.   The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       885.   The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of H.R.S. §§ 480-2 and 480-4.

The conspiracy to allocate markets and restrain trade adversely affects consumers in Hawaii and

around the nation by depriving such consumers, among other things, of the opportunity to purchase

insurance from a lower cost competitor and/or at a price set by a market free from the non-price

restraints imposed by the alleged anti-competitive agreements. As a result of the Defendants’

market allocation agreement and related restraints, the other 35 Individual Blue Plans have not

marketed individual and/or commercial health insurance products in BCBS-HI’s service area and

have been precluded by such agreement and restraints from doing so.

       886.   As a direct and proximate result of the Individual Blue Plans’ continuing violations

of H.R.S. §§ 480-2 and 480-4 described in this Complaint, Plaintiff and other members of the

Hawaii Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher

health insurance premiums to BCBS-HI than they would have paid with increased competition and

but for the violations of H.R.S. §§ 480-2 and 480-4, and further, of being deprived, but for the

violations of H.R.S. §§ 480-2 ad 480-4, of the opportunity to purchase health insurance from one



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or more of the other Individual Blue Plans and/or their non-Blue affiliates, at a lower premium rate

and/or at a price set by a market free from the non-price restraints imposed by Defendants’ anti-

competitive agreements.

       887.    Plaintiff and the Hawaii Class seek money damages under H.R.S. 480-13 from

BCBS-HI, the other Individual Blue Plan Defendants and BCBSA for their violations of H.R.S.

§§ 480-4 and 480-2.

                                       Count Twenty-Eight
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
                   for Private Health Insurance in Violation of H.R.S. § 480-9)
                                  (Asserted Against BCBS-HI)

       888.    Plaintiff repeats and realleges the allegations in all Paragraphs above.

       889.    BCBS-HI has monopoly power in the individual and small group full-service

commercial health insurance market in Hawaii. This monopoly power is evidenced by, among

other things, BCBS-HI’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       890.    BCBS-HI has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       891.    BCBS-HI’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of H.R.S. § 480-9, and such violation and

the effects thereof are continuing and will continue unless injunctive relief is granted.

       892.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of H.R.S. § 480-9 described in this Complaint, Plaintiff and other members of the Hawaii Class

have suffered injury and damages in an amount to be proven at trial. These damages consist of

having paid artificially inflated, unreasonable, and/or supra-competitive and higher health


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insurance premiums to BCBS-HI than they would have paid but for the violations of H.R.S. § 480-

9.

       893.   Plaintiff and the Hawaii Class seek money damages under H.R.S. 480-13 from

BCBS-HI for its violations of H.R.S. § 480-9.

                                      Count Twenty-Nine
                  (Willful Attempted Monopolization in the Relevant Market
                  for Private Health Insurance in Violation of H.R.S. § 480-9)
                                 (Asserted Against BCBS-HI)

       894.   Plaintiff repeats and realleges the allegations in all Paragraphs above.

       895.   BCBS-HI has acted with the specific intent to monopolize the relevant markets.

       896.   There was and is a dangerous possibility that BCBS-HI will succeed in its attempt

to monopolize the relevant markets because BCBS-HI controls a large percentage of those markets

already, and further success by BCBS-HI in excluding competitors from those markets will confer

a monopoly on BCBS-HI in violation of H.R.S. § 480-9.

       897.   BCBS-HI’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Hawaii Class. Premiums

charged by BCBS-HI have been higher than they would have been in a competitive market.

       898.   Plaintiff and the Hawaii Class have been damaged as the result of BCBS-HI’s

attempted monopolization of the relevant markets.

                                        Count Thirty
                                     (Unjust Enrichment)
                                 (Asserted Against BCBS-HI)

       899.   Plaintiff repeats and realleges the allegations in all Paragraphs above.

       900.   BCBS-HI has benefitted from its unlawful acts through Plaintiff’s and the Hawaii

Class’s overpayments for health insurance premiums.




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       901.    It would be inequitable for BCBS-HI to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiff and the Hawaii Class and retained by

BCBS-HI.

       902.    In equity, BCBS-HI should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiff and the Hawaii Class.

                                            ILLINOIS

(Plaintiffs Monika Bhuta, Michael E. Stark, and G&S Trailer Repair Incorporated and the Illinois
        Class Against BCBS-IL, the other Individual Blue Plan Defendants and BCBSA )

                                       Count Thirty-One
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       903.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       904.    The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-IL and BCBSA represent horizontal agreements entered into between BCBS-IL and the

thirty-five other members of BCBSA, all of whom are competitors or potential competitors in the

market for commercial health insurance.

       905.    Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-IL and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       906.    Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-IL and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members



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(including BCBS-IL) have conspired to restrain trade in violation of Section 1 of the Sherman Act.

These market allocation agreements are per se illegal under Section 1 of the Sherman Act.

       907.    The market allocation agreements entered into among BCBS-IL and the thirty-five

other BCBSA members (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       908.    BCBS-IL has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       909.    Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-IL

                   throughout Illinois;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Illinois;

               c. Allowing BCBS-IL to maintain and enlarge its market power throughout

                   Illinois;

               d. Allowing BCBS-IL to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts; and

               e. Depriving Class members and other consumers of health insurance of the

                   benefits of free and open competition.

       910.    The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.




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       911.    The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in Illinois

and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-IL’s service

area and have been precluded by such agreement and restraints from doing so.

       912.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Illinois Class have suffered injury and damages in an amount to be proven at trial and are entitled

to injunctive relief. These damages consist of having paid artificially inflated, unreasonable,

and/or supra-competitive and higher health insurance premiums to BCBS-IL than they would have

paid with increased competition and but for the Sherman Act violations, and further, of being

deprived of the opportunity to purchase health insurance from one or more of the other Individual

Blue Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market

free from the non-price restraints imposed by Defendants’ anti-competitive agreements.

       913.    Plaintiffs and the Illinois Class seek money damages from BCBS-IL, the other

Individual Blue Plan Defendants and BCBSA for their violations of Section 1 of the Sherman Act.

                                      Count Thirty-Two
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-IL)

       914.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.


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       915.    BCBS-IL has monopoly power in the individual and small group full-service

commercial health insurance market in Illinois. This monopoly power is evidenced by, among

other things, BCBS-IL’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       916.    BCBS-IL has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       917.    BCBS-IL’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       918.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Illinois Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher

health insurance premiums to BCBS-IL than they would have paid but for the Sherman Act

violations.

       919.    Plaintiffs and the Illinois Class seek money damages from BCBS-IL for its

violations of Section 2 of the Sherman Act.

                                       Count Thirty-Three
                    (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Sherman Act, Section 2)
                                   (Asserted Against BCBS-IL)

       920.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       921.    BCBS-IL has acted with the specific intent to monopolize the relevant markets.




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       922.   There was and is a dangerous possibility that BCBS-IL will succeed in its attempt

to monopolize the relevant markets because BCBS-IL controls a large percentage of those markets

already, and further success by BCBS-IL in excluding competitors from those markets will confer

a monopoly on BCBS-IL in violation of Section 2 of the Sherman Act.

       923.   BCBS-IL’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Illinois Class. Premiums

charged by BCBS-IL have been higher than they would have been in a competitive market.

       924.   Plaintiffs and the Illinois Class have been damaged as the result of BCBS-IL’s

attempted monopolization of the relevant markets.

                                       Count Thirty-Four
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                  in Violation of Illinois Antitrust Law 740 ILCS 10/3 et seq.)
                               (Asserted Against All Defendants)

       925.   Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       926.   The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-IL and BCBSA represent horizontal agreements entered into between BCBS-IL and the

thirty-five other members of BCBSA, all of whom are competitors or potential competitors in the

market for commercial health insurance.

       927.   Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-IL and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of 740 ILCS 10/3(1).

       928.   Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, and BCBS-IL and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members


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(including BCBS-IL) have conspired to restrain trade in violation of 740 ILCS 10/3(1)a, 740 ILCS

10/3(1)c, and 740 ILCS 10/3(2). These market allocation agreements are per se illegal under the

aforesaid provisions.

       929.    The market allocation agreements entered into among BCBS-IL and the thirty-five

other BCBSA members (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       930.    BCBS-IL has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       931.    Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-IL

                   throughout Illinois;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Illinois;

               c. Allowing BCBS-IL to maintain and enlarge its market power throughout

                   Illinois;

               d. Allowing BCBS-IL to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts; and

               e. Depriving Class members and other consumers of health insurance of the

                   benefits of free and open competition.

       932.    The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.



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       933.    The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of 740 ILCS 10/3(1)a, 740 ILCS

10/3(1)c, and 740 ILCS 10/3(2). The conspiracy to allocate markets and restrain trade adversely

affects consumers in Illinois and around the nation by depriving such consumers, among other

things, of the opportunity to purchase insurance from a lower cost competitor and/or at a price set

by a market free from the non-price restraints imposed by the alleged anti-competitive agreements.

As a result of the Defendants’ market allocation agreement and related restraints, the other 35

Individual Blue Plans have not marketed individual and/or commercial health insurance products

in BCBS-IL’s service area and have been precluded by such agreement and restraints from doing

so.

       934.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of 740 ILCS 10/3(1)a, 740 ILCS 10/3(1)c, and 740 ILCS 10/3(2) described in this Complaint,

Plaintiffs and other members of the Illinois Class have suffered injury and damages in an amount

to be proven at trial and are entitled to injunctive relief. These damages consist of having paid

artificially inflated, unreasonable, and/or supra-competitive and higher health insurance premiums

to BCBS-IL than they would have paid with increased competition and but for the violations of

740 ILCS 10/3(1)a, 740 ILCS 10/3(1)c, and 740 ILCS 10/3(2), and further, of being deprived of

the opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.

       935.    Plaintiffs and the Illinois Class seek money damages from BCBS-IL, the other

Individual Blue Plan Defendants and BCBSA for their violations of 740 ILCS 10/3 et seq.




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                                     Count Thirty-Five
(Willful Acquisition and Maintenance of a Monopoly in the Relevant Market for Private Health
                          Insurance in Violation of 740 ILS 10/3(3))
                                (Asserted Against BCBS-IL)

       936.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       937.    BCBS-IL has monopoly power in the individual and small group full-service

commercial health insurance market in Illinois. This monopoly power is evidenced by, among

other things, BCBS-IL’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       938.    BCBS-IL has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       939.    BCBS-IL’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of 740 ILS 10/3(3).

       940.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of 740 ILS 10/3(3) described in this Complaint, Plaintiffs and other members of the Illinois Class

have suffered injury and damages in an amount to be proven at trial. These damages consist of

having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-IL than they would have paid but for these violations.

       941.    Plaintiffs and the Illinois Class seek money damages from BCBS-IL for its

violations of 740 ILS 10/3 et seq.




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                                     Count Thirty-Six
   (Willful Attempted Monopolization in the Relevant Market for Private Health Insurance in
                               Violation of 740 ILS 10/3(3))
                               (Asserted Against BCBS-IL)

        942.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

        943.    BCBS-IL has acted with the specific intent to monopolize the relevant markets.

        944.    There was and is a dangerous possibility that BCBS-IL will succeed in its attempt

to monopolize the relevant markets because BCBS-IL controls a large percentage of those markets

already, and further success by BCBS-IL in excluding competitors from those markets will confer

a monopoly on BCBS-IL in violation of 740 ILS 10/3(3).

        945.    BCBS-IL’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Illinois Class. Premiums

charged by BCBS-IL have been higher than they would have been in a competitive market.

        946.    Plaintiffs and the Illinois Class have been damaged as the result of BCBS-IL’s

attempted monopolization of the relevant markets and seek treble damages.

                                       Count Thirty-Seven
                                        (Unjust Enrichment)
                                    (Asserted Against BCBS-IL)

        947.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

        948.    BCBS-IL has benefitted from its unlawful acts through Plaintiffs’ and the Illinois

Class’s overpayments for health insurance premiums to BCBS-IL. BCBS-IL has unjustly enriched

itself at the expense of the Plaintiffs and the Illinois Class.

        949.    It would be inequitable and in violation of principles of justice and good conscience

for BCBS-IL to be permitted to retain the benefit of these supra-competitive premiums that were

conferred by Plaintiffs and the Illinois Class and unjustly retained by BCBS-IL.




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        950.    By reason of its unlawful conduct, BCBS-IL must make restitution to Plaintiffs and

the Illinois Class. Further, any actions which might have been taken by Plaintiffs to pursue

administrative remedies would have been futile.

        951.    In equity, BCBS-IL should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiffs and the Illinois Class.

                                             INDIANA

(Plaintiff Mark Krieger and the Indiana Class Against BCBS-IN, the other Individual Blue Plan
                                   Defendants and BCBSA )


                                        Count Thirty-Eight
                    (Contract, Combination, or Conspiracy in Restraint of Trade
                              in Violation of Sherman Act, Section 1)
                                 (Asserted Against All Defendants)

        952.    Plaintiff repeats and realleges the allegations in all Paragraphs above.

        953.    The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-IN, the other Individual Blue Plans, and BCBSA represent horizontal agreements entered

into between BCBS-IN and the other Individual Blue Plans, all of whom are competitors or

potential competitors in the market for commercial health insurance.

        954.    Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA and the Individual Blue Plan Defendants represents a contract, combination

and/or conspiracy within the meaning of Section 1 of the Sherman Act.

        955.    Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-IN, and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the Individual Blue Plans. By so doing, the Individual Blue Plans


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(including BCBS-IN) and the BCBSA have conspired to restrain trade in violation of Section 1 of

the Sherman Act. These market allocation agreements are per se illegal under Section 1 of the

Sherman Act.

       956.    The market allocation agreements entered into among BCBS-IN, BCBSA, and the

other Individual Blue Plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       957.    BCBS-IN has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       958.    Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

           a. Reducing the number of health insurance companies competing with BCBS-IN

               throughout Indiana;

           b. Unreasonably limiting the entry of competitor health insurance companies into

               Indiana;

           c. Allowing BCBS-IN to maintain and enlarge its market power throughout Indiana;

           d. Allowing BCBS-IN to supra-competitively raise the premiums charged to

               consumers by artificially inflated, unreasonable, and/or supra-competitive

               amounts; and

           e. Depriving Plaintiff Krieger and Class members and other consumers of health

               insurance of the benefits of free and open competition.

       959.    The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.




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       960.    The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in this State

and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-IN’s service

area and have been precluded by such agreement and restraints from doing so.

       961.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCB-IN than they would have paid with increased competition and but for

the Sherman Act violations, and further, of being deprived of the opportunity to purchase health

insurance from one or more of the other Individual Blue Plans and/or their non-Blue affiliates, at

a lower premium rate and/or at a price set by a market free from the non-price restraints imposed

by Defendants’ anti-competitive agreements.

       962.    Plaintiff and the Class seek money damages from all Defendants for their violations

of Section 1 of the Sherman Act.




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                                      Count Thirty-Nine
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-IN)

       963.    Plaintiff repeats and realleges the allegations in all Paragraphs above.

       964.    BCBS-IN has monopoly power in the individual and small group full-service

commercial health insurance market in Indiana. This monopoly power is evidenced by, among

other things, BCBS-IN’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       965.     BCBS-IN has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       966.    BCBS-IN’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       967.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Indiana Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher

health insurance premiums to BCBS-IN than they would have paid but for the Sherman Act

violations.

       968.    Plaintiff and the Indiana Class seek money damages from BCBS-IN for its

violations of Section 2 of the Sherman Act.




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                                          Count Forty
                   (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-IN)

       969.   Plaintiff repeats and realleges the allegations in all Paragraphs above.

       970.   BCBS-IN has acted with the specific intent to monopolize the relevant markets.

       971.   There was and is a dangerous possibility that BCBS-IN will succeed in its attempt

to monopolize the relevant markets because BCBS-IN controls a large percentage of those markets

already, and further success by BCBS-IN in excluding competitors from those markets will confer

a monopoly on BCBS-IN in violation of Section 2 of the Sherman Act.

       972.   BCBS-IN’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Indiana Class. Premiums

charged by BCBS-IN have been higher than they would have been in a competitive market.

       973.   Plaintiff and the Indiana Class have been damaged as the result of BCBS-IN’s

attempted monopolization of the relevant markets.

                                        Count Forty-One
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                              in Violation of Ind. Code § 24-1-2-1)
                               (Asserted Against All Defendants)

       974.   Plaintiff repeats and realleges the allegations in all Paragraphs above.

       975.   The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-IN, the Individual Blue Plans and BCBSA represent horizontal agreements entered into

between BCBS-IN and the Individual Blue Plans, all of whom are competitors or potential

competitors in the market for commercial health insurance.

       976.   Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBS-IN, BCBSA and the other Individual Blue Plans represents a contract,



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combination and/or conspiracy within the meaning of Ind. Code § 24-1-2-1 and an unlawful

restraint of trade or commerce within the meaning of Ind. Code § 24-1-2-1.

       977.    Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-IN, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas for

each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-IN)

have conspired to restrain trade in violation of Ind. Code § 24-1-2-1. These market allocation

agreements are per se illegal under Ind. Code § 24-1-2-1.

       978.    The market allocation agreements entered into between BCBS-IN and the other

BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       979.    Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


           a. Reducing the number of health insurance companies competing with BCBS-IN
              throughout Indiana;

           b. Unreasonably limiting the entry of competitor health insurance companies into

               Indiana;

           c. Allowing BCBS-IN to maintain and enlarge its market power throughout Indiana;

           d. Allowing BCBS-IN to supra-competitively raise the premiums charged to

               consumers by artificially inflated, unreasonable, and/or supra-competitive

               amounts; and

           e. Depriving Class members and other consumers of health insurance of the benefits

               of free and open competition.



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       980.    The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       981.    The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Ind. Code § 24-1-2-1. The

conspiracy to allocate markets and restrain trade adversely affects consumers in Indiana and

around the nation by depriving such consumers, among other things, of the opportunity to purchase

insurance from a lower cost competitor and/or at a price set by a market free from the non-price

restraints imposed by the alleged anti-competitive agreements. As a result of the Defendants’

market allocation agreement and related restraints, the other Individual Blue Plans have not

marketed individual and/or commercial health insurance products in BCBS-IN’s service area and

have been precluded by such agreement and restraints from doing so.

       982.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Ind. Code § 24-1-2-1 described in this Complaint, Mr. Krieger and other members of the Indiana

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-IN than they would have paid with increased competition and but

for the violations of Ind. Code § 24-1-2-1, and further, of being deprived of the opportunity to

purchase health insurance from one or more of the other Individual Blue Plans and/or their non-

Blue affiliates, at a lower premium rate and/or at a price set by a market free from the non-price

restraints imposed by Defendants’ anti-competitive agreements.

       983.    Plaintiff and the Indiana Class seek money damages under Ind. Code § 24-1-2-1

and Ind. Code § 24-1-2-7 (which provides a private cause of action and treble damages) from




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BCBS-IN, the other Individual Blue Plans and BCBSA for their violations of Ind. Code § 24-1-2-

1.

                                         Count Forty-Two
            (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
                 for Private Health Insurance in Violation of Ind. Code § 24-1-2-2)
                                    (Asserted Against BCBS-IN)

       984.     Plaintiff repeats and realleges the allegations in all Paragraphs above.

       985.     BCBS-IN has monopoly power in the individual and small group full-service

commercial health insurance market in Indiana. This monopoly power is evidenced by, among

other things, BCBS-IN’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       986.     BCBS-IN has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       987.     BCBS-IN’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Ind. Code § 24-1-2-2, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       988.     As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Ind. Code § 24-1-2-2 described in this Complaint, Mr. Krieger and other members of the Indiana

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-IN than they would have paid but for the violations of Ind. Code §

24-1-2-2.

       989.     Plaintiff and the Indiana Class seek money damages from BCBS-IN pursuant to

Ind. Code § 24-1-2-7 for its violations of Ind. Code § 24-1-2-2.


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                                      Count Forty-Three
                   (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Ind. Code § 24-1-2-2)
                                  (Asserted Against BCBS-IN)

        990.   Plaintiff repeats and realleges the allegations in all Paragraphs above.

        991.   BCBS-IN has acted with the specific intent to monopolize the relevant markets.

        992.   There was and is a dangerous possibility that BCBS-IN will succeed in its attempt

to monopolize the relevant markets because BCBS-IN controls a large percentage of those markets

already, and further success by BCBS-IN in excluding competitors from those markets will confer

a monopoly on BCBS-IN in violation of Ind. Code § 24-1-2-2.

        993.   BCBS-IN’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Indiana Class. Premiums

charged by BCBS-IN have been higher than they would have been in a competitive market.

        994.   Plaintiff and the Indiana Class have been damaged as the result of BCBS-IN’s

attempted monopolization of the relevant markets and seek redress pursuant to Ind. Code § 24-1-

2-7.

                                       Count Forty-Four
                                      (Unjust Enrichment)
                                  (Asserted Against BCBS-IN)

        995.   Plaintiff repeats and the allegations in all Paragraphs above.

        996.   BCBS-IN has benefitted from its unlawful acts through Plaintiff and the Indiana

Class’s overpayments for health insurance premiums to BCBS-IN.

        997.   It would be inequitable for BCBS-IN to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiff and the Indiana Class and retained

by BCBS-IN.




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       998.    In equity, BCBS-IN should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiff and the Indiana Class.

                                            KANSAS

   (Plaintiffs Tom and Juanita Aschenbrenner, Free State Growers, Inc. and the Kansas Class
          Against BCBS-KS, the other Individual Blue Plan Defendants and BCBSA )

                                        Count Forty-Five
                   (Contract, Combination, or Conspiracy in Restraint of Trade
                             in Violation of Sherman Act, Section 1)
                                (Asserted Against All Defendants)

       999.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1000. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-KS, the other Individual Blue Plans, and BCBSA represent horizontal agreements entered

into between BCBS-KS and the other Individual Blue Plans, all of whom are competitors or

potential competitors in the market for commercial health insurance.

       1001. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA and the Individual Blue Plan Defendants represents a contract, combination

and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1002. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-KS, and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the Individual Blue Plans. By so doing, the Individual Blue Plans

(including BCBS-KS) and the BCBSA have conspired to restrain trade in violation of Section 1 of

the Sherman Act. These market allocation agreements are per se illegal under Section 1 of the

Sherman Act.



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       1003. The market allocation agreements entered into among BCBS-KS, BCBSA, and the

other Individual Blue Plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1004. BCBS-KS has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1005. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

           a. Reducing the number of health insurance companies competing with BCBS-KS

               throughout Kansas;

           b. Unreasonably limiting the entry of competitor health insurance companies into

               Kansas;

           c. Allowing BCBS-KS to maintain and enlarge its market power throughout Kansas;

           d. Allowing BCBS-KS to supra-competitively raise the premiums charged to

               consumers by artificially inflated, unreasonable, and/or supra-competitive

               amounts; and

           e. Depriving the Plaintiffs and Class members and other consumers of health

               insurance of the benefits of free and open competition.

       1006. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1007. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in this State

and around the nation by depriving such consumers, among other things, of the opportunity to



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purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-KS’s service

area and have been precluded by such agreement and restraints from doing so.

       1008. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-KS than they would have paid with increased competition and but

for the Sherman Act violations, and further, of being deprived of the opportunity to purchase health

insurance from one or more of the other Individual Blue Plans and/or their non-Blue affiliates, at

a lower premium rate and/or at a price set by a market free from the non-price restraints imposed

by Defendants’ anti-competitive agreements.

       1009. Plaintiffs and the Class seek money damages from all Defendants for their

violations of Section 1 of the Sherman Act.

                                       Count Forty-Six
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-KS)

       1010. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1011. BCBS-KS has monopoly power in the individual and small group full-service

commercial health insurance market in Kansas. This monopoly power is evidenced by, among

other things, BCBS-KS’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.


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       1012. BCBS-KS has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1013. BCBS-KS’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1014. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Kansas Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher

health insurance premiums to BCBS-KS than they would have paid but for the Sherman Act

violations.

       1015. Plaintiffs and the Kansas Class seek money damages from BCBS-KS for its

violations of Section 2 of the Sherman Act.


                                        Count Forty-Seven
                    (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Sherman Act, Section 2)
                                   (Asserted Against BCBS-KS)

       1016. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1017. BCBS-KS has acted with the specific intent to monopolize the relevant markets.

       1018. There was and is a dangerous possibility that BCBS-KS will succeed in its attempt

to monopolize the relevant markets because BCBS-KS controls a large percentage of those markets

already, and further success by BCBS-KS in excluding competitors from those markets will confer

a monopoly on BCBS-KS in violation of Section 2 of the Sherman Act.



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       1019. BCBS-KS’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Kansas Class. Premiums

charged by BCBS-KS have been higher than they would have been in a competitive market.

       1020. Plaintiffs and the Kansas Class have been damaged as the result of BCBS-KS’s

attempted monopolization of the relevant markets.

                                        Count Forty-Eight
                   (Contract, Combination, or Conspiracy in Restraint of Trade
                             in Violation of K.S.A. § 50-101 et. seq.)
                                (Asserted Against All Defendants)

       1021. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1022. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-KS, the Individual Blue Plans and BCBSA represent horizontal agreements entered into

between BCBS-KS and the Individual Blue Plans, all of whom are competitors or potential

competitors in the market for commercial health insurance.

       1023. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBS-KS, BCBSA and the Individual Blue Plans represents a contract, combination

and/or conspiracy within the meaning of K.S.A. § 50-112 and one which tends to prevent the full

and free competition in the sale of insurance products and/or which tends to advance, reduce or

control the costs or rates of insurance in violation of K.S.A. § 50-112.

       1024. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-KS, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas for

each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-KS)

have conspired to restrain trade in violation of K.S.A. § 50-112. These market allocation

agreements are per se illegal under K.S.A. § 50-112.


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       1025. The market allocation agreements entered into between BCBS-KS and the other

BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1026. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


           a. Reducing the number of health insurance companies competing with BCBS-KS
              throughout Kansas;

           b. Unreasonably limiting the entry of competitor health insurance companies into

               Kansas;

           c. Allowing BCBS-KS to maintain and enlarge its market power throughout Kansas;

           d. Allowing BCBS-KS to supra-competitively raise the premiums charged to

               consumers by artificially inflated, unreasonable, and/or supra-competitive

               amounts; and

           e. Depriving Class members and other consumers of health insurance of the benefits

               of free and open competition.

       1027. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1028. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of K.S.A. § 50-112. The

conspiracy to allocate markets and restrain trade adversely affects consumers in Kansas and around

the nation by depriving such consumers, among other things, of the opportunity to purchase

insurance from a lower cost competitor and/or at a price set by a market free from the non-price

restraints imposed by the alleged anti-competitive agreements. As a result of the Defendants’

market allocation agreement and related restraints, the other Individual Blue Plans have not

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marketed individual and/or commercial health insurance products in BCBS-KS’s service area and

have been precluded by such agreement and restraints from doing so.

        1029. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of K.S.A. § 50-112 described in this Complaint, Plaintiffs and other members of the Kansas Class

have suffered injury and damages in an amount to be proven at trial. These damages consist of

having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-KS than they would have paid with increased competition and but

for the violations of K.S.A. § 50-112, and further, of being deprived of the opportunity to purchase

health insurance from one or more of the other Individual Blue Plans and/or their non-Blue

affiliates, at a lower premium rate and/or at a price set by a market free from the non-price restraints

imposed by Defendants’ anti-competitive agreements.

        1030. Plaintiffs and the Kansas Class seek money damages under K.S.A. § 50-161 from

BCBS-KS, the other Individual Blue Plans and BCBSA for their violations of K.S.A. § 50-112.

                                       Count Forty-Nine
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Kan. Stat. Ann. § 50-132)
                                  (Asserted Against BCBS-KS)

       1031.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1032.    BCBS-KS has monopoly power in the individual and small group full-service

commercial health insurance market in Kansas. This monopoly power is evidenced by, among other

things, BCBS-KS’s high market share of the commercial health insurance market, including its

increasing market share even as it has raised premiums.

       1033.    BCBS-KS has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.


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       1034.     BCBS-KS’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Kan. Stat. Ann. § 50-132, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1035.     Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-KS, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas for

each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-KS)

have conspired to willfully acquire and maintain a monopoly in violation of Kan. Stat. Ann. § 50-

132.

       1036.     As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Kan. Stat. Ann. § 50-132 described in this Complaint, Plaintiffs and other members of the Kansas

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-KS than they would have paid but for the violations of Kan. Stat.

Ann. § 50-132.

       1037.     Plaintiffs and the Kansas Class seek money damages from BCBS-KS for its

violations of Kan. Stat. Ann. § 50-132.

                                            Count Fifty
                    (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Kan. Stat. Ann. § 50-132)
                                    (Asserted Against BCBS-KS)

        1038. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

        1039. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-KS, and the other Individual Blue Plans have has acted with the specific intent to

monopolize the relevant markets. Agreed to divide and allocate the geographic markets for the sale


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of commercial health insurance into a series of exclusive areas for each of the thirty-six BCBSA

members. By so doing, the BCBSA members (including BCBS-KS) have attempted to monopolize

the relevant markets in violation of Kan. Stat. Ann. § 50-132.

       1040. There was and is a dangerous possibility that BCBS-KS will succeed in its attempt

to monopolize the relevant markets because BCBS-KS controls a large percentage of those markets

already, and further success by BCBS-KS in excluding competitors from those markets will confer

a monopoly on BCBS-KS in violation of Kan. Stat. Ann. § 50-132.

       1041. BCBS-KS’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Kansas Class. Premiums

charged by BCBS-KS have been higher than they would have been in a competitive market.

       1042. Plaintiffs and the Kansas Class have been damaged as the result of BCBS-KS’s

attempted monopolization of the relevant markets.

                                        Count Fifty-One
                                       (Unjust Enrichment)
                                   (Asserted Against BCBS-KS)

       1043. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1044. BCBS-KS has benefitted from its unlawful acts through Plaintiffs’ and the Kansas

Class’s overpayments for health insurance premiums to BCBS-KS.

       1045. It would be inequitable for BCBS-KS to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiffs and the Kansas Class and retained

by BCBS-KS.

       1046. In equity, BCBS-KS should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiffs and the Kansas Class.



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                                         KANSAS CITY

 (Plaintiffs Chelsea L. Horner and Montis, Inc. and the Kansas City Class Against BCBS-KC, the
                        other Individual Blue Plan Defendants and BCBSA )


                                        Count Fifty-Two
                   (Contract, Combination, or Conspiracy in Restraint of Trade
                             in Violation of Sherman Act, Section 1)
                                (Asserted Against All Defendants)

       1047.   Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1048.   The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-KC, the other Individual Blue Plans, and BCBSA represent horizontal agreements entered

into between BCBS-KC and the other Individual Blue Plans, all of whom are competitors or

potential competitors in the market for commercial health insurance.

       1049.   Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA and the Individual Blue Plan Defendants represents a contract, combination

and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1050.   Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-KC, and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the Individual Blue Plans. By so doing, the Individual Blue Plans

(including BCBS-KC) and the BCBSA have conspired to restrain trade in violation of Section 1 of

the Sherman Act. These market allocation agreements are per se illegal under Section 1 of the

Sherman Act.

       1051.   The market allocation agreements entered into among BCBS-KC, BCBSA, and the

other Individual Blue Plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.


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       1052.    BCBS-KC has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1053.    Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant market, including but not limited to:

            a. Reducing the number of health insurance companies competing with BCBS-KC in

                the greater Kansas City area market;

            b. Unreasonably limiting the entry of competitor health insurance companies into the

                greater Kansas City area market ;

            c. Allowing BCBS-KC to maintain and enlarge its market power throughout the

                greater Kansas City area market;

            d. Allowing BCBS-KC to supra-competitively raise the premiums charged to

                consumers by artificially inflated, unreasonable, and/or supra-competitive

                amounts; and

            e. Depriving the Plaintiffs and Class members and other consumers of health

                insurance of the benefits of free and open competition.

       1054.    The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1055.    The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman Act.

The conspiracy to allocate markets and restrain trade adversely affects consumers in the greater

Kansas City area and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market

free from the non-price restraints imposed by the alleged anti-competitive agreements. As a result



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of the Defendants’ market allocation agreement and related restraints, the other Individual Blue

Plans have not marketed individual and/or small group commercial health insurance products in

BCBS-KC’s service area and have been precluded by such agreements and restraints from doing

so.

       1056.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-KC than they would have paid with increased competition and but

for the Sherman Act violations, and further, of being deprived of the opportunity to purchase health

insurance from one or more of the other Individual Blue Plans and/or their non-Blue affiliates, at a

lower premium rate and/or at a price set by a market free from the non-price restraints imposed by

Defendants’ anti-competitive agreements.

       1057.    Plaintiffs and the Class seek money damages from all Defendants for their

violations of Section 1 of the Sherman Act.

                                       Count Fifty-Three
           (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-KC)

       1058.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1059.    BCBS-KC has monopoly power in the individual and small group full-service

commercial health insurance market in the greater Kansas City area market. This monopoly power

is evidenced by, among other things, BCBS-KC’s high market share of the commercial health

insurance market, including its increasing market share even as it has raised premiums.




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       1060.    BCBS-KC has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1061.    BCBS-KC’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1062.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-KC than they would have paid but for the Sherman Act violations.

       1063.    Plaintiffs and the Class seek money damages from BCBS-KC for its violations of

Section 2 of the Sherman Act.


                                         Count Fifty-Four
                     (Willful Attempted Monopolization in the Relevant Market
                for Private Health Insurance in Violation of Sherman Act, Section 2)
                                    (Asserted Against BCBS-KC)

       1064.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1065.    BCBS-KC has acted with the specific intent to monopolize the relevant market.

       1066.    There was and is a dangerous possibility that BCBS-KC will succeed in its attempt

to monopolize the relevant market because BCBS-KC controls a large percentage of that market

already, and further success by BCBS-KC in excluding competitors from that market will confer a

monopoly on BCBS-KC in violation of Section 2 of the Sherman Act.




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       1067.    BCBS-KC’s attempted monopolization of the relevant market has harmed

competition in that market and has caused injury to Plaintiffs and the greater Kansas City area.

Premiums charged by BCBS-KC have been higher than they would have been in a competitive

market.

       1068.    Plaintiffs and the Class have been damaged as the result of BCBS-KC’s attempted

monopolization of the relevant market.

                                       Count Fifty-Five
           (Contract, Combination, or Conspiracy in Restraint of Trade in Violation of
                                   Mo. Rev. Stat. § 416.031)
                              (Asserted Against All Defendants)

       1069.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1070.    The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-KC, the Individual Blue Plans and BCBSA represent horizontal agreements entered into

between BCBS-KC and the Individual Blue Plans, all of whom are competitors or potential

competitors in the market for commercial health insurance.

       1071.    Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBS-KC, BCBSA and the Individual Blue Plans represents a contract, combination

and/or conspiracy within the meaning of Mo. Rev. Stat. § 416.031 and an unreasonable restraint of

trade or commerce within the meaning of Mo. Rev. Stat. § 416.031.

       1072.    Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-KC, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas for

each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-KC)

have conspired to restrain trade in violation of Mo. Rev. Stat. § 416.031. These market allocation

agreements are per se illegal under Mo. Rev. Stat. § 416.031.


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       1073.    The market allocation agreements entered into between BCBS-KC and the other

BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1074.    Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


            a. Reducing the number of health insurance companies competing with BCBS-KC

                throughout the greater Kansas City area;

            b. Unreasonably limiting the entry of competitor health insurance companies into the

                greater Kansas City area;

            c. Allowing BCBS-KC to maintain and enlarge its market power throughout the

                greater Kansas City area;

            d. Allowing BCBS-KC to supra-competitively raise the premiums charged to

                consumers by artificially inflated, unreasonable, and/or supra-competitive

                amounts; and

            e. Depriving Class members and other consumers of health insurance of the benefits

                of free and open competition.

       1075.    The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1076.    The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Mo. Rev. Stat. § 416.031. The

conspiracy to allocate markets and restrain trade adversely affects consumers in the greater Kansas

City area and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market


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free from the non-price restraints imposed by the alleged anti-competitive agreements. As a result

of the Defendants’ market allocation agreement and related restraints, the other Individual Blue

Plans have not marketed individual and/or small group commercial health insurance products in

BCBS-KC’s service area and have been precluded by such agreements and restraints from doing

so.

       1077.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Mo. Rev. Stat. § 416.031 described in this Complaint, Plaintiffs and other members of the Class

have suffered injury and damages in an amount to be proven at trial. These damages consist of

having paid artificially inflated, unreasonable, and/or supra-competitive and higher health insurance

premiums to BCBS-KC than they would have paid with increased competition and but for the

violations of Mo. Rev. Stat. § 416.031 and further, of being deprived of the opportunity to purchase

health insurance from one or more of the other Individual Blue Plans and/or their non-Blue

affiliates, at a lower premium rate and/or at a price set by a market free from the non-price restraints

imposed by Defendants’ anti-competitive agreements.

       1078.    Plaintiffs and the Class seek money damages under Mo. Rev. Stat. § 416.121 from

BCBS-KC, the other Individual Blue Plans and BCBSA for their violations of Mo. Rev. Stat. §

416.031.

                                        Count Fifty-Six
            (Contract, Combination, or Conspiracy in Restraint of Trade in Violation of
                                    Kan. Stat. Ann. § 50-112)
                               (Asserted Against All Defendants)

       1079.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1080.    The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-KC, the Individual Blue Plans and BCBSA represent horizontal agreements entered into




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between BCBS-KC and the Individual Blue Plans, all of whom are competitors or potential

competitors in the market for commercial health insurance.

       1081.    Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBS-KC, BCBSA and the Individual Blue Plans represents a contract, combination

and/or conspiracy within the meaning of Kan. Stat. Ann. § 50-112 and an unreasonable restraint of

trade or commerce within the meaning of Kan. Stat. Ann. § 50-112.

       1082.    Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-KC, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas for

each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-KC)

have conspired to restrain trade in violation of Kan. Stat. Ann. § 50-112. These market allocation

agreements are per se illegal under Kan. Stat. Ann. § 50-112.

       1083.    The market allocation agreements entered into between BCBS-KC and the other

BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1084.    Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


            a. Reducing the number of health insurance companies competing with BCBS-KC

                throughout the greater Kansas City area;

            b. Unreasonably limiting the entry of competitor health insurance companies into the

                greater Kansas City area;

            c. Allowing BCBS-KC to maintain and enlarge its market power throughout the

                greater Kansas City area;


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            d. Allowing BCBS-KC to supra-competitively raise the premiums charged to

                consumers by artificially inflated, unreasonable, and/or supra-competitive

                amounts; and

            e. Depriving Class members and other consumers of health insurance of the benefits

                of free and open competition.

       1085.    The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1086.    The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Kan. Stat. Ann. § 50-112. The

conspiracy to allocate markets and restrain trade adversely affects consumers in the greater Kansas

City area and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market

free from the non-price restraints imposed by the alleged anti-competitive agreements. As a result

of the Defendants’ market allocation agreement and related restraints, the other Individual Blue

Plans have not marketed individual and/or small group commercial health insurance products in

BCBS-KC’s service area and have been precluded by such agreements and restraints from doing

so.

       1087.    As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Kan. Stat. Ann. § 50-112 described in this Complaint, Plaintiffs and other members of the Class

have suffered injury and damages in an amount to be proven at trial. These damages consist of

having paid artificially inflated, unreasonable, and/or supra-competitive and higher health insurance

premiums to BCBS-KC than they would have paid with increased competition and but for the

violations of Kan. Stat. Ann. § 50-112 and further, of being deprived of the opportunity to purchase



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health insurance from one or more of the other Individual Blue Plans and/or their non-Blue

affiliates, at a lower premium rate and/or at a price set by a market free from the non-price restraints

imposed by Defendants’ anti-competitive agreements.

       1088.    Plaintiffs and the Class seek money damages under Kan. Stat. Ann. § 50-161 from

BCBS-KC, the other Individual Blue Plans and BCBSA for their violations of Kan. Stat. Ann. §

50-112.

                                      Count Fifty-Seven
     (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market for Private
                   Health Insurance in Violation of Mo. Rev. Stat. § 416.031)
                                 (Asserted Against BCBS-KC)

       1089.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1090.    BCBS-KC has monopoly power in the individual and small group full-service

commercial health insurance market in the greater Kansas City area. This monopoly power is

evidenced by, among other things, BCBS-KC’s high market share of the commercial health

insurance market, including its increasing market share even as it has raised premiums.

       1091.    BCBS-KC has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1092.    BCBS-KC’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Mo. Rev. Stat. § 416.031, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1093.    Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-KS, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas for

each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-KS)


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have conspired to willfully acquire and maintain a monopoly in violation of Mo. Rev. Stat. §

416.031.

       1094.       As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Mo. Rev. Stat. § 416.031 described in this Complaint, Plaintiffs and other members of the

Missouri Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-KC than they would have paid but for the violations of Mo. Rev.

Stat. § 416.031.

       1095.       Plaintiffs and the Class seek money damages from BCBS-KC for its violations of

Mo. Rev. Stat. § 416.031.


                                       Count Fifty-Eight
     (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market for Private
                   Health Insurance in Violation of Kan. Stat. Ann. § 50-132)
                                 (Asserted Against BCBS-KC)

       1096.       Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1097.       BCBS-KC has monopoly power in the individual and small group full-service

commercial health insurance market in the greater Kansas City area. This monopoly power is

evidenced by, among other things, BCBS-KC’s high market share of the commercial health

insurance market, including its increasing market share even as it has raised premiums.

       1098.       BCBS-KC has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.




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       1099.     BCBS-KC’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Kan. Stat. Ann. § 50-132, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1100.     Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-KS, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas for

each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-KS)

have conspired to willfully acquire and maintain a monopoly in violation of Kan. Stat. Ann. § 50-

132.

       1101.     As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Kan. Stat. Ann. § 50-132 described in this Complaint, Plaintiffs and other members of the

Missouri Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-KC than they would have paid but for the violations of Kan. Stat.

Ann. § 50-132.

       1102.     Plaintiffs and the Class seek money damages from BCBS-KC for its violations of

Kan. Stat. Ann. § 50-132.

                                      Count Fifty-Nine
    (Willful Attempted Monopolization in the Relevant Market for Private Health Insurance in
                           Violation of Mo. Rev. Stat. § 416.031)
                                (Asserted Against BCBS-KC)

       1103.     Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1104.     BCBS-KC has acted with the specific intent to monopolize the relevant markets.

       1105.     Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-KS, and the other Individual Blue Plans have has acted with the specific intent to


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monopolize the relevant markets. Agreed to divide and allocate the geographic markets for the sale

of commercial health insurance into a series of exclusive areas for each of the thirty-six BCBSA

members. By so doing, the BCBSA members (including BCBS-KS) have conspired to willfully

attempt to monopolize the relevant markets in violation of Mo. Rev. Stat. § 416.031.

       1106.   There was and is a dangerous possibility that BCBS-KC will succeed in its attempt

to monopolize the relevant market because BCBS-KC controls a large percentage of that market

already, and further success by BCBS-KC in excluding competitors from that market will confer a

monopoly on BCBS-KC in violation of Mo. Rev. Stat. § 416.031.

       1107.   BCBS-KC’s attempted monopolization of the relevant market has harmed

competition in that market and has caused injury to Plaintiffs and the Class. Premiums charged by

BCBS-KC have been higher than they would have been in a competitive market.

       1108.   Plaintiffs and the Class have been damaged as the result of BCBS-KC’s attempted

monopolization of the relevant markets.

                                         Count Sixty
    (Willful Attempted Monopolization in the Relevant Market for Private Health Insurance in
                           Violation of Kan. Stat. Ann. § 50-132)
                                (Asserted Against BCBS-KC)

       1109.   Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1110.   BCBS-KC has acted with the specific intent to monopolize the relevant markets.

       1111.   Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-KS, and the other Individual Blue Plans have has acted with the specific intent to

monopolize the relevant markets. Agreed to divide and allocate the geographic markets for the sale

of commercial health insurance into a series of exclusive areas for each of the thirty-six BCBSA

members. By so doing, the BCBSA members (including BCBS-KS) have conspired to willfully

attempt to monopolize the relevant markets in violation of Kan. Stat. Ann. § 50-132.


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       1112.    There was and is a dangerous possibility that BCBS-KC will succeed in its attempt

to monopolize the relevant market because BCBS-KC controls a large percentage of that market

already, and further success by BCBS-KC in excluding competitors from that market will confer a

monopoly on BCBS-KC in violation of Kan. Stat. Ann. § 50-132.

       1113.    BCBS-KC’s attempted monopolization of the relevant market has harmed

competition in that market and has caused injury to Plaintiffs and the Class. Premiums charged by

BCBS-KC have been higher than they would have been in a competitive market.

       1114.    Plaintiffs and the Class have been damaged as the result of BCBS-KC’s attempted

monopolization of the relevant markets.

                                        Count Sixty-One
                                       (Unjust Enrichment)
                                   (Asserted Against BCBS-KC)

       1115.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1116.    BCBS-KC has benefitted from its unlawful acts through Plaintiffs’ and the Class’s

overpayments for health insurance premiums to BCBS-KC.

       1117.    It would be inequitable for BCBS-KC to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiffs and the Class and retained by BCBS-

KC.

       1118.    In equity, BCBS-KC should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiffs and the Class.




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                                         LOUISIANA

   (Plaintiffs Renee E. Allie and Galactic Funk Touring, Inc. and the Louisiana Class Against
         Defendants BCBS-LA, the other Individual Blue Plan Defendants and BCBSA)

                                       Count Sixty-Two
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1119. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1120. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-LA represent horizontal agreements entered into between BCBS-LA and the thirty-five

other member plans of BCBSA, all of whom are competitors or potential competitors in the market

for commercial health insurance.

       1121. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-LA and the other Individual Blue Plan Defendants represents a

contract, combination, and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1122. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-LA and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-LA) have conspired to restrain trade in violation of Section 1 of the Sherman

Act. These market allocation agreements are per se illegal under Section 1 of the Sherman Act.

       1123. The market allocation agreements entered into between BCBS-LA and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.




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       1124. BCBS-LA has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1125. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-

                   LA throughout Louisiana;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Louisiana;

               c. Allowing BCBS-LA to maintain and enlarge its market power throughout

                   Louisiana;

               d. Allowing BCBS-LA to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1126. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1127. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in

Louisiana and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market

free from the non-price restraints imposed by the alleged anti-competitive agreements. As a result



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of the Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue

Plans have not marketed individual and/or commercial health insurance products in BCBS-LA’s

service area and have been precluded by such agreement and restraints from doing so.

       1128. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Louisiana Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-LA than they would have paid with increased

competition and but for the Sherman Act violations, and further, of being deprived of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1129. Plaintiffs and the Louisiana Class seek money damages from BCBS-LA, BCBSA

and the Individual Blue Plan Defendants for their violations of Section 1 of the Sherman Act.

                                      Count Sixty-Three
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
           for Private Health Care Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-LA)

       1130. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1131. BCBS-LA has monopoly power in the individual and small group full-service

commercial health insurance market in Louisiana. This monopoly power is evidenced by, among

other things:

                a. BCBS-LA’s ability to enter into agreements with providers at below-market

                   reimbursement rates, which evidences BCBS-LA’s ability to control prices and

                   exclude competitors;


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                  b. BCBS-LA’s high market share of the commercial health insurance market,

                     including its increasing market share even as it has raised premiums.

       1132. BCBS-LA has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1133. BCBS-LA’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1134. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Louisiana Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-LA than they would have paid but for the Sherman

Act violations.

       1135. Plaintiffs and the Louisiana Class seek money damages from BCBS-LA for its

violations of Section 2 of the Sherman Act.

                                        Count Sixty-Four
                    (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Sherman Act, Section 2)
                                   (Asserted Against BCBS-LA)

       1136. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1137. BCBS-LA has acted with the specific intent to monopolize the relevant markets.

       1138. There was and is a dangerous possibility that BCBS-LA will succeed in its attempt

to monopolize the relevant markets because BCBS-LA already controls a large percentage of those




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markets. Further success by BCBS-LA in excluding competitors from those markets will confer

a monopoly on BCBS-LA in violation of Section 2 of the Sherman Act.

       1139. BCBS-LA’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Louisiana Class.

Premiums charged by BCBS-LA have been higher than they would have been in a competitive

market.

       1140. Plaintiffs and the Louisiana Class have been damaged as the result of BCBS-LA’s

attempted monopolization of the relevant markets.

                                      Count Sixty-Five
  (Contract, Combination, or Conspiracy in Restraint of Trade in violation of La.R.S. 51:122)
                              (Asserted Against All Defendants)

       1141. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1142. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-LA represent horizontal agreements entered into between BCBS-LA and the thirty-five

other member plans of BCBSA, all of whom are competitors or potential competitors in the market

for commercial health insurance.

       1143. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-LA and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of La.R.S. 51:122.

       1144. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-LA and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members




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(including BCBS-LA) have conspired to restrain trade in violation of La.R.S. 51:122. These

market allocation agreements are per se illegal under La.R.S. 51:122.

       1145. The market allocation agreements entered into between BCBS-LA and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1146. BCBS-LA has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1147. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-

                   LA throughout Louisiana;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Louisiana;

               c. Allowing BCBS-LA to maintain and enlarge its market power throughout

                   Louisiana;

               d. Allowing BCBS-LA to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1148. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.




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        1149. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of La.R.S. 51:122. The

conspiracy to allocate markets and restrain trade adversely affects consumers in Louisiana and

around the nation by depriving such consumers, among other things, of the opportunity to purchase

insurance from a lower cost competitor and/or at a price set by a market free from the non-price

restraints imposed by the alleged anti-competitive agreements. As a result of the Defendants’

market allocation agreement and related restraints, the other 35 Individual Blue Plans have not

marketed individual and/or commercial health insurance products in BCBS-LA’s service area and

have been precluded by such agreement and restraints from doing so.

        1150. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of La.R.S. 51:122 described in this Complaint, plaintiffs and other members of the Louisiana Class

have suffered injury and damages in an amount to be proven at trial. These damages consist of

having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-LA than they would have paid with increased competition and but

for the Louisiana Antitrust violations, and further, of being deprived of the opportunity to purchase

health insurance from one or more of the other Individual Blue Plans and/or their non-Blue

affiliates, at a lower premium rate and/or at a price set by a market free from the non-price restraints

imposed by Defendants’ anti-competitive agreements.

        1151. Plaintiffs and the Louisiana Class seek money damages from BCBS-LA, the

Individual Blue Plan Defendants and BCBSA for their violations of La.R.S. 51:122.

                                         Count Sixty-Six
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
                for Private Health Care Insurance in Violation of La.R.S. 51:123)
                                  (Asserted Against BCBS-LA)

        1152. Plaintiffs repeat and reallege the allegations in all Paragraphs above.


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       1153. BCBS-LA has monopoly power in the commercial health insurance market in

Louisiana. This monopoly power is evidenced by, among other things:

               a. BCBS-LA’s ability to enter into agreements with providers at below-market

                  reimbursement rates, which evidences BCBS-LA’s ability to control prices and

                  exclude competitors;

               b. BCBS-LA’s high market share of the commercial health insurance market,

                  including its increasing market share even as it has raised premiums.

       1154. BCBS-LA has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating

premium prices charged to consumers.

       1155. BCBS-LA’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of La.R.S. 51:123.

       1156. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of La.R.S. 51:123 described in this Complaint, plaintiffs and other members of the Louisiana Class

have suffered injury and damages in an amount to be proven at trial. These damages consist of

having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-LA than they would have paid but for the La.R.S. 51:123 violations.

       1157. Plaintiffs and the Louisiana Class seek money damages from BCBS-LA for its

violations of La.R.S. 51:123.




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                                          MICHIGAN

 (Plaintiff John G. Thompson and the Michigan Class Against Defendants BCBS-MI, the Other
                          Individual Plan Defendants, and BCBSA)

                                      Count Sixty-Seven
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1158. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1159. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-MI and BCBSA represent horizontal agreements entered into between BCBS-MI and the

thirty-five other member plans of BCBSA, all of whom are competitors or potential competitors

in the market for commercial health insurance.

       1160. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-MI and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1161. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, the Individual Blue Plan Defendants and BCBS-MI have agreed to divide and allocate

the geographic markets for the sale of commercial health insurance into a series of exclusive areas

for each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-

MI) have conspired to restrain trade in violation of Section 1 of the Sherman Act. These market

allocation agreements are per se illegal under Section 1 of the Sherman Act.

       1162. The market allocation agreements entered into between BCBS-MI and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.




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       1163. BCBS-MI has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1164. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-MI

                   throughout Michigan;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Michigan;

               c. Allowing BCBS-MI to maintain and enlarge its market power throughout

                   Michigan;

               d. Allowing BCBS-MI to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts; and

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1165. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1166. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in Michigan

and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the



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Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-MI’s service

area and have been precluded by such agreement and restraints from doing so.

       1167. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Michigan Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-MI than they would have paid with increased

competition and but for the Sherman Act violations, and further, of being deprived of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1168. Plaintiff and the Michigan Class seek money damages from BCBS-MI, the other

Individual Blue Plan Defendants and BCBSA for their violations of Section 1 of the Sherman Act.

                                      Count Sixty-Eight
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-MI)

       1169. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1170. BCBS-MI has monopoly power in the individual and small group full-service

commercial health insurance market in Michigan. This monopoly power is evidenced by, among

other things, BCBS-MI’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.




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       1171. BCBS-MI has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1172. BCBS-MI’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1173. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Michigan Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-MI than they would have paid but for the Sherman

Act violations.

       1174. Plaintiff and the Michigan Class seek money damages from BCBS-MI for its

violations of Section 2 of the Sherman Act.

                                        Count Sixty-Nine
                    (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Sherman Act, Section 2)
                                   (Asserted Against BCBS-MI)

       1175. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1176. BCBS-MI has acted with the specific intent to monopolize the relevant markets.

       1177. There was and is a dangerous possibility that BCBS-MI will succeed in its attempt

to monopolize the relevant markets because BCBS-MI controls a large percentage of those markets

already, and further success by BCBS-MI in excluding competitors from those markets will confer

a monopoly on BCBS-MI in violation of Section 2 of the Sherman Act.




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       1178. BCBS-MI’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Michigan Class. Premiums

charged by BCBS-MI have been higher than they would have been in a competitive market.

       1179. Plaintiff and the Michigan Class have been damaged as the result of BCBS-MI’s

attempted monopolization of the relevant markets.

                                         Count Seventy
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                in Violation of § 445.772 of the Michigan Antitrust Reform Act)
                                (Asserted Against All Defendants)

       1180. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1181. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-MI and BCBSA represent horizontal agreements entered into between BCBS-MI and the

thirty-five other member plans of BCBSA, all of whom are competitors or potential competitors

in the market for commercial health insurance.

       1182. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-MI and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of § 445.772 of the Michigan

Antitrust Reform Act.

       1183. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-MI and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-MI) have conspired to restrain trade in violation of § 445.772 of the Michigan

Antitrust Reform Act. These market allocation agreements are per se illegal under § 445.772 of

the Michigan Antitrust Reform Act.


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       1184. The market allocation agreements entered into between BCBS-MI and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1185. BCBS-MI has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1186. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-MI

                   throughout Michigan;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Michigan;

               c. Allowing BCBS-MI to maintain and enlarge its market power throughout

                   Michigan;

               d. Allowing BCBS-MI to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts; and

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1187. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1188. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of § 445.772 of the Michigan

Antitrust Reform Act.



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       1189. The market allocation agreements were not designed to, and did not, lower the cost

of healthcare in Michigan. The conspiracy to allocate markets and restrain trade adversely affects

consumers in Michigan and around the nation by depriving such consumers, among other things,

of the opportunity to purchase insurance from a lower cost competitor and/or at a price set by a

market free from the non-price restraints imposed by the alleged anti-competitive agreements. As

a result of the Defendants’ market allocation agreement and related restraints, the other 35

Individual Blue Plans have not marketed individual and/or commercial health insurance products

in BCBS-MI’s service area and have been precluded by such agreement and restraints from doing

so.

       1190. The market allocation agreements were not approved by Michigan’s Insurance

Commissioner.

       1191. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of § 445.772 of the Michigan Antitrust Reform Act described in this Complaint, Plaintiff and other

members of the Michigan Class have suffered injury and damages in an amount to be proven at

trial. These damages consist of having paid artificially inflated, unreasonable, and/or supra-

competitive and higher health insurance premiums to BCBS-MI than they would have paid with

increased competition and but for the violations § 445.772 of the Michigan Antitrust Reform Act,

and further, of being deprived of the opportunity to purchase health insurance from one or more

of the other Individual Blue Plans and/or their non-Blue affiliates, at a lower premium rate and/or

at a price set by a market free from the non-price restraints imposed by Defendants’ anti-

competitive agreements.




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        1192. Plaintiff and the Michigan Class seek money damages from BCBS-MI, the other

Individual Blue Plan Defendants and BCBSA for their violations of § 445.772 of the Michigan

Antitrust Reform Act.

                                     Count Seventy-One
(Willful Acquisition and Maintenance of a Monopoly in the Relevant Market for Private Health
          Insurance in Violation of § 445.773 of the Michigan Antitrust Reform Act)
                                 (Asserted Against BCBS-MI)

        1193. Plaintiff repeats and realleges the allegations in all Paragraphs above.

        1194. BCBS-MI has monopoly power in the individual and small group full-service

commercial health insurance market in Michigan. This monopoly power is evidenced by, among

other things, BCBS-MI’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

        1195. BCBS-MI has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

        1196. BCBS-MI’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of § 445.773 of the Michigan Antitrust

Reform Act, and such violation and the effects thereof are continuing and will continue unless

injunctive relief is granted.

        1197. The market allocation agreements were not designed to, and did not, lower the cost

of healthcare in Michigan.

        1198. The market allocation agreements were not approved by Michigan’s Insurance

Commissioner.

        1199. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of § 445.773 of the Michigan Antitrust Reform Act described in this Complaint, Plaintiff and other


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members of the Michigan Class have suffered injury and damages in an amount to be proven at

trial. These damages consist of having paid artificially inflated, unreasonable, and/or supra-

competitive and higher health insurance premiums to BCBS-MI than they would have paid but for

the violations of § 445.773 of the Michigan Antitrust Reform Act.

       1200. Plaintiff and the Michigan Class seek money damages from BCBS-MI for its

violations of § 445.773 of the Michigan Antitrust Reform Act.

                                     Count Seventy-Two
   (Willful Attempted Monopolization in the Relevant Market for Private Health Insurance in
                 Violation of § 445.773 of the Michigan Antitrust Reform Act)
                                 (Asserted Against BCBS-MI)

       1201. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1202. BCBS-MI has acted with the specific intent to monopolize the relevant markets.

       1203. There was and is a dangerous possibility that BCBS-MI will succeed in its attempt

to monopolize the relevant markets because BCBS-MI controls a large percentage of those markets

already, and further success by BCBS-MI in excluding competitors from those markets will confer

a monopoly on BCBS-MI in violation of § 445.773 of the Michigan Antitrust Reform Act.

       1204. The market allocation agreements were not designed to, and did not, lower the cost

of healthcare in Michigan.

       1205. The market allocation agreements were not approved by Michigan’s Insurance

Commissioner.

       1206. BCBS-MI’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Michigan Class. Premiums

charged by BCBS-MI have been higher than they would have been in a competitive market.

       1207. Plaintiff and the Michigan Class have been damaged as the result of BCBS-MI’s

attempted monopolization of the relevant markets.


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                                       Count Seventy-Three
                                        (Unjust Enrichment)
                                    (Asserted Against BCBS-MI)

       1208. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1209. BCBS-MI has benefitted from its unlawful acts through the overpayments for

health insurance premiums by Plaintiff and the Michigan Class.

       1210. It would be inequitable for BCBS-MI to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiff and the Michigan Class and retained

by BCBS-MI.

       1211. By reason of its unlawful conduct, BCBS-MI should make restitution to Plaintiff

and the Michigan Class.

       1212. In equity, BCBS-MI should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiff and the Michigan Class.

                                          MINNESOTA

(Plaintiffs Betsy Jane Belzer, Constance Dummer, CenterPointe Dental, and the Minnesota Class
    Against Defendants BCBS-MN, the other Individual Blue Plan Defendants and BCBSA)

                                     Count Seventy-Four
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1213. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1214. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-MN, the other Individual Blue Plans, and BCBSA represent horizontal agreements entered

into between BCBS-MN and the other Individual Blue Plans, all of whom are competitors or

potential competitors in the market for commercial health insurance.



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          1215. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA and the Individual Blue Plan Defendants represents a contract, combination

and/or conspiracy within the meaning of Section 1 of the Sherman Act.

          1216. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-MN, and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the Individual Blue Plans. By so doing, the Individual Blue Plans

(including BCBS-MN) and the BCBSA have conspired to restrain trade in violation of Section 1

of the Sherman Act. These market allocation agreements are per se illegal under Section 1 of the

Sherman Act.

          1217. The market allocation agreements entered into among BCBS-MN, BCBSA, and the

other Individual Blue Plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

          1218. BCBS-MN has market power in the sale of full-service commercial health

insurance to individuals and small groups in each relevant geographic and product market alleged

herein.

          1219. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


               a. Reducing the number of health insurance companies competing with BCBS-

                  MN throughout Minnesota;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                  Minnesota;




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             c. Allowing BCBS-MN to maintain and enlarge its market power throughout

                 Minnesota;

             d. Allowing BCBS-MN to supra-competitively raise the premiums charged to

                 consumers by artificially inflated, unreasonable, and/or supra-competitive

                 amounts; and

             e. Depriving the Plaintiffs and Class members and other consumers of health

                 insurance of the benefits of free and open competition.

       1220. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1221. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in this State

and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other Individual Blue Plans

have not marketed individual and/or small group commercial health insurance products in BCBS-

MN’s service area and have been precluded by such agreements and restraints from doing so.

       1222. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-MN than they would have paid with increased competition and but



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for the Sherman Act violations, and further, of being deprived of the opportunity to purchase health

insurance from one or more of the other Individual Blue Plans and/or their non-Blue affiliates, at

a lower premium rate and/or at a price set by a market free from the non-price restraints imposed

by Defendants’ anti-competitive agreements.

       1223. Plaintiffs and the Class seek money damages from all Defendants for their

violations of Section 1 of the Sherman Act.

                                     Count Seventy-Five
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-MN)

       1224. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1225. BCBS-MN has monopoly power in the individual and small group full-service

commercial health insurance market in Minnesota. This monopoly power is evidenced by, among

other things, BCBS-MN’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       1226. BCBS-MN has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1227. BCBS-MN’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1228. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Minnesota Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and


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higher health insurance premiums to BCBS-MN than they would have paid but for the Sherman

Act violations.

       1229. Plaintiffs and the Minnesota Class seek money damages from BCBS-MN for its

violations of Section 2 of the Sherman Act.


                                       Count Seventy-Six
                   (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-MN)

       1230. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1231. BCBS-MN has acted with the specific intent to monopolize the relevant markets.

       1232. There was and is a dangerous possibility that BCBS-MN will succeed in its attempt

to monopolize the relevant markets because BCBS-MN controls a large percentage of those

markets already, and further success by BCBS-MN in excluding competitors from those markets

will confer a monopoly on BCBS-MN in violation of Section 2 of the Sherman Act.

       1233. BCBS-MN’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Minnesota Class.

Premiums charged by BCBS-MN have been higher than they would have been in a competitive

market.

       1234. Plaintiffs and the Minnesota Class have been damaged as the result of BCBS-MN’s

attempted monopolization of the relevant markets.

                                     Count Seventy-Seven
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                             in Violation of Minn. Stat. § 325D.53)
                               (Asserted Against All Defendants)

       1235. Plaintiffs repeat and reallege the allegations in all Paragraphs above.




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       1236. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-MN, the Individual Blue Plans and BCBSA represent horizontal agreements entered into

between BCBS-MN and the Individual Blue Plans, all of whom are competitors or potential

competitors in the market for commercial health insurance.

       1237. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBS-MN, BCBSA and the Individual Blue Plans represents a contract, combination

and/or conspiracy within the meaning of Minn. Stat. § 325D.51 and an unreasonable restraint of

trade or commerce within the meaning of Minn. Stat. § 325D53.

       1238. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-MN, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas for

each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-

MN) have conspired to restrain trade in violation of Minn. Stat. § 325D.51 and Minn. Stat. §

325D53. These market allocation agreements are per se illegal under Minn. Stat. § 325D.51 and

Minn. Stat. § 325D.53.

       1239. The market allocation agreements entered into between BCBS-MN and the other

BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1240. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


           a. Reducing the number of health insurance companies competing with BCBS-MN
              throughout Minnesota;

           b. Unreasonably limiting the entry of competitor health insurance companies into

               Minnesota;

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            c. Allowing BCBS-MN to maintain and enlarge its market power throughout

               Minnesota;

            d. Allowing BCBS-MN to supra-competitively raise the premiums charged to

               consumers by artificially inflated, unreasonable, and/or supra-competitive

               amounts; and

            e. Depriving Class members and other consumers of health insurance of the benefits

               of free and open competition.

       1241. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1242. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Minn. Stat. § 325D.51 and

Minn. Stat. § 325D.53. The conspiracy to allocate markets and restrain trade adversely affects

consumers in Minnesota and around the nation by depriving such consumers, among other things,

of the opportunity to purchase insurance from a lower cost competitor and/or at a price set by a

market free from the non-price restraints imposed by the alleged anti-competitive agreements. As

a result of the Defendants’ market allocation agreement and related restraints, the other Individual

Blue Plans have not marketed individual and/or small group commercial health insurance products

in BCBS-MN’s service area and have been precluded by such agreements and restraints from

doing so.

       1243. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Minn. Stat. § 325D.51 and Minn. Stat. § 325D.53 described in this Complaint, Plaintiffs and

other members of the Minnesota Class have suffered injury and damages in an amount to be proven

at trial. These damages consist of having paid artificially inflated, unreasonable, and/or supra-



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competitive and higher health insurance premiums to BCBS-MN than they would have paid with

increased competition and but for the violations of Minn. Stat. § 325D.51 and Minn. Stat. §

325D.53 and further, of being deprived of the opportunity to purchase health insurance from one

or more of the other Individual Blue Plans and/or their non-Blue affiliates, at a lower premium rate

and/or at a price set by a market free from the non-price restraints imposed by Defendants’ anti-

competitive agreements.

       1244. Plaintiffs and the Minnesota Class seek money damages under Minn. Stat. §

325D.57 from BCBS-MN, the other Individual Blue Plans and BCBSA for their violations of

Minn. Stat. § 325D.51 and Minn. Stat. § 325D.53


                                     Count Seventy-Eight
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
              for Private Health Insurance in Violation of Minn. Stat. § 325D.52)
                                 (Asserted Against BCBS-MN)

       1245. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1246. BCBS-MN has monopoly power in the individual and small group full-service

commercial health insurance market in Minnesota. This monopoly power is evidenced by, among

other things, BCBS-MN’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       1247. BCBS-MN has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1248. BCBS-MN’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Minn. Stat. § 325D.52, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.



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       1249. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Minn. Stat. § 325D.52 described in this Complaint, Plaintiffs and other members of the

Minnesota Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-MN than they would have paid but for the violations

of Minn. Stat. § 325D.52.

       1250. Plaintiffs and the Minnesota Class seek money damages from BCBS-MN for its

violations of Minn. Stat. § 325D.52.

                                     Count Seventy-Nine
                  (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Minn. Stat. § 325D.52)
                                 (Asserted Against BCBS-MN)

       1251. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1252. BCBS-MN has acted with the specific intent to monopolize the relevant markets.

       1253. There was and is a dangerous possibility that BCBS-MN will succeed in its attempt

to monopolize the relevant markets because BCBS-MN controls a large percentage of those

markets already, and further success by BCBS-MN in excluding competitors from those markets

will confer a monopoly on BCBS-MN in violation of Minn. Stat. § 325D.52.

       1254. BCBS-MN’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Minnesota Class.

Premiums charged by BCBS-MN have been higher than they would have been in a competitive

market.

       1255. Plaintiffs and the Minnesota Class have been damaged as the result of BCBS-MN’s

attempted monopolization of the relevant markets.




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                                         Count Eighty
                                     (Unjust Enrichment)
                                 (Asserted Against BCBS-MN)

       1256. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1257. BCBS-MN has benefitted from its unlawful acts through Plaintiffs’ and the

Minnesota Class’s overpayments for health insurance premiums to BCBS-MN.

       1258. It would be inequitable for BCBS-MN to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiffs and the Minnesota Class and

retained by BCBS-MN.

       1259. In equity, BCBS-MN should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiffs and the Minnesota Class.



                                          MISSISSIPPI

    (Plaintiffs Matthew Allan Boyd and Gaston CPA Firm and the Mississippi Class Against
         Defendants BCBS-MS, the other Individual Blue Plan Defendants and BCBSA)

                                       Count Eighty-One
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1260. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1261. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-MS and BCBSA represent horizontal agreements entered into between BCBS-MS and the

35 other member plans of BCBSA, all of whom are competitors or potential competitors in the

market for commercial health insurance.




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       1262. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-MS and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1263. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-MS and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-MS) have conspired to restrain trade in violation of Section 1 of the Sherman

Act. These market allocation agreements are per se illegal under Section 1 of the Sherman Act.

       1264. The market allocation agreements entered into between BCBS-MS and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1265. BCBS-MS has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1266. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-

                   MS throughout Mississippi;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Mississippi;

               c. Allowing BCBS-MS to maintain and enlarge its market power throughout

                   Mississippi;




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               d. Allowing BCBS-MS to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1267. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1268. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in

Mississippi and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market

free from the non-price restraints imposed by the alleged anti-competitive agreements. As a result

of the Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue

Plans have not marketed individual and/or commercial health insurance products in BCBS-MS’s

service area and have been precluded by such agreement and restraints from doing so.

       1269. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Mississippi Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-MS than they would have paid with increased

competition and but for the Sherman Act violations, and further, of being deprived of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans



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and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1270. Plaintiffs and the Mississippi Class seek money damages from BCBS-MS, the

Individual Blue Plan Defendants and BCBSA for their violations of Section 1 of the Sherman Act.

                                      Count Eighty-Two
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-MS)

       1271. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1272. BCBS-MS has monopoly power in the individual and small group full-service

commercial health insurance market in Mississippi. This monopoly power is evidenced by, among

other things, BCBS-MS’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       1273. BCBS-MS has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1274. BCBS-MS’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1275. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Mississippi Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-MS than they would have paid but for the Sherman

Act violations.


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       1276. Plaintiffs and the Mississippi Class seek money damages from BCBS-MS for its

violations of Section 2 of the Sherman Act.

                                      Count Eighty-Three
                   (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-MS)

       1277. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1278. BCBS-MS has acted with the specific intent to monopolize the relevant markets.

       1279. There was and is a dangerous possibility that BCBS-MS will succeed in its attempt

to monopolize the relevant markets because BCBS-MS controls a large percentage of those

markets already, and further success by BCBS-MS in excluding competitors from those markets

will confer a monopoly on BCBS-MS in violation of Section 2 of the Sherman Act.

       1280. BCBS-MS’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Mississippi Class.

Premiums charged by BCBS-MS have been higher than they would have been in a competitive

market.

       1281. Plaintiffs and the Mississippi Class have been damaged as the result of BCBS-MS’s

attempted monopolization of the relevant markets.

                                       Count Eighty-Four
                  (Contract, Combination, or Conspiracy in Restraint of Trade
               in Violation of the Mississippi Antitrust Act, Sec. 75-21-1, et seq.)
                                (Asserted Against All Defendants)

       1282. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1283. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-MS and BCBSA represent horizontal agreements entered into between BCBS-MS and the




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35 other member plans of BCBSA, all of whom are competitors or potential competitors in the

market for commercial health insurance.

       1284. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA BCBS-MS and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of the Mississippi Antitrust Act, Sec.

75-21-1, et seq.

       1285. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-MS and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-MS) have conspired to restrain trade in violation of the Mississippi Antitrust

Act, Sec. 75-21-1, et seq.

       1286. The market allocation agreements entered into between BCBS-MS and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1287. BCBS-MS has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1288. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-

                   MS throughout Mississippi;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Mississippi;



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               c. Allowing BCBS-MS to maintain and enlarge its market power throughout

                   Mississippi;

               d. Allowing BCBS-MS to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1289. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1290. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of the Mississippi Antitrust Act,

Sec. 75-21-1, et seq. The conspiracy to allocate markets and restrain trade adversely affects

consumers in Mississippi and around the nation by depriving such consumers, among other things,

of the opportunity to purchase insurance from a lower cost competitor and/or at a price set by a

market free from the non-price restraints imposed by the alleged anti-competitive agreements. As

a result of the Defendants’ market allocation agreement and related restraints, the other 35

Individual Blue Plans have not marketed individual and/or commercial health insurance products

in BCBS-MS’s service area and have been precluded by such agreement and restraints from doing

so.

       1291. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of the Mississippi Antitrust Act, Sec. 75-21-1, et seq. described in this Complaint, Plaintiffs and

other members of the Mississippi Class have suffered injury and damages in an amount to be

proven at trial. These damages consist of having paid artificially inflated, unreasonable, and/or



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supra-competitive and higher health insurance premiums to BCBS-MS than they would have paid

with increased competition and but for the violations of the Mississippi Antitrust Act, Sec. 75-21-

1, et seq, and further, of being deprived of the opportunity to purchase health insurance from one

or more of the other Individual Blue Plans and/or their non-Blue affiliates, at a lower premium rate

and/or at a price set by a market free from the non-price restraints imposed by Defendants’ anti-

competitive agreements.

       1292. Plaintiffs and the Mississippi Class seek money damages from BCBS-MS, the

Individual Blue Plan Defendants and BCBSA for their violations of the Mississippi Antitrust Act,

Sec. 75-21-1, et seq.

       1293. BCBS-MS’s illegal conduct has substantially affected Mississippi commerce and

caused injury to consumers in Mississippi. Specifically, BCBS-MS’s understandings, contracts,

agreements, trusts, combinations, or conspiracies substantially affected Mississippi commerce as

follows:

               a. Substantial Effects on Mississippi Trade or Commerce: BCBS-MS’s conduct

                   has been far-reaching and has substantially affected Mississippi commerce.

                   BCBS-MS health insurance products were purchased by many thousands of

                   enrollees in Mississippi, in all segments of society.

               b. Substantial Monetary Effects on Mississippi Trade or Commerce: BCBS-MS’s

                   conduct is ongoing, and over the Class Period, BCBS-MS collected millions of

                   dollars in health insurance premiums in Mississippi

               c. Substantially Harmful Effect on the Integrity of the Mississippi Market: The

                   Mississippi market is vulnerable and can be manipulated by conspirators either

                   from outside Mississippi, inside Mississippi, or both.       Without enforcing



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                    Mississippi’s antitrust law to its fullest extent, companies that break the law will

                    remain unpunished, and they will remain able to prey upon Mississippi without

                    consequence. The purpose of Mississippi’s antitrust laws is to protect the

                    state’s trade and commerce affected by anticompetitive conduct. BCBS-MS

                    had shattered this very purpose by its illegal victimization of the market.

                d. Length of Substantial Effect on Mississippi Commerce: Some arrangements,

                    contracts, agreements, combinations, or conspiracies are short-lived.          The

                    conspiracy in this case has lasted for several years and is ongoing, providing

                    BCBS-MS with illegal profits and permitting BCBS-MS to continue

                    victimizing consumers and substantially affect Mississippi commerce.

                                        Count Eighty-Five
                                       (Unjust Enrichment)
                                   (Asserted Against BCBS-MS)

        1294. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

        1295. BCBS-MS has benefitted from its unlawful acts through the overpayments for

health insurance premiums by Plaintiffs and the Mississippi Class.

        1296. It would be inequitable for BCBS-MS to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiffs and the Mississippi Class and

retained by BCBS-MS.

        1297. By reason of its unlawful conduct, BCBS-MS should make restitution to Plaintiffs

and the Mississippi Class. To the extent Plaintiffs are required to have exhausted administrative

remedies before bringing an unjust enrichment claim, exhaustion of any such remedies is not

required in this instance because: (a) the issues are of the type that would be appropriate for judicial

determination, and (b) applying the doctrine here would result in substantial financial hardship,



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inequality, and economic inefficiency and would violate public policy. Further, any action that

might have been taken by Plaintiffs to pursue administrative remedies would have been futile.

       1298. In equity, BCBS-MS should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiffs and the Mississippi Class.

                                          MISSOURI

  (Plaintiff Jeffrey S. Garner and the Missouri Class Against Defendants BCBS-MO, the other
                          Individual Blue Plan Defendants and BCBSA)

                                        Count Eighty-Six
                   (Contract, Combination, or Conspiracy in Restraint of Trade
                             in Violation of Sherman Act, Section 1)
                                (Asserted Against All Defendants)

       1299. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1300. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-MO and BCBSA represent horizontal agreements entered into between BCBS-MO and the

other member plans of BCBSA, all of whom are competitors or potential competitors in the market

for commercial health insurance.

       1301. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-MO, and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1302. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-MO and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members




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(including BCBS-MO) have conspired to restrain trade in violation of Section 1 of the Sherman

Act. These market allocation agreements are per se illegal under Section 1 of the Sherman Act.

          1303. The market allocation agreements entered into between BCBS-MO and the other

BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

          1304. BCBS-MO has market power in the sale of full-service commercial health

insurance to individuals and small groups in each relevant geographic and product market alleged

herein.

          1305. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

                 a. Reducing the number of health insurance companies competing with BCBS-

                    MO throughout Missouri;

                 b. Unreasonably limiting the entry of competitor health insurance companies into

                    Missouri;

                 c. Allowing BCBS-MO to maintain and enlarge its market power throughout

                    Missouri;

                 d. Allowing BCBS-MO to supra-competitively raise the premiums charged to

                    consumers by artificially inflated, unreasonable, and/or supra-competitive

                    amounts;

                 e. Depriving consumers of health insurance of the benefits of free and open

                    competition.

          1306. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.



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       1307. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in Missouri

and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-MO’s service

areas and have been precluded by such agreement and restraints from doing so.

       1308. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Missouri Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-MO than they would have paid with increased

competition and but for the Sherman Act violations, and further, of being deprived of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1309. Plaintiff and the Missouri Class seek money damages from BCBS-MO, the other

Individual Blue Plan Defendants and BCBSA for their violations of Section 1 of the Sherman Act.




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                                     Count Eighty-Seven
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-MO)

       1310. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1311. BCBS-MO has monopoly power in the individual and small group full-service

commercial health insurance market in its service area in Missouri. This monopoly power is

evidenced by, among other things, BCBS-MO’s high market shares of the commercial health

insurance market, including its increasing market share even as it has raised premiums.

       1312. BCBS-MO has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1313. BCBS-MO’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1314. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Missouri Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-MO than they would have paid but for the Sherman

Act violations.

       1315. Plaintiff and the Missouri Class seek money damages from BCBS-MO for its

violations of Section 2 of the Sherman Act.




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                                      Count Eighty-Eight
                   (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-MO)

       1316. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1317. BCBS-MO has acted with the specific intent to monopolize the relevant markets.

       1318. There was and is a dangerous possibility that BCBS-MO will succeed in its attempt

to monopolize the relevant market because BCBS-MO controls a large percentage of those markets

already, and further success by BCBS-MO in excluding competitors from those markets will

confer a monopoly on BCBS-MO in violation of Section 2 of the Sherman Act.

       1319. BCBS-MO’s attempted monopolizations of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Missouri Class. Premiums

charged by BCBS-MO have been higher than they would have been in a competitive market.

       1320. Plaintiff and the Missouri Class have been damaged as the result of BCBS-MO’s

attempted monopolizations of the relevant markets.

                                       Count Eighty-Nine
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                   in Violation of § 416.031.1 of the Missouri Antitrust Law)
                               (Asserted Against All Defendants)

       1321. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1322. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-MO and BCBSA represent a horizontal agreement entered into between BCBS-MO and

the other member plans of BCBSA, all of whom are competitors or potential competitors in the

market for commercial health insurance.

       1323. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-MO and the other Individual Blue Plan Defendants represents a



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contract, combination and/or conspiracy within the meaning of § 416.031.1 of the Missouri

Antitrust Law.

          1324. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-MO, and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-MO) have conspired to restrain trade in violation of § 416.031.1 of the Missouri

Antitrust Law. These market allocation agreements are per se illegal under § 416.031.1 of the

Missouri Antitrust Law.

          1325. The market allocation agreements entered into between BCBS-MO and the other

BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

          1326. BCBS-MO has market power in the sale of full-service commercial health

insurance to individuals and small groups in each relevant geographic and product market alleged

herein.

          1327. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

                 a. Reducing the number of health insurance companies competing with BCBS-

                    MO throughout Missouri;

                 b. Unreasonably limiting the entry of competitor health insurance companies into

                    Missouri;

                 c. Allowing BCBS-MO to maintain and enlarge its market power throughout its

                    service areas in Missouri;



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               d. Allowing BCBS-MO to supra-competitively raise the premiums charged to

                  consumers by artificially inflated, unreasonable, and/or supra-competitive

                  amounts; and

               e. Depriving consumers of health insurance of the benefits of free and open

                  competition.

       1328. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1329. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of § 416.031.1 of the Missouri

Antitrust Law. The conspiracy to allocate markets and restrain trade adversely affects consumers

in Missouri and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market

free from the non-price restraints imposed by the alleged anti-competitive agreements. As a result

of the Defendant’s market allocation agreement and related restraints, the other Individual Blue

Plans have not marketed individual and/or commercial health insurance products in BCBS-MO’s

service areas and have been precluded by such agreement and restraints from doing so.

       1330. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of § 416.031.1 of the Missouri Antitrust Law described in this Complaint, Plaintiff and other

members of the Missouri Class have suffered injury and damages in an amount to be proven at

trial. These damages consist of having paid artificially inflated, unreasonable, and/or supra-

competitive and higher health insurance premiums to BCBS-MO than it would have paid with

increased competition and but for the violations of § 416.031.1 of the Missouri Antitrust Law, and

further, of being deprived of the opportunity to purchase health insurance from one or more of the



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other Individual Blue Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a

price set by a market free from the non-price restraints imposed by Defendants’ anti-competitive

agreements.

        1331. Pursuant to § 416.121.1 of the Missouri Antitrust Law, Plaintiff and the Missouri

Class seek money damages from BCBS-MO, the other Individual Blue Plan Defendants and

BCBSA for their violations of § 416.031.1 of the Missouri Antitrust Law.

                                          Count Ninety
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
     for Private Health Insurance in Violation of § 416.031.2 of the Missouri Antitrust Law)
                                 (Asserted Against BCBS-MO)

        1332. Plaintiff repeats and reallege the allegations in all Paragraphs above.

        1333. BCBS-MO has monopoly power in the individual and small group full-service

commercial health insurance market in Missouri. This monopoly power is evidenced by, among

other things, BCBS-MO’s high market shares of the commercial health insurance market,

including its increasing market shares even as it has raised premiums.

        1334. BCBS-MO has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

        1335. BCBS-MO’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of § 416.031.2 of the Missouri Antitrust

Law, and such violation and the effects thereof are continuing and will continue unless injunctive

relief is granted.

        1336. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of § 416.031.2 of the Missouri Antitrust Law described in this Complaint, Plaintiff and other

members of the Missouri Class have suffered injury and damages in an amount to be proven at


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trial. These damages consist of having paid artificially inflated, unreasonable, and/or supra-

competitive and higher health insurance premiums to BCBS-MO than they would have paid but

for the violations of § 416.031.2 of the Missouri Antitrust Law.

       1337. Pursuant to § 416.121.1 of the Missouri Antitrust Law, Plaintiff and the Missouri

Class seek money damages from BCBS-MO for its violations of § 416.031.2 of the Missouri

Antitrust Law.

                                       Count Ninety-One
                   (Willful Attempted Monopolization in the Relevant Market
     for Private Health Insurance in Violation of § 416.031.2 of the Missouri Antitrust Law)
                                 (Asserted Against BCBS-MO)

       1338. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1339. BCBS-MO has acted with the specific intent to monopolize the relevant markets.

       1340. There was and is a dangerous possibility that BCBS-MO will succeed in its attempts

to monopolize the relevant markets because BCBS-MO controls a large percentage of those

markets already, and further success by BCBS-MO in excluding competitors from those markets

will confer a monopoly on BCBS-MO in violation of § 416.031.2 of the Missouri Antitrust Law.

       1341. BCBS-MO’s attempted monopolizations of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Missouri Class. Premiums

charged by BCBS-MO has been higher than they would have been in a competitive market.

       1342. Plaintiff and the Missouri Class have been damaged as the result of BCBS-MO’s

attempted monopolizations of the relevant markets.

                                      Count Ninety-Two
                                     (Unjust Enrichment)
                                 (Asserted Against BCBS-MO)

       1343. Plaintiff repeats and realleges the allegations in all Paragraphs above.




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       1344. BCBS-MO has benefitted from its unlawful acts through Plaintiff and the Missouri

Class’s overpayments for health insurance premiums to BCBS-MO. BCBS-MO has unjustly

enriched itself at the expense of Plaintiff and the Missouri Class.

       1345. It would be inequitable for BCBS-MO to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiff and the Missouri Class and retained

by BCBS-MO.

       1346. By reason of its unlawful conduct, BCBS-MO must make restitution to Plaintiff

and the Missouri Class.

                                           MONTANA

   (Plaintiffs Tom A. Goodman, Jason Goodman and the Montana Class Against Defendants
               BCBS-MT, the other Individual Blue Plan Defendants and BCBSA)

                                      Count Ninety-Three
                   (Contract, Combination, or Conspiracy in Restraint of Trade
                             in Violation of Sherman Act, Section 1)
                                (Asserted Against All Defendants)

       1347. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1348. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-MT, the other Individual Blue Plans, and BCBSA represent horizontal agreements entered

into between BCBS-MT and the other Individual Blue Plans, all of whom are competitors or

potential competitors in the market for commercial health insurance.

       1349. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA and the Individual Blue Plan Defendants represents a contract, combination

and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1350. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-MT, and the other Individual Blue Plan Defendants have agreed to divide and



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allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the Individual Blue Plans. By so doing, the Individual Blue Plans

(including BCBS-MT) and the BCBSA have conspired to restrain trade in violation of Section 1

of the Sherman Act. These market allocation agreements are per se illegal under Section 1 of the

Sherman Act.

       1351. The market allocation agreements entered into among BCBS-MT, BCBSA, and the

other Individual Blue Plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1352. BCBS-MT has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1353. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

           a. Reducing the number of health insurance companies competing with BCBS-MT

               throughout Montana;

           b. Unreasonably limiting the entry of competitor health insurance companies into

               Montana;

           c. Allowing BCBS-MT to maintain and enlarge its market power throughout

               Montana;

           d. Allowing BCBS-MT to supra-competitively raise the premiums charged to

               consumers by artificially inflated, unreasonable, and/or supra-competitive

               amounts; and

           e. Depriving the Plaintiffs and Class members and other consumers of health

               insurance of the benefits of free and open competition.



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       1354. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1355. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in this State

and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-MT service

area and have been precluded by such agreement and restraints from doing so.

       1356. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-MT than they would have paid with increased competition and but

for the Sherman Act violations, and further, of being deprived of the opportunity to purchase health

insurance from one or more of the other Individual Blue Plans and/or their non-Blue affiliates, at

a lower premium rate and/or at a price set by a market free from the non-price restraints imposed

by Defendants’ anti-competitive agreements.

       1357. Plaintiffs and the Class seek money damages from all Defendants for their

violations of Section 1 of the Sherman Act.




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                                     Count Ninety-Four
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-MT)

       1358. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1359. BCBS-MT has monopoly power in the individual and small group full-service

commercial health insurance market in Montana. This monopoly power is evidenced by, among

other things, BCBS-MT’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       1360. BCBS-MT has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1361. BCBS-MT’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1362. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Montana Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher

health insurance premiums to BCBS-MT than they would have paid but for the Sherman Act

violations.

       1363. Plaintiffs and the Montana Class seek money damages from BCBS-MT for past

and current violations of Section 2 of the Sherman Act.




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                                       Count Ninety-Five
                   (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-MT)

       1364. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1365. BCBS-MT has acted with the specific intent to monopolize the relevant markets.

       1366. There was and is a dangerous possibility that BCBS-MT will succeed in its attempt

to monopolize the relevant markets because BCBS-MT controls a large percentage of those

markets already, and further success by BCBS-MT in excluding competitors from those markets

will confer a monopoly on BCBS-MT in violation of Section 2 of the Sherman Act.

       1367. BCBS-MT’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Montana Class. Premiums

charged by BCBS-MT have been higher than they would have been in a competitive market.

       1368. Plaintiffs and the Montana Class have been damaged as the result of BCBS-MT’s

attempted monopolization of the relevant markets.


                                      Count Ninety-Six
                  (Contract, Combination, or Conspiracy in Restraint of Trade
       in Violation of the Montana’s Unfair Trade Practices & Consumer Protection Act
                                     MCA § 30-14-205)
                              (Asserted Against All Defendants)

       1369. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1370. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-MT, the Individual Blue Plans and BCBSA represent horizontal agreements entered into

between BCBS-MT and the Individual Blue Plans, all of whom are competitors or potential

competitors in the market for commercial health insurance.




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       1371. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBS-MT, BCBSA and the Individual Blue Plans represents a contract, combination

and/or conspiracy within the meaning of MCA § 30-14-205 and an unfair method of competition

within the MCA § 30-14-103.

       1372. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-MT, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas for

each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-MT)

have conspired to restrain trade in violation of MCA § 30-14-205 and employed an unfair method

of competition in violation of MCA § 30-14-103. These market allocation agreements are per se

illegal under MCA § 30-14-205.

       1373. The market allocation agreements entered into between BCBS-MT and the other

BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1374. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


               a. Reducing the number of health insurance companies competing with BCBS-
                  MT throughout Montana;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Montana;

               c. Allowing BCBS-MT to maintain and enlarge its market power throughout

                   Montana;




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               d. Allowing BCBS-MT to supra-competitively raise the premiums charged to

                  consumers by artificially inflated, unreasonable, and/or supra-competitive

                  amounts; and

               e. Depriving Class members and other consumers of health insurance of the

                  benefits of free and open competition.

       1375. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1376. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of MCA § 30-14-205. The

conspiracy to allocate markets and restrain trade adversely affects consumers in Montana and

around the nation by depriving such consumers, among other things, of the opportunity to purchase

insurance from a lower cost competitor and/or at a price set by a market free from the non-price

restraints imposed by the alleged anti-competitive agreements. As a result of the Defendants’

market allocation agreement and related restraints, the other Individual Blue Plans have not

marketed individual and/or commercial health insurance products in BCBS-MT’s service area and

have been precluded by such agreement and restraints from doing so.

       1377. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of MCA § 30-14-205 described in this Complaint, Plaintiffs and other members of the Montana

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-MT than they would have paid with increased competition and but

for the violations of MCA , and further, of being deprived of the opportunity to purchase health

insurance from one or more of the other Individual Blue Plans and/or their non-Blue affiliates, at



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a lower premium rate and/or at a price set by a market free from the non-price restraints imposed

by Defendants’ anti-competitive agreements.

       1378. Plaintiffs and the Montana Class seek money damages, including treble damages,

under MCA § 30-14-222 from BCBS-MT, the other Individual Blue Plans and BCBSA for their

violations of MCA § 30-14-205.

                                     Count Ninety-Seven
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of MCA § 30-14-205(2)(g))
                                 (Asserted Against BCBS-MT)

       1379. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1380. BCBS-MT has monopoly power in the individual and small group full-service

commercial health insurance market in Montana. This monopoly power is evidenced by, among

other things, BCBS-MT’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       1381. BCBS-MT has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1382. BCBS-MT’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of MCA § 30-14-205(2)(g), and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1383. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of MCA § 30-14-205(2)(g) described in this Complaint, Plaintiffs and other members of the

Montana Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher




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health insurance premiums to BCBS-MT than they would have paid but for the violations of MCA

§ 30-14-205(2)(g).

       1384. Plaintiffs and the Montana Class seek money damages (including treble damages)

from BCBS-MT for its violations of MCA § 30-14-205(2)(g).


                                      Count Ninety-Eight
                  (Willful Attempted Monopolization in the Relevant Market
             for Private Health Insurance in Violation of MCA § 30-14-205(2)(g))
                                 (Asserted Against BCBS-MT)

       1385. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1386. BCBS-MT has acted with the specific intent to monopolize the relevant markets.

       1387. There was and is a dangerous possibility that BCBS-MT will succeed in its attempt

to monopolize the relevant markets because BCBS-MT controls a large percentage of those

markets already, and further success by BCBS-MT in excluding competitors from those markets

will confer a monopoly on BCBS-MT in violation of MCA § 30-14-205(2)(g).

       1388. BCBS-MT’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Montana Class. Premiums

charged by BCBS-MT have been higher than they would have been in a competitive market.

       1389. Plaintiffs and the Montana Class have been damaged as the result of BCBS-MT’s

attempted monopolization of the relevant markets.

                                     Count Ninety-Nine
                                     (Unjust Enrichment)
                                 (Asserted Against BCBS-MT)

       1390. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1391. BCBS-MT has benefitted from its unlawful acts through Plaintiffs’ and the

Montana Class’s overpayments for health insurance premiums to BCBS-MT.



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       1392. It would be inequitable for BCBS-MT to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiffs and the Montana Class and retained

by BCBS-MT.

       1393. In equity, BCBS-MT should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiffs and the Montana Class.

                                         NEBRASKA

   (Plaintiffs Rochelle and Brian McGill and Sadler Electric and the Nebraska Class Against
               BCBS-NE, the other Individual Blue Plan Defendants and BCBSA)

                                     Count One Hundred
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1394. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1395. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-NE, the other Individual Blue Plans, and BCBSA represent horizontal agreements entered

into between BCBS-NE and the other Individual Blue Plans, all of whom are competitors or

potential competitors in the market for commercial health insurance.

       1396. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA and the Individual Blue Plan Defendants represents a contract, combination

and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1397. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-NE, and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the Individual Blue Plans. By so doing, the Individual Blue Plans



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(including BCBS-NE) and the BCBSA have conspired to restrain trade in violation of Section 1

of the Sherman Act. These market allocation agreements are per se illegal under Section 1 of the

Sherman Act.

       1398. The market allocation agreements entered into among BCBS-NE, BCBSA, and the

other Individual Blue Plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1399. BCBS-NE has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1400. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


             a. Reducing the number of health insurance companies competing with BCBS-NE
                throughout Nebraska;

             b. Unreasonably limiting the entry of competitor health insurance companies into

                 Nebraska;

             c. Allowing BCBS-NE to maintain and enlarge its market power throughout

                 Nebraska;

             d. Allowing BCBS-NE to supra-competitively raise the premiums charged to

                 consumers by artificially inflated, unreasonable, and/or supra-competitive

                 amounts; and

             e. Depriving the Plaintiffs and Class members and other consumers of health

                 insurance of the benefits of free and open competition.

       1401. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.



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       1402. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in this State

and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other Individual Blue Plans

have not marketed individual and/or small group commercial health insurance products in BCBS-

NE’s service area and have been precluded by such agreements and restraints from doing so.

       1403. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-NE than they would have paid with increased competition and but

for the Sherman Act violations, and further, of being deprived of the opportunity to purchase health

insurance from one or more of the other Individual Blue Plans and/or their non-Blue affiliates, at

a lower premium rate and/or at a price set by a market free from the non-price restraints imposed

by Defendants’ anti-competitive agreements.

       1404. Plaintiffs and the Class seek money damages from all Defendants for their

violations of Section 1 of the Sherman Act.

                                   Count One Hundred One
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-NE)

       1405. Plaintiffs repeat and reallege the allegations in all Paragraphs above.


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       1406. BCBS-NE has monopoly power in the individual and small group full-service

commercial health insurance market in Nebraska. This monopoly power is evidenced by, among

other things, BCBS-NE’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       1407. BCBS-NE has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1408. BCBS-NE’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1409. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Nebraska Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-NE than they would have paid but for the Sherman

Act violations.

       1410. Plaintiffs and the Nebraska Class seek money damages from BCBS-NE for its past

and current violations of Section 2 of the Sherman Act.


                                    Count One Hundred Two
                    (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Sherman Act, Section 2)
                                   (Asserted Against BCBS-NE)

       1411. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1412. BCBS-NE has acted with the specific intent to monopolize the relevant markets.



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       1413. There was and is a dangerous possibility that BCBS-NE will succeed in its attempt

to monopolize the relevant markets because BCBS-NE controls a large percentage of those

markets already, and further success by BCBS-NE in excluding competitors from those markets

will confer a monopoly on BCBS-NE in violation of Section 2 of the Sherman Act.

       1414. BCBS-NE’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Nebraska Class. Premiums

charged by BCBS-NE have been higher than they would have been in a competitive market.

       1415. Plaintiffs and the Nebraska Class have been damaged as the result of BCBS-NE’s

attempted monopolization of the relevant markets.

                                 Count One Hundred Three
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                           in Violation of Neb. Rev. Stat. § 59-801)
                              (Asserted Against All Defendants)

       1416. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1417. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-NE, the Individual Blue Plans and BCBSA represent horizontal agreements entered into

between BCBS-NE and the Individual Blue Plans, all of whom are competitors or potential

competitors in the market for commercial health insurance.

       1418. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBS-NE, BCBSA and the Individual Blue Plans represents a contract, combination

and/or conspiracy within the meaning of Neb. Rev. Stat § 59-801 and an unreasonable restraint of

trade or commerce within the meaning of Neb. Rev. Stat. § 59-801.

       1419. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-NE, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas for


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each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-NE)

have conspired to restrain trade in violation of Neb. Rev. Stat. § 59-801. These market allocation

agreements are per se illegal under Neb. Rev. Stat. § 59-801.

       1420. The market allocation agreements entered into between BCBS-NE and the other

BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1421. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


           a. Reducing the number of health insurance companies competing with BCBS-NE

               throughout Nebraska;

           b. Unreasonably limiting the entry of competitor health insurance companies into

               Nebraska;

           c. Allowing BCBS-NE to maintain and enlarge its market power throughout

               Nebraska;

           d. Allowing BCBS-NE to supra-competitively raise the premiums charged to

               consumers by artificially inflated, unreasonable, and/or supra-competitive

               amounts; and

           e. Depriving Class members and other consumers of health insurance of the benefits

               of free and open competition.

       1422. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1423. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Neb. Rev. Stat. § 59-801.


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The conspiracy to allocate markets and restrain trade adversely affects consumers in Nebraska and

around the nation by depriving such consumers, among other things, of the opportunity to purchase

insurance from a lower cost competitor and/or at a price set by a market free from the non-price

restraints imposed by the alleged anti-competitive agreements. As a result of the Defendants’

market allocation agreement and related restraints, the other Individual Blue Plans have not

marketed individual and/or small group commercial health insurance products in BCBS-NE’s

service area and have been precluded by such agreements and restraints from doing so.

       1424. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Neb. Rev. Stat. § 59-801described in this Complaint, Plaintiffs and other members of the

Nebraska Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-NE than they would have paid with increased

competition and but for the violations of Neb. Rev. Stat. § 59-801 and further, of being deprived

of the opportunity to purchase health insurance from one or more of the other Individual Blue

Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market

free from the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1425. Plaintiffs and the Nebraska Class seek money damages under Neb. Rev. Stat. § 59-

821 from BCBS-NE, the other Individual Blue Plans and BCBSA for their violations of Neb. Rev.

Stat. § 59-801.


                                  Count One Hundred Four
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Neb. Rev. Stat. § 59-802)
                                 (Asserted Against BCBS-NE)

       1426. Plaintiffs repeat and reallege the allegations in all Paragraphs above.



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       1427. BCBS-NE has monopoly power in the individual and small group full-service

commercial health insurance market in Nebraska. This monopoly power is evidenced by, among

other things, BCBS-NE’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       1428. BCBS-NE has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1429. BCBS-NE’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Neb. Rev. Stat. § 59-802, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1430. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Neb. Rev. Stat. § 59-802 described in this Complaint, Plaintiffs and other members of the

Nebraska Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-NE than they would have paid but for the violations

of Neb. Rev. Stat. § 59-802.

       1431. Plaintiffs and the Nebraska Class seek money damages from BCBS-NE for its

violations of Neb. Rev. Stat. § 59-802.

                                    Count One Hundred Five
                   (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Neb. Rev. Stat. § 59-802)
                                  (Asserted Against BCBS-NE)

       1432. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1433. BCBS-NE has acted with the specific intent to monopolize the relevant markets.




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       1434. There was and is a dangerous possibility that BCBS-NE will succeed in its attempt

to monopolize the relevant markets because BCBS-NE controls a large percentage of those

markets already, and further success by BCBS-NE in excluding competitors from those markets

will confer a monopoly on BCBS-NE in violation of Neb. Rev. Stat. § 59-802.

       1435. BCBS-NE’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Nebraska Class. Premiums

charged by BCBS-NE have been higher than they would have been in a competitive market.

       1436. Plaintiffs and the Nebraska Class have been damaged as the result of BCBS-NE’s

attempted monopolization of the relevant markets.

                                   Count One Hundred Six
                                     (Unjust Enrichment)
                                 (Asserted Against BCBS-NE)

       1437. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1438. BCBS-NE has benefitted from its unlawful acts through Plaintiffs’ and the

Nebraska Class’s overpayments for health insurance premiums to BCBS-NE.

       1439. It would be inequitable for BCBS-NE to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiffs and the Nebraska Class and retained

by BCBS-NE.

       1440. In equity, BCBS-NE should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiffs and the Nebraska Class.




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                                     NEW HAMPSHIRE

   (Plaintiffs Erik Barstow and GC/AAA Fences, Inc. and the New Hampshire Class Against
               BCBS-NH, the other Individual Blue Plan Defendants and BCBSA)

                                 Count One Hundred Seven
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1441. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1442. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-NH and BCBSA represent horizontal agreements entered into between BCBS-NH and the

thirty-five other member plans of BCBSA, all of whom are competitors or potential competitors

in the market for commercial health insurance.

       1443. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-NH and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1444. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-NH and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-NH) have conspired to restrain trade in violation of Section 1 of the Sherman

Act. These market allocation agreements are per se illegal under Section 1 of the Sherman Act.

       1445. The market allocation agreements entered into between BCBS-NH and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.




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       1446. BCBS-NH has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1447. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-

                   NH throughout New Hampshire;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   New Hampshire;

               c. Allowing BCBS-NH to maintain and enlarge its market power throughout New

                   Hampshire;

               d. Allowing BCBS-NH to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1448. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1449. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in New

Hampshire and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market

free from the non-price restraints imposed by the alleged anti-competitive agreements. As a result



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of the Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue

Plans have not marketed individual and/or commercial health insurance products in BCBS-NH’s

service area and have been precluded by such agreement and restraints from doing so.

       1450. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

New Hampshire Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-NH than they would have paid with increased

competition and but for the Sherman Act violations, and further, of being deprived of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1451. Plaintiffs and the New Hampshire Class seek money damages from BCBS-NH, the

Individual Blue Plan Defendants and BCBSA for their violations of Section 1 of the Sherman Act.

                                  Count One Hundred Eight
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-NH)

       1452. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1453. BCBS-NH has monopoly power in the individual and small group full-service

commercial health insurance market in New Hampshire. This monopoly power is evidenced by,

among other things, BCBS-NH’s high market share of the commercial health insurance market,

including its increasing market share even as it has raised premiums.




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       1454. BCBS-NH has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1455. BCBS-NH’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1456. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

New Hampshire Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-NH than they would have paid but for the Sherman

Act violations.

       1457. Plaintiffs and the New Hampshire Class seek money damages from BCBS-NH for

its violations of Section 2 of the Sherman Act.

                                    Count One Hundred Nine
                    (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Sherman Act, Section 2)
                                   (Asserted Against BCBS-NH)

       1458. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1459. BCBS-NH has acted with the specific intent to monopolize the relevant markets.

       1460. There was and is a dangerous possibility that BCBS-NH will succeed in its attempt

to monopolize the relevant markets because BCBS-NH controls a large percentage of those

markets already, and further success by BCBS-NH in excluding competitors from those markets

will confer a monopoly on BCBS-NH in violation of Section 2 of the Sherman Act.




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       1461. BCBS-NH’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the New Hampshire Class.

Premiums charged by BCBS-NH have been higher than they would have been in a competitive

market.

       1462. Plaintiffs and the New Hampshire Class have been damaged as the result of BCBS-

NH’s attempted monopolization of the relevant markets.

                                  Count One Hundred Ten
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                         in Violation of N.H. Rev. Stat. Ann. § 356:2)
                              (Asserted Against All Defendants)

       1463. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1464. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-NH and BCBSA represent horizontal agreements entered into between BCBS-NH and the

thirty-five other member plans of BCBSA, all of whom are competitors or potential competitors

in the market for commercial health insurance.

       1465. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-NH and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of N.H. Rev. Stat. Ann. § 356:2.

       1466. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-NH and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-NH) have conspired to restrain trade in violation of N.H. Rev. Stat. Ann. § 356:2.

These market allocation agreements are per se illegal under N.H. Rev. Stat. Ann. § 356:2.




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       1467. The market allocation agreements entered into between BCBS-NH and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1468. BCBS-NH has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1469. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-

                   NH throughout New Hampshire;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   New Hampshire;

               c. Allowing BCBS-NH to maintain and enlarge its market power throughout New

                   Hampshire;

               d. Allowing BCBS-NH to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1470. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1471. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of N.H. Rev. Stat. Ann. § 356:2.

The conspiracy to allocate markets and restrain trade adversely affects consumers in New



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Hampshire and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market

free from the non-price restraints imposed by the alleged anti-competitive agreements. As a result

of the Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue

Plans have not marketed individual and/or commercial health insurance products in BCBS-NH’s

service area and have been precluded by such agreement and restraints from doing so.

       1472. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of N.H. Rev. Stat. Ann. § 356:2 described in this Complaint, Plaintiffs and other members of the

New Hampshire Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-NH than they would have paid with increased

competition and but for the violations of N.H. Rev. Stat. Ann. § 356:2, and further, of being

deprived of the opportunity to purchase health insurance from one or more of the other Individual

Blue Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market

free from the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1473. Plaintiffs and the New Hampshire Class seek money damages from BCBS-NH, the

Individual Blue Plan Defendants and BCBSA for their violations of N.H. Rev. Stat. Ann. § 356:2.


                                 Count One Hundred Eleven
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
           for Private Health Insurance in Violation of N.H. Rev. Stat. Ann. § 356:3)
                                 (Asserted Against BCBS-NH)

       1474. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1475. BCBS-NH has monopoly power in the individual and small group full-service

commercial health insurance market in New Hampshire. This monopoly power is evidenced by,



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among other things, BCBS-NH’s high market share of the commercial health insurance market,

including its increasing market share even as it has raised premiums.

       1476. BCBS-NH has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1477. BCBS-NH’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of N.H. Rev. Stat. Ann. § 356:3, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1478. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of N.H. Rev. Stat. Ann. § 356:3 described in this Complaint, Plaintiffs and other members of the

New Hampshire Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-NH than they would have paid but for the violations

of N.H. Rev. Stat. Ann. § 356:3.

       1479. Plaintiffs and the New Hampshire Class seek money damages from BCBS-NH for

its violations of N.H. Rev. Stat. Ann. § 356:3.

                                  Count One Hundred Twelve
                    (Willful Attempted Monopolization in the Relevant Market
            for Private Health Insurance in Violation of N.H. Rev. Stat. Ann. § 356:3)
                                  (Asserted Against BCBS-NH)

       1480. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1481. BCBS-NH has acted with the specific intent to monopolize the relevant markets.

       1482. There was and is a dangerous possibility that BCBS-NH will succeed in its attempt

to monopolize the relevant markets because BCBS-NH controls a large percentage of those




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markets already, and further success by BCBS-NH in excluding competitors from those markets

will confer a monopoly on BCBS-NH in violation of N.H. Rev. Stat. Ann. § 356:3.

       1483. BCBS-NH’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the New Hampshire Class.

Premiums charged by BCBS-NH have been higher than they would have been in a competitive

market.

       1484. Plaintiffs and the New Hampshire Class have been damaged as the result of BCBS-

NH’s attempted monopolization of the relevant markets.

                                Count One Hundred Thirteen
                                    (Unjust Enrichment)
                                (Asserted Against BCBS-NH)

       1485. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1486. BCBS-NH has benefitted from its unlawful acts through Plaintiffs’ and the New

Hampshire Class’s overpayments for health insurance premiums to BCBS-NH. BCBS-NH has

unjustly enriched itself at the expense of the Plaintiffs and the New Hampshire Class.

       1487. It would be inequitable for BCBS-NH to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiffs and the New Hampshire Class and

retained by BCBS-NH.

       1488. By reason of its unlawful conduct, BCBS-NH must make restitution to Plaintiffs

and the New Hampshire Class.




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                                    NORTH CAROLINA

 (Plaintiffs Keith O. Cerven, Teresa M. Cerven, and SHGI Corp. and the North Carolina Class
       Against Defendants BCBS-NC, the Individual Blue Plan Defendants and BCBSA)

                                Count One Hundred Fourteen
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1489. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1490. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-NC and BCBSA represent horizontal agreements entered into between BCBS-NC and the

35 other member plans of BCBSA, all of whom are competitors or potential competitors in the

market for commercial health insurance.

       1491. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-NC and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1492. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-NC and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-NC) have conspired to restrain trade in violation of Section 1 of the Sherman

Act. These market allocation agreements are per se illegal under Section 1 of the Sherman Act.

       1493. The market allocation agreements entered into between BCBS-NC and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.




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       1494. BCBS-NC has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1495. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-

                   NC throughout North Carolina;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   North Carolina;

               c. Allowing BCBS-NC to maintain and enlarge its market power throughout

                   North Carolina;

               d. Allowing BCBS-NC to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1496. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1497. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in North

Carolina and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market

free from the non-price restraints imposed by the alleged anti-competitive agreements. As a result



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of the Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue

Plans have not marketed individual and/or commercial health insurance products in BCBS-NC’s

service area and have been precluded by such agreement and restraints from doing so.

       1498. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

North Carolina Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-NC than they would have paid with increased

competition and but for the Sherman Act violations, and further, of being deprived of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1499. Plaintiffs and the North Carolina Class seek money damages from BCBS-NC, the

Individual Blue Plan Defendants and BCBSA for their violations of Section 1 of the Sherman Act.

                                Count One Hundred Fifteen
                            (MFNs; Sherman Act Section 1 Violation)
                                (Asserted Against BCBS-NC)

       1500. Plaintiffs repeat and reallege the allegations above.

       1501. BCBS-NC has market power in the sale of commercial health insurance to

individuals and small groups in each relevant geographic market alleged herein.

       1502. The provider agreements BCBS-NC entered into between BCBS-NC and health

care providers in North Carolina that contain MFN provisions constitute contracts, combinations,

and conspiracies within the meaning of Section 1 of the Sherman Act.




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       1503. Each of the BCBS-NC provider agreements containing an MFN has had substantial

and unreasonable anticompetitive effects in the relevant markets, including but not limited to:

                  a. Raising the prices of health care services to commercial health insurers in

                     competition with BCBS-NC;

                  b. Unreasonably restricting price and cost competition among commercial health

                     insurers by limiting or preventing commercial health insurance in competition

                     with BCBS-NC from obtaining competitive pricing from health care providers;

                  c. Unreasonably restricting the ability of health care providers to offer to BCBS-

                     NC’s competitors or potential competitors reduced prices for services that the

                     health care providers and insurers consider to be in their mutual interest;

                  d. Depriving consumers of health care services and health insurance of the benefits

                     of free and open competition.

       1504. The procompetitive benefits, if any, of the BCBS-NC provider agreements

containing MFN provisions do not outweigh the anticompetitive effects of the agreements.

       1505. Each agreement between BCBS-NC and a health care provider that contains an

MFN unreasonably restrains trade in violation of Section 1 of the Sherman Act.

       1506. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

North Carolina Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-NC than they would have paid but for the Sherman

Act violations.




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       1507. Plaintiffs and the NC Class seek money damages from BCBS-NC for its violations

of Section 1 of the Sherman Act.

                                 Count One Hundred Sixteen
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-NC)

       1508. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1509. BCBS-NC has monopoly power in the individual and small group full-service

commercial health insurance market in North Carolina. This monopoly power is evidenced by,

among other things, BCBS-NC’s ability to enter into MFN agreements with providers, which

evidences BCBS-NC’s ability to control prices and exclude competitors, and BCBS-NC’s high

market share of the commercial health insurance market, including its increasing market share

even as it has raised premiums.

       1510. BCBS-NC has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1511. BCBS-NC’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1512. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

North Carolina Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-NC than they would have paid but for the Sherman

Act violations.


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       1513. Plaintiffs and the North Carolina Class seek money damages from BCBS-NC for

its violations of Section 2 of the Sherman Act.

                                Count One Hundred Seventeen
                   (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-NC)

       1514. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1515. BCBS-NC has acted with the specific intent to monopolize the relevant markets.

       1516. There was and is a dangerous possibility that BCBS-NC will succeed in its attempt

to monopolize the relevant markets because BCBS-NC controls a large percentage of those

markets already, and further success by BCBS-NC in excluding competitors from those markets

will confer a monopoly on BCBS-NC in violation of Section 2 of the Sherman Act.

       1517. BCBS-NC’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the North Carolina Class.

Premiums charged by BCBS-NC have been higher than they would have been in a competitive

market.

       1518. Plaintiffs and the North Carolina Class have been damaged as the result of BCBS-

NC’s attempted monopolization of the relevant markets.

                               Count One Hundred Eighteen
                  (Contract, Combination, or Conspiracy in Restraint of Trade
      in Violation of North Carolina General Statute Sections 58-63-15, 75-1, and 75-1.1)
                              (Asserted Against All Defendants)

       1519. Plaintiffs repeat and reallege the allegations above.

       1520. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-NC and BCBSA represent horizontal agreements entered into between BCBS-NC and the




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thirty-five other member plans of BCBSA, all of whom are competitors or potential competitors

in the market for commercial health insurance.

       1521. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-NC and the other Individual Blue Plan Defendants represents a

contract, combination, and/or conspiracy within the meaning of North Carolina General Statute

Section 75-1 and constitutes an unfair method of competition in or affecting commerce and unfair

or deceptive practice affecting commerce within the meaning of North Carolina General Statute

Section 75-1.1, and an unfair method of competition and unfair or deceptive act or practice in the

business of insurance within the meaning of North Carolina General Statute Section 58-63-10.

       1522. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-NC and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-NC) have conspired to restrain trade in violation of North Carolina General

Statute Sections 75-1, 75-1.1, and 58-63-10. These market allocation agreements are per se illegal

under North Carolina General Statute Sections 75-1, 75-1.1, and 58-63-10.

       1523. The market allocation agreements entered into between BCBS-NC and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1524. BCBS-NC has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1525. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:



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                 a. Reducing the number of health insurance companies competing with BCBS-

                    NC throughout North Carolina;

                 b. Unreasonably limiting the entry of competitor health insurance companies into

                    North Carolina;

                 c. Allowing BCBS-NC to maintain and enlarge its market power throughout

                    North Carolina;

                 d. Allowing BCBS-NC to supra-competitively raise the premiums charged to

                    consumers by artificially inflated, unreasonable, and/or supra-competitive

                    amounts;

                 e. Depriving consumers of health insurance of the benefits of free and open

                    competition.

       1526. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1527. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of North Carolina General

Statute Sections 75-1, 75-1.1, and 58-63-10. The conspiracy to allocate markets and restrain trade

adversely affects consumers in North Carolina and around the nation by depriving such consumers,

among other things, of the opportunity to purchase insurance from a lower cost competitor and/or

at a price set by a market free from the non-price restraints imposed by the alleged anti-competitive

agreements. As a result of the Defendants’ market allocation agreement and related restraints, the

other 35 Individual Blue Plans have not marketed individual and/or commercial health insurance

products in BCBS-NC’s service area and have been precluded by such agreement and restraints

from doing so.



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       1528. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of North Carolina General Statute Sections 75-1, 75-1.1, and 58-63-10 described in this Complaint,

Plaintiffs and other members of the North Carolina Class have suffered injury and damages in an

amount to be proven at trial.      These damages consist of having paid artificially inflated,

unreasonable, and/or supra-competitive and higher health insurance premiums to BCBS-NC than

they would have paid with increased competition and but for the North Carolina General Statute

violations, and further, of being deprived of the opportunity to purchase health insurance from one

or more of the other Individual Blue Plans and/or their non-Blue affiliates, at a lower premium rate

and/or at a price set by a market free from the non-price restraints imposed by Defendants’ anti-

competitive agreements.

       1529. Plaintiffs and the North Carolina Class seek money damages from BCBS-NC, the

Individual Blue Plans and BCBSA for their violations of North Carolina General Statute Sections

75-1, 75-1.1, and 58-63-10.

                              Count One Hundred Nineteen
    (MFNs; Violation of North Carolina General Statute Section 75-1, 75-1.1, and 58-63-10)
                               (Asserted Against BCBS-NC)

       1530. Plaintiffs repeat and reallege the allegations above.

       1531. BCBS-NC has market power in the sale of commercial health insurance to

individuals and small groups in each relevant geographic market alleged herein.

       1532. The provider agreements BCBS-NC entered into between BCBS-NC and health

care providers in North Carolina that contain MFN provisions constitute contracts, combinations,

and conspiracies within the meaning of North Carolina General Statute Section 75-1, and

constitute an unfair method of competition in or affecting commerce and unfair or deceptive

practice affecting commerce within the meaning of North Carolina General Statute Section 75-1.1,



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and an unfair method of competition and unfair or deceptive act or practice in the business of

insurance within the meaning of North Carolina General Statute Section 58-63-10.

       1533. Each of the BCBS-NC provider agreements containing an MFN has had substantial

and unreasonable anticompetitive effects in the relevant markets, including but not limited to:

               a. Raising the prices of health care services to commercial health insurers in

                   competition with BCBS-NC;

               b. Unreasonably restricting price and cost competition among commercial health

                   insurers by limiting or preventing commercial health insurance in competition

                   with BCBS-NC from obtaining competitive pricing from health care providers;

               c. Unreasonably restricting the ability of health care providers to offer to BCBS-

                   NC’s competitors or potential competitors reduced prices for services that the

                   health care providers and insurers consider to be in their mutual interest;

               d. Depriving consumers of health care services and health insurance of the benefits

                   of free and open competition.

       1534. The procompetitive benefits, if any, of the BCBS-NC provider agreements

containing MFN provisions do not outweigh the anticompetitive effects of the agreements.

       1535. Each agreement between BCBS-NC and a health care provider that contains an

MFN unreasonably restrains trade in violation of North Carolina General Statute Sections 75-1,

75-1.1, and 58-63-10.

       1536. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of North Carolina General Statute Sections 75-1, 75-1.1, and 58-63-10 described in this Complaint,

Plaintiffs and other members of the North Carolina Class have suffered injury and damages in an

amount to be proven at trial.      These damages consist of having paid artificially inflated,



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unreasonable, and/or supra-competitive and higher health insurance premiums to BCBS-NC than

they would have paid but for the North Carolina General Statute violations.

       1537. Plaintiffs and the North Carolina Class seek money damages from BCBS-NC for

its violations of North Carolina General Statute §§ 75-1, 75-1.1, and 58-63-10.

                                  Count One Hundred Twenty
                                      (Unjust Enrichment)
                                  (Asserted Against BCBS-NC)

       1538. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1539. BCBS-NC has benefitted from its unlawful acts through Plaintiffs’ and the North

Carolina Class’s overpayments for health insurance premiums to BCBS-NC. BCBS-NC has

unjustly enriched itself at the expense of the Plaintiffs and the North Carolina Class.

       1540. It would be inequitable for BCBS-NC to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiffs and the North Carolina Class,

retained by BCBS-NC, and were not gratuitous.

       1541. By reason of its unlawful conduct, BCBS-NC must make restitution to Plaintiffs

and the North Carolina Class.

                                       NORTH DAKOTA
     (Plaintiff Joel Jameson and the North Dakota Class Against Defendants BCBS-ND, the
                          Individual Blue Plan Defendants and BCBSA)

                               Count One Hundred Twenty-One
                   (Contract, Combination, or Conspiracy in Restraint of Trade
                             in Violation of Sherman Act, Section 1)
                                (Asserted Against All Defendants)

       1542. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1543. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-ND, the other Individual Blue Plans, and BCBSA represent horizontal agreements entered




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into between BCBS-ND and the other Individual Blue Plans, all of whom are competitors or

potential competitors in the market for commercial health insurance.

       1544. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA and the Individual Blue Plan Defendants represents a contract, combination

and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1545. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-ND, and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the Individual Blue Plans. By so doing, the Individual Blue Plans

(including BCBS-ND) and the BCBSA have conspired to restrain trade in violation of Section 1

of the Sherman Act. These market allocation agreements are per se illegal under Section 1 of the

Sherman Act.

       1546. The market allocation agreements entered into among BCBS-ND, BCBSA, and the

other Individual Blue Plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1547. BCBS-ND has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1548. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

           a. Reducing the number of health insurance companies competing with BCBS-ND

               throughout North Dakota;

           b. Unreasonably limiting the entry of competitor health insurance companies into

               North Dakota;



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           c. Allowing BCBS-ND to maintain and enlarge its market power throughout North

               Dakota;

           d. Allowing BCBS-ND to supra-competitively raise the premiums charged to

               consumers by artificially inflated, unreasonable, and/or supra-competitive

               amounts; and

           e. Depriving the Plaintiff and Class members and other consumers of health insurance

               of the benefits of free and open competition.

       1549. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1550. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in this State

and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-ND’s service

area and have been precluded by such agreement and restraints from doing so.

       1551. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-ND than they would have paid with increased competition and but



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for the Sherman Act violations, and further, of being deprived of the opportunity to purchase health

insurance from one or more of the other Individual Blue Plans and/or their non-Blue affiliates, at

a lower premium rate and/or at a price set by a market free from the non-price restraints imposed

by Defendants’ anti-competitive agreements.

       1552. Plaintiff and the Class seek money damages from all Defendants for their violations

of Section 1 of the Sherman Act.

                              Count One Hundred Twenty-Two
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-ND)

       1553. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1554. BCBS-ND has monopoly power in the individual and small group full-service

commercial health insurance market in North Dakota. This monopoly power is evidenced by,

among other things, BCBS-ND’s high market share of the commercial health insurance market,

including its increasing market share even as it has raised premiums.

       1555. BCBS-ND has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1556. BCBS-ND’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1557. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiff and other members of the

North Dakota Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and


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higher health insurance premiums to BCBS-ND than they would have paid but for the Sherman

Act violations.

       1558. Plaintiff and the North Dakota Class seek money damages from BCBS-ND for its

violations of Section 2 of the Sherman Act.

                             Count One Hundred Twenty-Three
                   (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-ND)

       1559. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1560. BCBS-ND has acted with the specific intent to monopolize the relevant markets.

       1561. There was and is a dangerous possibility that BCBS-ND will succeed in its attempt

to monopolize the relevant markets because BCBS-ND controls a large percentage of those

markets already, and further success by BCBS-ND in excluding competitors from those markets

will confer a monopoly on BCBS-ND in violation of Section 2 of the Sherman Act.

       1562. BCBS-ND’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the North Dakota Class.

Premiums charged by BCBS-ND have been higher than they would have been in a competitive

market.

       1563. Plaintiff and the North Dakota Class have been damaged as the result of BCBS-

ND’s attempted monopolization of the relevant markets.


                              Count One Hundred Twenty-Four
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                       in Violation N.D. Cent. Code Ann. § 51-08.1-02)
                               (Asserted Against All Defendants)

       1564. Plaintiff repeats and realleges the allegations in all Paragraphs above.




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       1565. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-ND, the Individual Blue Plans and BCBSA represent horizontal agreements entered into

between BCBS-ND and the Individual Blue Plans, all of whom are competitors or potential

competitors in the market for commercial health insurance.

       1566. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBS-ND, BCBSA and the Individual Blue Plans represents a contract, combination

and/or conspiracy within the meaning of N.D. Cent. Code Ann. § 51-08.1-02 and an unfair method

of competition within the meaning of N.D. Cent. Code Ann. § 51-15-02.

       1567. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-ND, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas for

each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-ND)

have conspired to restrain trade in violation of N.D. Cent. Code Ann. § 51-08.1-02, and employed

an unfair method of competition in violation of N.D. Cent. Code Ann. § 51-15-02. These market

allocation agreements are per se illegal under N.D. Cent. Code Ann. § 51-08.1-02.

       1568. The market allocation agreements entered into between BCBS-ND and the other

BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1569. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a.      Reducing the number of health insurance companies competing with

                       BCBS-ND throughout North Dakota;




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               b.     Unreasonably limiting the entry of competitor health insurance companies

                      into North Dakota;

               c.     Allowing BCBS-ND to maintain and enlarge its market power throughout

                      North Dakota;

               d.     Allowing BCBS-ND to supra-competitively raise the premiums charged to

                      consumers by artificially inflated, unreasonable, and/or supra-competitive

                      amounts; and

               e.     Depriving Class members and other consumers of health insurance of the

                      benefits of free and open competition.

       1570. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1571. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of N.D. Cent. Code Ann. § 51-

08.1-02. The conspiracy to allocate markets and restrain trade adversely affects consumers in

North Dakota and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market

free from the non-price restraints imposed by the alleged anti-competitive agreements. As a result

of the Defendants’ market allocation agreement and related restraints, the other Individual Blue

Plans have not marketed individual and/or commercial health insurance products in BCBS-ND’s

service area and have been precluded by such agreement and restraints from doing so.

       1572. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of N.D. Cent. Code Ann. § 51-08.1-02 described in this Complaint, Plaintiff and other members

of the North Dakota Class have suffered injury and damages in an amount to be proven at trial.



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These damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive

and higher health insurance premiums to BCBS-ND than they would have paid with increased

competition and but for the violations of N.D. Cent. Code Ann. § 51-08.1-02, and further, of being

deprived of the opportunity to purchase health insurance from one or more of the other Individual

Blue Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market

free from the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1573. Plaintiff and the North Dakota Class seek money damages under N.D. Cent. Code

Ann. § 51-08.1-02 from BCBS-ND, the other Individual Blue Plans and BCBSA for their

violations of N.D. Cent. Code Ann. § 51-08.1-02.

                               Count One Hundred Twenty-Five
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
        for Private Health Insurance in Violation of N.D. Cent. Code Ann. § 51-08.1-03)
                                 (Asserted Against BCBS-ND)

       1574. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1575. BCBS-ND has monopoly power in the individual and small group full-service

commercial health insurance market in North Dakota. This monopoly power is evidenced by,

among other things, BCBS-ND’s high market share of the commercial health insurance market,

including its increasing market share even as it has raised premiums.

       1576. BCBS-ND has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1577. BCBS-ND’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of N.D. Cent. Code Ann. § 51-08.1-03,

and such violation and the effects thereof are continuing and will continue unless injunctive relief

is granted.


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        1578. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of N.D. Cent. Code Ann. § 51-08.1-03 described in this Complaint, Plaintiff and other members

of the North Dakota Class have suffered injury and damages in an amount to be proven at trial.

These damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive

and higher health insurance premiums to BCBS-ND than they would have paid but for the

violations of N.D. Cent. Code Ann. § 51-08.1-03.

        1579. Plaintiff and the North Dakota Class seek money damages from BCBS-ND for its

violations of N.D. Cent. Code Ann. § 51-08.1-03.

                                Count One Hundred Twenty-Six
                                      (Unjust Enrichment)
                                 (Asserted Against BCBS-ND)

        1580. Plaintiff repeats and realleges the allegations in all Paragraphs above.

        1581. BCBS-ND has received a measureable enrichment from Plaintiff and the North

Dakota Class in the form of artificially high and/or supracompetitive premiums paid by Plaintiff

and the North Dakota Class to BCBS-ND.

        1582. By paying artificially high and/or supracompetitive premiums, Plaintiff and the

North Dakota Class have been impoverished or otherwise injured.

        1583. BCBD-ND was enriched as a result of the impoverishment and/or detriment of

Plaintiff and the North Dakota Class.

        1584. BCBS-ND is in possession of a benefit that in good conscience and equity it is not

entitled to retain.   BCBS-ND has knowingly appreciated and accepted this benefit, which has

resulted and continues to result in an inequity to Plaintiff and the North Dakota Class.

        1585. It would be inequitable for BCBS-ND to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiff and the North Dakota Class and

retained by BCBS-ND.

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       1586. In equity, BCBS-ND should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiff and the North Dakota Class.


                                         OKLAHOMA
         (Plaintiffs Casa Blanca, DK Auto Sales, Jennifer D. Childress, Clint Johnston, Janeen
         Goodin, Marla S. Sharp, and the Oklahoma Class Against Defendants BCBS-OK, the
                                                 other
                             Individual Blue Plan Defendants and BCBSA)

                             Count One Hundred Twenty-Seven
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1587. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1588. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-OK, the other Individual Blue Plans, and BCBSA represent horizontal agreements entered

into between BCBS-OK and the other Individual Blue Plans, all of whom are competitors or

potential competitors in the market for commercial health insurance.

       1589. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA and the Individual Blue Plan Defendants represents a contract, combination

and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1590. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-OK, and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the Individual Blue Plans. By so doing, the Individual Blue Plans

(including BCBS-OK) and the BCBSA have conspired to restrain trade in violation of Section 1

of the Sherman Act. These market allocation agreements are per se illegal under Section 1 of the

Sherman Act.

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       1591. The market allocation agreements entered into among BCBS-OK, BCBSA, and the

other Individual Blue Plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1592. BCBS-OK has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1593. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


               a. Reducing the number of health insurance companies competing with BCBS-

                   OK throughout Oklahoma;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Oklahoma;

               c. Allowing BCBS-OK to maintain and enlarge its market power throughout

                   Oklahoma;

               d. Allowing BCBS-OK to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts; and

               e. Depriving the Plaintiffs and Class members and other consumers of health

                   insurance of the benefits of free and open competition.

               f. The procompetitive benefits, if any, of the market allocation agreements

                   alleged above do not outweigh the anticompetitive effects of those

                   agreements.

       1594. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman


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Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in the

relevant markets alleged herein and around the nation by depriving such consumers, among other

things, of the opportunity to purchase insurance from a lower cost competitor and/or at a price

set by a market free from the non-price restraints imposed by the alleged anti-competitive

agreements. As a result of the Defendants’ market allocation agreement and related restraints, the

other Individual Blue Plans have not marketed individual and/or small group commercial health

insurance products in BCBS-OK’s service area and have been precluded by such agreements and

restraints from doing so.

       1595. As a direct and proximate result of the Individual Blue Plans’ continuing

violations of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other

members of the Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-OK than they would have paid with increased

competition and but for the Sherman Act violations, and further, of being deprived of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free

from the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1596. Plaintiffs and the Class seek money damages from all Defendants for their

violations of Section 1 of the Sherman Act.

                              Count One Hundred Twenty-Eight
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-OK)

       1597. Plaintiffs repeat and reallege the allegations in all Paragraphs above.




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       1598. BCBS-OK has monopoly power in the individual and small group full-service

commercial health insurance markets in Oklahoma. This monopoly power is evidenced by,

among other things, BCBS-OK’s high market share of the commercial health insurance market,

including its increasing market share even as it has raised premiums.

       1599. BCBS-OK has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1600. BCBS-OK’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1601. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Oklahoma Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-OK than they would have paid but for the Sherman

Act violations.

       1602. Plaintiffs and the Oklahoma Class seek money damages from BCBS-OK for its

violations of Section 2 of the Sherman Act.

                               Count One Hundred Twenty-Nine
                    (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Sherman Act, Section 2)
                                   (Asserted Against BCBS-OK)

       1603. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1604. BCBS-OK has acted with the specific intent to monopolize the relevant markets.




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       1605. There was and is a dangerous possibility that BCBS-OK will succeed in its attempt

to monopolize the relevant markets because BCBS-OK controls a large percentage of those

markets already, and further success by BCBS-OK in excluding competitors from those markets

will confer a monopoly on BCBS-OK in violation of Section 2 of the Sherman Act.

       1606. BCBS-OK’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Oklahoma Class.

Premiums charged by BCBS-OK have been higher than they would have been in a competitive

market.

       1607. Plaintiffs and the Oklahoma Class have been damaged as the result of BCBS-OK’s

attempted monopolization of the relevant markets.


                                 Count One Hundred Thirty
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                         in Violation of 79 Okla. Stat. Ann. § 203(A))
                              (Asserted Against All Defendants)

       1608. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1609. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-OK, the Individual Blue Plans and BCBSA represent horizontal agreements entered into

between BCBS-OK and the Individual Blue Plans, all of whom are competitors or potential

competitors in the market for commercial health insurance.

       1610. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBS-OK, BCBSA and the Individual Blue Plans represents a contract, combination

and/or conspiracy within the meaning of 79 Okla. Stat. Ann. § 203(A) and an unfair method of

competition within the meaning of 79 Okla. Stat. Ann. § 203(A).




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       1611.    Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-OK, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas for

each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-OK)

have conspired to restrain trade in violation of 79 Okla. Stat. Ann. § 203(A), and have employed

unfair methods of competition in violation of 79 Okla. Stat. Ann. § 203(A). These market

allocation agreements are per se illegal under 79 Okla. Stat. Ann. § 203(A).

       1612. The market allocation agreements entered into between BCBS-OK and the other

BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1613. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


           a. Reducing the number of health insurance companies competing with BCBS-OK

               throughout Oklahoma;

           b. Unreasonably limiting the entry of competitor health insurance companies into

               Oklahoma;

           c. Allowing BCBS-OK to maintain and enlarge its market power throughout

               Oklahoma;

           d. Allowing BCBS-OK to supra-competitively raise the premiums charged to

               consumers by artificially inflated, unreasonable, and/or supra-competitive

               amounts; and

           e. Depriving Class members and other consumers of health insurance of the benefits

               of free and open competition.


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       1614. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1615. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of 79 Okla. Stat. Ann. § 203(A).

The conspiracy to allocate markets and restrain trade adversely affects consumers in Oklahoma

and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other Individual Blue Plans

have not marketed individual and/or small group commercial health insurance products in BCBS-

OK’s service area and have been precluded by such agreements and restraints from doing so.

       1616. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of 79 Okla. Stat. Ann. § 203(A) described in this Complaint, Plaintiffs and other members of the

Oklahoma Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-OK than they would have paid with increased

competition and but for the violations of 79 Okla. Stat. Ann. § 203(A), and further, of being

deprived of the opportunity to purchase health insurance from one or more of the other Individual

Blue Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market

free from the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1617. Plaintiffs and the Oklahoma Class seek money damages under 79 Okla. Stat. Ann.

§ 205 from BCBS-OK, the other Individual Blue Plans and BCBSA for their violations of 79 Okla.

Stat. Ann. § 203(A).



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                               Count One Hundred Thirty-One
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
           for Private Health Insurance in Violation of 79 Okla. Stat. Ann. § 203(B))
                                 (Asserted Against BCBS-OK)

       1618. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1619. BCBS-OK has monopoly power in the individual and small group full-service

commercial health insurance market in Oklahoma. This monopoly power is evidenced by, among

other things, BCBS-OK’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       1620. BCBS-OK has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1621. BCBS-OK’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of 79 Okla. Stat. Ann. § 203(B), and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1622. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of 79 Okla. Stat. Ann. § 203(B), described in this Complaint, Plaintiffs and other members of the

Oklahoma Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-OK than they would have paid but for the violations

of 79 Okla. Stat. Ann. § 203(B).

       1623. Plaintiffs and the Oklahoma Class seek money damages from BCBS-OK for its

violations of 79 Okla. Stat. Ann. § 203(B).




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                               Count One Hundred Thirty-Two
                   (Willful Attempted Monopolization in the Relevant Market
           for Private Health Insurance in Violation of 79 Okla. Stat. Ann. § 203(B))
                                 (Asserted Against BCBS-OK)

       1624. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1625. BCBS-OK has acted with the specific intent to monopolize the relevant markets.

       1626. There was and is a dangerous possibility that BCBS-OK will succeed in its attempt

to monopolize the relevant markets because BCBS-OK controls a large percentage of those

markets already, and further success by BCBS-OK in excluding competitors from those markets

will confer a monopoly on BCBS-OK in violation of 79 Okla. Stat. Ann. § 203(B).

       1627. BCBS-OK’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Oklahoma Class.

Premiums charged by BCBS-OK have been higher than they would have been in a competitive

market.

       1628. Plaintiffs and the Oklahoma Class have been damaged as the result of BCBS-OK’s

attempted monopolization of the relevant markets.

                              Count One Hundred Thirty-Three
                                    (Unjust Enrichment)
                                (Asserted Against BCBS-OK)

       1629. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1630. BCBS-OK has benefitted from its unlawful acts through Plaintiffs’ and the

Oklahoma Class’s overpayments for health insurance premiums to BCBS-OK.

       1631. It would be inequitable for BCBS-OK to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiffs and the Oklahoma Class and

retained by BCBS-OK.




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       1632. In equity, BCBS-OK should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiffs and the Oklahoma Class.

                                WESTERN PENNSYLVANIA

(Plaintiffs Kathryn Scheller and Iron Gate Technology, Inc. and the Western Pennsylvania Class
    Against Defendants Highmark BCBS, BC-Northeastern PA, Independence BC, the other
                        Individual Blue Plan Defendants and BCBSA)


                              Count One Hundred Thirty-Four
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1633. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1634. The License Agreements, Membership Standards, and Guidelines agreed to by

Highmark BCBS and BCBSA, BC-Northeastern PA and BCBSA, and Independence BC and

BCBSA represent horizontal agreements entered into between Highmark BCBS, BC-Northeastern

PA, Independence BC and the 33 other member plans of BCBSA, all of whom are competitors or

potential competitors in the market for commercial health insurance.

       1635. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, Highmark BCBS, BC-Northeastern PA, Independence BC and the other

Individual Blue Plan Defendants represents a contract, combination and/or conspiracy within the

meaning of Section 1 of the Sherman Act.

       1636. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, Highmark BCBS, BC-Northeastern PA, Independence BC and the other Individual Blue

Plan Defendants have agreed to divide and allocate the geographic markets for the sale of

commercial health insurance into a series of exclusive areas for each of the thirty-six BCBSA



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members. By so doing, the BCBSA members (including Highmark BCBS, BC-Northeastern PA,

and Independence BC) have conspired to restrain trade in violation of Section 1 of the Sherman

Act. These market allocation agreements are per se illegal under Section 1 of the Sherman Act.

          1637. The market allocation agreements entered into between Highmark BCBS, BC-

Northeastern PA, and Independence BC and the thirty-three other BCBSA member plans

(executed through the BCBSA License Agreements and related Membership Standards and

Guidelines) are anticompetitive.

          1638. Highmark BCBS has market power in the sale of full-service commercial health

insurance to individuals and small groups in each relevant geographic and product market alleged

herein.

          1639. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

                a. Reducing the number of health insurance companies competing with Highmark

                    BCBS throughout Western Pennsylvania;

                b. Unreasonably limiting the entry of competitor health insurance companies into

                    Western Pennsylvania;

                c. Allowing Highmark BCBS to maintain and enlarge its market power

                    throughout Western Pennsylvania;

                d. Allowing Highmark BCBS to supra-competitively raise the premiums charged

                    to consumers by artificially inflated, unreasonable, and/or supra-competitive

                    amounts;

                e. Depriving consumers of health insurance of the benefits of free and open

                    competition.



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       1640. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1641. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in Western

Pennsylvania and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market

free from the non-price restraints imposed by the alleged anti-competitive agreements. As a result

of the Defendants’ market allocation agreement and related restraints, the other 33 Individual Blue

Plans have not marketed individual and/or commercial health insurance products in Highmark

BCBS, BCBS-Northeastern PA and Independence BC’s respective service areas and have been

precluded by such agreement and restraints from doing so.

       1642. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Western Pennsylvania Class have suffered injury and damages in an amount to be proven at trial.

These damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive

and higher health insurance premiums to Highmark BCBS than they would have paid with

increased competition and but for the Sherman Act violations, and further, of being deprived of

the opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.




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       1643. Plaintiffs and the Western Pennsylvania Class seek money damages from

Highmark BCBS, BC-Northeastern PA, Independence BC, the other Individual Blue Plan

Defendants and BCBSA for their violations of Section 1 of the Sherman Act.

                               Count One Hundred Thirty-Five
(Plaintiffs Kathryn Scheller and Iron Gate Technology, Inc. and the Western Pennsylvania Class
                 Against Defendants Highmark BCBS and BC-Northeastern PA)

       (Illegal Anticompetitive Agreement with BC-Northeastern PA; Section 1 Violation)


       1644. Plaintiffs repeat and reallege the allegations above.

       1645. Highmark BCBS has market power in the sale of full-service commercial health

insurance to individuals and small groups in each relevant geographic market alleged herein.

       1646. The agreement Highmark BCBS entered into with BC-Northeastern PA in which

the two competitors agreed to refrain from competing constitutes a contract, combination, and/or

conspiracy within the meaning of Section 1 of the Sherman Act.

       1647. The non-compete agreement between Highmark BCBS and BC-Northeastern PA

has had substantial and unreasonable anticompetitive effects in the relevant markets, including but

not limited to:

                  a. Reducing the number of health insurance companies competing with Highmark

                     BCBS throughout Western Pennsylvania;

                  b. Unreasonably limiting the entry of competitor health insurance companies into

                     Western Pennsylvania;

                  c. Allowing Highmark BCBS to maintain and enlarge its market power

                     throughout Western Pennsylvania;




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               d. Allowing Highmark BCBS to supra-competitively raise the premiums charged

                  to consumers by artificially inflated, unreasonable, and/or supra-competitive

                  amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                  competition.

       1648. The procompetitive benefits, if any, of the non-compete agreement between

Highmark BCBS and BC-Northeastern PA do not outweigh the anticompetitive effects of the

agreement.

       1649. The non-compete agreement between Highmark BCBS and BC-Northeastern PA

unreasonably restrains trade in violation of Section 1 of the Sherman Act.

       1650. As a direct and proximate result of Highmark BCBS and BC-Northeastern PA’s

continuing violations of Section 1 of the Sherman Act, Plaintiffs and other members of the Western

Pennsylvania Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to Highmark BCBS than they would have paid but for the

Sherman Act violations.

       1651. Plaintiffs and the Western Pennsylvania Class seek money damages from

Highmark BCBS and BC-Northeastern PA for their violations of Section 1 of the Sherman Act.

                                Count One Hundred Thirty-Six
(Plaintiffs Kathryn Scheller and Iron Gate Technology, Inc. and the Western Pennsylvania Class
                  Against Defendants Highmark BCBS and Independence BC)

        (Illegal Anticompetitive Agreement with Independence BC; Section 1 Violation)

       1652. Plaintiffs repeat and reallege the allegations above.




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          1653. Highmark BCBS has market power in the sale of full-service commercial health

insurance to individual and small group consumers in each relevant geographic market alleged

herein.

          1654. The agreement Highmark BCBS entered into with Independence BC in which the

two competitors agreed to refrain from competing constitutes a contract, combination, and/or

conspiracy within the meaning of Section 1 of the Sherman Act.

          1655. The non-compete agreement between Highmark BCBS and Independence BC has

had substantial and unreasonable anticompetitive effects in the relevant markets, including but not

limited to:

                a. Reducing the number of health insurance companies competing with Highmark

                    BCBS throughout Western Pennsylvania;

                b. Unreasonably limiting the entry of competitor health insurance companies into

                    Western Pennsylvania;

                c. Allowing Highmark BCBS to maintain and enlarge its market power

                    throughout Western Pennsylvania;

                d. Allowing Highmark BCBS to supra-competitively raise the premiums charged

                    to consumers by artificially inflated, unreasonable, and/or supra-competitive

                    amounts;

                e. Depriving consumers of health insurance of the benefits of free and open

                    competition.

          1656. The procompetitive benefits, if any, of the non-compete agreement between

Highmark BCBS and Independence BC do not outweigh the anticompetitive effects of the

agreement.



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       1657. The non-compete agreement between Highmark BCBS and Independence BC

unreasonably restrains trade in violation of Section 1 of the Sherman Act.

       1658. As a direct and proximate result of Highmark BCBS and Independence BC’s

continuing violations of Section 1 of the Sherman Act, plaintiffs and other members of the Western

Pennsylvania Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to Highmark BCBS than they would have paid but for the

Sherman Act violations.

       1659. Plaintiffs and the Western Pennsylvania Class seek money damages from

Highmark BCBS and Independence BC for their violations of Section 1 of the Sherman Act.

                              Count One Hundred Thirty-Seven
(Plaintiffs Kathryn Scheller and Iron Gate Technology, Inc. and the Western Pennsylvania Class
                              Against Defendant Highmark BCBS)

                           (MFNs; Sherman Act Section 1 Violation)

       1660. Plaintiffs repeat and reallege the allegations above.

       1661. Highmark BCBS has market power in the sale of commercial health insurance to

individuals and small groups in each relevant geographic market alleged herein.

       1662. The provider agreements Highmark BCBS entered into between Highmark BCBS

and health care providers in Western Pennsylvania that contain MFN provisions constitute

contracts, combinations, and conspiracies within the meaning of Section 1 of the Sherman Act.

       1663. Each of the Highmark BCBS provider agreements containing an MFN has had

substantial and unreasonable anticompetitive effects in the relevant markets, including but not

limited to:




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               a. Raising the prices of health care services to commercial health insurers in

                  competition with Highmark BCBS;

               b. Unreasonably restricting price and cost competition among commercial health

                  insurers by limiting or preventing commercial health insurance in competition

                  with Highmark BCBS from obtaining competitive pricing from health care

                  providers;

               c. Unreasonably restricting the ability of health care providers to offer to

                  Highmark BCBS competitors or potential competitors reduced prices for

                  services that the health care providers and insurers consider to be in their mutual

                  interest;

               d. Depriving consumers of health care services and health insurance of the benefits

                  of free and open competition.

       1664. The procompetitive benefits, if any, of the Highmark BCBS provider agreements

containing MFN provisions do not outweigh the anticompetitive effects of the agreements.

       1665. Each agreement between Highmark BCBS and a health care provider that contains

an MFN unreasonably restrains trade in violation of Section 1 of the Sherman Act.

       1666. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Western Pennsylvania Class have suffered injury and damages in an amount to be proven at trial.

These damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive

and higher health insurance premiums to Highmark BCBS than they would have paid but for the

Sherman Act violations.




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       1667. Plaintiffs and the Western Pennsylvania Class seek money damages from

Highmark BCBS for its violations of Section 1 of the Sherman Act.

                               Count One Hundred Thirty-Eight
(Plaintiffs Kathryn Scheller and Iron Gate Technology, Inc. and the Western Pennsylvania Class
                              Against Defendant Highmark BCBS)

          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)

       1668. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1669. Highmark BCBS has monopoly power in the individual and small group full-

service commercial health insurance market in Western Pennsylvania. This monopoly power is

evidenced by, among other things, Highmark BCBS’s ability to enter into MFN agreements with

providers, which evidences Highmark BCBS’s ability to control prices and exclude competitors,

and Highmark BCBS’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       1670. Highmark BCBS has abused and continues to abuse its monopoly power to

maintain and enhance its market dominance by unreasonably restraining trade, thus artificially

inflating the premiums it charges to consumers.

       1671. Highmark BCBS’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1672. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Western Pennsylvania Class have suffered injury and damages in an amount to be proven at trial.

These damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive




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and higher health insurance premiums to Highmark BCBS than they would have paid but for the

Sherman Act violations.

        1673. Plaintiffs and the Western Pennsylvania Class seek money damages from

Highmark BCBS for its violations of Section 2 of the Sherman Act.

                                  Count Hundred Thirty-Nine
(Plaintiffs Kathryn Scheller and Iron Gate Technology, Inc. and the Western Pennsylvania Class
                              Against Defendant Highmark BCBS)

                   (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)

        1674. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

        1675. Highmark BCBS has acted with the specific intent to monopolize the relevant

markets.

        1676. There was and is a dangerous possibility that Highmark BCBS will succeed in its

attempt to monopolize the relevant markets because Highmark BCBS controls a large percentage

of those markets already, and further success by Highmark BCBS in excluding competitors from

those markets will confer a monopoly on Highmark BCBS in violation of Section 2 of the Sherman

Act.

        1677. Highmark BCBS’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Western Pennsylvania

Class. Premiums charged by Highmark BCBS have been higher than they would have been in a

competitive market.

        1678. Plaintiffs and the Western Pennsylvania Class have been damaged as the result of

Highmark BCBS’s attempted monopolization of the relevant markets.




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                                       RHODE ISLAND

    (Plaintiff Nancy Thomas and the Rhode Island Class Against Defendants BCBS-RI, the
                        Individual Blue Plan Defendants and BCBSA)

                                 Count One Hundred Forty
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1679. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1680. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-RI and BCBSA represent horizontal agreements entered into between BCBS-RI and the 35

other member plans of BCBSA, all of whom are competitors or potential competitors in the market

for commercial health insurance.

       1681. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-RI and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1682. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, the other Individual Blue Plan Defendants and BCBS-RI have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-RI) have conspired to restrain trade in violation of Section 1 of the Sherman Act.

These market allocation agreements are per se illegal under Section 1 of the Sherman Act.

       1683. The market allocation agreements entered into between BCBS-RI and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.




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       1684. BCBS-RI has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1685. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-RI

                   throughout Rhode Island;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Rhode Island;

               c. Allowing BCBS-RI to maintain and enlarge its market power throughout Rhode

                   Island;

               d. Allowing BCBS-RI to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1686. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1687. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in Rhode

Island and around the nation by depriving such consumers, among other things, of the opportunity

to purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the



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Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-RI’s service

area and have been precluded by such agreement and restraints from doing so.

       1688. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Rhode Island Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-RI than they would have paid with increased

competition and but for the Sherman Act violations, and further, of being deprived of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1689. Plaintiff and the Rhode Island Class seek money damages from BCBS-RI, the

Individual Blue Plan Defendants and BCBSA for their violations of Section 1 of the Sherman Act.

                                Count One Hundred Forty-One
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-RI)

       1690. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1691. BCBS-RI has monopoly power in the individual and small group full-service

commercial health insurance market in Rhode Island. This monopoly power is evidenced by,

among other things, BCBS-RI’s high market share of the commercial health insurance market,

including its increasing market share even as it has raised premiums.




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       1692. BCBS-RI has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1693. BCBS-RI’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and

such violation and the effects thereof are continuing and will continue unless injunctive relief is

granted.

       1694. As a direct and proximate result of the Individual Blue Plans’ continuing

violations of Section 2 of the Sherman Act described in this Complaint, Plaintiff and other

members of the Rhode Island Class have suffered injury and damages in an amount to be proven

at trial. These damages consist of having paid artificially inflated, unreasonable, and/or supra-

competitive and higher health insurance premiums to BCBS-RI than they would have paid but

for the Sherman Act violations.

       1695. Plaintiff and the Rhode Island Class seek money damages from BCBS-RI for its

violations of Section 2 of the Sherman Act.

                                Count One Hundred Forty-Two
                   (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-RI)

       1696. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1697. BCBS-RI has acted with the specific intent to monopolize the relevant markets.

       1698. There was and is a dangerous possibility that BCBS-RI will succeed in its attempt

to monopolize the relevant markets because BCBS-RI controls a large percentage of those markets

already, and further success by BCBS-RI in excluding competitors from those markets will confer

a monopoly on BCBS-RI in violation of Section 2 of the Sherman Act.


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         1699. BCBS-RI’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Rhode Island Class.

Premiums charged by BCBS-RI have been higher than they would have been in a competitive

market.

         1700. Plaintiff and the Rhode Island Class have been damaged as the result of BCBS-RI’s

attempted monopolization of the relevant markets.

                                Count One Hundred Forty-Three
                    (Contract, Combination, or Conspiracy in Restraint of Trade
                       in Violation of Rhode Island General Laws § 6-36-4)
                                 (Asserted Against All Defendants)

         1701. Plaintiff repeats and realleges the allegations in all Paragraphs above.

         1702. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-RI and BCBSA represent horizontal agreements entered into between BCBS-RI and the 35

other member plans of BCBSA, all of whom are competitors or potential competitors in the market

for commercial health insurance.

         1703. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-RI and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of Rhode Island General Laws § 6-

36-4.

         1704. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-RI and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-RI) have conspired to restrain trade in violation of Rhode Island General Laws




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§ 6-36-4. These market allocation agreements are per se illegal under Rhode Island General Laws

§ 6-36-4.

       1705. The market allocation agreements entered into between BCBS-RI and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1706. BCBS-RI has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1707. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-RI

                   throughout Rhode Island;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Rhode Island;

               c. Allowing BCBS-RI to maintain and enlarge its market power throughout Rhode

                   Island;

               d. Allowing BCBS-RI to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1708. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.




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          1709. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Rhode Island General Laws

§ 6-36-4. The conspiracy to allocate markets and restrain trade adversely affects consumers in

Rhode Island and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market

free from the non-price restraints imposed by the alleged anti-competitive agreements. As a result

of the Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue

Plans have not marketed individual and/or commercial health insurance products in BCBS-RI’s

service area and have been precluded by such agreement and restraints from doing so.

          1710. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Rhode Island General Laws § 6-36-4 described in this Complaint, Plaintiff and other members

of the Rhode Island Class have suffered injury and damages in an amount to be proven at trial.

These damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive

and higher health insurance premiums to BCBS-RI than they would have paid with increased

competition and but for the violations of Rhode Island General Laws § 6-36-4, and further, of

being deprived of the opportunity to purchase health insurance from one or more of the other

Individual Blue Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a price set

by a market free from the non-price restraints imposed by Defendants’ anti-competitive

agreements.

          1711. Plaintiff and the Rhode Island Class seek money damages from BCBS-RI, the

Individual Blue Plan Defendants and BCBSA for their violations of Rhode Island General Laws §

6-36-4.




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                                Count One Hundred Forty-Four
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
        for Private Health Insurance in Violation of Rhode Island General Laws § 6-36-5)
                                  (Asserted Against BCBS-RI)

       1712. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1713. BCBS-RI has monopoly power in the individual and small group full-service

commercial health insurance market in Rhode Island. This monopoly power is evidenced by,

among other things, BCBS-RI’s high market share of the commercial health insurance market,

including its increasing market share even as it has raised premiums.

       1714. BCBS-RI has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1715. BCBS-RI’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Rhode Island General Laws § 6-36-5,

and such violation and the effects thereof are continuing and will continue unless injunctive relief

is granted.

       1716. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Rhode Island General Laws § 6-36-5 described in this Complaint, Plaintiff and other members

of the Rhode Island Class have suffered injury and damages in an amount to be proven at trial.

These damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive

and higher health insurance premiums to BCBS-RI than they would have paid but for the violations

of Rhode Island General Laws § 6-36-5.

       1717. Plaintiff and the Rhode Island Class seek money damages from BCBS-RI for its

violations of Rhode Island General Laws § 6-36-5.




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                                   Count One Hundred Forty-Five
                      (Willful Attempted Monopolization in the Relevant Market
          for Private Health Insurance in Violation of Rhode Island General Laws § 6-36-5)
                                     (Asserted Against BCBS-RI)

       1718. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1719. BCBS-RI has acted with the specific intent to monopolize the relevant markets.

       1720. There was and is a dangerous possibility that BCBS-RI will succeed in its attempt

to monopolize the relevant markets because BCBS-RI controls a large percentage of those markets

already, and further success by BCBS-RI in excluding competitors from those markets will confer

a monopoly on BCBS-RI in violation of Rhode Island General Laws § 6-36-5.

       1721. BCBS-RI’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Rhode Island Class.

Premiums charged by BCBS-RI have been higher than they would have been in a competitive

market.

       1722. Plaintiff and the Rhode Island Class have been damaged as the result of BCBS-RI’s

attempted monopolization of the relevant markets.

                                 Count One Hundred Forty-Six
                                      (Unjust Enrichment)
                                  (Asserted Against BCBS-RI)

       1723. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1724. BCBS-RI has benefitted from its unlawful acts through Plaintiff and the Rhode

Island Class’s overpayments for health insurance premiums.

       1725. It would be inequitable for BCBS-RI to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiff and the Rhode Island Class and

retained by BCBS-RI.




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       1726. In equity, BCBS-RI should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiff and the Rhode Island Class.

                                        SOUTH CAROLINA

   (Plaintiff Pioneer Farm Equipment, Inc. (“Pioneer”), and the South Carolina Class Against
            Defendants BCBS-SC, the Individual Blue Plan Defendants and BCBSA)

                              Count One Hundred Forty-Seven
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1727. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1728.   The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-SC and BCBSA represent horizontal agreements entered into between BCBS-SC and the

35 other member plans of BCBSA, all of whom are competitors or potential competitors in the

market for commercial health insurance.

       1729. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-SC and the other Individual Blue Plans represents a contract,

combination and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1730. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-SC and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-SC) have conspired to restrain trade in violation of Section 1 of the Sherman

Act. These market allocation agreements are per se illegal under Section 1 of the Sherman Act.




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       1731. The market allocation agreements entered into between BCBS-SC and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1732. BCBS-SC has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1733. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-SC

                   throughout South Carolina;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   South Carolina;

               c. Allowing BCBS-SC to maintain and enlarge its market power throughout South

                   Carolina;

               d. Allowing BCBS-SC to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1734. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1735. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in South



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Carolina and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market

free from the non-price restraints imposed by the alleged anti-competitive agreements. As a result

of the Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue

Plans have not marketed individual and/or commercial health insurance products in BCBS-SC’s

service area and have been precluded by such agreement and restraints from doing so.

       1736. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiff and other members of the

South Carolina Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-SC than they would have paid with increased

competition and but for the Sherman Act violations, and further, of being deprived of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1737. Plaintiff and the South Carolina Class seek money damages from BCBS-SC, the

Individual Blue Plan Defendants and BCBSA for their violations of Section 1 of the Sherman Act.

                              Count One Hundred Forty-Eight
                            (MFNs; Sherman Act Section 1 Violation)
                                (Asserted Against BCBS-SC)

       1738. Plaintiff repeats and realleges the allegations above.

       1739. BCBS-SC has market power in the sale of commercial health insurance to

individuals and small groups in each relevant geographic market alleged herein.




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       1740. The provider agreements BCBS-SC entered into between BCBS-SC and health care

providers in South Carolina that contain MFN provisions constitute contracts, combinations, and

conspiracies within the meaning of Section 1 of the Sherman Act.

       1741. Each of the BCBS-SC provider agreements containing an MFN has had substantial

and unreasonable anticompetitive effects in the relevant markets, including but not limited to:

               a. Raising the prices of health care services to commercial health insurers in

                   competition with BCBS-SC;

               b. Unreasonably restricting price and cost competition among commercial health

                   insurers by limiting or preventing commercial health insurance in competition

                   with BCBS-SC from obtaining competitive pricing from health care providers;

               c. Unreasonably restricting the ability of health care providers to offer to BCBS-

                   SC’s competitors or potential competitors reduced prices for services that the

                   health care providers and insurers consider to be in their mutual interest;

               d. Depriving consumers of health care services and health insurance of the benefits

                   of free and open competition.

       1742. The procompetitive benefits, if any, of the BCBS-SC provider agreements

containing MFN provisions do not outweigh the anticompetitive effects of the agreements.

       1743. Each agreement between BCBS-SC and a health care provider that contains an

MFN unreasonably restrains trade in violation of Section 1 of the Sherman Act.

       1744. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiff and other members of the

South Carolina Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and



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higher health insurance premiums to BCBS-SC than they would have paid but for the Sherman

Act violations.

       1745. Plaintiff and the South Carolina Class seek money damages from BCBS-SC for its

violations of Section 1 of the Sherman Act.

                               Count One Hundred Forty-Nine
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-SC)

       1746. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1747. BCBS-SC has monopoly power in the individual and small group full-service

commercial health insurance market in South Carolina. This monopoly power is evidenced by,

among other things, BCBS-SC’s ability to enter into MFN agreements with providers, which

evidences BCBS-SC’s ability to control prices and exclude competitors, and BCBS-SC’s high

market share of the commercial health insurance market, including its increasing market share

even as it has raised premiums.

       1748. BCBS-SC has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1749. BCBS-SC’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1750. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiff and other members of the

South Carolina Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and


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higher health insurance premiums to BCBS-SC than they would have paid but for the Sherman

Act violations.

       1751. Plaintiff and the South Carolina Class seek money damages from BCBS-SC for its

violations of Section 2 of the Sherman Act.

                                   Count One Hundred Fifty
                   (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-SC)

       1752. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1753. BCBS-SC has acted with the specific intent to monopolize the relevant markets.

       1754. There was and is a dangerous possibility that BCBS-SC will succeed in its attempt

to monopolize the relevant markets because BCBS-SC controls a large percentage of those markets

already, and further success by BCBS-SC in excluding competitors from those markets will confer

a monopoly on BCBS-SC in violation of Section 2 of the Sherman Act.

       1755. BCBS-SC’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the South Carolina Class.

Premiums charged by BCBS-SC have been higher than they would have been in a competitive

market.

       1756. Plaintiff and the South Carolina Class have been damaged as the result of BCBS-

SC’s attempted monopolization of the relevant markets.

                                Count One Hundred Fifty-One
                                     (Unjust Enrichment)
                                 (Asserted Against BCBS-SC)

       1757. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1758. BCBS-SC has benefitted from its unlawful acts through Plaintiff and the South

Carolina Class’s overpayments for health insurance premiums.


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       1759. It would be inequitable for BCBS-SC to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiff and the South Carolina Class and

retained by BCBS-SC.

       1760. In equity, BCBS-SC should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiff and the South Carolina Class.

                                          SOUTH DAKOTA

   (Plaintiffs Ross and Angie Hill, Kevin and Christy Bradberry, and the South Dakota Class
    Against Defendants BCBS-SD, the other Individual Blue Plan Defendants and BCBSA)


                                Count One Hundred Fifty-Two
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1761. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1762. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-SD, the other Individual Blue Plans, and BCBSA represent horizontal agreements entered

into between BCBS-SD and the other Individual Blue Plans, all of whom are competitors or

potential competitors in the market for commercial health insurance.

       1763. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA and the Individual Blue Plan Defendants represents a contract, combination

and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1764. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-SD, and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the Individual Blue Plans. By so doing, the Individual Blue Plans


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(including BCBS-SD) and the BCBSA have conspired to restrain trade in violation of Section 1 of

the Sherman Act. These market allocation agreements are per se illegal under Section 1 of the

Sherman Act.

       1765. The market allocation agreements entered into among BCBS-SD, BCBSA, and the

other Individual Blue Plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1766. BCBS-SD has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1767. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

           a. Reducing the number of health insurance companies competing with BCBS-SD

               throughout South Dakota;

           b. Unreasonably limiting the entry of competitor health insurance companies into

               South Dakota;

           c. Allowing BCBS-SD to maintain and enlarge its market power throughout South

               Dakota;

           d. Allowing BCBS-SD to supra-competitively raise the premiums charged to

               consumers by artificially inflated, unreasonable, and/or supra-competitive

               amounts; and

           e. Depriving the Plaintiffs and Class members and other consumers of health

               insurance of the benefits of free and open competition.

       1768. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.



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       1769. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in this State

and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-SD’s] service

area and have been precluded by such agreement and restraints from doing so.

       1770. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-SD than they would have paid with increased competition and but

for the Sherman Act violations, and further, of being deprived of the opportunity to purchase health

insurance from one or more of the other Individual Blue Plans and/or their non-Blue affiliates, at

a lower premium rate and/or at a price set by a market free from the non-price restraints imposed

by Defendants’ anti-competitive agreements.

       1771. Plaintiffs and the Class seek money damages from all Defendants for their

violations of Section 1 of the Sherman Act.

                               Count One Hundred Fifty-Three
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-SD)

       1772. Plaintiffs repeat and reallege the allegations in all Paragraphs above.


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       1773. BCBS-SD has monopoly power in the individual and small group full-service

commercial health insurance market in South Dakota. This monopoly power is evidenced by,

among other things, BCBS-SD’s high market share of the commercial health insurance market,

including its increasing market share even as it has raised premiums.

       1774.      BCBS-SD has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1775. BCBS-SD’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1776. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

South Dakota Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-SD than they would have paid but for the Sherman

Act violations.

       1777. Plaintiffs and the South Dakota Class seek money damages from BCBS-SD for its

violations of Section 2 of the Sherman Act.

                                 Count One Hundred Fifty-Four
                    (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Sherman Act, Section 2)
                                   (Asserted Against BCBS-SD)

       1778. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1779. BCBS-SD has acted with the specific intent to monopolize the relevant markets.




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       1780. There was and is a dangerous possibility that BCBS-SD will succeed in its attempt

to monopolize the relevant markets because BCBS-SD controls a large percentage of those markets

already, and further success by BCBS-SD in excluding competitors from those markets will confer

a monopoly on BCBS-SD in violation of Section 2 of the Sherman Act.

       1781. BCBS-SD’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the South Dakota Class.

Premiums charged by BCBS-SD have been higher than they would have been in a competitive

market.

       1782. Plaintiffs and the South Dakota Class have been damaged as the result of BCBS-

SD’s attempted monopolization of the relevant markets.

                                Count One Hundred Fifty-Five
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                         in Violation of S.D. Codified Laws § 37-1-3.1
                               (Asserted Against All Defendants)

       1783. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1784. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-SD, the Individual Blue Plans and BCBSA represent horizontal agreements entered into

between BCBS-SD and the Individual Blue Plans, all of whom are competitors or potential

competitors in the market for commercial health insurance.

       1785. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBS-SD, BCBSA and the other Individual Blue Plans represents a contract,

combination and/or conspiracy within the meaning of S.D. Codified Laws § 37-1-3.1.

       1786. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-SD, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas for


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each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-SD)

have conspired to restrain trade in violation of S.D. Codified Laws § 37-1-3.1, These market

allocation agreements are per se illegal under S.D. Codified Laws § 37-1-3.1.

       1787. The market allocation agreements entered into between BCBS-SD and the other

BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1788. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


           a. Reducing the number of health insurance companies competing with BCBS-SD
              throughout South Dakota;

           b. Unreasonably limiting the entry of competitor health insurance companies into

               South Dakota;

           c. Allowing BCBS-SD to maintain and enlarge its market power throughout South

               Dakota;

           d. Allowing BCBS-SD to supra-competitively raise the premiums charged to

               consumers by artificially inflated, unreasonable, and/or supra-competitive

               amounts; and

           e. Depriving Class members and other consumers of health insurance of the benefits

               of free and open competition.

       1789. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1790. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of S.D. Codified Laws § 37-1-

3.1. The conspiracy to allocate markets and restrain trade adversely affects consumers in South

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Dakota and around the nation by depriving such consumers, among other things, of the opportunity

to purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-SD’s service

area and have been precluded by such agreement and restraints from doing so.

       1791. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of S.D. Codified Laws § 37-1-3.1 described in this Complaint, Plaintiffs and other members of the

South Dakota Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-SD than they would have paid with increased

competition and but for the violations of S.D. Codified Laws § 37-1-3.1, and further, of being

deprived of the opportunity to purchase health insurance from one or more of the other Individual

Blue Plans and/or their non-Blue affiliates at a lower premium rate and/or at a price set by a market

free from the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1792. Plaintiffs and the South Dakota Class seek money damages under S.D. Codified

Laws § 37-1-3.1 from BCBS-SD, the other Individual Blue Plans and BCBSA for their violations

of S.D. Codified Laws § 37-1-3.1.

                                 Count One Hundred Fifty-Six
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
           for Private Health Insurance in Violation of S.D. Codified Laws § 37-1-3.2)
                                  (Asserted Against BCBS-SD)

       1793. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1794. BCBS-SD has monopoly power in the individual and small group full-service

commercial health insurance market in South Dakota. This monopoly power is evidenced by,


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among other things, BCBS-SD’s high market share of the commercial health insurance market,

including its increasing market share even as it has raised premiums.

       1795. BCBS-SD has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1796. BCBS-SD’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of S.D. Codified Laws § 37-1-3.2, and

such violation and the effects thereof are continuing and will continue unless injunctive relief is

granted.

       1797. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of S.D. Codified Laws § 37-1-3.2 described in this Complaint, Plaintiffs and other members of the

South Dakota Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-SD than they would have paid but for the violations

of S.D. Codified Laws § 37-1-3.2

       1798. Plaintiffs and the South Dakota Class seek money damages from BCBS-SD for its

violations of S.D. Codified Laws § 37-1-3.2.

                                Count One Hundred Fifty-Seven
                   (Willful Attempted Monopolization in the Relevant Market
           for Private Health Insurance in Violation of S.D. Codified Laws § 37-1-3.2
                                  (Asserted Against BCBS-SD)

       1799. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1800. BCBS-SD has acted with the specific intent to monopolize the relevant markets.

       1801. There was and is a dangerous possibility that BCBS-SD will succeed in its attempt

to monopolize the relevant markets because BCBS-SD controls a large percentage of those markets


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already, and further success by BCBS-SD in excluding competitors from those markets will confer

a monopoly on BCBS-SD in violation of S.D. Codified Laws § 37-1-3.2

       1802. BCBS-SD’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the South Dakota Class.

Premiums charged by BCBS-SD have been higher than they would have been in a competitive

market.

       1803. Plaintiffs and the South Dakota Class have been damaged as the result of BCBS-

SD’s attempted monopolization of the relevant markets.

                               Count One Hundred Fifty-Eight
                                    (Unjust Enrichment)
                                (Asserted Against BCBS-SD)

       1804. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1805. Plaintiffs and the South Dakota Class have conferred a benefit upon BCBS-SD in

the form of artificially high and/or supracompetitive premiums paid to BCBS-SD. Such benefit

was conferred upon BCBS-SD to the detriment of Plaintiffs and the South Dakota Class.

       1806. BCBS-SD has benefitted from its unlawful acts through Plaintiffs’ and the South

Dakota Class’s overpayments for health insurance premiums to BCBS-SD.

       1807. It would be inequitable for BCBS-SD to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiffs and the South Dakota Class and

retained by BCBS-SD.

       1808. In equity, BCBS-SD should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiffs and the South Dakota Class.




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                                         TENNESSEE

  (Plaintiffs Debora, Tony and Hannah Forsythe and the Tennessee Class Against Defendants
               BCBS-TN, the other Individual Blue Plan Defendants and BCBSA)

                                Count One Hundred Fifty-Nine
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1809. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1810. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-TN and BCBSA represent horizontal agreements entered into between BCBS-TN and the

other member plans of BCBSA, all of whom are competitors or potential competitors in the market

for commercial health insurance.

       1811. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-TN and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1812. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-TN and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-TN) have conspired to restrain trade in violation of Section 1 of the Sherman

Act. These market allocation agreements are per se illegal under Section 1 of the Sherman Act.

       1813. The market allocation agreements entered into between BCBS-TN and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.




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       1814. BCBS-TN has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1815. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-

                   TN throughout Tennessee;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Tennessee;

               c. Allowing BCBS-TN to maintain and enlarge its market power throughout

                   Tennessee;

               d. Allowing BCBS-TN to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1816. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1817. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in

Tennessee and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market

free from the non-price restraints imposed by the alleged anti-competitive agreements. As a result



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of the Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue

Plans have not marketed individual and/or commercial health insurance products in BCBS-TN’s

service area and have been precluded by such agreement and restraints from doing so.

       1818. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Tennessee Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-TN than they would have paid with increased

competition and but for the Sherman Act violations, and further, of being deprived of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free from

the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1819. Plaintiffs and the Tennessee Class seek money damages from BCBS-TN, the other

Individual Blue Plan Defendants and BCBSA for their violations of Section 1 of the Sherman Act.

                                  Count One Hundred Sixty
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-TN)

       1820. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1821. BCBS-TN has monopoly power in the individual and small group full-service

commercial health insurance market in Tennessee. This monopoly power is evidenced by, among

other things, BCBS-TN’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.




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       1822. BCBS-TN has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1823. BCBS-TN’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1824. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other members of the

Tennessee Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-TN than they would have paid but for the Sherman

Act violations.

       1825. Plaintiffs and the Tennessee Class seek money damages from BCBS-TN for its

violations of Section 2 of the Sherman Act.

                                 Count One Hundred Sixty-One
                    (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Sherman Act, Section 2)
                                   (Asserted Against BCBS-TN)

       1826. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       1827. BCBS-TN has acted with the specific intent to monopolize the relevant markets.

       1828. There was and is a dangerous possibility that BCBS-TN will succeed in its attempt

to monopolize the relevant markets because BCBS-TN controls a large percentage of those

markets already, and further success by BCBS-TN in excluding competitors from those markets

will confer a monopoly on BCBS-TN in violation of Section 2 of the Sherman Act.




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       1829. BCBS-TN’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the Tennessee Class.

Premiums charged by BCBS-TN have been higher than they would have been in a competitive

market.

       1830. Plaintiffs and the Tennessee Class have been damaged as the result of BCBS-TN’s

attempted monopolization of the relevant markets and seek money damages from BCBS-TN and

BCBSA for their violations of Section 2 of the Sherman Act.

                              Count One Hundred Sixty-Two
 (Arrangement, Contract, Agreement, or Conspiracy to Lessen Competition in Violation of the
                  Tennessee Trade Practices Act, Sec. 47-25-101 et seq.)
                             (Asserted Against All Defendants)

       1831. Plaintiffs repeat and reallege the allegations in the foregoing paragraphs.

       1832. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-TN and BCBSA represent horizontal agreements entered into between BCBS-TN and the

35 other member plans of BCBSA, all of whom are competitors or potential competitors in the

market for commercial health insurance.

       1833. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-TN and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of the Tennessee Trade Practices Act,

Sec. 47-25-101.

       1834. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, the other Individual Blue Plan Defendants and BCBS-TN have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-TN) have conspired to restrain trade in violation of the Tennessee Trade


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Practices Act, Sec. 47-25-101. These market allocation agreements are per se illegal under the

Tennessee Trade Practices Act, Sec. 47-25-101.

       1835. The market allocation agreements entered into between BCBS-TN and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1836. BCBS-TN has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1837. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-

                   TN throughout Tennessee;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Tennessee;

               c. Allowing BCBS-TN to maintain and enlarge its market power throughout

                   Tennessee;

               d. Allowing BCBS-TN to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1838. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.




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       1839. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of the Tennessee Trade

Practices Act, Sec. 47-25-101. The conspiracy to allocate markets and restrain trade adversely

affects consumers in Tennessee and around the nation by depriving such consumers, among other

things, of the opportunity to purchase insurance from a lower cost competitor and/or at a price set

by a market free from the non-price restraints imposed by the alleged anti-competitive agreements.

As a result of the Defendants’ market allocation agreement and related restraints, the other 35

Individual Blue Plans have not marketed individual and/or commercial health insurance products

in BCBS-TN’s service area and have been precluded by such agreement and restraints from doing

so.

       1840. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of the Tennessee Trade Practices Act, Sec. 47-25-101 described in this Complaint, open and fair

competition has been unreasonably restrained, leading to diminished consumer choices, reduced

innovation, and artificially-elevated premiums, and Plaintiffs and other members of the Tennessee

Class have suffered and will continue to suffer injury to their business and property.

       1841. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of the Tennessee Trade Practices Act, Sec. 47-25-101, Plaintiffs and other members of the

Tennessee Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-TN than they would have paid with increased

competition and but for the violations of Tennessee Trade Practices Act, Sec. 47-25-101, and

further, of being deprived of the opportunity to purchase health insurance from one or more of the

other Individual Blue Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a



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price set by a market free from the non-price restraints imposed by Defendants’ anti-competitive

agreements.

        1842. Plaintiffs and the Tennessee Class seek money damages from BCBS-TN, the other

Individual Blue Plan Defendants and BCBSA for their violations of the Tennessee Trade Practices

Act.

        1843. BCBS-TN’s illegal conduct has substantially affected Tennessee commerce and

caused injury to consumers in Tennessee. Specifically, BCBS-TN’s understandings, contracts,

agreements, trusts, combinations, or conspiracies substantially affected Tennessee commerce as

follows:

                      a. Substantial Effects on Tennessee Trade or Commerce: BCBS-TN’s

                         conduct has been far-reaching and has substantially affected Tennessee

                         commerce. BCBS-TN health insurance products were purchased by

                         many thousands of enrollees in Tennessee, in all segments of society.

                      b. Substantial Monetary Effects on Tennessee Trade or Commerce:

                         BCBS-TN’s conduct is ongoing, and over the Class Period, BCBS-TN

                         collected millions of dollars in health insurance premiums in Tennessee

                      c. Substantially Harmful Effect on the Integrity of the Tennessee Market:

                         The Tennessee market is vulnerable and can be manipulated by

                         conspirators either from outside Tennessee, inside Tennessee, or both.

                         Without enforcing Tennessee’s antitrust law to its fullest extent,

                         companies that break the law will remain unpunished, and they will

                         remain able to prey upon Tennessee without consequence. The purpose

                         of Tennessee’s antitrust laws is to protect the state’s trade and commerce



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                            affected by anticompetitive conduct. BCBS-TN had shattered this very

                            purpose by its illegal victimization of the market.

                        d. Length of Substantial Effect on Tennessee Commerce: Some

                            arrangements, contracts, agreements, combinations, or conspiracies are

                            short-lived. The conspiracy in this case has lasted for several years and

                            is ongoing, providing BCBS-TN with illegal profits and permitting

                            BCBS-TN to continue victimizing consumers and substantially affect

                            Tennessee commerce.

                                   Count Hundred Sixty-Three
                                       (Unjust Enrichment)
                                   (Asserted Against BCBS-TN)

        1844. Plaintiffs repeat and reallege the allegations in all Paragraphs above.

        1845. BCBS-TN has benefitted from its unlawful acts through the overpayments for

health insurance premiums by Plaintiffs and the Tennessee Class.

        1846. It would be inequitable for BCBS-TN to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiffs and the Tennessee Class and

retained by BCBS-TN.

        1847. By reason of its unlawful conduct, BCBS-TN should make restitution to Plaintiffs

and the Tennessee Class. To the extent Plaintiffs are required to have exhausted administrative

remedies before bringing an unjust enrichment claim, exhaustion of any such remedies is not

required in this instance because: (a) the issues are of the type that would be appropriate for judicial

determination, and (b) applying the doctrine here would result in substantial financial hardship,

inequality, and economic inefficiency and would violate public policy. Further, any action that

might have been taken by Plaintiffs to pursue administrative remedies would have been futile.



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       1848. In equity, BCBS-TN should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiffs and the Tennessee Class.

                                             TEXAS

 (Plaintiff Brett Watts and the Texas Class Against Defendants BCBS-TX, the other Individual
                               Blue Plan Defendants and BCBSA)

                               Count One Hundred Sixty-Four
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1849.   Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1850. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-TX and BCBSA represent horizontal agreements entered into between BCBS-TX and the

35 other member plans of BCBSA, all of whom are competitors or potential competitors in the

market for commercial health insurance.

       1851. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-TX and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1852. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-TX and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-TX) have conspired to restrain trade in violation of Section 1 of the Sherman

Act. These market allocation agreements are per se illegal under Section 1 of the Sherman Act.




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       1853. The market allocation agreements entered into between BCBS-TX and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1854. BCBS-TX has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1855. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-

                   TX throughout Texas;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Texas;

               c. Allowing BCBS-TX to maintain and enlarge its market power throughout

                   Texas;

               d. Allowing BCBS-TX to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1856. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1857. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in Texas



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and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-TX’s service

area and have been precluded by such agreement and restraints from doing so.

       1858. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Texas Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher

health insurance premiums to BCBS-TX than they would have paid with increased competition

and but for the Sherman Act violations, and further, of being deprived of the opportunity to

purchase health insurance from one or more of the other Individual Blue Plans and/or their non-

Blue affiliates, at a lower premium rate and/or at a price set by a market free from the non-price

restraints imposed by Defendants’ anti-competitive agreements.

       1859. Plaintiff and the Texas Class seek money damages from BCBS-TX, the other

Individual Blue Plan Defendants and BCBSA for their violations of Section 1 of the Sherman Act.

                                Count One Hundred Sixty-Five
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-TX)

       1860. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1861. BCBS-TX has monopoly power in the individual and small group full-service

commercial health insurance market in Texas. This monopoly power is evidenced by, among other




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things, BCBS-TX’s high market share of the commercial health insurance market, including its

increasing market share even as it has raised premiums.

       1862. BCBS-TX has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1863. BCBS-TX’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1864. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Texas Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher

health insurance premiums to BCBS-TX than they would have paid but for the Sherman Act

violations.

       1865. Plaintiff and the Texas Class seek money damages from BCBS-TX for its violations

of Section 2 of the Sherman Act.

                                  Count One Hundred Sixty-Six
                    (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Sherman Act, Section 2)
                                   (Asserted Against BCBS-TX)

       1866. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1867. BCBS-TX has acted with the specific intent to monopolize the relevant markets.

       1868. There was and is a dangerous possibility that BCBS-TX will succeed in its attempt

to monopolize the relevant markets because BCBS-TX controls a large percentage of those




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markets already, and further success by BCBS-TX in excluding competitors from those markets

will confer a monopoly on BCBS-TX in violation of Section 2 of the Sherman Act.

       1869. BCBS-TX’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Texas Class. Premiums

charged by BCBS-TX have been higher than they would have been in a competitive market.

       1870. Plaintiff and the Texas Class have been damaged as the result of BCBS-TX’s

attempted monopolization of the relevant markets.

                               Count One Hundred Sixty-Seven
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                    in Violation of Tex. Bus. & Com. Code Ann. § 15.05(a))
                               (Asserted Against All Defendants)

       1871. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1872. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-TX and BCBSA represent horizontal agreements entered into between BCBS-TX and the

35 other member plans of BCBSA, all of whom are competitors or potential competitors in the

market for commercial health insurance.

       1873. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA, BCBS-TX and the other Individual Blue Plan Defendants represents a

contract, combination and/or conspiracy within the meaning of Tex. Bus. & Com. Code Ann. §

15.05(a).

       1874. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-TX and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-six BCBSA members. By so doing, the BCBSA members

(including BCBS-TX) have conspired to restrain trade in violation of Tex. Bus. & Com. Code


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Ann. § 15.05(a). These market allocation agreements are per se illegal under Tex. Bus. & Com.

Code Ann. § 15.05(a).

       1875. The market allocation agreements entered into between BCBS-TX and the thirty-

five other BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1876. BCBS-TX has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1877. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-

                   TX throughout Texas;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Texas;

               c. Allowing BCBS-TX to maintain and enlarge its market power throughout

                   Texas;

               d. Allowing BCBS-TX to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts;

               e. Depriving consumers of health insurance of the benefits of free and open

                   competition.

       1878. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.




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       1879. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Tex. Bus. & Com. Code Ann.

§ 15.05(a). The conspiracy to allocate markets and restrain trade adversely affects consumers in

Texas and around the nation by depriving such consumers, among other things, of the opportunity

to purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other 35 Individual Blue Plans

have not marketed individual and/or commercial health insurance products in BCBS-TX’s service

area and have been precluded by such agreement and restraints from doing so.

       1880. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Tex. Bus. & Com. Code Ann. § 15.05(a) described in this Complaint, Plaintiff and other

members of the Texas Class have suffered injury and damages in an amount to be proven at trial.

These damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive

and higher health insurance premiums to BCBS-TX than they would have paid with increased

competition and but for the violations of Tex. Bus. & Com. Code Ann. § 15.05(a) , and further, of

being deprived of the opportunity to purchase health insurance from one or more of the other

Individual Blue Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a price set

by a market free from the non-price restraints imposed by Defendants’ anti-competitive

agreements.

       1881. Pursuant to Tex. Bus. & Com. Code Ann. § 15.21, Plaintiff and the Texas Class

seek money damages from BCBS-TX, the other Individual Blue Plan Defendants and BCBSA for

their violations of Tex. Bus. & Com. Code Ann. § 15.05(a).




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                                Count One Hundred Sixty-Eight
           (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
      for Private Health Insurance in Violation of Tex. Bus. & Com. Code Ann. § 15.05(b))
                                  (Asserted Against BCBS-TX)

        1882. Plaintiff repeats and reallege the allegations in all Paragraphs above.

        1883. BCBS-TX has monopoly power in the individual and small group full-service

commercial health insurance market in Texas. This monopoly power is evidenced by, among other

things, BCBS-TX’s high market share of the commercial health insurance market, including its

increasing market share even as it has raised premiums.

        1884. BCBS-TX has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

        1885. BCBS-TX’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Tex. Bus. & Com. Code Ann. §

15.05(b), and such violation and the effects thereof are continuing and will continue unless

injunctive relief is granted.

        1886. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Tex. Bus. & Com. Code Ann. § 15.05(b) described in this Complaint, Plaintiff and other

members of the Texas Class have suffered injury and damages in an amount to be proven at trial.

These damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive

and higher health insurance premiums to BCBS-TX than they would have paid but for the

violations of Tex. Bus. & Com. Code Ann. § 15.05(b).

        1887. Pursuant to Tex. Bus. & Com. Code Ann. § 15.21, Plaintiff and the Texas Class

seek money damages from BCBS-TX for its violations of Tex. Bus. & Com. Code Ann. § 15.05(b).




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                               Count One Hundred Sixty-Nine
                  (Willful Attempted Monopolization in the Relevant Market
     for Private Health Insurance in Violation of Tex. Bus. & Com. Code Ann. § 15.05(b))
                                 (Asserted Against BCBS-TX)

       1888. Plaintiff repeat and reallege the allegations in all Paragraphs above.

       1889. BCBS-TX has acted with the specific intent to monopolize the relevant markets.

       1890. There was and is a dangerous possibility that BCBS-TX will succeed in its attempt

to monopolize the relevant markets because BCBS-TX controls a large percentage of those

markets already, and further success by BCBS-TX in excluding competitors from those markets

will confer a monopoly on BCBS-TX in violation of Tex. Bus. & Com. Code Ann. § 15.05(b).

       1891. BCBS-TX’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Texas Class. Premiums

charged by BCBS-TX have been higher than they would have been in a competitive market.

       1892. Plaintiff and the Texas Class have been damaged as the result of BCBS-TX’s

attempted monopolization of the relevant markets.

                                 Count One Hundred Seventy
                                     (Unjust Enrichment)
                                 (Asserted Against BCBS-TX)

       1893. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1894. BCBS-TX has benefitted from its unlawful acts through the overpayments for

health insurance premiums by Plaintiff and the Texas Class.

       1895. It would be inequitable for BCBS-TX to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiff and the Texas Class and retained by

BCBS-TX.




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       1896. By reason of its unlawful conduct, BCBS-TX should make restitution to Plaintiff

and the Texas Class. Any action that might have been taken by Plaintiff to pursue administrative

remedies would have been futile.

       1897. In equity, BCBS-TX should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiff and the Texas Class.


                                          VERMONT
       (Plaintiff Barr Sternberg and the Vermont Class Against Defendants BCBS-VT, the other
                             Individual Blue Plan Defendants and BCBSA)


                              Count One Hundred Seventy-One
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1898. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1899. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-VT, the other Individual Blue Plans, and BCBSA represent horizontal agreements entered

into between BCBS-VT and the other Individual Blue Plans, all of whom are competitors or

potential competitors in the market for commercial health insurance.

       1900. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA and the Individual Blue Plan Defendants represents a contract, combination

and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1901. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-VT, and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the Individual Blue Plans. By so doing, the Individual Blue Plans


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(including BCBS-VT) and the BCBSA have conspired to restrain trade in violation of Section 1

of the Sherman Act. These market allocation agreements are per se illegal under Section 1 of the

Sherman Act.

       1902. The market allocation agreements entered into among BCBS-VT, BCBSA, and the

other Individual Blue Plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1903. BCBS-VT has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1904. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


             a. Reducing the number of health insurance companies competing with BCBS-VT

                 throughout Vermont;

             b. Unreasonably limiting the entry of competitor health insurance companies into

                 Vermont;

             c. Allowing BCBS-VT to maintain and enlarge its market power throughout

                 Vermont;

             d. Allowing BCBS-VT to supra-competitively raise the premiums charged to

                 consumers by artificially inflated, unreasonable, and/or supra-competitive

                 amounts; and

             e. Depriving the Plaintiff and Class members and other consumers of health

                 insurance of the benefits of free and open competition.

       1905. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.


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       1906. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in the

relevant markets alleged herein and around the nation by depriving such consumers, among other

things, of the opportunity to purchase insurance from a lower cost competitor and/or at a price set

by a market free from the non-price restraints imposed by the alleged anti-competitive agreements.

As a result of the Defendants’ market allocation agreement and related restraints, the other

Individual Blue Plans have not marketed individual and/or small group commercial health

insurance products in BCBS-VT’s service area and have been precluded by such agreements and

restraints from doing so.

       1907. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-VT than they would have paid with increased competition and but

for the Sherman Act violations, and further, of being deprived of the opportunity to purchase health

insurance from one or more of the other Individual Blue Plans and/or their non-Blue affiliates, at

a lower premium rate and/or at a price set by a market free from the non-price restraints imposed

by Defendants’ anti-competitive agreements.

       1908. Plaintiff and the Class seek money damages from all Defendants for their violations

of Section 1 of the Sherman Act.




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                              Count One Hundred Seventy-Two
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-VT)

       1909. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1910. BCBS-VT has monopoly power in the individual and small group full-service

commercial health insurance market in Vermont. This monopoly power is evidenced by, among

other things, BCBS-VT’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       1911. BCBS-VT has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1912. BCBS-VT’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1913. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Vermont Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher

health insurance premiums to BCBS-VT than they would have paid but for the Sherman Act

violations.

       1914. Plaintiff and the Vermont Class seek money damages from BCBS-VT for its

violations of Section 2 of the Sherman Act.




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                             Count One Hundred Seventy-Three
                   (Willful Attempted Monopolization in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-VT)

       1915. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1916. BCBS-VT has acted with the specific intent to monopolize the relevant markets.

       1917. There was and is a dangerous possibility that BCBS-VT will succeed in its attempt

to monopolize the relevant markets because BCBS-VT controls a large percentage of those

markets already, and further success by BCBS-VT in excluding competitors from those markets

will confer a monopoly on BCBS-VT in violation of Section 2 of the Sherman Act.

       1918. BCBS-VT’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Vermont Class. Premiums

charged by BCBS-VT have been higher than they would have been in a competitive market.

       1919. Plaintiff and the Vermont Class have been damaged as the result of BCBS-VT’s

attempted monopolization of the relevant markets.


                             Count One Hundred Seventy-Four
                        (Unfair Method of Competition in Commerce
                 (Contract, Combination, or Conspiracy in Restraint of Trade)
                     in Violation of Vt. Stat. Ann. Tit. 9, § 2451 et seq.)
                              (Asserted Against All Defendants)

       1920. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1921. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-VT, the Individual Blue Plans and BCBSA represent horizontal agreements entered into

between BCBS-VT and the Individual Blue Plans, all of whom are competitors or potential

competitors in the market for commercial health insurance.




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        1922. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBS-VT, BCBSA and the Individual Blue Plans represents an unfair method of

competition in commerce within the meaning of Vt. Stat. Ann. Tit. 9, § 2451 et seq.

        1923. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-VT, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas for

each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-VT)

have engaged in an unfair method of competition in violation of Vt. Stat. Ann. Tit. 9, § 2451 et

seq.

        1924. The market allocation agreements entered into between BCBS-VT and the other

BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

        1925. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


               a. Reducing the number of health insurance companies competing with BCBS-

                   VT throughout Vermont;


               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Vermont;

               c. Allowing BCBS-VT to maintain and enlarge its market power throughout

                   Vermont;

               d. Allowing BCBS-VT to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts; and

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               e. Depriving Class members and other consumers of health insurance of the

                   benefits of free and open competition.

       1926. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       1927. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines are an unfair method of competition in commerce in violation of Vt.

Stat. Ann. Tit. 9, § 2451 et seq. The conduct adversely affects consumers in Vermont and around

the nation by depriving such consumers, among other things, of the opportunity to purchase

insurance from a lower cost competitor and/or at a price set by a market free from the non-price

restraints imposed by the alleged anti-competitive agreements. As a result of the Defendants’

market allocation agreement and related conduct, the other Individual Blue Plans have not

marketed individual and/or small group commercial health insurance products in BCBS-VT’s

service area and have been precluded by such agreements and restraints from doing so.

       1928. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Vt. Stat. Ann. Tit. 9, § 2451 et seq. described in this Complaint, Plaintiff and other members of

the Vermont Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-VT than they would have paid with increased

competition and but for the violations of Vt. Stat. Ann. Tit. 9, § 2451 et seq., and further, of being

deprived of the opportunity to purchase health insurance from one or more of the other Individual

Blue Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market

free from the non-price restraints imposed by Defendants’ anti-competitive agreements.




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       1929. Plaintiff and the Vermont Class seek money damages under Vt. Stat. Ann. Tit. 9, §

2465(a) from BCBS-VT, the other Individual Blue Plans and BCBSA for their violations of Vt.

Stat. Ann. Tit. 9, § 2451 et seq.

                             Count One Hundred Seventy-Five
                         (Unfair Method of Competition in Commerce
(Willful Acquisition and Maintenance of a Monopoly in the Relevant Market for Private Health
                 Insurance in Violation of Vt. Stat. Ann. Tit. 9, § 2451 et seq.)
                                 (Asserted Against BCBS-VT)

       1930. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1931. BCBS-VT has monopoly power in the individual and small group full-service

commercial health insurance market in Vermont. This monopoly power is evidenced by, among

other things, BCBS-VT’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       1932. BCBS-VT has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1933. BCBS-VT’s conduct constitutes an unfair method of competition in commerce in

violation of Vt. Stat. Ann. Tit. 9, § 2451 et seq., and such violation and the effects thereof are

continuing and will continue unless injunctive relief is granted.

       1934. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Vt. Stat. Ann. Tit. 9, § 2451 et seq. described in this Complaint, Plaintiff and other members of

the Vermont Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-VT than they would have paid but for the violations

of Vt. Stat. Ann. Tit. 9, § 2451 et seq.



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       1935. Plaintiff and the Vermont Class seek money damages from BCBS-VT for its

violations of Vt. Stat. Ann. Tit. 9, § 2451 et seq.

                              Count One Hundred Seventy-Six
   (Unfair Methods of Competition in Commerce (Willful Attempted Monopolization in the
Relevant Market for Private Health Insurance in Violation of Vt. Stat. Ann. Tit. 9, § 2451 et seq.)
                                 (Asserted Against BCBS-VT)

       1936. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1937. BCBS-VT has acted with the specific intent to monopolize the relevant markets.

       1938. There was and is a dangerous possibility that BCBS-VT will succeed in its attempt

to monopolize the relevant markets because BCBS-VT controls a large percentage of those

markets already, and further success by BCBS-VT in excluding competitors from those markets

will confer a monopoly on BCBS-VT and is thus an unfair method of competition in violation of

Vt. Stat. Ann. Tit. 9, § 2451 et seq.

       1939. BCBS-VT’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Vermont Class. Premiums

charged by BCBS-VT have been higher than they would have been in a competitive market.

       1940. Plaintiff and the Vermont Class have been damaged as the result of BCBS-VT’s

attempted monopolization of the relevant markets.

                                  Count Hundred Seventy-Seven
                                       (Unjust Enrichment)
                                   (Asserted Against BCBS-VT)

       1941. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1942. BCBS-VT has benefitted from its unlawful acts through Plaintiff’s and the Vermont

Class’s overpayments for health insurance premiums to BCBS-VT.




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       1943. It would be inequitable for BCBS-VT to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiff and the Vermont Class and retained

by BCBS-VT.

       1944. In equity, BCBS-VT should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiff and the Vermont Class.


                                         VIRGINIA
       (Plaintiff Comet Capital and the Virginia Class Against Defendants BCBS-VA, the other
                           Individual Blue Plan Defendants and BCBSA)


                             Count One Hundred Seventy-Eight
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                            in Violation of Sherman Act, Section 1)
                               (Asserted Against All Defendants)

       1945. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1946. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-VA, the other Individual Blue Plans, and BCBSA represent horizontal agreements entered

into between BCBS-VA and the other Individual Blue Plans, all of whom are competitors or

potential competitors in the market for commercial health insurance.

       1947. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA and the Individual Blue Plan Defendants represents a contract, combination

and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       1948. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-VA, and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the Individual Blue Plans. By so doing, the Individual Blue Plans


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(including BCBS-VA) and the BCBSA have conspired to restrain trade in violation of Section 1

of the Sherman Act. These market allocation agreements are per se illegal under Section 1 of the

Sherman Act.

       1949. The market allocation agreements entered into among BCBS-VA, BCBSA, and the

other Individual Blue Plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1950. BCBS-VA has market power in the sale of full-service commercial health insurance

to individuals and small groups in each relevant geographic and product market alleged herein.

       1951. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


             a. Reducing the number of health insurance companies competing with BCBS-VA

                 throughout Virginia;

             b. Unreasonably limiting the entry of competitor health insurance companies into

                 Virginia;

             c. Allowing BCBS-VA to maintain and enlarge its market power throughout

                 Virginia;

             d. Allowing BCBS-VA to supra-competitively raise the premiums charged to

                 consumers by artificially inflated, unreasonable, and/or supra-competitive

                 amounts; and

             e. Depriving the Plaintiff and Class members and other consumers of health

                 insurance of the benefits of free and open competition.

       1952. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.


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       1953. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in this State

and around the nation by depriving such consumers, among other things, of the opportunity to

purchase insurance from a lower cost competitor and/or at a price set by a market free from the

non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants’ market allocation agreement and related restraints, the other Individual Blue Plans

have not marketed individual and/or small group commercial health insurance products in BC/BS-

VA service area and have been precluded by such agreements and restraints from doing so.

       1954. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 1 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Class have suffered injury and damages in an amount to be proven at trial. These damages consist

of having paid artificially inflated, unreasonable, and/or supra-competitive and higher health

insurance premiums to BCBS-VA than they would have paid with increased competition and but

for the Sherman Act violations, and further, of being deprived of the opportunity to purchase health

insurance from one or more of the other Individual Blue Plans and/or their non-Blue affiliates, at

a lower premium rate and/or at a price set by a market free from the non-price restraints imposed

by Defendants’ anti-competitive agreements.

       1955. Plaintiff and the Class seek money damages from all Defendants for their violations

of Section 1 of the Sherman Act.

                              Count One Hundred Seventy-Nine
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)
                                 (Asserted Against BCBS-VA)

       1956. Plaintiff repeats and realleges the allegations in all Paragraphs above.


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       1957. BCBS-VA has monopoly power in the individual and small group full-service

commercial health insurance market in Virginia. This monopoly power is evidenced by, among

other things, BCBS-VA’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       1958. BCBS-VA has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1959. BCBS-VA’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1960. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Section 2 of the Sherman Act described in this Complaint, Plaintiff and other members of the

Virginia Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher

health insurance premiums to BCBS-VA than they would have paid but for the Sherman Act

violations.

       1961. Plaintiff and the Virginia Class seek money damages from BCBS-VA for its

violations of Section 2 of the Sherman Act.

                                   Count One Hundred Eighty
                    (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Sherman Act, Section 2)
                                   (Asserted Against BCBS-VA)

       1962. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1963. BCBS-VA has acted with the specific intent to monopolize the relevant markets.




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       1964. There was and is a dangerous possibility that BCBS-VA will succeed in its attempt

to monopolize the relevant markets because BCBS-VA controls a large percentage of those

markets already, and further success by BCBS-VA in excluding competitors from those markets

will confer a monopoly on BCBS-VA in violation of Section 2 of the Sherman Act.

       1965. BCBS-VA’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Virginia Class. Premiums

charged by BCBS-VA have been higher than they would have been in a competitive market.

       1966. Plaintiff and the Virginia Class have been damaged as the result of BCBS-VA’s

attempted monopolization of the relevant markets.

                              Count One Hundred Eighty-One
                  (Contract, Combination, or Conspiracy in Restraint of Trade
                           in Violation of Va. Code Ann. § 59.1-9.5)
                               (Asserted Against All Defendants)

       1967. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1968. The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-VA, the Individual Blue Plans and BCBSA represent horizontal agreements entered into

between BCBS-VA and the Individual Blue Plans, all of whom are competitors or potential

competitors in the market for commercial health insurance.

       1969. Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBS-VA, BCBSA and the Individual Blue Plans represents a contract, combination

and/or conspiracy within the meaning of Va. Code Ann. § 59.1-9.5 and an unfair method of

competition within the meaning of Va. Code Ann. § 59.1-9.5.

       1970. Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-VA, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas for


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each of the thirty-six BCBSA members. By so doing, the BCBSA members (including BCBS-VA)

have conspired to restrain trade in violation of Va. Code Ann. § 59.1-9.5, and employed an unfair

method of competition in violation of Va. Code Ann. § 59.1-9.5. These market allocation

agreements are per se illegal under Va. Code Ann. § 59.1-9.5.

       1971. The market allocation agreements entered into between BCBS-VA and the other

BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       1972. Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

               a. Reducing the number of health insurance companies competing with BCBS-

                   VA throughout Virginia;

               b. Unreasonably limiting the entry of competitor health insurance companies into

                   Virginia;

               c. Allowing BCBS-VA to maintain and enlarge its market power throughout

                   Virginia;

               d. Allowing BCBS-VA to supra-competitively raise the premiums charged to

                   consumers by artificially inflated, unreasonable, and/or supra-competitive

                   amounts; and

               e. Depriving Class members and other consumers of health insurance of the

                   benefits of free and open competition.

       1973. The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.




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       1974. The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Va. Code Ann. § 59.1-9.5.

The conspiracy to allocate markets and restrain trade adversely affects consumers in Virginia and

around the nation by depriving such consumers, among other things, of the opportunity to purchase

insurance from a lower cost competitor and/or at a price set by a market free from the non-price

restraints imposed by the alleged anti-competitive agreements. As a result of the Defendants’

market allocation agreement and related restraints, the other Individual Blue Plans have not

marketed individual and/or small group commercial health insurance products in BCBS-VA’s

service area and have been precluded by such agreements and restraints from doing so.

       1975. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Va. Code Ann. § 59.1-9.1 et seq. described in this Complaint, Plaintiff and other members of

the Virginia Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-VA than they would have paid with increased

competition and but for the violations of Va. Code Ann. § 59.1-9.5, and further, of being deprived

of the opportunity to purchase health insurance from one or more of the other Individual Blue

Plans and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market

free from the non-price restraints imposed by Defendants’ anti-competitive agreements.

       1976. Plaintiff and the Virginia Class seek money damages under Va. Code Ann. § 59.1-

9.12 from BCBS-VA, the other Individual Blue Plans and BCBSA for their violations of Va. Code

Ann. § 59.1-9.5.




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                               Count One Hundred Eighty-Two
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
            for Private Health Insurance in Violation of Va. Code Ann. § 59.1-9.6)
                                 (Asserted Against BCBS-VA)

       1977. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1978. BCBS-VA has monopoly power in the individual and small group full-service

commercial health insurance market in Virginia. This monopoly power is evidenced by, among

other things, BCBS-VA’s high market share of the commercial health insurance market, including

its increasing market share even as it has raised premiums.

       1979. BCBS-VA has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       1980. BCBS-VA’s conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Va. Code Ann. § 59.1-9.6, and such

violation and the effects thereof are continuing and will continue unless injunctive relief is granted.

       1981. As a direct and proximate result of the Individual Blue Plans’ continuing violations

of Va. Code Ann. § 59.1-9.6 described in this Complaint, Plaintiff and other members of the

Virginia Class have suffered injury and damages in an amount to be proven at trial. These damages

consist of having paid artificially inflated, unreasonable, and/or supra-competitive and higher

health insurance premiums to BCBS-VA than they would have paid but for the violations of Va.

Code Ann. § 59.1-9.6.

       1982. Plaintiff and the Virginia Class seek money damages from BCBS-VA for its

violations of Va. Code Ann. § 59.1-9.6.




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                              Count One Hundred Eighty-Three
                   (Willful Attempted Monopolization in the Relevant Market
             for Private Health Insurance in Violation of Va. Code Ann. § 59.1-9.6)
                                  (Asserted Against BCBS-VA)

       1983. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1984. BCBS-VA has acted with the specific intent to monopolize the relevant markets.

       1985. There was and is a dangerous possibility that BCBS-VA will succeed in its attempt

to monopolize the relevant markets because BCBS-VA controls a large percentage of those

markets already, and further success by BCBS-VA in excluding competitors from those markets

will confer a monopoly on BCBS-VA in violation of Va. Code Ann. § 59.1-9.6.

       1986. BCBS-VA’s attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiff and the Virginia Class. Premiums

charged by BCBS-VA have been higher than they would have been in a competitive market.

       1987. Plaintiff and the Virginia Class have been damaged as the result of BCBS-VA’s

attempted monopolization of the relevant markets.

                              Count One Hundred Eighty-Four
                                    (Unjust Enrichment)
                                (Asserted Against BCBS-VA)

       1988. Plaintiff repeats and realleges the allegations in all Paragraphs above.

       1989. BCBS-VA has benefitted from its unlawful acts through Plaintiff’s and the Virginia

Class’s overpayments for health insurance premiums to BCBS-VA.

       1990. It would be inequitable for BCBS-VA to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiff and the Virginia Class and retained

by BCBS-VA.




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       1991. In equity, BCBS-VA should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiff and the Virginia Class.




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                            RELIEF REQUESTED

 WHEREFORE, Plaintiffs request that this Court:

 a.     Determine that this action may be maintained as a class action under Fed. R. Civ.

        P. 23;

 b.     Enjoin BCBSA and each of the Individual Blue Plans from entering into, or from

        honoring or enforcing, any agreements that restrict the territories or geographic

        areas in which any BCBSA member plan may compete;

 c.     Adjudge and decree that BCBSA and each of the Individual Blue Plans have

        conspired to monopolize in violation of Section 2 of the Sherman Act;

 d.     Adjudge and decree that BCBSA and each of the Individual Blue Plans have

        violated both Section 1 and Section 2 of the Sherman Act;

 e.     Award Plaintiffs American Electric Motor Services, Inc.; CB Roofing, LLC; Pettus

        Plumbing & Piping, Inc.; Pearce, Bevill, Leesburg, Moore, P.C.; Consumer

        Financial Education Foundation of America, Inc.; Fort McClellan Credit Union;

        Rolison Trucking Co., LLC; Conrad Watson Air Conditioning, Inc.; Hilton Cooper

        Contracting, Inc.; Bradford Building Company, Inc. and the Alabama Class treble

        damages;

 f.     Award Plaintiffs Linda Mills, Frank Curtis and the Arkansas Class treble damages;

 g.     Award Plaintiff Judy Sheridan and the California Class treble damages;

 h.     Adjudge and decree that Defendants have violated the Cartwright Act, California

        Business and Professions Code §§ 16720, et seq. § 16727 and/or the California

        Business and Professions Code § 17200 as set out in the California counts above,




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      and award Plaintiff Judy Sheridan and the California Class appropriate damages

      and relief against the BCBSA and the Individual Blue Plans other than BC-CA;

 i.   Award Plaintiff Jennifer Ray Davidson and the Florida Class treble damages;

 j.   Adjudge and decree that BCBS-FL and all other Defendants have violated Fla. Stat.

      §§ 542.18, 542.19, and/or 542.22 and award Plaintiff Jennifer Ray Davidson and

      the Florida Class appropriate damages and relief;

 k.   Award Plaintiff Saccoccio & Lopez and the Hawaii Class treble damages;

 l.   Adjudge and decree that BCBS-HI and all other Defendants have violated H.R.S.

      §§ 480-4, 480-2, and/or 480-9; and award Plaintiff Saccoccio & Lopez and the

      Hawaii Class appropriate damages and relief;

 m.   Award Plaintiffs Monika Bhuta, Michael E. Stark, G&S Trailer Repair

      Incorporated and the Illinois Class treble damages;

 n.   Adjudge and decree that BCBS-IL and all other Defendants have violated 740 ILCS

      10/3 et seq.; and award Plaintiffs Monika Bhuta, Michael E. Stark, G&S Trailer

      Repair Incorporated and the Illinois Class appropriate damages and relief;

 o.   Award Plaintiff Mark Krieger and the Indiana Class treble damages;

 p.   Adjudge and decree that BCBS-IN and all other Defendants have violated Ind.

      Code §§ 24-1-2-1 and 24-1-2-2 and award Plaintiff Mark Krieger and the Indiana

      Class appropriate damages and relief;

 q.   Award Plaintiffs Tom and Juanita Aschenbrenner, Free State Growers, Inc. and the

      Kansas Class treble damages;




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 r.   Adjudge and decree that BCBS-KS and all other Defendants violated the Kansas

      Restraint of Trade Act and award Plaintiffs Tom and Juanita Aschenbrenner, Free

      State Growers, Inc. and the Kansas Class appropriate damages and relief;

 s.   Adjudge and decree that BCBS-KC and all other Defendants have violated Mo.

      Rev. Stat. § 416.011 et seq. and Kan. Stat. Ann. § 50-101 et seq. and award

      Plaintiffs Chelsea Horner and Montis, Inc. and the Kansas City Class appropriate

      damages and relief;

 t.   Award Chelsea Horner, Montis, Inc. and the Kansas City Class treble damages;

 u.   Award Plaintiffs Renee E. Allie and Galactic Funk Touring, Inc. and the Louisiana

      Class treble damages;

 v.   Adjudge and decree that all Defendants have violated La.R.S. 51:122-23; and

      award Plaintiffs Renee E. Allie, Galactic Funk Touring, Inc. and the Louisiana

      Class appropriate damages and relief;

 w.   Award Plaintiff John G. Thompson and the Michigan Class treble damages;

 x.   Adjudge and decree that BCBS-MI and all other Defendants have violated the

      Michigan Antitrust Reform Act §§ 445.772, and/or 445.773 and award Plaintiff

      John G. Thompson and the Michigan Class appropriate damages and relief;

 y.   Adjudge and decree that BCBS-MN and all other Defendants have violated Minn.

      Stat. §§ 325D.51-.53 and award Plaintiffs Betsy Jane Belzer, Constance Dummer,

      Centerpointe Dental, and the Minnesota Class appropriate damages and relief;

 z.   Award Plaintiffs Betsy Jane Belzer, Constance Dummer, Centerpointe Dental, and

      the Minnesota Class treble damages;




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 aa.   Award Plaintiffs Matthew Allan Boyd, Gaston CPA Firm and the Mississippi Class

       treble damages;

 bb.   Adjudge and decree that all Defendants have violated Mississippi Antitrust Act,

       Sec. 75-21-1; and award Plaintiffs Matthew Allan Boyd, Gaston CPA Firm and the

       Mississippi Class appropriate damages and relief;

 cc.   Award Plaintiff Jeffrey S. Garner and the Missouri Class treble damages;

 dd.   Adjudge and decree that all Defendants have violated Missouri Antitrust Law §§

       416.031.1, that BCBS-MO violated 416.031.2 and award Plaintiff Jeffrey S. Garner

       and the Missouri Class appropriate damages and relief;

 ee.   Award Plaintiffs Tom A. Goodman, Jason Goodman and the Montana Class treble

       damages;

 ff.   Adjudge and decree that BCBS-MT and all other Defendants have violated MCA

       § 30-14-205 and § 30-14-103; and award Plaintiffs Tom A. Goodman, Jason

       Goodman, and the Montana class appropriate damages and relief;

 gg.   Award Plaintiffs Rochelle and Brian McGill, Sadler Electric and the Nebraska

       Class treble damages;

 hh.   Adjudge and decree that BCBS-NE and all other Defendants have violated Neb.

       Rev. Stat. § 59-801 et seq. and award Plaintiff and the Nebraska class appropriate

       damages and relief;

 ii.   Award Plaintiffs Erik Barstow, GC/AAA Fences, Inc. and the New Hampshire

       Class treble damages;




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 jj.   Adjudge and decree that BCBS-NH and all other Defendants have violated N.H.

       Rev. Stat. Ann. §§ 356:2 and/or 356:3; and award Plaintiffs Erik Barstow, GC/AAA

       Fences, Inc. and the New Hampshire Class appropriate damages and relief;

 kk.   Award Plaintiffs Keith O. Cerven, Teresa M. Cerven, SGHI Corp. and the North

       Carolina Class treble damages;

 ll.   Adjudge and decree that BCBS-NC and all other Defendants have violated North

       Carolina General Statute Sections 75-1, 75-1.1, and/or 58-63-10; and award

       Plaintiffs Keith O. Cerven, Teresa M. Cerven, SGHI Corp. and the North Carolina

       Class appropriate damages and relief;

 mm.   Award Plaintiff Joel Jameson and the North Dakota Class treble damages;

 nn.   Adjudge and decree that BCBS-ND and all other Defendants have violated N.D.

       Cent. Code Ann. § 51-08.1-03 and award Plaintiff Joel Jameson and the North

       Dakota class appropriate damages and relief;

 oo.   Adjudge and decree that BCBS-OK and all other Defendants have violated

       Oklahoma Antitrust Reform Act, specifically, 79 Okla. Stat. Ann. §§ 203(A) and

       203 (B) and award Plaintiffs Casa Blanca, DK Auto Sales, Jennifer D. Childress,

       Clint Johnston, Janeen Goodin, Marla S. Sharp and the Oklahoma Class appropriate

       damages and relief;

 pp.   Award Plaintiffs Casa Blanca, DK Auto Sales, Jennifer D. Childress, Clint

       Johnston, Janeen Goodin, Marla S. Sharp and the Oklahoma Class treble damages;

 qq.   Award Plaintiffs Kathryn Scheller, Iron Gate Technology, Inc. and the Western

       Pennsylvania Class treble damages;

 rr.   Award Plaintiff Nancy Thomas and the Rhode Island Class treble damages;



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 ss.    Adjudge and decree that BCBS-RI and all other Defendants have violated Rhode

        Island General Laws §§ 6-36-4 and/or 6-36-5 and award Plaintiff Nancy Thomas

        and the Rhode Island Class appropriate damages and relief;

 tt.    Award Plaintiff Pioneer Farm Equipment, Inc. (“Pioneer”), and the South Carolina

        Class treble damages;

 uu.    Award Ross and Angie Hill, Kevin and Christy Bradberry, and the South Dakota

        Class treble damages;

 vv.    Adjudge and decree that BCBS-SD and all other Defendants have violated S.D.

        Codified Laws §§ 37-1-3.1-.2; and award Plaintiffs Ross and Angie Hill, Kevin and

        Christy Bradberry, and the South Dakota Class appropriate damages and relief;

 ww.    Award Plaintiffs Debora, Tony and Hannah Forsythe and the Tennessee Class

        treble damages;

 xx.    Adjudge and decree that BCBS-TN and all other Defendants have violated

        Tennessee Trade Practices Act, Sec. 47-25-101; and award Plaintiffs Debora, Tony

        and Hannah Forsythe and the Tennessee Class appropriate damages and relief;

 yy.    Award Plaintiff Brett Watts and the Texas Class treble damages;

 zz.    Adjudge and decree that BCBS-TX and all other Defendants have violated Tex.

        Bus. & Com. Code Ann. §§ 15.05(a), 15.05(b), and/or 15.21 and award Plaintiff

        Brett Watts and the Texas Class appropriate damages and relief;

 aaa.   Adjudge and decree that BCBS-VT and all other Defendants have violated Vt. Stat.

        Ann. Tit. 9, § 2451 et seq. and award Plaintiff Barr Sternberg and the Vermont

        Class appropriate damages and relief;

 bbb.   Award Plaintiff Barr Sternberg and the Vermont Class treble damages;



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 ccc.   Award Plaintiff Comet Capital and the Virginia Class treble damages;

 ddd.   Adjudge and decree that BCBS-VA and all other Defendants have violated Virginia

        Antitrust Act, specifically, Va. Code Ann. §§ 59.1-9.5 and 59.1-9.6 and award

        Plaintiff and the Virginia class appropriate damages and relief;

 eee.   Adjudge and decree that BCBS-AR, BS-CA, BCBS-HI, BCBS-IL, BCBS-IN,

        BCBS-KS, BCBS-MI, BCBS-MN, BCBS-MS, BCBS-MO, BCBS-KC, BCBS-

        MT, BCBS-NE, BCBS-NH, BCBS-NC, BCBS-ND, BCBS-OK, BCBS-RI, BCBS-

        SC, BCBS-SD, BCBS-TN, BCBS-TX, BCBS-VT, and BCBS-VA have been

        unjustly enriched by their wrongful conduct, and award restitution to the related

        Plaintiffs and Classes;

 fff.   Reform any agreements between BCBS-NC and health care providers, Highmark

        BCBS and health care providers, and BCBS-SC and health care providers, so as to

        strike any MFN clauses as void and unenforceable;

 ggg.   Award costs and attorneys’ fees to Plaintiffs;

 hhh.   For a trial by jury; and

 iii.   Award any such other and further relief as may be just and proper.




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This the 7th day of December, 2016


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                               CERTIFICATE OF SERVICE

        I hereby certify that on this the 7th day of December, 2016, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
such filing to all counsel of record.


                                               /s/ David J. Guin
                                                   David J. Guin




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